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U.S. SITIZENSHIP AND IMMIGRATION SERVICES

 

 

 

 

 

 

Receipt Number Case Type
EAC1713950923 1129 - PETITION FOR A NONIMMIGRANT WORKER
Received Date Priority Date Petitioner
04/11/2017 AXTRIA INC,
Notice Date Page Beneficiary
05/15/2017 1 of 2 KANWAR, SHIKHA
AXTRIA INC Notice Type: Approval Notice
c/o MICHAEL EDWARD PISTON Class: HIB
TRANSNATIONAL LEGAL SERVICE PC Valid from 10/01/2017 to 09/09/2020

1955 W HAMLIN RD STE 100
ROCHESTER MI 48309

 

 

The above petition and change of status have been approved. The status of the named foreign worker(s) in this classification is valid as indicated above.
The foreign worker(s) can work for the petitioner, but only as detailed in the petition and for the period authorized. Changes in employment or training may
require you to file anew Form 1-129 petition. Since this employment or training authorization stems from the filing of this petition, separate empioyment or
training authorization documentation is not required. The I-94 attached below may contain a grace period of up to 10 days before, and up to 10 days after
the petition validity period for the following classifications: CW-1, E-1, E-2, E-3, H-1B, H-2B, H-3, L-1A, L-1B, O-1, O-2, P-1, P-2, P-3, TN-1, and TN-2.
H-2A nonimmigrants may contain a grace period of up to one week before and 30 days after the petition validity period. The grace period is a period of
authorized stay but does not provide the beneficiary authorization to work beyond the petition validity period. The decision to grant a grace period and the
length of the granted grace period is discretionary, final and cannot be contested on motion or appeal. Please contact the IRS with any questions about tax
withholding.

The petitioner should keep the upper portion of this notice. The lower portion should be given to the worker. He or she should keep the right part with his
or her Form I-94, Arrival-Departure Record. The ]-94 portion should be given to the U.S. Customs and Border Protection when he or she leaves the United
States. The left part is for his or her records. A person granted a change of status who leaves the U.S. must normally obtain a visa in the new classification
before returning. The left part can be used in applying for the new visa. If a visa is not required, he or she should present it, along with any other required
documentation, when applying for reentry in this new classification at a port of entry or pre-flight inspection station. The petitioner may also file Form
1-824, Application for Action on an Approved Application or Petition, to request that we notify a consulate, port of entry, or pre-flight inspection office of
this approval.

The approval of this visa petition does not in itself grant any immigration status and does not guarantee that the alien beneficiary will subsequently be found
to be eligible for a visa, for admission to the United States, or for an extension, change, or adjustment of status.

THIS FORM IS NOT A VISA AND MAY NOT BE USED IN PLACE OF A VISA.

 

 

Please see the additional information on the back. You will be notified separately about any other cases you filed.

 

Vermont Service Center

U.S. CITIZENSHIP & IMMIGRATION SVC
75 Lower Welden Street

Saint Albans VT 05479-0001

 

Cusivmer Service Teicphone: 860-375-5283 "i i i ae

 

PLEASE TEAR OFF FORM 1-94 PRINTED BELOW AND STAPLE TO ORIGINAL I-94 IF AVAILABLE

 

Detach This Half for Personal Records 243235915 85

Receipt# EAC1713950923 : Receipt Number —AC1713950923
1-944 243235915 85 : US Citizenship and Immigration Services

NAME KANWAR, SHIKHA

 

 

 

 

CLASS HB : 194 Departure Record
VALID FROM 10/01/2017 UNTIL 09/09/2020 ‘ Petitioner: AXTRIA INC

: 14. Family Name
PETITIONER KANWAR
AXTRIA INC, ‘I-15. First (Given) Name 16. Date of Birth
400 CONNELL DRIVE STE 1300 WT oHIKHA "10/09/1989
BERKELEY HEIGHTS NJ 07922 '

1] 17. Country of Citizenship

‘} INDIA

 

 

FORM 1- 797A TREV. OB/O1/16]
 

1-797A | NOTICE OF = ACTION

 

 

DEPARTMENT OF HOMELAND SECURITY
U.S. CITIZENSHIP AND IMMIGRATION SERVICES

 

 

 

Receipt Number Case Type

EAC1713950923 1129 - PETITION FOR A NONIMMIGRANT WORKER
Received Date Priority Date Petitioner

04/11/2017 AXTRIA INC,

Notice Date Page Beneficiary

05/15/2017 2 of 2 KANWAR, SHIKHA

 

 

 

The Small Business Regulatory Enforcement and Fairness Act established the Office of the National Ombudsman (ONO) at the Small Business
Administration. The ONO assists small businesses with issues related to federal regulations. If you are a small business with a comment or complaint about
regulatory enforcement, you may contact the ONO at www.sba.gov/ombudsman or phone 202-205-2417 or fax 202-481-5719.

NOTICE: Although this application or petition has been approved, USCIS and the U.S. Department of Homeland Security reserve the right to verify this
information before and/or after making a decision on your case so we can ensure that you have complied with applicable laws, rules, regulations, and other
legal authorities. We may review public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and
residences, or use other methods of verification. We will use the information obtained to determine whether you are eligible for the benefit you seek. If we
find any derogatory information, we will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if
you submitted one) an opportunity to address that information before we make a formal decision on your case or start proceedings.

 

Please see the additional information on the back,

You will be notified separately about any other cases you filed,

 

 

Vermont Service Center

U. S. CITIZENSHIP & IMMIGRATION SVC

75 Lower Welden Street

Saint Albans VT 05479-0001
Customer Service Telephone: 800-375-5283

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PLEASE TEAR OFF FORM 1-94 PRINTED BELOW AND STAPLE TO ORIGINAL I-94 IF AVAILABLE

 

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1-94#

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194 Departure Record

14. Family Name

17. Co Citizenshi

 

Pet¥@ID __ VOID

VOID

: US Citizenship and Immigration Services

VOID
VOID

15. VC MD Name 16. Date 5 ED.

 

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FORM 1[-797A [LREV. 08/01/16

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US. Citizenship and Immigration Sérvic

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

 

 

 

 

 

 

 

 

 

 

 

Receipt Number Case Type

EAC1713950923 1129 - PETITION FOR A NONIMMIGRANT WORKER

Received Date Priority Date Petitioner

04/11/2017 AXTRIA INC,

Notice Date Page Beneficiary

04/17/2017 lof 1 KANWAR, SHIKHA
AXTRIA INC Notice Type: Receipt Notice
c/o MICHAEL EDWARD PISTON Amount received: $2460.00 U.S.
TRANSNATIONAL LEGAL SERVICE PC Class requested: HIB

1955 W HAMLIN RD STE 100
ROCHESTER MI 48309

 

 

We have received the application er petition (‘'your case’’) listed above. This notice only shows that your case was filed on the "Received Date"
listed above. It does NOT grant you any immigration status or immigration benefit, and it is not evidence that your case is still pending. We will notify you
in writing when we make a decision on your case or if we need additional information.

Please save this and any other notices about your case for your records. You should also keep copies of anything you send us, as well as proof of delivery.
Have these records available when you contact us about your case.

If any of the above information is incorrect or you have any questions about the status of your case, please call the USCIS National Customer
Service Center (NCSC) at 1-800-375-5283 or visit the USCIS website at www.uscis.gov (if you are hearing impaired, the NCSC TDD number is
1-800-767-1833). If you call us, please have your Alien Registration Number (A-Number) and/or the receipt number shown above. The receipt number is a
tracking number for your case and will help with inquiries.

Processing time - Processing times vary by case type. Go to www.uscis.gov to see the current processing times listed by case type and office.

* View your case status on our website's Case Status Online page.

* You can also sign up to receive free email updates as we process your case.

* Most of the time your case is pending, the process status will not change. This is because we are working on cases that were filed before your case.

« When we make a decision on your case or if we need something from you, we will notify you by mail and update our systems.

* If you do not receive an initial decision or update from us within our current processing time, contact the NCSC at 1-800-375-5283 or visit our
website at www.uscis.gov.

If your address changes - If your mailing address changes while your case is pending, please update your address with us using the Online Change of
Address option at www.uscis.gov or by calling the NCSC at 1-800-375-5283. Otherwise, you might not receive notices about this case.

Number of workers: 1
Name DOB COB Class Consulate/POE OCC
KANWAR, SHIKHA 10/09/1989 INDIA Fl 020

Return of Original Documents - Use Form G-884 to request the return of original documents submitted to establish eligibility for an immigration or
citizenship benefit. You only need to submit one Form G-884 if you are requesting multiple documents contained in a single USCIS file. However, if

the requested documentation is in more than one USCIS file, you must submit a separate request for each file. (For example: If you wish to obtain your
mother’s birth certificate and your parents’ marriage certificate, both of which are in the USCIS file that pertains to her, submit one Form G-884 with your
mother’s information.)

NOTICE: Under the Immigration and Nationality Act (INA), the information you provide on and in support of applications and petitions is submitted
under the penalty of perjury. USCIS and the U.S. Department of Homeland Security reserve the right to verify this information before and/or after making
a decision on your case so we can ensure that you have complied with applicable laws, rules, regulations, and other legal authorities. We may review
public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and residences, or use other methods of
verification. We will use the information obtained to determine whether you are eligible for the benefit you seek. If we find any derogatory information, we
will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if you submitted one) an opportunity to
address that information before we make a formal decision on your case or start proceedings.

 

Please see the additional information on the back. You will be notified separately about any other cases you filed.

 

USCIS/Vermont Service Center

U.S. CITIZENSHIP & IMMIGRATION SVC
75 Lower Welden Street

Saint Albans VT 05479-0001

Customer Service Telephone: 800-375-5283

If this is an interview or biometrics appointment notice, please see the back of this notice for important information. Form I-797C 07/11/14 Y

 

 

 

 
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 4 of 224

NOY

Petitioner: Axtria, Inc.

Check# ©0673? for amount of $2460

Enclosed covering the below listed fees, for the I-129 petition
for H1 classification of,

Beneficiary Name ___ SHIKCHA KANWAK

v¥ S460 (Filing Fee)
¥ $1500 (Training Fee)
v $500 (Fraud Prevention Fee)
Case 1:18-cv-0197 7 TEE* BoauMen OL AP Filed 08/23/18 Page 5 of 224 DNS

 

 

 

 

 

 

 

 

 

as Attorney or Accredited Representative m G-28
QMR No. 1615-0105
Department of Homeland Security Expires 03/31/2018
Part 1. Information About Attorney or Part 2. Notice of Appearance as Attorney or
Accredited Representative Accredited Representative
1. USCIS ELIS Account Number (if any) This appearance relates to immigration matters before
> (Select only one box):

 

 

 

La. USCIS

Name and Address of Attorney or Accredited
1.b. List the form numbers

 

 

 

 

 

 

 

Representative
I-129
2.a. Family Name |Piston |
(Last Name) 2.a. [| ICE
2.b. Given Name

IMichacl |

 

(First Name)
2.c. Middle Name [Edward | |

2.b, List the specific matter in which appearance is entered

 

 

 

 

 

 

 

 

 

3.a. Street Number : | BP
oeae 1955 W. Hamlin Rd 3.a. [] C
3.b. Apt. [] Ste. Fir. (4 [100 3.b. List the specific matter in which appearance is entered

 

 

 

 

 

 

3.c. City or Town [Rochester Hills |

 

I enter my appearance as attorney or accredited representative at

3.d. State |r 3.e. ZIP Code | 48309 the request of.

 

 

 

 

 

 

 

 

 

 

 

| 4. Select only one box:
i / _.
3.f. Province | — | |_| Applicant [Xx] Petitioner [_] Requestor
3.g. Postal Code usa | [_] Respondent (ICL, CBP)
3.h. Countr _
[usa z | Information About Applicant, Petitioner,

Requestor, or Respondent

 

 

 

 

 

 

 

 

 

 

4. Dayti :
aytime Telephone Number 5.a. Family Name (Sinan
[2488440700 | (Last Name)
5.b. Given Name ;
5. Fax Number (First Name) [Romi
2488440345 |

5.c. Middle Name |R

 

 

 

6. E-Mail Address (if'any)

preeti@tnls.com

6. Name of Company or Organization (if applicable)

 

 

laxtria INC |

 

7. Mobile Telephone Number (if any)

| ATI AU gH | | | HMI WI
| ii | |
aT HE NAAM
| KUM ATT | LL

Form G-28 05/05/16 Y Page | of 4

 

 

 

 

 
  

 

 

Part 2. Notice of Appearance as Attorney or
Accredited Representative (continued)

 

 

Part 3. Eligibility Information for Attorney or
Accredited Representative

 

 

 

 

Information About Applicant, Petitioner,
Requestor, or Respondent (continued)
7. USCIS ELIS Account Number (if any)

> |

 

8. _—_ Alien Registration Number (A-Number) or Receipt Number

 

9. Daytime Telephone Number
9089884690

 

 

10. Mobile Telephone Number (if any)

 

 

11. E-Mail Address (if any)

romi.singh@axtria.com

 

 

 

 

Mailing Address of Applicant, Petitioner,
Requestor, or Respondent

NOTE: Provide the mailing address of the applicant, petitioner,
requestor, or respondent. Do not provide the business mailing
address of the attorney or accredited representative unless it

serves as the safe mailing address on the application, petition, or
request being filed with this Form G-28.

12.a. Street Number E 00 Connell Drive |
and Name

12.c. City or Town | Berkeley Heights

12.d. State 12.e. ZIP Code|07922

12.f. Province n/a |

 

 

 

 

 

 

 

 

12.g. Postal Code n/a

 

12.h. Country
USA |

 

 

Select all applicable items.

1.a. Iam an attorney eligible to practice law in, and a
member in good standing of, the bar of the highest
courts of the following states, possessions, territories,
commonwealths, or the District of Columbia. (/fyou
need additional space, use Part 6.)

Licensing Authority
Michigan Supreme Court

 

 

 

 

1.b. Bar Number (if applicable)
P34568

 

le. Name of Law Firm

 

 

 

TransNational Legal Service PC

 

1.d. I (choose one) [xX] am not [_] am

subject to any order of any court or administrative agency
disbarring, suspending, enjoining, restraining, or otherwise
restricting me in the practice of law. If you are subject to
any orders, explain in the space below. (/fyou need
additional space, use Part 6.)

2.a. [] Iam an accredited representative of the following
qualified nonprofit religious, charitable, social
service, or similar organization established in the
United States, so recognized by the Department of
Justice, Board of Immigration Appeals, in accordance
with 8 CFR 292.2. Provide the name of the
organization and the expiration date of accreditation.

 

2.b. Name of Recognized Organization

2.c. Date accreditation expires

(mm/dd/yyyy) » | |

 

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Form G-28 05/05/16 Y

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Page 2 of 4
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 7 of 224
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Part 3. Eligibility Information for Attorney or
Accredited Representative (continued)

 

 

 

3. [] Lam associated with

 

 

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the attorney or accredited representative of record
who previously filed Form G-28 in this case, and ny
appearance as an attorney or accredited representative
is at his or her request.

NOTE: Ifyou select this item, also complete Item
Numbers f.a. - 1.b. or Item Numbers 2.a. - 2.c. in
Part 3. (whichever is appropriate).

4.a. [] lama law student or law graduate working under the
direct supervision of the attorney or accredited
representative of record on this form in accordance
with the requirements in 8 CFR 292.1(a)(2)(iv).

4.b. Name of Law Student or Law Graduate

 

 

 

 

Part 4. Applicant, Petitioner, Requestor, or
Respondent Consent to Representation, Contact
Information, and Signature

 

 

 

Consent to Representation and Release of Information

1. I have requested the representation of and consented to
being represented by the attorney or accredited
representative named in Part 1. of this form. According
to the Privacy Act of 1974 and DHS policy, I also consent
to the disclosure to the named attorney or accredited
representative of any record pertaining to me that appears
in any system of records of USCIS, ICE or CBP.

When you (the applicant, petitioner, requestor, or
respondent) are represented, DHS will send notices to both
you and your attorney or accredited representative either
through mail or electronic delivery.

DHS will also send the Form J-94, Arrival Departure
Record, to you unless you select Item Number 2.a. in
Part 4. All secure identity documents and Travel
Documents will be sent to you (the applicant, petitioner,
requestor, or respondent) at your U.S. mailing address
unless you ask us to send your secure identity documents
to your attorney of record or accredited representative.

If you do not want to receive original notices or secure
identity documents directly, but would rather have such
notices and documents sent to your attorney of record or
accredited representative, please select all applicable
boxes below:

2.a I request DHS send any notice (including Form I-94)
on an application, petition, or request to the U.S.
business address of my attorney of record or
accredited representative as listed in this form. I
understand that J may change this election at any
future date through written notice to DHS.

2.b. L] T request that DHS send any secure identity document,
such as a Permanent Resident Card, Employment
Authorization Document, or Travel Document, that J am
approved to receive and authorized to possess, to the
U.S. business address of my attorney of record or
accredited representative as listed in this form or to a
designated military or diplomatic address for pickup in a
foreign country (if permitted). I consent to having my
secure identity document sent to my attorney of record
or accredited representative's U.S. business address and
understand that I may request, at any future date and
through written notice to DHS, that DHS send any
secure identity document to me directly.

3.a. Signature of Applicant, Petitioner, Requestor, or
Respondent

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3.b. Date of Signature (mm/dd/yyyy)™ | ¢ 4 = ji 2¢ [>

 

 

 

 

 

 

 

Part 5. Signature of Attorney or Accredited
Representative

 

 

 

I have read and understand the regulations and conditions
contained in 8 CFR 103.2 and 292 governing appearances and
representation before the Department of Homeland Security.

I declare under penalty of perjury under the laws of the United
States that theyinformation I have provided on this form is true

and correct.

1.  Signatyte of Attorney salcacaiticn Representative
f SL / |

Aased |

2. Signature of Law Student or Law Graduate

 

 

 

 

 

 

 

 

3. Date ofSignature (mm/dd/yyyy) | 4 / 30 / yal

 

 

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Form G-28 05/05/16 Y

 

| AQUA LAI

Page 3 of 4
 

Case 1.L6-CV-ULIST T-TSO VOCUTTTICTIT L- Lo Ficu VorzorLlo Payee o Ul cco
i a
Part 6. Additional Information

 

Use the space provided below to provide additional information
pertaining to Part 3., Item Numbers 1.a. - 1.d. or to provide
your U.S. business address for purposes of receiving secure
identity documents for your client (if your client has consented
to your receipt of such documents under Part 4.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Form G-28 05/05/16 Y Page 4 of 4
Case 1:18-cv-01977-TSC Document 1-14

 

Petition for a Nonimmigrant Worker

Department of Homeland Security
U.S. Citizenship and Immigration Services

Filed 08/23/18 Page 9 of 224

USCIS

Form I-129
OMB No. 1615-0009
Expires 12/31/2018

 

 

 

 

 

Action Block

 

 

 

 

Receipt Partial Approval (explain)
For
USCIS
Use
Only
Class: | _]Classification Approved
No. ofiWorkers: [_]Consulate/POE/PFI Notified
Job Code: De
Validity Dates: .
ne y “= [_]Extension Granted
rom:
To: L_]COS/Extension Granted

 

 

 

>» START HERE - Type or print in black ink.

 

Part 1. Petitioner Information

 

If you are an individual filing this petition, complete Item Number 1. If you are a company or an organization filing this petition,

complete Item Number 2.

 

1. Legal Name of Individual Petitioner
Family Name (Last Name) __ Given Name (Hirst Name) Middle Name
n/a | wa | {iva

2, Company or Urganization Name

 

Axtria INC

 

 

 

3. Mailing Address of Individual, Company or Organization
In Care Of Name
Romi R Singh, Director-Staffing Solutions
Street Number and Name

400 Connell Drive

Apt. Ste. Flr. Number

| CO BO [1300 |

 

 

 

City or Town State ZIP Code

| Berkeley Heights | | nu | | o7922 |
Province Postal Code Country

| n/a | nia United States

 

 

 

 

 

 

 

 

4. Contact Information
Daytime Telephone Number Mobile Telephone Number Email Address (if any)
| 9089884690 | romi.singh@axtria.com
5. Other Information

Federal Employer Identification Number (FEIN)

Individual IRS Tax Number

U.S. Social Security Number (if any)

 

 

Pin via

 

 

> 271142668

} & [ns a

 

 

 

 

Form I-129 OI/17/17 Y

Page | of 36
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 10 of 224

 

 

 

| Part 2. Information About This Petition (See instructions for fee information)

 

 

1. Requested Nonimmigrant Classification (Write classification symbol): |H1B

 

2. Basis for Classification (select only one box):
a. New employment.

b. Continuation of previously approved employment without change with the same employer.
c. Change in previously approved employment.
d. New concurrent employment.

e. Change of employer.

OOOOOR

f. Amended petition.

 

3. Provide the most recent petition/application receipt number for the mi N
beneficiary. If none exists, indicate "None."

 

o nie

 

4. Requested Action (select only one box):

[_] a- Notify the office in Part 4. so each beneficiary can obtain a visa or be admitted. (NOTE: A petition is not required for
E-1, E-2, E-3, H-1B1 Chile/Singapore, or TN visa beneficiaries.)

b. Change the status and extend the stay of each beneficiary because the benefictary(ies) is/are now in the United States in
another status (see instructions for limitations). This is available only when you check "New Employment" in Item
Number 2., above.

[ ] ¢. Extend the stay of each beneficiary because the beneficiary(ies) now hold(s) this status.

[_] d. Amend the stay of each beneficiary because the beneficiary(ies) now hold(s) this status.

[] e. Extend the status of a nonimmigrant classification based on a free trade agreement. (See Trade Agreement Supplement
to Form I-129 for TN and H-1B1.)

[ ] f. Change status to a nonimmigrant classification based on a free trade agreement. (See Trade Agreement Supplement to
Form I-129 for TN and H-1B1.)

 

5. Total number of workers included in this petition. (See instructions relating to > |
when more than one worker can be included.)

 

 

Part 3. Beneficiary Information (Information about the beneficiary/beneficiaries you are filing for. Complete the
blocks below. Use the Attachment-1 sheet to name each beneficiary included in this petition.)

 

 

 

1. Ifan Entertainment Group, Provide the Group Name

| nia

 

2. Provide Name of Beneficiary
Family Name (Last Name) Given Name (First Name) Middle Name

 

| KANWAR | | shixna

3. Provide all other names the beneficiary has used. Include nicknames, aliases, maiden name, and names from al! previous marriages.

Family Name (Last Name) Given Name (First Name) Middle Name

 

 

 

 

 

 

 

 

 

 

4. Other Information

Date of birth Gender US. Social Security Number (if any)
(mm/dd/yyyy) | 10/09/1989 [] Male Female P/1 7 8 299 6 3 9

 

 

 

 

 

Form [-129 O1/17/17_ Y Page 2 of 36
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 11 of 224

 

 

Part 3. Beneficiary Information (Information about the beneficiary/beneficiaries you are filing for. Complete the
blocks below. Use the Attachment-1 sheet to name each beneficiary included in this petition.) (continued)

 

 

Alien Registration Number (A-Number) Country of Birth

 

 

 

 

> A- | | India
Province of Birth Country of Citizenship or Nationality
Himachal Pradesh | | india |

 

If the beneficiary is in the United States, complete the following:
Date of Last Arrival (mm/dd/yyyy) [-94 Arrival-Departure Record Number Passport or Travel Document Number

 

 

02/07/2017 | a 413)/2/3);51/9/1);5,;8)5 | s7236128

 

 

 

Date Passport or Travel Document — Date Passport or Travel Document Passport or Travel Document Country

 

 

 

 

 

 

 

 

 

 

Issued (mm/dd/yyyy) Expires (mmi/dd/yyyy) of Issuance

| 08/01/2012 |ovis1/2022 | India

Current Nonimmigrant Status Date Status Expires or D/S
[1 | (mm/dd/yyyy)] D/S
Student and Exchange Visitor Information System (SEVIS) Employment Authorization Document (EAD)
Number (if any) Number (if any)

| Noo13616518 | |¥sc179001 5735

 

 

Current Residential U.S. Address (if applicable) (do not list a P.O. Box)
Suivel Number aud Name Apt. Ste. Flr. Number

 

[sro pL

City or Town State ZIP Code

 

Westfield | NJ | 07090

 

 

 

 

 

Part 4. Processing Information

1.

2.

Ifa beneficiary or beneficiaries named in Part 3. is/are outside the United States, or a requested extension of stay or change of

status cannot be granted, state the U.S. Consulate or inspection facility you want notified if this petition is approved.

a. Type of Office (select only one box): [~] Consulate [] Pre-flight inspection _[_]| Port of Entry
b. Office Address (City) c. U.S. State or Foreign Country

J

 

||

d. Beneficiary's Foreign Address

 

 

 

 

 

 

 

Street Number and Name Apt.Ste. Flr. Number

2, Main Block, North View, P and T colony, The Mall | fF] Oo

City or Town State

| Shimia Himachal Pradesh |
Province Postal Code Country

|rva | 171001 India |

 

 

 

 

Does each person in this petition have a valid passport? Yes [ ] No. [fno, go to Part 9. and type or print your
explanation.

 

Form 1-129 O1/I7/17 Y

Page 3 of 36
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| Part 4. Processing Information (continued)

 

3. Are you filing any other petitions with this one?
[-] Yes. If yes, how many? >

[x] No

4. Are you filing any applications for replacement/initial I-94, Arrival-Departure Records with this petition? Note that if the
beneficiary was issued an electronic Form I-94 by CBP when he/she was admitted to the United States at an air or sea port, he/
she may be able to obtain the Form I-94 from the CBP Website at www.cbp.gov/i94 instead of filing an application for a
replacement/initial I-94.

[_] Yes. If yes, how many? > [ No
5. Are you filing any applications for dependents with this petition?
L_] Yes. If yes, how many? > No

 

6. Is any beneficiary in this petition in removal proceedings?
[_] Yes. If yes, proceed to Part 9. and list the beneficiary's(ies) name(s). No

7. Have you ever filed an immigrant petition for any beneficiary in this petition?

 

[] Yes. If yes, how many? > | No
8. Did you indicate you were filing a new petition in Part 2.?
Yes. If yes, answer the questions below. [_] No. Ifno, proceed to Item Number 9.

a. Has any beneficiary in this petition ever been given the classification you are now requesting within the last seven years?
[-] Yes. If yes, proceed to Part 9. and type or print your explanation. No

b. Has any beneficiary in this petition ever been denied the classification you are now requesting within the last seven years?

[_] Yes. If yes, proceed to Part 9. and type or print your explanation. No

9. Have you ever previously filed a nonimmigrant petition for this beneficiary?
[ ] Yes. If yes, proceed to Part 9. and type or print your explanation. No

10. [Ifyou are filing for an entertainment group, has any beneficiary in this petition not been with the group for at least one year?

[_] Yes. If yes, proceed to Part 9. and type or print your explanation. [-] No

11.a. Has any beneficiary in this petition ever been a J-1 exchange visitor or J-2 dependent of a J-1 exchange visitor?
[_] Yes. If yes, proceed to Item Number 11.b. No

11.b. [f you checked yes in Item Number 11.a., provide the dates the beneficiary maintained status as a J-1 exchange visitor or J-2
dependent. Also, provide evidence of this status by attaching a copy of either a DS-2019, Certificate of Eligibility for Exchange
Visitor (J-1) Status, a Form [AP-66, or a copy of the passport that includes the J visa stamp.

 

 

| Part 5. Basic Information About the Proposed Employment and Employer |

 

Attach the Form I-129 supplement relevant to the classification of the worker(s) you are requesting.
1. Job Title 2. LCA or ETA Case Number
| Sr. Associate - Business Operations Analytics | | |-200-17069-878066 |

 

 

 

Form [-129 01/17/17 Y¥ Page 4 of 36
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| Part 5. Basic Information About the Proposed Employment and Employer (continued)

 

 

3. Address where the beneficiary(ies) will work if different from address in Part 1.

 

 

 

 

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number

ja Axtria's Office at 300 Connell Dr. [] [| | 5000

City or Town State ZIP Code

| Berketey Heights | [ns | | ora22 |
4. Did you include an itinerary with the petition? [] Yes No
5. Will the beneficiary(ies) work for you off-site at another company or organization's location? [_] Yes No

6. Will the beneficiary(ies) work exclusively in the Commonwealth of the Northem Mariana Islands (CNMI)? [_] Yes No

7. Is this a full-time position? Yes [| No

8. Ifthe answer to Item Number 7. is no, how many hours per week for the position? >
9. Wages:  $| 82,500.00 per (Specify hour, week, month, or year) >

10. Other Compensation (Explain)

 

 

Standard Benefits

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11, Dates of intended employment From: (mm/dd/yyyy)} 10/01/2017 To: (mm/dd/yyyy)| nainai2azn

12. Type of Business 13. Year Established
Software Development and Business Analytics | [2009

14. Current Number of Employees in the United States 15. Gross Annual Income 16. Net Annual Income
179 | Jas of Jan 2017 $38.5M

 

 

 

 

 

 

Part 6. Certification Regarding the Release of Controlled Technology or Technical Data to Foreign
Persons in the United States

 

 

 

(This section of the form is required only for H-1B, H-1B1 Chile/Singapore, L-1, and O-1A petitions. It is not required for any other
classifications. Please review the Form I-129 General Filing Instructions before completing this section.)

Select Item Number 1. or [tem Number 2. as appropriate. DO NOT select both boxes.

With respect to the technology or technical data the petitioner will release or otherwise provide access to the beneficiary, the petitioner
certifies that it has reviewed the Export Administration Regulations (EAR) and the International Traffic in Arms Regulations (ITAR)
and has determined that:

1. A license is not required from either the U.S. Department of Commerce or the U.S. Department of State to release such
technology or technical data to the foreign person; or

2. [_] A license is required from the U.S. Department of Commerce and/or the U.S. Department of State to release such technology
or technical data to the beneficiary and the petitioner will prevent access to the controlled technology or technical data by the
beneficiary until and unless the petitioner has received the required license or other authorization to release it to the
beneficiary.

 

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5 aaa
Part 7. Declaration, Signature, and Contact Information of Petitioner or Authorized Signatory (Read
the information on penalties in the instructions before completing this section.)

 

 

 

 

Copies of any documents submitted are exact photocopies of unaltered, original documents, and I understand that, as the petitioner, I
may be required to submit original documents to U.S. Citizenship and Immigration Services (USCIS) at a later date.

I authorize the release of any information from my records, or from the petitioning organization's records that USCIS needs to
determine eligibility for the immigration benefit sought. I recognize the authority of USCIS to conduct audits of this petition using
publicly available open source information. I also recognize that any supporting evidence submitted in support of this petition may be
verified by USCIS through any means determined appropriate by USCIS, including but not limited to, on-site compliance reviews.

If filing this petition on behalf of an organization, I certify that I am authorized to do so by the organization.

I certify, under penalty of perjury, that I have reviewed this petition and that all of the information contained in the petition, including
all responses to specific questions, and in the supporting documents, is complete, true, and correct.

1. Name and Title of Authorized Signatory

 

 

 

 

 

Family Name (Last Name) Given Name (First Name)
Singh Romi

Title
Director-Staffing Solutions

 

 

 

2. Signature and Date

 

 

 

 

 

Signature of Authorized Signatory Date of Signature
|---| (mmidd/yyyy)] 3 22 fre ps
3. Signatory's Contact Information

Daytime Telephone Number Email Address (if any)

9089884690 romi.singh@axtria.com

 

 

 

 

NOTE: If you do not fully complete this form or fail to submit the required documents listed in the instructions, a final decision on your
petition may be delayed or the petition may be denied.

 

Part 8. Declaration, Signature, and Contact Information of Person Preparing Form, If Other Than
Petitioner

 

 

 

Provide the following information concerning the preparer:

1. Name of Preparer
Family Name (Last Name) Given Name (First Name)
Pradhan | Preeti

 

 

 

 

2.‘ Preparer's Business or Organization Name (if any)

(If applicable, provide the name of your accredited organization recognized by the Board of Immigration Appeals (BIA).)

 

 

 

TransNational Legal Service PC

 

 

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Part 8. Declaration, Signature, and Contact Information of Person Preparing Form, If Other Than
Petitioner (continued)

 

 

 

3. Preparer's Mailing Address

 

 

 

 

 

 

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
| 1955 W. Hamlin Rd [| [ ] | 100
City or Town State ZIP Code
Rochester Hills MI 48309
Province Postal Code Country
na | n/a | United States

 

 

4.‘ Preparer's Contact Information

Daytime Telephone Number Fax Number Email Address (if any)
248-844-0700 248-844-0345 | |preeti@tnis.com

 

 

 

 

 

Preparer's Declaration

By my signature, I certify, swear, or affirm, under penalty of perjury, that I prepared this petition on behalf of, at the request of, and
with the express consent of the petitioner or authorized signatory. The petitioner has reviewed this completed petition as prepared by
me and informed me that all of the information in the form and in the supporting documents, is complete, true, and correct.

5. Signature and Date

Signatuic of Prepares Fi Date of Siguature

Pret} cnmidayyyy)(_03 ye 127) _|

 

 

 

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H Classification Supplement to Form I-129 USCIS
Form I[-129
Department of Homeland Security OMB No. 1615-0009
U.S. Citizenship and Immigration Services Expires 12/31/2018

 

 

1. Name of the Petitioner
| axtria INC

 

 

Name of the beneficiary or if this petition includes multiple beneficiaries, the total number of beneficiaries

2.a. Name of the Beneficiary
| Shikha KANWAR

 

OR

2.b. Provide the total number of beneficiaries |

3. List each beneficiary's prior periods of stay in H or L classification in the United States for the last six years (beneficiaries
requesting H-2A or H-2B classification need only list the last three years). Be sure to only list those periods in which each
beneficiary was actually in the United States in an H or L classification. Do not include periods in which the beneficiary was in a
dependent status, for example, H-4 or L-2 status.

 

NOTE: Submit photocopies of Forms I-94, I-797, and/or other USCIS issued documents noting these periods of stay in the H or
L classification. (If more space is needed, attach an additional sheet.)

Period of Stay (mm/dd/yyyy)

Subject's Name From To

 

4. Classification sought (select only one box):
a. H-1B Specialty Occupation
b. H-1B1t Chile and Singapore

c. H-1B2 Exceptional services relating to a cooperative research and development project administered by the U.S.
Department of Defense (DOD)

. H-1B3 Fashion model of distinguished merit and ability
e. H-2A Agricultural worker

f. H-2B Non-agricultural worker

OOUOO OU

g. H-3 Trainee

h. H-3 Special education exchange visitor program

5. Are you filing this petition on behalf of a beneficiary subject to the Guam-CNMI cap exemption under Public Law 110-229?
[] Yes No

6. Are you requesting a change of employer and was the beneficiary previously subject to the Guam-CNMI cap exemption under
Public Law 110-229?

[| Yes No
7.a. Does any beneficiary in this petition have ownership interest in the petitioning organization?
[-] Yes. [f yes, please explain in Item Number 7.b. No

 

Form [-129 OL/I17/17_ Y H Classification Supplement Page 13 of 36
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[a a LL a RS]

7b. Explanation

 

 

 

Section 1. Complete This Section If Filing for H-1B Classification

 

1. Describe the proposed duties.

Please see attached petition leller

 

 

2. Describe the beneficiary's present occupation and summary of prior work experience.

Please see attached petition letter

 

 

 

tatement for H-1B cialty Occupations and H-1B1 Chile and Singapore

By filing this petition, I agree to, and will abide by, the terms of the labor condition application (LCA) for the duration of the
beneficiary's authorized period of stay for H-1B employment. I certify that I will maintain a valid employer-employee relationship
with the beneficiary at all times. If the beneficiary is assigned to a position in a new location, I will obtain and post an LCA for that
site prior to reassignment.

I further understand that I cannot charge the beneficiary the ACWIA fee, and that any other required reimbursement will be
considered an offset against. wages and benefits paid relative to the LCA,

Signature of Petitioner Name of Petitioner Date (mm/dd/yyyy)

 

= |. ee ee | | Romi R Singh, Director-Staffing Solutions | [o>/ oy fiery |

—>

Statement for H-1B Specialty Occupations and U.S. Department of Defense D) Projects

As an authorized official of the employer, I certify that the employer will be liable for the reasonable costs of return transportation of
the alien abroad if the beneficiary is dismissed from employment by the employer before the end of the period of authorized stay.

 

Signature of Authorized Official of Employer Name of Authorized Official of Employer Date (mm/dd/yyyy)
| ee — _ = “ SS ; | | Romi R Singh, Director-Staffing Solutions o3 {22 1261) |

 

 

Statement for H-1B U.S. Department of Defense Projects Only

I certify that the beneficiary will be working on a cooperative research and development project or a co-production project under a
reciprocal government-to-government agreement administered by the U.S. Department of Defense.

Signature of DOD Project Manager Name of DOD Project Manager Date (mm/dd/yyyy)

| | | | |

Section 2. Complete This Section If Filing for H-2A or H-2B Classification |

 

 

 

1. Employment is: (select only one box)
[_] a. Seasonal [_] b. Peak load [_] c. Intermittent [_] d. One-time occurrence
2. Temporary need is: (select only one box)

[_] a. Unpredictable [] b. Periodic [_] ¢. Recurrent annually

 

Form I-129 OW/17/17 Y H Classification Supplement Page 14 of 36
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Filing Fee Exemption Supplement USCIS
Form I-129
Department of Homeland Security OMB No. 1615-0009
U.S. Citizenship and Immigration Services Expires 12/31/2018

 

 

1. Name of the Petitioner
Axtria INC

 

 

2. Name of the Beneficiary
Shikha KANWAR

 

 

 

 

Section 1. General Information

 

 

1. Employer Information - (select all items that apply)

a. Is the petitioner an H-1B dependent employer? Yes [_]No
b. Has the petitioner ever been found to be a willful violator? L]Yes [x]No
c. Is the beneficiary an H-1B nonimmigrant exempt from the Department of Labor attestation [x]Yes [_]No
requirements?
c.1. [f yes, is it because the beneficiary's annual rate of pay is equal to at least $60,000? [x]Yes [_]No
c.2. Or is it because the beneficiary has a master's degree or higher degree in a specialty related to [x]Yes []No
the employment?
d. Does the petitioner employ 50 or more individuals in the United States? [x]Yes [_]No
d.1. If yes, are more than 50 percent of those employees in H-1B, L-1A, or L-1B nonimmigrant [_]Yes No
status?

2. Beneficiary's Highest Level of Education (select only one box)

[_] a. NO DIPLOMA [_] f. Bachelor's degree (for example: BA, AB, BS)
[_] b. HIGH SCHOOL GRADUATE DIPLOMA or [x] &- Master's degree (for example: MA, MS, MEng, MEd,
the equivalent (for example: GED) MSW, MBA)
[ ] ¢. Some college credit, but less than 1 year [| h. Professional degree (for example: MD, DDS, DVM, LLB, JD)
[_] d. One or more years of college, no degree [_] i. Doctorate degree (for example: PhD, EdD)

[_] e. Associate's degree (for example: AA, AS)

3. Major/Primary Field of Study

| Master of Science in Business Analytics and Project Management

 

 

4. Rate of Pay Per Year 5. DOT Code 6. NAICS Code
| $82,500.00/year 0 2 #0 5 41,5 1° 1

 

 

 

 

 

 

 

 

 

 

 

Section 2. Fee Exemption and/or Determination

 

In order for USCIS to determine if you must pay the additional $1,500 or $750 American Competitiveness and Workforce
Improvement Act (ACWIA) fee, answer all of the following questions:

1. Are you an institution of higher education as defined in section 101(a) of the Higher [_] Yes No
Education Act of 1965, 20 U.S.C. 1001 (a)?

2. Are you a nonprofit organization or entity related to or affiliated with an institution of higher education, (_] Yes No
as defined in 8 CFR 214.2(h)(19)(iii)(B)?

 

Form I[-129 OL/I7/17 Y H-1B and H-1B1 Data Collection and Filing Fee Exemption Supplement Page 19 of 36
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SS SS SSS SS eel

 

Section 2. Fee Exemption and/or Determination (continued)

 

 

3. Are you a nonprofit research organization or a governmental research organization, as defined in 8 CFR [_] Yes No
214.2(h)(19)Gii)(C)?

4. Is this the second or subsequent request for an extension of stay that this petitioner has filed for this ] Yes No
alien?

5. Is this an amended petition that does not contain any request for extensions of stay? [_] Yes No

6. Are you filing this petition to correct a USCIS error? [|] Yes No

7. Is the petitioner a primary or secondary education institution? [ | Yes No

8. Is the petitioner a nonprofit entity that engages in an established curriculum-related clinical training of [_] Yes No

students registered at such an institution?

If you answered yes to any of the questions above, you are not required to submit the ACWIA fee for your H-1B Form I-129 petition.
If you answered no to all questions, answer Item Number 9. below.

9. Do you currently employ a total of 25 or fewer full-time equivalent employees in the United States, [_] Yes No
including all affiliates or subsidiaries of this company/organization?

If you answered yes, to Item Number 9. above, you are required to pay an additional ACWIA fee of $750. If you answered no, then
you are required to pay an additional ACWIA fee of $1,500.

NOTE: A petitioner seeking initial approval of H-1B nonimmigrant status for a beneficiary, or seeking approval to employ an H-1B
nonimmigrant currently working for another employer, must submit an additional $500 Fraud Prevention and Detection fee. For
pctitions filed on or after December 18, 2015, an additional fee of $4,000 must be submitted if you responded ycs to Item Numbers
1.d. and 1.d.1. of Section 1. of this supplement. This $4,000 fec was mandatcd by the provisions of Public Law 114-113.

The Fraud Prevention and Detection Fee and Public Law 114-113 fee do not apply to H-1B1 petitions. These fees, when applicable,
may not be waived. You must include payment of the fees when you submit this form. Failure to submit the fees when required will
result in rejection or denial of your submission. Each of these fees should be paid by separate checks or money orders.

 

Section 3. Numerical Limitation Information

 

 

 

1. Specify the type of H-1B petition you are filing. (select only one box):
[_] a. CAP H-1B Bachelor's Degree [] « CAP H-IBI1 Chile/Singapore
[x] b. CAP H-1B U.S. Master's Degree or Higher [] d. CAP Exempt

2. Ifyou answered Item Number 1.b. "CAP H-1B U.S. Master's Degree or Higher,” provide the following information regarding
the master’s or higher degree the beneficiary has earned from a U.S. institution as defined in 20 U.S.C. 1001 (a):

a. Name of the United States Institution of Higher Education

 

University of Connecticut

 

b. Date Degree Awarded c. Type of United States Degree

12/18/2016 | Master of Science in Business Analytics and Project Management |

d. Address of the United States institution of higher education

 

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
| 2100 Hilside Ra (1 O | sd
City or Town State ZIP Code

Storrs CT 06268

 

 

 

 

 

 

 

 

Form 1-129 O1/17/17 Y H-1B and H-(B1 Data Collection and Filing Fee Exemption Supplement Page 20 of 36
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- | Section 3. Numerical Limitation Information (continued)

 

3.

If you answered Item Number L.d. "CAP Exempt," you must specify the reason(s) this petition is exempt from the numerical
limitation for H-1B classification:

L_] a. The petitioner is an institution of higher education as defined in section 101(a) of the Higher Education Act, of 1965,
20 U.S.C. 1001 (a).

[_] b. The petitioner is a nonprofit entity related to or affiliated with an institution of higher education as defined in 8 CFR

214.2(h)(8)Gi)(F)(2).

¢. The petitioner is a nonprofit research organization or a governmental research organization as defined in 8 CFR
214.2(h)(8)(ii( FB).

d. The beneficiary will be employed at a qualifying cap exempt institution, organization or entity pursuant to 8 CFR
214.2(h)(8) ii) (F)(4).

The petitioner is requesting an amendment to or extension of stay for the beneficiary's current H-1B classification.

f. The beneficiary of this petition is a J-1 nonimmigrant physician who has received a waiver based on section 214(1)
of the Act.

O OO oO

g. The beneficiary of this petition has been counted against the cap and (1) is applying for the remaining portion of the
6 year period of admission, or (2) is seeking an extension beyond the 6-year limitation based upon sections 104(c) or
106(a) of the American Competitiveness in the Twenty-First Century Act (AC21).

[_] h. The petitioner is an employer subject to the Guam-CNMI cap exemption pursuant to Public Law 110-229,

 

| Section 4. Off-Site Assignment of H-1B Beneficiaries

 

 

1.

The beneficiary of this petition will be assigned to work at an off-site location for all or part of the (J Yes No
period for which H-1B classification sought.

If no, do not complete Item Numbers 2. and 3.

Placement of the beneficiary off-site during the period of employment will comply with the statutory []Yes [[]No
and regulatory requirements of the H-1B nonimmigrant classification.

The beneficiary will be paid the higher of the prevailing or actual wage at any and ail off-site locations. []¥es [_]No

 

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Suite 1300
TXT Berkeley Heights, NJ 07922
1X / dx (908) 988-4690
INGENIOUS RLA www.axtria.com

March 27, 2017

Director

United States Department of Homeland Security
Citizenship & Immigration Service

Vermont Service Center

RE: SHIKHA KANWAR - PETITION FOR CHANGE OF STATUS TO H-1B.
POSITION OFFERED: SR. ASSOCIJATE-BUSINESS OPERATIONS ANALYTICS
Dear Director:

INTRODUCTION:

Axtria is a Big Data and Analytics company which combines industry knowledge, analytics and technology to
deliver solutions that help our clients make better data driven decisions. Axtria partners deeply with clients to
accelerate profitable growth by building capabilities and a culture of data-driven decision making. Axtria serves
clients with a strong onshore presence, and has built a global delivery model that is committed to delivering high
quality, high-impact solutions for our clients and to building a world-class firm with enduring value with efficient
execution, innovation and virtualization. We engage with innovative solution design, and our ‘everything-as-a-
service’ approach adapts to our clients’ changing business needs — turning services on/off, scaling resources to
support product launches, etc.

Our unique team combines real-world business knowledge, a depth of analytical skill, aud experieuce wilh (he
lalest technologies. Those who excel at Axtria share a number of common qualities- they are smart and have the
analytical toolkit to put their intelligence to work. They are passionate about data and analytics, and they are
constantly learning — recognizing this drives career development, client value and firm growth. They are
entrepreneurial, and are energized by the idea of creating something new. We offer attractive performance-based
compensation packages including salary, bonus, profit sharing and stock options. Our staffing model offers a
variety of flexible working arrangements. Comprehensive benefits are available including health insurance, life
insurance, flex spend, and 401k with company match. Established in 2009, Axtria currently employs almost 180
employees and has annual revenue of about $ 38.5 Million.

We require the services of Shikha Kanwar as a Sr. Associate-Business Operations Analytics.

JOB DUTIES OF SHIKHA KANWAR AS A SR. ASSOCIATE-BUSINESS OPERATIONS ANALYTICS

1. Understand the client's business requirement - 10%
e Understand the client’s requirement and assist in presenting a solution.
Evaluate results of experimentally designed tests, and communicate test learning to clients
Responsible for Knowledge transfer and arriving at SLAs for steady state
Manage communication and client expectations through for each initiative/project;

2. Analytics Solution Delivery - 75%
e Manage concurrent projects ensuring exceptional client satisfaction and on-time delivery
e Work on projects with peers and senior colleagues to deliver existing analytics solutions for clients.
e Application of advanced statistical, econometric and optimization models and algorithms to real-
world business problems
Apply sound data management practices to ensure data consistency, quality and ease of access
e Develop new statistical models as well as provide analysis using existing models
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e Responsible for delivery of assigned module/ components /phases of a project.
e Responsible for Status reporting

3. Axtria’s Capabilities Development. - 15%
e Develop and maintain skills to the highest standards to identify best practices and emerging trends in
analytics, both within and outside the domain.

SHIKHA KANWAR’S QUALIFICATIONS:

In light of the above job duties, this position requires a minimum of a bachelor’s degree in a field directly related to
the specialty or its equivalent in education or work experience. Shikha Kanwar satisfies the requirement for the H-
1B specialty occupation as she has Master of Business Analytics and Project Management from University of
Connecticut School of Business, USA and a Bachelor of Technology in Electronics and Communication
Engineering from India.

An individual without college specialization in one of these areas would be unable to perform the duties expected
of him/her and maintain the viability of the company. Consequently, the nature of these duties marks the position
as a specialty occupation within the meaning of the definition of the Occupational Outlook Handbook.

LOCATION OF WORK:

The Establishment, venue and location of the service that will be performed is at Axtria’s Office at 300 Connell
Dr., Ste. 5000, Berkeley Heights, NJ 07922. Upon H1B approval by USCIS, Shikha Kanwar will be part of
Axtria’s team tasked with the development, implementation, and enhancement of analytics solutions under various
Master Services Agreements (MSAs) between Axtria and its clients. There are several active projects at any given
time under various MSAs and/or other instruments. Shikha Kanwar’s employment with Axtria is not limited to the
expiration of any one particular Axtria MSA. Axtria has hundreds of active projects across clients and enclosed are
Axtria’s agreements with some of these clients which are amended periodically.

RIGHT TO CONTROL

Shikha Kanwar will be employed by Axtria in valid H-1B status in the U.S. where she will perform professional
specialty occupation services in the capacity of Sr. Associate - Business Operations Analytics. Axtria will remain
Shikha Kanwar’s actual employer throughout the term of this service agreement.

Axtria will have a traditional employer-employee relationship with Shikha Kanwar. She will work at our office at
300 Connell Dr., Ste. 5000, Berkeley Heights, NJ 07922 which is leased by Axtria; Shikha Kanwar will work in
our offices and report on a regular basis to the President & CEO of Axtria, Inc., through Head of Consulting; her
work schedule will be set and performance will be monitored in accordance with the standard company procedures.
She will use our tools/instrumentalities, to perform the duties of her employment, and her supervisor will directly
review her work-product. Axtria, will claim Shikha Kanwar for tax purposes and provide standard benefits to her,
just as it is currently doing for most of our current in house workers. Axtria has agreed to employ Shikha Kanwar,
contingent upon approval of this H-1B petition.

THE FOLLOWING IS AXTRIA INC.’S AGREEMENT WITH SHIKHA KANWAR:

Shikha Kanwar will work on a temporary basis, pursuant to the conditions of the H-1B petition.

Her job title will be Sr. Associate-Business Operations Analytics.

Axtria Inc. will be her actual employer and will pay her.

Her annual salary paid by Axtria Inc. will be $82,500.00

Axtria Inc. will be responsible for paying, hiring, firing, supervising and controlling Shikha Kanwar from the
corporate office located at 400 Connell Dr., Ste. 1300, Berkeley Heights, NJ 07922.

6. Axtria reserves the right to assign additional work to Shikha Kanwar as necessary.

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Regardless of the terms mentioned above, Axtria reserves the right to terminate the employment with or
without cause or advance notice.

We would be grateful if this H-1B petition is approved.

Sincerely,

Romi Singh
Director — Staffing Solutions
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OMB Approval: 1205-0310
Expiration Date: 05/31/2018
Labor Condition Application for Nonimmigrant Workers
ETA Form 9035 & 9035E
U.S. Department of Labor

 

 

Electronic Filing of Labor Condition Applications
For The H-1B Nonimmigrant Visa Program

This Department of Labor, Employment and Training Administration (ETA), electronic filing system enables an employer to file a Labor
Condition Application (LCA) and obtain certification of the LCA. This Form must be submitted by the employer or by someone authorized to
act on behalf of the employer.

A) | understand and agree that, upon my receipt of ETA's certification of the LCA by electronic response to my submission, | must take the
following actions at the specified times and circumstances:
print and sign a hardcopy of the electronically filed and certified LCA;
. maintain a signed hardcopy of this LCA in my public access files;
. submit a signed hardcopy of the LCA to the United States Citizenship and Immigration Services (USCIS) in support of the I-129, on the
date of submission of the I-129;
. provide a signed hardcopy of this LCA to each H-1B nonimmigrant who is employed pursuant to the LCA,

re Yes O No

B) | understand and agree that, by filing the LCA electronically, | attest that all of the statements in the LCA are true and accurate and that |
am undertaking all the obligations that are set out in the LCA (Form ETA 9035E) and the accompanying instructions (Form ETA 9035CP).

ot Yes UO No

C) | hereby choose one of the following options, with regard to the accompanying instructions:

U) ! choose to have the Form ETA 9035CP electronically attached to the certified LCA, and to be bound by the LCA obligations as
explained in this form

wv | choose not to have the Form ETA 9035CP electronically attached to the certified LCA, but | have read the instructions and | understand
that | am bound by the LCA obligations as explained in this form

 

ETA Form 9035/9035E Attestation FOR DEPARTMENT OF LABOR USE ONLY Page | of I

Case Number 1-200-17069-878066 Case Status: CERTIFIED Period of Employment: 09/09/2017 to __99/09/2020

 
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 25 of 224

OMB Approvai: 1205-0310
Expiration Date: 05/31/2018

Labor Condition Application for Nonimmigrant Workers
ETA Form 9035 & 9035E
U.S. Department of Labor

 

 

Please read and review the filing instructions carefully before completing the ETA Form 9035 or 9035E. A copy of the instructions can
be found at htto;/www.foreignlaborcert.doleta.gay/. in accordance with Federal Regulations at 20 CFR 655.730(h), incomplete or
obviously inaccurate Labor Condition Applications (LCAs) will not be certified by the Department of Labor. If the employer has
received permission from the Administrator of the Office of Foreign Labor Certification to submit this form non-electronically, ALL
required fields/items containing an asterisk (* ) must be campleted as well as any fields/items where a response is conditional as
indicated by the section ( § ) symbol.

 

A. Employment-Based Nonimmigrant Visa Information

 

1. Indicate the type of visa classification supported by this application (Write classification symbol): * H-1B

 

 

 

B. Temporary Need Information

 

 

 

 

1. Job Title” sp ASSOCIATE - BUSINESS OPERATIONS ANALYSTICS
2. SOC (ONET/OES) code * 3. SOC (ONET/OES) occupation title *
15-2031 OPERATIONS RESEARCH ANALYSTS
4. Is this a full-time position? * Period of Intended Employment
Wes No 5. Begin Date” g¢/99/2017 6. End Date * 99/09/2020
(mm/dd/yyyy) (mm/dd/yyyy)

 

 

 

7. Worker positions needed/basis for the visa classification supported by this application

 

2 | Total Worker Positions Being Requested for Certification *

Basis for the visa classification supported by this application
(indicate the total workers in each applicable category based on the total workers identified above)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 a. New employment * 0 d. New concurrent employment *
0 b. Continuation of previously approved employment * 0 e. Change in employer *
without change with the same employer
0 c. Change in previously approved employment * 0 f. Amended petition ”
C. Employer Information
1. Legal business name *
AXTRIA, INC.
2. Trade name/Doing Business As (DBA), if applicable N/A
3. Add 1*
“SS "400 CONNELL DR, STE 1300
4. Address 2
N/A
5, City BERKELEY HEIGHTS 6. State NJ 7. Postal code 07922
8. Country * 9. Province
UNITED STATES OF AMERICA N/A
10. Telephone number * 8779298742 11. Extension N/A
"12. Federal Employer Identification Number (FEIN from IRS) * ‘| 13. NAICS code (must be at least 4-digits) *
271142668 541511
ETA Form 9035/9035E FOR DEPARTMENT OF LABOR USE ONLY Page | of 5

Case Number: |-200-17069-878066 Case Status: CERTIFIED Period of Employment: 09/09/2017 tg 09/09/2020
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Labor Condition Application for Nonimmigrant Workers
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D. Employer Point of Contact Information

Important Note: The information contained in this Section must be that of an employee of the employer who is authorized to act on behalf of
the employer in labor certification matters. The information in this Section must be different fram the agent or attorney information listed in
Section E, unless the attorney is an employee of the employer.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Contact’s last (family) name * 2. First (given) name * 3. Middle name(s) *
SINGH ROMI R
4. Contact's job title" DiRECTOR - STAFFING SOLUTIONS
5. Address 1" 499 CONNELL DR, STE 1300
6. Address 2 N/A
7. City * BERKELEY HEIGHTS 8. State * NJ 9. Postal code * 07922
10. Country * 11. Province
UNITED STATES OF AMERICA N/A
12. Telephone number * 13. Extension | 14. E-Mail address
8779298742 N/A IMMIGRATION@AXTRIA.COM
E. Attorney or Agent Information (If applicable)
1. Is the employer represented by an attorney or agent in the filing of this application? * af Yes O No
If “Yes”, complete the remainder of Section E below.
2. Attorney or Agent's last (family) name § 3. First (given) name § 4. Middle name(s) §
PISTON MICHAEL EDWARD
5. Address 1 § 4955 WEST HAMLIN ROAD
6. Address 2 STE. 100 a - - -
7. City § 8. State § 9. Postal code §
ROCHESTER HILLS MI 48309
10. Country § 11. Province
UNITED STATES OF AMERICA N/A
12. Telephone number § 13. Extension 14. E-Mail address
2488440700 \3 PREETI@TNLS.COM
15. Law firm/Business name § 16. Law firm/Business FEIN §
TRANSNATIONAL LEGAL SERVICES, P.C. 383305483
“17. State Bar number (only if attorney) § 18. State of highest court where attorney is in good
standing (only if attorney) §
P34568 Mi
19. Name of the highest court where attorney is in good standing (only if attorney) §
SUPREME COURT

 

 

 

 

ETA Form 9035/9035E FOR DEPARTMENT OF LABOR USE ONLY Page 2 of 5

Case Number |-200-17069-878066 Case Status: CEU FIER Period of Employment: 09/09/2017 _to 09/09/2020
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Labor Condition Application for Nonimmigrant Workers
ETA Form 9035 & 9035E
U.S. Department of Labor

 

 

F. Rate of Pay

1. Wage Rate (Required) 2. Per: (Choose only one) *
From: $ 70009.00 +

 

O Hour O Week Oj Bi-Weekly O Month WM Year
To: $ 85000.00

 

 

 

 

 

G. Employment and Prevailing Wage Information

Important Note: It is important for the employer to define the place of intended employment with as much geographic specificity as possible
The place of employment address listed below must be a physical location and cannot be a P.O. Box. The employer may use this section
to identify up to three (3) physical locations and corresponding prevailing wages covering each location where work will be performed and
the electronic system will accept up to 3 physical locations and prevailing wage information. If the employer has received approval from the
Department of Labor to submit this form non-electronically and the work is expected to be performed in more than one location, an
attachment must be submitted in order to complete this section.

a. Place of Employment 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Address 1 *
300 CONNELL DRIVE, STE 5000
2. Address 2
3. City * 4. County *
BERKELEY HEIGHTS UNION _
5. State/District/Territory * 6. Postal code *
NJ 07922
Prevailing Wage Information (corresponding to the place of employment location listed above)
7. Agency which issued prevailing wage § 7a. Prevailing wage tracking number (if applicable) §
N/A N/A
8. Wage level *
| Ott Oil OW O N/A
9. Prevailing wage * 10. Per: (Choose only one) *
$ 67829.00 O Hour © Week OF Bi-Weekly O Month m& Year
11. Prevailing wage source (Choose only one) *
& OES Q CBA Q DBA a SCA Q Other
11a. Year source published * | 11b. If “OES”, and SWA/NPC did not issue prevailing wage OR “Other’ in question 11,
specify source §
2016 OFLC ONLINE DATA CENTER

 

 

 

 

 

H. Employer Labor Condition Statements

/ important Note: |n order for your application to be processed, you MUST read Section H of the Labor Condition Application — General

Instructions Form ETA 9035CP under the heading “Employer Labor Condition Statements” and agree to all four (4) labor condition statements
summarized below:
(1) Wages: Pay nonimmigrants at least the local prevailing wage or the employer's actual wage, whichever is higher, and pay for non-
productive time. Offer nonimmigrants benefits on the same basis as offered to U.S. workers.
(2) Working Conditions: Provide working conditions for nonimmigrants which will not adversely affect the working conditions of
workers similarly employed.
(3) Strike, Lockout, or Work Stoppage: There is no strike, lockout, or work stoppage in the named occupation at the place of
employment.
(4) Notice: Notice to union or to workers has been or will be provided in the named occupation at the place of employment. A copy of
this form will be provided to each nonimmigrant worker employed pursuant to the application.

 

1. Lhave read and agree to Labor Condition Statements 1, 2, 3, and 4 above and as fully explained in Section H a Yes UNo
of the Labor Condition Application — General Instructions — Form ETA 9035CP. *

 

 

 

 

 

ETA Form 9035/9035E FOR DEPARTMENT OF LABOR USE ONLY Page 3 of 5

Case Number: |-200-17069-878068 Case Status: CERTIFIED Period of Employment: ___ 99/09/2017 tg__—-09/09/2020
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Expiration Date 05/31/2018

Labor Condition Application for Nonimmigrant Workers
ETA Form 9035 & 9035E
U.S. Department of Labor

 

 

|. Additional Employer Labor Condition Statements — H-1B Employers ONLY

 

/ Important Note: In order for your H-1B application to be processed, you MUST read Section | — Subsection 1 of the Labor Condition
Application — General Instructions Form ETA 9035CP under the heading “Additional Employer Labor Condition Statements” and answer the
questions below.

a. Subsection 1

 

 

 

 

1. Is the employer H-1B dependent? § WYes ONo

2. Is the employer a willful violator? § QYes WNo

3. If “Yes” is marked in questions |.1 and/or 1.2, you must answer “Yes” or “No” regarding whether the

employer will use this application ONLY to support H-1B petitions or extensions of status for exempt H-1B Yes QNo ONA
nonimmigrants? § _

 

 

If you marked “Yes” to questions I.1 and/or |.2 and “No” to question I.3, you MUST read Section | — Subsection 2 of the Labor
Condition Application — General Instructions Form ETA 9035CP under the heading “Additional Employer Labor Condition
Statements” and indicate your agreement to all three (3) additional statements summarized below.

b. Subsection 2

A. Displacement: Non-displacement of the U.S. workers in the employer's workforce
B. Secondary Displacement: Non-displacement of U.S. workers in another employer's workforce; and
C. Recruitment and Hiring: Recruitment of U.S. workers and hiring of U.S. workers applicant(s) who are equally or better qualified
than the H-1B nonimmigrant(s).
4, Lhave read and agree to Additional Employer Labor Condition Statements A, B, and C above and as fully
explained in Section | — Subsections 1 and 2 of the Labor Condition Application — General Instructions Form ETA} OJ Yes QO No

9035CP. §

 

 

 

 

J. Public Disclosure Information

/ Important Note: You must select from the options listed in this Section.

 

1. Public disclosure information will be kept at: * a Employer's principal place of business
QO Place of employment

 

 

 

 

K. Declaration of Employer

By signing this form, |, on behalf of the employer, attest that the information and labor condition statements provided are true and accurate;
that | have read sections H and | of the Labor Condition Application — General Instructions Form ETA 9035CP, and that | agree to comply with
the Labor Condition Statements as set forth in the Labor Condition Application — General Instructions Form ETA 9035CP and with the
Department of Labor regulations (20 CFR part 655, Subparts H and |). | agree to make this application, supporting documentation, and other
records available to officials of the Department of Labor upon request during any investigation under the Immigration and Nationality Act.
Making fraudulent representations on this Form can lead to civil or criminal action under 18 U.S.C. 1001, 18 U.S.C. 1846, or other provisions

of law.

 

 

 

 

1. Last (family) name of hiring or designated official * | 2. First (given) name of hiring or designated official *| 3. Middle initial *
SINGH ROMI R

 

 

 

4. Hiring or designated official title *
DIRECTOR-STAFFING SOLUTIONS

 

 

 

 

 

 

5. Signature* sey 6. Date signed *
a > _ os /
a =e oy fare er
ETA Form 9035/9035E FOR DEPARTMENT OF LABOR USE ONLY Page 4 of 5

Case Number: _|-200-17089-878066 Case Status: CERTIFIED Period of Employment; __09/09/2017 to 09/09/2020
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Expiration Date: 05/31/2018

  
 

Labor Condition Application for Nonimmigrant Workers
ETA Form 9035 & 9035E
U.S. Department of Labor

 

L. LCA Preparer

 

Important Nyle. Curplele this section ile prepare: of his LCA is a person ollter than the une identified int eile: Section D (employer pil
of contact) or E (attorney or agent) of this application.
1. Last (family) name § 2. First (given) name § 3. Middle initial §
RENGARAJ REVATHY N/A

 

 

 

4. Firm/Business name §
TRANSNATIONAL LEGAL SERVICES, PC

 

5. E-Mail address § REVATHI@TNLS.COM

 

 

 

 

M. U.S. Government Agency Use (ONLY)

By virtue of the signature below, the Department of Labor hereby acknowledges the following:
. eo . 09/09/2017 09/09/2020

This certification is valid from to

Certepayunig BFE - 03/16/2017

 

 

 

 

 

“ if 4
Departmertléf Labor, Office of Foreign Labor Certification Determination Date (date signed)
|-200-17069-878066 CERTIFIED
Case number Case Status

The Department of Labor is not the guarantor of the accuracy, truthfulness, or adequacy of a certified LCA.

 

N. Signature Notification and Complaints

The signatures and dates signed on this form will not be filled out when electronically submitting to the Department of Labor for processing,
but MUST be complete when submitting non-electronically. If the application is submitted electronically, any resulting certification MUST be
signed immediately upon receipt from the Department of Labor before it can be submitted to USCIS for further processing.

Complaints alleging misrepresentation of material facts in the LCA and/or failure to comply with the terms of the LCA may be filed using the
WH-4 Form with any office of the Wage and Hour Division, Employment Standards Administration, U.S. Department of Labor. A listing of the
Wage and Hour Division offices can be obtained at http://www.dol.gov/esa. Complaints alleging failure to offer employment to an equally or
better qualified U.S. worker, or an employer's misrepresentation regarding such offer(s) of employment, may be filed with the U.S. Department
of Justice, Office of the Special Counsel for Immigration-Related Unfair Employment Practices, 950 Pennsylvania Avenue, NW, Washington,
DC, 20530. Please note that complaints should be filed with the Office of Special Counsel at the Department of Justice only if the violation is
by an employer who is H-1B dependent or a willful violator as defined in 20 CFR 655.710(b) and 655, 734(a)(1)(ii).

 

O. OMB Paperwork Reduction Act (1205-0310)

These reporting instructions have been approved under the Paperwork Reduction Act of 1995. Persons are not required to respond to this
collection of information unless it displays a currently valid OMB control number. Obligations to reply are mandatory (Immigration and
Nationality Act, Section 212(n) and (t) and 214(c). Public reporting burden for this collection of information, which is to assist with program
management and to meet Congressional and statutory requirements is estimated to average 1 hour per response, including the time to
review instructions, search existing data sources, gather and maintain the data needed, and complete and review the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for
reducing this burden, to the U.S. Department of Labor, Room C-4312, 200 Constitution Ave. NW, Washington, DC 20210. (Paperwork
Reduction Project OMB 1205-0310.) Do NOT send the completed application to this address.

 

ETA Form 9035/9035E FOR DEPARTMENT OF LABOR USE ONLY Page 5 of 5

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LCA LOG
2 Positions
ETA Case# I-200-17069-878066

List of beneficiaries for whom H1-B petition has been applied for, on the
Labor Condition Application ETA No. I-200-17069-878066 approved
for Axtria Inc.

 

 

Job Title: Sr. Associate — Business Operations Analytics

Salary Range: $70,000 - $85,000 /year

Place of Employment: 300 Connell Dr., Ste 5000, Berkeley Heights, NJ
07922

NAME TITLE Hi receipt #

1. Shikha Kanwar Sr. Associate — Business Operations Analytics not received yet

2. Cheng Wang Sr. Associate — Business Operations Analytics not received yet
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 31 of 224

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 32 of 224

Lauren On3racia.
Unwersty Registre

 

 

Send To:  Shikha Kanwar
9 Owen Street
Apt ..303
Hartford, CT 06105
)
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Gegree : Master of Science
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Page 1 of Y y

 

 

 

 

 

 

  

 

 

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 33 of 224

UCONN

UNIVERSITY OF CONNECTICUT

. January 12, 2017

— Shikha Kanwar
9 Owen Street
Apt. 303
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is mse
ries eb m pleased 1 to certify that you have conmpleted all requirements for the S aster of

cs. fe Science degree in Business Analytics and Project Management, effective ue :
- December 18, BOs. Your conferral date for the degree is December ba 2016, Bl Ne

 

AB een

ae . For your ‘ntiotnistion: the graduate commencement ceremony i is held once each year in fre :
i . } early May. Information concerning the ceremony is not mailed but is posted to Mie fee Se
Bea Graduate School web site (at http: www graduconn.edu/) by the middle of the prec eediigg ou
l en February. This posting. contains all of the information and due lates you will eel if you ' mt e
f' me wish to participate ina commencement ceremony. Students completing deurees aes it : oa a! Bat ih
= the twelve months preepeling the ceremony are eligible to paruicipate, | a
By teg :

5 By “You have my acaghemulaticns and d Dest wishes forthe future, ee ina ane

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 35 of 224

 

 

OFFICE OF THE DEAN (ACADEMICS)
NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR-177 005
HIMACHAL PRADESH (INDIA).
Dean(Academics): +91 1972 254006/25462
Website: http: /www.nith.ac.in/ Fax:+91 1972 223834
AR(Academics) :+91 1972 254072

 

 

 

TRANSCRIPT FOR THE ACADEMIC SESSION 2008-2012

 

" DETAILS OF THE STUDENT

 

NAME OF THE APPLICANT Ms. Shikha Kanwar

 

 

FATHER’S NAME Sh. V.K. Kanwar

 

UNIVERSITY CONFERRING DEGREE National Institute of Technology,

Hamirpur (HP) - 177.005.

 

INSTITUTION ATTENDED National Institute of Technology,

Hamirpur (HP) - 177 005.

 

 

ENGINEERING MAJOR Electronic & Communication

Engineering

 

COURSE PURSUED BY APPLICANT Bachelor of Technology

 

DATE OF COMMENCEMENT OF August - 2008
COURSE

 

 

DATE OF COMPLETION OF COURSE May-2012

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MEDIUM OF INSTRUCTION & EXAM | English

 

 

 

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NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR,
HIMACHAL PRADESH (INDIA).

 

 

 

NORMS OF THE INSTITUTE

 

To become eligible for the award of degree of "BACHELOR OF TECHNOLOGY’ a candidate is
required to pass all the examinations of each of the eight semesters mentioned below.

 

DURATION OF COURSE

 

The four years course Is divided into aight semesters.

 

B. Tech. 1" Year

Semester 1 & Semester 2

 

B. Tech. 2™ Year

Semester 3 & Semester 4

 

B. Tech. 3™ Year

Semester 5 & Semester 6

 

8. Tech. 4" Year

 

Semester 7 & Semester 8

 

THE GRADING SYSTEM

 

 

 

 

 

 

 

 

 

 

 

LETTER GRADE GRADE POINTS DESCRIPTION OF
(NUMERICAL VALUE) PERFORMANCE

A 10 Outstanding
AB 09 Excellent

B os Very Good
BC _ 07 Good

Cc 06 Average
co os Below Average
D 04 Marginal

F 02 Poor

Zz 00

 

 

 

 

Pass Grade: SGPI = 4.5, CGPI = 5.0

SGPI = Semester Grade Point Index.
CGPI = Cumulative Grade Point Index.

CERTIFICATE

1. The Institute follows absolute grading system, however for the
conversion, equivalent percentage marks of CGPI may be considered.

2. She remained Bonafide student of this Institute during her period of
studies/stay.

3. Medium of instruction in this institution is English.

Ail transcripts are belng issued under the signatures and seal of Dean

(Academics), National Institute of Technology, Hamirpur (HP).

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2' Dean (Academics),

NIT, Hamirpur (HP).

Page 2 of 6
 

Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 37 of 224

 

 

 

NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR,
HIMACHAL PRADESH (INDIA)-177 005

 

DETAILS OF THE SUBJECTS TAUGHT, EXAMINATION SCHEME AND THE
GRADES OBTAINED FOR ALL THE COMPLETED SEMESTERS OF THIS DEGREE COURSE:

 

PROGRAMME: Bachelor of Technology
DEPARTMENT: Electronic & Communication Engineering
December-2008
B. Tech. 1% Year (1% Semester) — ROLL NO: 08449

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Course No. Course Name Credits Grade
BS-104 Engineering Physics 04 BC
BS-104 (P} Engg. Physics Lab. 01 8
BS-111 Engg. Mathematics-I 04 B
ES-101 Engg. Mechanics & Strength of Materials 05 (7
ES-102 Basic Electrical Engg. 04 BC
ES-102 (P) Basic Electrical Engg. Lab. O1 __BC
HU-10i Communication Skills 03 B
HU-101 (P) Communication Skills Lab. o1 BC
TA-102 Computer Fundamentals & Prog. 04 c
TA-102 (P) Computer Fundamentals & Prog. Lab. o1 BC
WP-111 Workshop-I 03 AB
CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE

CREDITS EARNED SGPI EARNED | EARNED GRADE CGPI
GRADE POINTS CREDITS POINTS | _
31 222 7.16 31 222 7.16
PROGRAMME: Bachelor of Technology
Department : Electronic & Communication Engineering _
May-2009
B. Tech. 1“ Year (2. Semester) - ROLL NO: 08449

Course No. Course Name Credits | Grade

BS-103 Engg, Chemistry 04 B

_BS-103 (P) Engg. Chemistry Lab. __ ai 02 | AB
BS-105 Material Science 04 AB
BS-105 (P) Material Science Lab, 01 __ BC

| BS-122 Engg. Mathematics-II 04 BO
ES-103 Basic Electronics Engg. 04 __BC
ES-103 (P) Basic Electronics Lab. 01 BC
ES-104 Basic Thermodynamics 04 BC
TA-101 Engg. Graphics __ 03 c
WP-122 Workshop-II 03 AB

CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE

CREDITS | EARNED ] SGPI EARNED EARNED GRADE CGPI
GRADE POINTS CREDITS POINTS
30 | 233 7.77 61 455 7.46 _
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Af @ :, Dean (Academics),

( = i NIT, Hamirpur (HP). Page 3 of 6

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 38 of 224

 

NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR,
HIMACHAL PRADESH (INDIA)-177 005.

 

 

 

DETAILS OF THE SUBJECTS TAUGHT, EXAMINATION SCHEME AND THE GRADES
OBTAINED FOR ALL THE COMPLETED SEMESTERS OF THIS DEGREE COURSE:

PROGRAMME: Bachelor of Technology

DEPARTMENT: Electronic & Communication Engineering

December ~- 2009
Tech. 2™ Year (3 Semester) - ROLL NO: 08449

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Course No. Course Name Credits Grade
BS-237 Differetial Equotations, Probability & 04 8
Queuing
ECA-231 Extra Curricular Activity-I 01 BC
ECE-231 Digital Electronics & Logic Design 04 c
ECE-231 (P) | Digital Electronics & Logic Design (P) 01 BC
ECE-232 Analog Electronic Circuits 04 BC
ECE-232 (P) | Analog Electronic Circuits Lab 01 B
ECE-233 Electromagnatic Field Theory 03 AB
EE-231 Electric Circuit Theory 04 Cc
EE-231(P) Electric Circuit Theory (P) 01 B
CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE
CREDITS EARNED SGPI EARNED EARNED CGPI
GRADE POINTS CREDITS GRADE POINTS
23 165 7.17 84 620 7.38

 

 

 

 

 

 

PROGRAMME: Bachelor of Technology
DEPARTMENT: Electronic & Comm. Engg.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

May - 2010
B. Tech. 2™ Year (4 Semester) - ROLL NO: 08449
Course No. | Course Name Credits Grade |
CSE-243 Data Structures __04 BC
CSE-243(P) Data Structures Lab O21 BC
ECA-242 Extra Curricular Activity-II 01 B
ECE-241 Electronic Measurement & Instrumentation 04 B
ECE-241(P)} Electronic Measurement & Instrumentation O1 B
Lab.
ECE-242 Communication Theory 04 BC
ECE-243 Micro Electronics Technology 04 AB
HU-202 Engineering Economics 04 B
CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE
CREDITS EARNED SGPI EARNED EARNED CGPI
GRADE POINTS CREDITS GRADE POINTS
23 179 | 7.78 107 799 7.47
Gratin, er,
as? %,:. (Prof. Vinod Kapoor),

Ae vi‘: Dean (Academics),

; ~ 2 i, NIT, Hamirpur (HP). Page 4 of 6

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 39 of 224

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DETAILS OF THE SUBJECTS TAUGHT, EXAMINATION SCHEME AND THE GRADES
OBTAINED FOR ALL THE COMPLETED SEMESTERS OF THIS DEGREE COURSE:

 

NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR,
HIMACHAL PRADESH (INDIA)-177 005.

 

 

 

PROGRAMME: Bachelor of Technology
DEPARTMENT: Electronic & Comm. Engg.
December - 2010
B. Tech. 3” Year (5 Semester) - ROLL NO: 08449

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Course No. Course Name Credits Grade
EC-351 Microprocessor & its Applications 04 AB
EC-351 (P) Microprocessor Lab. o1 AB
EC-352 Communication Systems 04 A
EC-352(P) Communication Systems Lab o1 A
EC-353 Design of Linear Integrated Circuits 04 BC
EC-353 (P) Linear Integrated Circuits Lab. O21 AB
EC-354 Power Electronics 03 BC
EC-354(P) Power Electronics Lab O1 AB
EC-355 VLSI Technology 03 8B
ENE-300 (b) Energy & Environment 03 AB

CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE

CREDITS | EARNED SGPI EARNED EARNED CGPI

GRADE POINTS CREDITS | GRADE POINTS
25 213 8.52 132 1012 | 7.67
PROGRAMME: Bachelor of Technology
DEPARTMENT: Electronic & Comm, Engg.
May - 2011
B. Tech. 3 Year (6"" Semester) — ROLL NO: 08449
Course No. Course Name Credits Grade
EC-361 Design of Digital Communication Os A
Systems
EC-361(P) Digital Communication Lab OL AB
EC-362 Wave Propagation & Antenna Design 04 AB
EC-363 MEMS _& Sensor Design 04 B
EC-363(P) MEMS _ & Sensor Design Lab __o1 AB
EC-364 Microcontroller & Embedded System 03 B
Design
EC-364 (P) Embedded System Lab o1 AB
| EC-366 Minor Project | 02 AB
ENE-300 (c) | Environmental Science & Engineering | 03 B
MSS-301 | Principles of Management 03 | BC -
CURRENT SEMESTER CUMULATIVE PERFORMANCE
| PERFORMANCE
CREDITS EARNED SGPI TOTAL EARNED CGPI
GRADE POINTS CREDITS GRADE POINTS _|
| 26 L 222 8.54 )- | 1234 7.81
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a § & \. Dean (Academics),
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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 40 of 224

 

 

NATIONAL INSTITUTE OF TECHNOLOGY, HAMIRPUR,

HIMACHAL PRADESH (INDIA).

 

DETAILS OF THE SUBJECTS TAUGHT, EXAMINATION SCHEME AND THE GRADES OBTAINED

FOR ALL THE COMPLETED SEMESTERS OF THIS DEGREE COURSE:

 

PROGRAMME: Bachelor of Technology
DEPARTMENT: Electronic & Comm. Engg.

 

December - 2011

B. Tech. 4" Year (7 Semester) — ROLL NO: 08449

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Course No. Course Name Credits Grade
EC-471 (a) Satellite Communication 03 BC
EC-471 (P) LAB-1 o1 B
EC-472 (b) Mobile Communication 03 A
EC-473 (b) Device Modelling for Circuit Simulation 03 B
EC-474 (a) Digital Signai Processing 03 BC
EC-475 (a) Analysis & Design of Biomedical Electronics 03 AB
EC-479 (P) Lab-2 (VHDL) o1 8B
EC-496 (P) Industrial Training Viva 02 A
EC-497 (P) Seminar 02 B
EC-498 (P) Major Project-I 03 B
CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE
CREDITS EARNED SGPI | TOTAL EARNED CGPI

GRADE POINTS CREDITS | GRADE POINTS
24 199 8.29 182 1433 7.87

 

 

 

 

 

PROGRAMME: Bachelor of Technology DEPARTMENT: Electronic & Comm. Engg.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

May - 2012

8. Tech. 4" Year (8 Semester) - ROLL NO: 08449
Course No. Course Name Credits _ Grade
EC-481 Microwave Devices & Design of Microwave 03 AB

Systems -
EC-481 (P) Microwave Lab O1 AB
EC-482 Optical Fiber Communication Systems & its 04 B
Design

EC-482 (P)_ | Optical Fiber Communication Lab 01 8B
EC-483 VLSI Design Techniques 03 AB
EC-483 (P) | VLSI Design Lab o1 B
EC-484 Spread Spectrum & CDMA 03 B
EC-485 Wireless Communication 03 AB
EC-499 Major Project-II 03 AB
CURRENT SEMESTER PERFORMANCE CUMULATIVE PERFORMANCE
CREDITS EARNED SGPI EARNED | EARNED GRADE | CGPI

GRADE POINTS | | CREDITS POINTS |

22 189 8.59 204 1622 7.95
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if, ot wOhags\ (Prof. Vinod Kapoor),
Us “c. Dean (Academics),
iB © \NIT, Hamirpur (HP). Page 6 of 6
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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 41 of 224

HW ZS

August 24, 2015

EXPERIENCE CERTIFICATE

This is to certify that Ms. Shikha Kanwar (6864) has served in our organization from January 07, 2013
to July 31, 2015. At the time of leaving she was working in the capacity of Business Associate
Consultant and based at New Delhi office.

We-wish-you-all success in future endeavors.

For ZS Associates India Pvt Ltd

Why Cos

Abhijit Nimgaonkar
Office Managing Principal

ZS Associates India Private Limited
A Subsidiary of ZS Associates International, Inc. CIN - U72200PN2004FTC020841

Registered Office: Branch Office:

Magarpatta Cybercity, Tower 12, Level 6 3rd to 8th floors, Block-A4, IT/TEs SEZ of DLF Limited
Hadapsar, Pune - 411013, Maharashira, india Village - Silokhera, Sec-30, Gurgaon (Haryana) 122002 India
T | +91 206606 5000 F | +91 206606 5001 T , +91 1246797000 fF, +91 124679 7001

www zsassociates. com
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 42 of 224

zs

August 24, 2015

Shikha Kanwar
Emp No: 6864
ZS Associates India Pvt Ltd

Ms. Shikha Kanwar,

This refers to your letter of resignation. Your resignation has been accepted and you are released
from the services of ZS Associates India with effect from July 31, 2015 which was your last working
day with us.

On behalf of ZS Associates India Pvt Ltd, and your colleagues, we would like to thank you for your
contribution to the company and we also wish you all the best for the future.

For ZS Associates India Pvt Ltd

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Abhijit Nimgaonkar
Office Managing Principal

ZS Associates India Private Limited
A Subsidiary of ZS Associates International, Inc. CIN - U72200PN2004FTC020841

Registered Office: Branch Office:

Magarpatta Cybercity, Tower 12, Level 6 3rd to 8th floors, Block-A4, IT/ITEs SEZ of DLF Limited
Hadapsar, Pune - 411013, Maharashtra, India Village - Siloknera, Sec-30, Gurgaon (Haryana) 122002 India
T | +91 206606 5000 F}: +91 206606 5001 Tt | +911246797000 F ! +91 124 679 7001

www, zsassociates com
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 43 of 224

ERICSSON 2

Open Information

Date Reference
01/30/2013 EGI/H-13:0176 Uen
Your Date Your Reference

Attending to this matter

GR/EIV/HRS Ashish Saxena/VJ

TO WHOM SO EVER IT MAY CONCERN

This is to certify that Shikha Kanwar (EGIL19394) was employed with Ericsson India Global
Services Pvt Ltd since 10/04/2012 till 01/04/2013. She was working as Graduate Engineer
Trainee at the time of leaving the Company.

She_resigned from the services of the Company and left on her own accord. She was
relieved from the Company on 01/04/2013.

We wish her all the best in her future endeavors.

For ERICSSON INDIA GLOBAL SERVICES PVT. LTD.

la \ Sepeem

Ashish Saxena

Head HR SSC

HR &O
Ericsson India Global Services Private Limited Registered Office
Knowledge Boulevard, 4" Floor, Dakha House

A-8A, Sector 62A. NOIDA
INDIA - 201 309

www.ericsson.co.in / www.ericsson.com

Tel: + 91 120 3029200
Tel: + 91 120 4256000
Fax: +91 120 3029135

18/17, WE A, Pusa Lane,
Karol Bagh,
New Delhi 110 005 INDIA
 

 

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Document 1-14 Filed 08/23/18 Page 44 of 224

 

 

 

 

 

 

 

 

 

  
  
    

 

 

 

      

 

    

 

 

 

 

 

 

 

  

 

 

 

 

 
  

 

Department of Homeland Security 1-20, Certificate of Eligibility for Nonimmigrant Student Status
_ U.S. Immigration and Customs Enforcement OMB NO. 1653-0038
SEVIS ID: NO0013616518
—
SURNAME/PRIMARY NAME GIVEN NAME Class of Admission
Kanwar Shikha
PREFERRED NAME PASSPORT NAME
Shikna Kanwar
COUNTRY OF BIRTH COUNTRY OF CITIZENSHIP bad
TANDTA INDTA
DATE OF BIRTH ADMISSION NUMBER
O09 OCTOBER 1949 97959018830
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FORM ISSUE REASON LEGACY NAME ~
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CONTINUED ATTENDANCE - Updated Form I-29 or Name Shikha Kanwar
Conversion
SCHOOL INFORMATION
SCHOOL NAME SCHOOL ADDRESS
University of Connecticut 100 Constitution Plaza, Hartford, CT 06103
| Graduate Business Learning Center
ISCHOOL, OFFICIAL TO CONTACT UPON ARRIVAL SCHOOL CODE AND APPROVAL DATE
Ne@ena £abour gOSZ14F10146008
International Adviser 29 JANUARY 2003
PROGRAM OF STUDY
MAJOR ! MAJOR 2
Management Science 92.1301 None 70.0006
PROGRAM ENGLUSH PROFICIENCY ENGLISH PROFICIENCY NOTES EARLIEST ADMISSION DATE
Required Student is proficient GL AUGUST 2015
START OF CLASSES PROGRAM START/END DATE
31 AUGUST 2915 37 AUGUST 2015 - O08 MAY 2017
FINANCIALS
ESTIMATED AVERAGE COSTS FOR: 9 MONTUS STUDENT'S FUNDING FOR: 9 MONTHS
Tuition and & § d4,350 Parsonai funds 3 44,097
Living $ 21,24? Funds & Se 2
(2) $ 0 Funds From Another ¢ aa) $
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REMARKS
“Be guthorized from 8/29/16-12/02/16
SCHOOL ATTESTATION .
Peertify under penalcy of perjury that all information pros ided above was entered before | signed this form and 1s trie and correct, | execeited Ihis form in the United
States after review and evaluation in the United States by me or other officials ef the school of the student's application, Hanseripts, ar other records of courses taken
and proof of fipancial responsibility, which were received atthe school prior to the execution of this form. The school has determined that the above oamed student's
qualifications Ajeet all standards for admissson to the schoo! and the student will be required to pursue 4 full program of study as defiued by 8 CFR 214 Jee) Lama
teen | official of phe bove named school and am authertzed (o issue this form.
[x _\. , PSY DATE, ISSUED PLACE ISSUED
SIGN4T URE OF: esi Kapoor, t Maer rest nal Adviser 18 August.2026 Havnfoed, CT
STUDENT ATTESTATION ;
[have read and agreed to comply with the terms and conditions of my admission and those of any extension of stay, E certify that all information provided on this torm
refers specifically to me and is true and correct to the best of my knowledge. f certify that Fseek tu enter or remain in the United States lemporarily, and solely for the
purpose of pursuing a tull program of study at the school named above. | also authorize the named school to release any infarmation from my records needed by DHS
purstiiny lo War 214.3{g) to determine my Ronimimigrant status, Parent or guardian, and student, must sign if student is under [8.
x — _ OUD fr _
SIGNATURE OF: Shixha Kanwae DATE |
7 x _ -
[NATE OF PARENT OR GUARDIAN SIGNATURE ADDRESS (city/state or province/country) DATE

 

 

 

ICE Form 1-20 (3/31/2018) Page 1 of 3

 
| Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 45 of 224

 

 

Department of Homeland Security 1-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S, Immigration and Customs Enforcement OMB NO, 1653-0038

SEVIS ID: NO0013616518 (F-1) NAME: Shikha Kanwar

EMPLOYMENT AUTHORIZATIONS

TYPE FULL/PART-TIME = STATUS START DATE END DATE

CPT FULL TIME APPROVED 06 JUNE 2016 19 AUGUST 2016
CPT PART TIME APPROVED 29 AUGUST 2016 92 DECEMBER 2016

 

EMPLOYER INFORMATION

 

 

 

 

 

 

TYPE AUTHORIZATION DATES

OPT 16 JUNB 2016 - 19 AUGUST 2016
EMPLOYER NAME START DATE END DATE CITY & STATE
Symphony Health Solutions Q6 JUNE 2016 19 AUGUST Zl COMSROHUCKES, HAR
TYPE AUTHORIZATION DATES

CPL 29 AUGUST 2016 - 02 DECEMBER 2016
EMPLOYER NAME START DATE END DATE CITY & STATE
symphony Health goluLions 29 AUGUST 2016 OZ DECEMBER 2016 Conshohocken, PA

 

 

 

CHANGE OF STATUS/CAP-GAP EXTENSION

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AUTHORIZED REDUCED COURSE LOAD
|

CURRENT SESSION DATES

 

 

 

 

 

 

 

 

 

 

 

 

CURRENT SESSION START DATE CURRENT SESSION END DATE
29 KUIGUST 20146 OF} MAY 2016
TRAVEL ENDORSEMENT
This page, when properly endorsed, may be used for re-entry of the student to attend the sane school after a temporary absence from the United States bach
endorsement is valid for one year
Designated School Official TITLE SIGNA PURE DATE ISSUED PLACE ISSUED
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ICE Form £-20 (3/31/2018) Page 2 of 3

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— Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 46 of 224

 

 

 

 

   

  

 

 

 

 

Department of Homeland Security [-20, Certifteate of Eligibility for Nonimmigrant Student Status
US. Immigration and Customs Enforcement OMB NO 1653-0038
SEVIS ID: NOQ013616518
SURNAME/PRIMARY NAME GIVEN NAME Class of Admission
Kanwat . snivha
PREFERRED NAME PASSPORT NAME
Snhikna Kanwar
COUNTRY OF BIRTH COUNTRY OF CITIZENSHIP =
ED OA Meets
DATE OF BIRTH ADMISSION NUMBER
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FORM ISSUE REASON LEGACY NAME LANGUAGE
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SCHOOL INFORMATION
SCHOOL NAME SCHOOL, ADDRESS
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VOernat Adviser 204
PROGRAM OF STUDY
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PROGRAM ENGLISH PROFICIENCY ENGLISH PROFICIENCY NOTES EARLIEST ADMISSION DATE
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START OF CLASSES PROGRAM START/END DATE
hLAL i JES oP 29.1% - L# TECEMSER £615
FINANCIALS
ESTIMATED AVERAGE COSTS FOR: 9 MONTHS STUDENT'S FUNDING FOR: 9 MONTES |
TGRDLON and Fees 3 P4rg0nai rurias > 48,097
Expensss S i
as of Deage (2} £
REMARKS
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SCHOOL ATTESTATION

It cermly under penalty of perjury that all information provided above was enicred before f stgmed this form and ts trac and correct. 1 executed this form in the United

Slates after review agd evaluation in the Vauted States by me or other offivtals of the school of the student's application, transcripts, or other records of courses aken

and proof of finanei@ responsibility, which were received al the school prey to the execution of this form, The school has determined that the ahove named student's

qualifications meer gil standards Res to the school and the stadent will be required to pursue a full program of study as detined by 8 CER 214. f16) Lama
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' pe DATE ISSUED PLACE ISSUED

  
   
 

 

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STUDENT ATTESTATION _ —
Ihave read and agreed to comply with the terms and conditions af my admission, and those of any extension of stay. [certify that ail information provided on thes for
refers specifically to me and ts true and correct to the best of my knawledge fcerufy that E seek ta enter or remain in the Untied States temporarily, and solely for the
Ppurpase of pursuing a Fall program of study at the school named above [also authonze the named school to release any information fram ry records needed by DHS
pursuant to 8 eR 214.3fg) to determine uly eonimimigrant status Parent or guardian, and student, must sign if studeat is under 18.

 
 

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Gersher 601% wiford, CT |

 

 

 

 

 

 

SIGNATURE OF: 360001 Sanwa DATE
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[NAME OF PARENT OR GL ARDIAN SIGNATURE ADDRESS (city state or province/country) DATE

 

ICE Form I-20 (3:31/2618) Page | of 3

 

 
Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 47 of 224

  

1-20, Certificate of Eligibility for Nonimmigrant Student Status

Department of Homeland Security
OMB NO. 1653-0038

U.S, Immigration and Custams Enforeement

SEVIS ID: NO013616518 (F-1) NAME: Shikha Kanwar

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EMPLOYMENT AUTHORIZATIONS
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1 op :

EMPLOYER INFORMATION _ = ni
TYPE AUTHORIZATION DATES
EMPLOVER NAME START DATE ___ END DATE _ CITY & STATE __
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CHANGE OF STATUS/CAP-GAP EXTENSION _ _
AUTHORIZED REDUCED COURSE LOAD _ ,
CURRENT SESSION DATES ;
CURRENT SESSION START DATE CURRENT SESSION END DATE

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— TRAVEL ENDORSEMENT ——
Mt aa ]

This page, when properly endorsed. may be used for re-entry of the student to attend the same school after a temporary absenee from the United States. Fach
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ICE Foray 1-20 (3/31/2018) Page 2 nf 3

 

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 48 of 224

 

 

Department of Homeiand Security [-20, Certificate of Eligibility for Nonimmigrant Student Status

U.S. Immigration and Customs Enforcement OMB NO. 1653-0038

SEVIS ID: NO013616518

SURNAME/PRIMARY NAME GIVEN NAME CLASS

Aanwar Shikha

PREFERRED NAME PASSPORT NAME

Ghikha Kanwar

COUNTRY OF BIRTH COUNTRY OF CITIZENSHIP al

INDIA INDIA

DATE OF BIRTH ADMISSION NUMBER

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ACADE A

FORM ISSUE REASON LEGACY NAME LANGUAGE

CONTINUE ATTENDANCE - Updated form 1-20 of Name Shikha Kanwac “nm

Conversion

 

 

SCHOOL INFORMATION

SCHOOL NAME SCHOOL ADDRESS
100 Constatution Plaza, Ractford, CT 06103

 

University of ©
Graduate Bus

  

 

 

 

 

    
 
 
 

    

         

 

SCHOOL OFFICIAL TO CONTACT UPON ARRIVAL SCHOOL CODE AND APPROVAL DATE

Nadine Boudissa BOS2Z14F10146908

Enternational Adviser 29 JANUARY 2993

PROGRAM OF STUDY

EDUCATION LEVEL MAJOR 1 MAJOR 2

MASTER'S Management Science 52.1391 None 04.0500

NORMAL PROGRAM LENGTH PROGRAM ENGLISH PROFICIENCY ENGLISH PROFICIENCY NOTES

24 Morkas Required Student is proficteart

PROGRAM START DATE PROGRAM END DATE

3) AUGUST 2815 G6 MAY 2017

FINANCIALS

ESTIMATED AVERAGE COSTS FOR: 9 MONTHS STUDENT'S FUNDING FOR: 9 MONTHS

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Camous Emp 3

TOTAL 14,99 POTAL 3 «£4,058

 

REMARKS

 

SCHOOL ATTESTATION

L certify under penalty of perjury that all information provided above was entered before T signed thts form and ts tue and correct. [executed this form in the United
States after review and evaluation in the United States by me or other officials of the school of the student's application, transcripts, or other records of courses taken
and proof of financial responsibility, which were recerved at the school prior fo the execution of this tom The school has determined that the above named student's
qualifications meet all slandards for adimssign to the school and the student will be required to pursue a full program of study as defined by § CFR 214 274A) Lam a

  
     

desige chool offieral of the non aamed school and am authonzed to issue this form
‘ re ot) ss Zé Certs _ DATE ISSUED PLACE ISSUED
SIG? JRE OF: Nadine Youdisesa, Tnternational Ad me t2 Ma Hare ote owt 0%

 

STUDENT ATTESTATION

 

 

T have read and agreed to comply with the terns and condutons af my admission and those of any extension of stay Ccenify that all mformation provided on this form
refers specifically te me and is true and correct to the best of my knowledge. | cernfy that [ seek tv enter or remain in the United States tempurarily and salely for the

purpose of pursuing a full program of study al the school named above FE also authorize the named school ta release any information ftom my records needed by DHS

pursuant wv 8 CFR 214.3(g) to determine my naninimigrant status. Pareat or guardian, and student, must sign if student is under I8.

x ak 06/3 | 2alg

SIGNATURE OF: Shisha Kanwar — a DATE
—— x ~ ~
NAME OF PARENT OR GUARDIAN SIGNATURE ADDRESS (city ‘state or province/country) DATE

 

 

 

ICE Form 1-20 (3/31/2018) Page | of 3

 
 

  

Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 49 of 224

1-20, Certificate of Eligibility for Noniramigrant Student statu

Department of Homeland Security
OMB NO. 1653-0038

U.S. tmmtgration and Customs Enforcement

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

SEVIS ID: NO013616518 (F-1) NAME: Shikha Kanwar

EMPLOYMENT AUTHORIZATIONS ee _ a a

, AUTHORIZAT 10N VYPE FULL/PART-TIME «= STATUS START DATE END DATE

| a _ |
EMPLOYER INFORMATION _ i ee —
TYPE AUTHORIZATION DATES

GP? Q6 CUNE 2abe - 04 AUGUST

EMPLOYER NAME START DATE END DATE CUP & STATE _ _]
CHANGE OF STATUS/CAP-G. AP EXTENSION ee _ ee
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AUTHORIZED DROP BELOW FULL cou YURSE OF STU DY ee

PRAVEL ENDORSEMENT _

[This page when property endorsed. may ny be used for reentry af the student to attend the same school after 4 temporary absence from n the United States, Each |

 

 

 

 

 

 

 

 

 

 

 

 

 

certification signature ts valid for one year
Designated School Official TRTLeE SIGNATURE DATE ISSUED PLACE ISSUED
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{CE Form §-20 (3/31/2018) Page 2 of 4

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Case 1:18-cv-01977-TSC

Department of Homeland Security
U.S. Immigration and Customs Enforcement

SEVIS ID: NO013616518

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1-20, Certificate of Eligibility for Nonimmigrant Student Status
OMB NO. 1653-0038

 

SURNAME/PRIMARY NAME GIVEN NAME CLASS
Kanwar Snaikha
PREFERRED NAME PASSPORT NAME

Shikna Kanwar

COUNTRY OP BIRTH
INDIA

DATE OF BIRTH
09 OCTOBER 198%

FORM ISSUE REASON

Conversion

CONTINUED ATTENDANCE ~- Updated Form I-20 or Name

COUNTRY OF CITIZENSHIP
INDIA

ADMISSION NUMBER

ACADEMIC AND

LEGACY NAME LANGUAGE

Snikna Kanwar

 

 

SCHOOL INFORMATION

SCHOOL NAME

Wniversity of Connecticut

Graduate Business Learning Center

SCHOOL OFFICIAL TO CONTACT UPON ARRIVAL

Nadine Boudissa
International Adviser

SCHOOL ADDRESS

160 Constitution Plaza,Hartford, CT 06163

SCHOOL CODE AND APPROVAL DATE
BOS224F19146008
29 JANUARY 2003

 

 

 

NORMAL PROGRAM LENGTH

ENGLISH PROFICIENCY NOTES
Student is

PROGRAM ENGLISH PROFICIENCY

 
 

Bprayts =

PROGRAM OF STUDY a
|EDUCATION LEVEL MAJOR f MAJOR 2
MASTER'S Management Science 52.1301 Nane 00.9000

 

 

 

 

24 Months Required

PROGRAM START DATE PROGRAM END DATE

32 AUGUST 2015 065 MAY 2017

FINANCIALS ——

 

ESTIMATED AVERAGE COSTS FOR: 9 MONTHS STUDENT'S FUNDING FOR: 9 MONTHS

 

       

 

 

 

 

 

 

 

 

 

Tuition and Fees S$ 14,8560 Persona, Funds S 36,097
Living Expenses 9 24,247 s
Expenses of Cependents (6) 3 0 Funds From Another Source $

Other 5 On-Cam : Ss

TOTAL 8 36,097 A $ 44,09 |
REMARKS _ —_ so ot ee -
L_ —— ee ee — —— - — — — —_—_ - eee _

SCHOOL ATTESTATION __

 

 

| certify under penalty of perjury that ail formation provided ubove was entered before [ signed this forms and is (ruc and correct. L executed this form in the United
States after review and evaluation in the United States by me or other officials of the school of the student's application, transcripts, or other records of courses taken
and proof of fmancial responsibility, which were received at the school prior to the execution of this form. The school has determined that ihe above named student's
\qualifications meet ail standards for admission to the school and the student will be reqniced to pursue a full program of study as defined by 8 CFR 214.206) lama
sol and am authorized to issuc this form

lidesigs OO] official of the above gamed se
x fL(6 ie Looe ___ DATE ISSUED

SIGNATURE OF; Nadine 8 Nov

STUDENT ATTESTATION
Thave read and agreed to comply with the teoms and conditions of my admission and those of any eatension af stay. | certify that all information provided on this form
refers specifically to me and is trac and. correct ta the best of my knowledge. 1 certify thal I seek to enter or remain in the United States temporarily, and solely for the

purpose of pursuing a full program of study al the scheol named ubove. | also authorize the named school to release any information from niy records needed by DHS

pursuant (o 8 CFR 214,3(g) to determine my nonimmigrant status. Pareat or guardian, and student, must sign If student is onder 18,

PLACE ISSUED

Eartfcord, 07 |

     

 

 

 

 

 

 

x Dire ON oi

SIGNATURE OF: Shikha Kanwar DATE.

__ oe ee sae
[NAME OF PARENT OR GUARDIAN SIGNATURE __ _ _ADDRESS (city/state or province/country) DATE

 

Page I of 3

ICE Foent 1-20 (3/31/2018)

 
 

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Department of Homeland Security 1-20, Certificate of Eligibility for Nonimmigrant Student Status
U.S. Immigration and Customs Enforcement OMB NO. 1653-0038

SEVIS ID: N0013616518 (F-1) NAME: Shikha Kanwar

EMPLOYMENT AUTHORIZATION oo ee ee
le MPLOYMENT STATUS TYPE

EMPLOYMENT START DATE EMPLOYMENT END DATE

[EMPLOYER NAME EMPLOYER LOCATION

(COMMENTS

CHANGE OF STATUS/CAP-GAP EXTENSION

 

 

 

 

 

 

 

 

 

[REQUESTED VISATYPE _ REQUEST/PETITION STATUS RECEIPTNUMBER _BENEFIT START DATE/REQUEST DATE
EVENT HISTORY - ee ; ne a
EVENT NAME EVENT DATE
Registration _ 24 SEPTEMBER 2015 a
OTHER AUTHORIZATIONS - 7 ee a _
AUTHORIZATION _ START DATE _ = END DATE _____]
TRAVEL ENDORSEMENT ee = —

 

 

This page when properly endorsed, may be used f fos reentry of the student & io attend the same school after a temporary absence on the United States. Each
hcertifics align signatuce is valid for one year.

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ICE Form [-20 (3/31/2018) Page 2 of 3

 

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Earnings Statement

Period Ending: 03/15/2017

Axtria |

mana ine Pay Date: 03/15/2017
Taxable Marital Status: Single Kanwar,Shikha
Exemptions/Allowances: 300 Connell Drive
Federal: 02 Suite 5000
State: 00 Berkeley Heights, NJ 07922

 

 

Earnings rate hours this period Other Benefits
Regular $3,437.50 0.0 $3,437.50

Gross Pay $3,437.50 and Information this Period
Deductions Statutory

Federal income tax $657.86

Social Security tax $0.00

Medicare tax $0.00

State tax $143.97

State tax 2 $0.00

Local tax $0.00

Local tax 2 $0.00

Tax SUI $26.30

Net Pay $2,609.37

* Excluded from federal taxable wages
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Most Recent I-94

 

Admission (I-94) Record Number : 24323591585
Most Recent Date of Entry: 2017 February 07
Class of Admission : F1

Admit Until Date : D/S

Details provided on the I-94 Information form:

Last/Surname : KANWAR

First (Given) Name : SHIKHA

Birth Date : 19890ctober09
Passport Number : J7236128
Country of Issuance : India

_Gat Travel History

 

> Effective April 26, 2013, DHS began automating the admission process. An alien lawfully admitted or paroled into the U.S.
is no longer required to be in possession of a preprinted Form 1-94. A record of admission printed from the CBP website
constitutes a lawtul record ot admission. See B CFR § 1,4(d).

> If an employer, local, state or federal agency requests admission information, present your admission (I-94) number along
with any additional required documents requested by that employer or agency.

> Note: For security reasons, we recommend that you close your browser after you have finished retrieving your I-94
number.

OMB No. 1651-0111
Expiration Date:02/28/2017

For inquiries or questions regarding your I-94, please click here

Accessibility | Privacy Policy

https :/i94. cbp.dhs.gov/I944#recent-results 1/2
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REGISTRATION

INDIAN CITIZENS RESIDENT ABROAD ARE ADVISED TO REGISTER
THEMSELVES AT THE NEAREST INDIAN MISSION/POST.

CAUTION

THIS PASSPORT IS THE PROPERTY OF THE GOVERNMENT OF
INDIA. ANY COMMUNICATION RECEIVED BY THE HOLDER FROM 4
PASSPORT AUTHORITY REGARDING THIS PASSPORT, INCLUDING
DEMAND FOR ITS SURRENDER, SHOULD BE COMPLIED WITH
IMMEDIATELY.

THIS PASSPORT SHOULD NOT BE SENT OUT OF ANY COUNTRY BY
POST. THIS SHOULD BEIN THE CUSTODY EITHER OF THE HOLDER
OR OFA PERSON AUTHORISED BY THE HOLDER, IT MUST NOT BE
ALTERED OR MUTILATED IN ANY WAY.

LO88, THEFT OR DESTRUCTION OF THIS PASSPORT SHOULD BE
IMMEDIATELY REPCRTED TO THE NEAREST PASSPORT AUTHORITY
IN INDIA CR If THE HOLDER IS ABROAD, TO THE NEAREST INDIAN
MISSTON/POST AND TO THE LOCAL POLIGE. ONLY AFTER EXHAUSTIVE
BNQUIRIES SHALL A DUPLICATE PASSPORT BE ISSUED.

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“aren am ary / Name of Mother

ufa a deft a1 ar / Name of Spouse

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"wen / Address
orga 4./Flie No.

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Peer / aah afore at are / Name of Father / Legal Guardian

VIJAY KUMAR KANWAR
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SHIMLA HP 171001

PROMILA KANWAR

 

 
 

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400 Connell Dr.
Suite 1300

7 / - Berkeley Heights, NJ 07922
/ NT RILA (877) 929-8742

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NIOUS INSIGHTS www.axtria.com

9/16/2016

shikha.kanwar@uconn.edu

Shikha Kanwar
9 Owen Street, 303
Hartford, CT 06105

Dear Shikha:

It is my pleasure to present you with an offer to join our team as a Sr. Associate. The
following terms outline the structure of the relationship between you and Axtria, Inc. (the
“Company "). By accepting this offer, you will agree with a full time employment start date
of 2/1/2017 ("Start Date").

You will initially report to Shashank Varma. As part of an entrepreneurial company,
you'll wear many-hats. Your general responsibilities willinclude:

e Application of advanced statistical, econometric and optimization models and
algorithms to real-world business problems

e Develop new statistical models as well as provide analysis using existing models

e Provide ad-hoc analysis of marketing programs, including test analysis and
recommendations for future programs

e Evaluate results of experimentally designed tests, and communicate test learning
to clients

e Assist in the development of marketing and analytic data marts

e Apply sound data management practices to ensure data consistency, quality and
ease of access

e Work on projects with peers and senior colleagues to deliver existing analytics
solutions for clients.

e Collaborate with Product Management and Technology teams on enhancements
of solutions and development of new solutions.

e Develop and maintain skills to the highest standards to identify best practices and
emerging trends in analytics, both within and outside the domain.

e Manage concurrent projects ensuring exceptional client satisfaction and on-time
delivery
e Contribute to Axtria’s development of new solutions and analytical models
 

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Shikha Kanwar
9/16/2016
Page 2

Compensation: Your compensation will be $82,500 at an annualized rate, less payroll
deductions and all required withholdings (your "Base Salary"). You will be paid semi-
monthly on the 15th and the last working day of each month or at such intervals as may be
offered by the Company to employees from time to time. You will also be eligible for the
benefits offered generally to employees from time to time.

Relocation Assistance: The Company will provide reimbursement of up to $2,000 to cover
transportation and transportation of household goods. You’l] need to file an expense report
with receipts after you begin employment. Under most instances, qualified relocation
expense reimbursements are non-taxable fringe benefits. You'll be responsible for paying
any required taxes on relocation assistance. You are responsible for reimbursing the company
all amounts paid in relocation if you do not work for at least two full years from the date of
joining at the new location.

You initially will be entitled to take 15 days of paid time off (for California based employees,
the entitlement will be 12 vacation and 3 sick days) during each year during your
employment to be taken at such time or times as shall be mutually convenient and consistent
with his duties and obligations to the Company. Such vacation shall be governed by the
Company’s vacation or time off policies, as may be amended from time to time.

In addition to the above compensation, you may have the opportunity to take advantage of
various Company benefit plans and other incentives. Information regarding the Company’s
benefit structure will be provided to you if and when such benefits are offered by the
Company, subject to the terms and conditions of official plan documents. Any such benefits,
of course, may be modified or changed from time to time at the sole discretion of the
Company, and the future provision of such benefits to you in no way changes or impacts

your status as an at-will employee.

As an employee or the Company, you will be expected to abide by its rules and regulations
which will be provided for you by our Human Resources representative, and sign and comply
with a Proprietary Information and Inventions Agreement which prohibits unauthorized use
or disclosure of the Company’s proprietary information and includes covenants regarding
your activities during and after your employment with the Company.

Unless otherwise approved in writing by the Company, you will work at the Company’s
principal place of business at 400 Connell Dr. #1300, Berkeley Heights NJ 07922. Normal
working hours are 8:00 a.m. to 5:00 p.m., Monday through Friday. As an exempt salaried
employee, you will be expected to work additional hours as required by the nature of your

work assignments.

Our offer to hire you is contingent upon your submission of satisfactory proof of your
identity and your legal authorization to work in the United States. If you fail to submit this
proof, federal law prohibits us from hiring you. The employment terms in this letter
supersede any other agreements or promises made to you by anyone, whether oral or written.
As required by law, this offer is subject to satisfactory proof of your right to work in the

United States.

 
 

 

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Shikha Kanwar
9/16/2016
Page 3

This offer expires 3 days from the date above (“Expiration Time). Please sign and date this
letter, and return it by or before the Expiration Time.

Shikha, we are all very impressed with your background. On behalf of the entire team, |
would like to express that we are very excited about the prospect of your more active
participation with our dynamic team and helping develop the Company as the worldwide
leader in Business Analytics Solutions.

Sincerely,

on

Jaswinder S. Chadha
President & CEO

 

Accepted by:

Print Name: Shikha Kanwar

Date: OApe | {2ol6

 
 

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Case 1:18-cv-01977-TSC Document 1-14 Filed 08/23/18 Page 64 of 224

PROPRIETARY INFORMATION AND INVENTIONS AGREEMENT

As an employee of AXTRIA, INC. (the “Company”), its subsidiary or its affiliate (together, the
"Company"), and as a condition of my employment by the Company and in consideration of
the compensation now and hereafter paid to me, I agree to the following:

1. Maintaining Confidential Information.

(a) Company Information. I agree at all times during the term of my employment and
thereafter to hold in strictest confidence, and not to use, except for the benefit of the
Company, or to disclose to any person, firm or corporation, without the written
authorization of the Board of Directors of the Company, any trade secrets,
confidential knowledge, data or other proprietary information of the Company. By
way of illustration and not limitation, such shall include information relating to .
products, processes, know-how, designs, formulas, methods, samples, prototypes,
developmental or experimental work, improvements, discoveries, plans for research,
new products, marketing and selling, business plans, budgets and unpublished
financial statements, licenses, prices and costs, suppliers and customers, and
information regarding the skills and compensation of other employees of the

| Company.

(b) Former Employer Information. I agree that I will not, during my employment with
the Company, improperly use or disclose any proprietary information or trade secrets
of my former or concurrent employers or companies, if any, and that I will not bring
onto the premises of the Company any unpublished documents or any property
belonging to my former or concurrent employers or companies unless previously and
specifically consented to in writing by said employers or companies.

(c) Third Party Information. I recognize that the Company has received and in the
future will receive confidential or proprietary information from third parties subject to
a duty on the Company's part to maintain the confidentiality of such information and,
in some cases, to use it only for certain limited purposes. I agree that I owe the
Company and such third parties, both during the term of my employment and
thereafter, a duty to hold all such confidential or proprietary information in the
strictest confidence and not to disclose it to any person, firm or corporation (except in
a manner that is consistent with the Company's agreement with the third party) or use
it for the benefit of anyone other than the Company or such third party (consistent
with the Company's agreement with the third party), unless expressly authorized to
act otherwise by an officer of the Company.

 

2. Assignment of Inventions and Original Works.
(a) Inventions and Original Works Retained by Me. I have attached hereto as Exhibit

A, a complete disclosure of all inventions, original works of authorship,
developments, improvements, and trade secrets that I have, alone or jointly with
others, conceived, developed or reduced to practice or caused to be conceived,
developed or reduced to practice prior to the commencement of my employment with
 

 

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Shikha Kanwar
9/16/2016
Page 5

the Company, that I consider to be my property or the property of third parties and
that I wish to have excluded from the scope of this Agreement. If disclosure of an
item on Exhibit A would cause me to violate any prior confidentiality agreement, I
understand that I am not to disclose such on Exhibit A but in the applicable space on
Exhibit A I am only to disclose a cursory name for each such invention, a listing of
the party(ies) to whom it belongs and the fact that full disclosure as to such inventions
has not been made for that reason. A space is provided on Exhibit A for such
purpose. If no disclosure is attachcd, I represent that there are no such inventions.

(b) Inventions and Original Works Assigned to the Company. | agree that I will
make prompt written disclosure to the Company, will hold in trust for the sole right
and benefit of the Company, and hereby assign, without further compensation, to the
Company all my right, title and interest in and to any ideas, inventions, original works
of authorship, developments, improvements or trade secrets which I may solely or
jointly conceive or reduce to practice, or cause to be conceived or reduced to practice,

during the period of my employment with the Company

I acknowledge that all original works of authorship which are made by me (solely or
jointly with others) withitr the scope of my employment and which are protectable by
copyright are "works made for hire," as that term is defined in the United States
Copyright Act (17 U.S.C., Section 101).

(c) Inventions and Original Works Assigned to the United States. I hereby assign to
the United States government all my right, title and interest in and to any and all
inventions, original works of authorship, developments, improvements or trade
secrets whenever full title to same is required to be in the United States by a contract
between the Company and the United States or any of its agencies.

(d) Obtaining Letters Patent, Copyright Registrations and Other Protections. will
assist the Company in every proper way to obtain and enforce United States and
foreign proprietary rights relating to any and all inventions, original works of
authorship, developments, improvements or trade secrets of the Company in any and
all countries. To that end I will execute, verify and deliver such documents and
perform such other acts (including appearing as a witness) the Company may
reasonably request for use in applying for, obtaining, perfecting, evidencing,
sustaining and enforcing such proprietary rights and the assignment thereof. In
addition, I will execute, verify and deliver assignments of such proprietary rights to
the Company or its designee. My obligation to assist the Company with respect to
proprietary rights in any and all countries shall continue beyond the termination of
my employment, but the Company shall compensate me at a reasonable rate after my
termination for the time actually spent by me at the Company's request on such
assistance.

In the event the Company is unable for any reason, after reasonable effort, to secure
my signature on any document needed in connection with the actions specified in the

 

 
 

 

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Shikha Kanwar
9/16/2016
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preceding paragraph, I hereby irrevocably designate and appoint the Company and its
duly authorized officers and agents as my agent and attorney-in-fact, to act for and in
my behalf to execute, verify and file any such documents and to do all other lawfully
permitted acts to further the purposes of the preceding paragraph with the same legal
force and effect as if executed by me. I hereby waive and quit claim to the Company
any and all claims of any nature whatsoever which I now or may hereafter have for
infringement of any proprietary rights assigned to the Company.

(e) Obligation to Keep the Company Informed. In addition to my obligations under
paragraph 2(b) above, during the period of my employment and for one (1) year after
termination of my employment for any reason, I will promptly disclose to the
Company fully and in writing all patent applications filed by me or on my behalf. At
the time of each such disclosure, I will advise the Company in writing of any
inventions that I believe are not required to be assigned to the company under Section
(2b); and I will at that time provide to the Company in writing all evidence necessary
to substantiate that belief. I understand that the Company will keep in confidence and
will not disclose to third parties without my consent any proprietary information
disclosed in writing to the Company pursuant to this Agreement relating to inventions
that are not required to be assigned to the company under the provisions of Section
2(b). I will preserve the confidentiality of any such invention that is required to be
assigned to the Company under Section 2(b). I agree to keep and maintain adequate
and current records (in the form of notes, sketches, drawings and in any other form
that may be required by the Company) of all proprietary information developed by
me and all inventions made by me during the period of my employment at the
Company, which records shall be available to and remain the sole property of the
Company at all times.

3. No Conflicting Employment; No Inducement of Other Employees or Solicitation of
Customers.

| agree that during the period of my employment by the Company I will not, without the
Company's express written consent, engage in any other employment or business activity
directly related to the business in which the Company is now involved or becomes involved,
nor will I engage in any other activities which conflict with my obligations to the Company.
For a period of one (1) year after the termination or cessation of my employment with the
Company for any reason, I agree that I will not, directly or indirectly, alone or as a partner,
officer, director, employee, consultant, agent, independent contractor, or stockholder of any
company or business organization, engage in any business activity which is directly or
indirectly in competition with the products or services being developed, marketed, sold or
otherwise provided by the Company, or which is directly or indirectly detrimental to the
Company’s business (“Competitive Activity”). I further agree that, for a period of one (1)
year after the termination or cessation of my employment with the Company, I will not in
any capacity, either separately, jointly or in association with others, directly or indirectly,
solicit or contact in connection with, or in furtherance of, a Competitive Activity any of the
Company's employees, consultants, agents, suppliers, customers or prospects that were such

 

 
 

 

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with respect to the Company at any time during the one year immediately preceding the date
of my termination of employment or that become such with respect to the Company at any
time during the one year immediately following the date of my termination. My obligations
under this Section 3 shall survive the termination or cessation of my employment.

If any restriction set forth in this Section is found by any court of competent jurisdiction to be
unenforceable because it extends for too long a period of time or over too great a range of
activities or in too broad a geographic area, it shall be interpreted to extend only over the
maximum period of time, range of activities or geographic area as to which it may be
enforceable.

4. No Conflicting Obligations.

I represent that my performance of all the terms of this Agreement and as an employee of the
Company does not and will not breach any agreement or obligation of mine relating to any
time prior to my employment by the Company. I have not entered into, and I agree I will not
eiiter into, ay agreement either written or orai in conflict herewith.

5. Return Of Company Documents.

When I leave the employ of the Company, I will deliver to the Company (and will not keep
in my possession, recreate or deliver to anyone else) any and all devices, records, data, notes,
reports, proposals, lists, correspondence, specifications, drawings, blueprints, sketches,
materials, equipment, other documents or property, together with all copies thereof (in
whatever medium recorded) belonging to the Company, its successors or assigns whether
kept at the Company, home or elsewhere. I further agree that any property situated on the
Company's premises and owned by the Company, including disks and other storage media,
filing cabinets or other work areas, is subject to inspection by Company personnel at any
time with or without notice. Prior to leaving, I will cooperate with the Company in
completing and signing the Company's termination statement for technical and management
personnel confirming the above and my obligations under this Agreement.

6. Termination.

You may terminate your employment with the Company at any time and for any reason
whatsoever simply by notifying the Company in writing. Likewise, the Company may
terminate your employment at any time and for any reason whatsoever, with or without cause
or advance notice. This at-will employment relationship cannot be changed except in writing

signed by an officer of the Company.

This Agreement is subject to termination for convenience by Company or Employee upon
two (2) weeks prior written notice from one party to the other. Company has the option of
paying Employee two (2) weeks compensation at Employee’s regular salary in lieu of
providing Employee the written notice provided for above. In the event Company’s client
provides less than (2) weeks’ notice of termination, then Employee will be entitled to the

same notice as Company.
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7. Notification of New Employer.
In the event that I leave the employ of the Company, I hereby consent to the notification of

my new employer of my rights and obligations under this Agreement.

8. Legal and Equitable Remedies.
Because my services are personal and unique and because I may have access to and become

acquainted with the proprietary information of the Company, the Company shall have the
right to enforce this Agreement and any of its provisions by injunction, specific performance
or other equitable relief, without bond and without prejudice to any other rights and remedies
that the Company may have for a breach of this Agreement.

9. General Provisions.

(a) Not an Employment Contract. I agree and understand that nothing in this
Agreement shall confer any right with respect to continuation of my employment by
the Company, nor shall it interfere in any way with my right or the Company's right
to terminate my employment at any time, with or without cause.

(b) Governing Law; Consent to Personal Jurisdiction. This Agreement will be
governed by and construed according to the laws of the State of New J ersey,
excluding conflicts of laws principles. I hereby expressly consent to the personal
jurisdiction of the state and federal courts located in New Jersey for any lawsuit filed
there against me by the Company arising from or relating to this A greement.

(c) Entire Agreement. This Agreement, hereby incorporated herein, sets forth the final,
complete and exclusive agreement and understanding between the Company and me
relating to the subject matter hereof and supersedes all prior and contemporaneous
understandings and agreements relating to its subject matter. No modification of or
amendment to this Agreement, nor any waiver of any rights under this Agreement,
will be effective unless in writing and signed by both the Company and me. Any
subsequent change or changes in my duties, salary or compensation will not affect the
validity or scope of this Agreement.

(d) Severability. If one or more of the provisions in this Agreement are deemed
unenforceable by law, then the remaining provisions will continue in full force and

effect.

(e) Successors and Assigns. This Agreement will be binding upon my heirs, executors,
administrators and other legal representatives and will be for the benefit of the

Company, its successors and its assigns.

(f) Survival. The provisions of this Agreement shall survive the termination of my
employment and the assignment of this Agreement by the Company to any successor

in interest or other assignee.

 

 
 

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(g) Waiver. No waiver by the Company of any breach of this Agreement shall be a
waiver of any preceding or succeeding breach. No waiver by the Company of any
right under this Agreement shall be construed as a waiver of any other right. The
Company shall not be required to give notice to enforce strict adherence to all terms

of this Agreement.

(h) Notice. Any notices required or permitted hereunder shall be given to the appropriate
party at the address specified below or at such other address as the party shall specify
in writing. Such notice shall be deemed given upon personal delivery, or sent by
certified or registered mail, postage prepaid, three (3) days after the date of mailing.

This Agreement shall be effective as of the first day of my employment with the Company,
namely: 2/1/2017.

I UNDERSTAND THAT THIS AGREEMENT AFFECTS MY RIGHTS TO INVENTIONS I MAKE DURING MY

EMPLOYMENT, AND RESTRICTS MY RIGHT TO DISCLOSE OR USE THE COMPANY'S PROPRIETARY
INFORMATION DURING OR SUBSEQUENT TO MY EMPLOYMENT.

I HAVE READ THIS AGREEMENT CAREFULLY AND UNDERSTAND ITS TERMS. I HAVE
COMPLETELY FILLED OUT EXHIBIT A TO THIS AGREEMENT.

Dated: {21 _. 20/6. fis

Shikha Kanwar
Name

9 Owen Street, 303
Hartford, CT 06105

 

ACCEPTED AND AGREED

AXTRIA, INC.
400 CONNELL DR, SUITE 1300
BERKELEY HEIGHTS, NJ. 07922

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Ne «

Jaswinder S. Chadha
President & CEO

 

 
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Axtria, Inc.

Client Portfolio

Master Services Agreements between Axtria and few of its
clients, for some active ongoing projects, which are amended
periodically.
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MARKETING SOURCING
MASTER SERVICES AGREEMENT
BETWEEN
BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.
AND

AXTRIA INC.

EFFECTIVE DATE: MAY 30, 2016

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BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.
MARKETING SOURCING
MASTER SERVICES AGREEMENT

 

 

 

THIS MASTER SERVICES AGREEMENT (“Agreement’) Is effective as of this 30th day of May, 2016 (‘Effective
Date") by and between Boehringer Ingelheim Pharmaceuticals, Inc. ("BI"), a Delaware corporation with its principal
place of business at 900 Ridgebury Rd., Ridgefield, CT 06877, and Axtria Inc., with its principal place of business at
400 Connell Drive, Suite 1300, Berkeley Heights, NJ 07922 ("Vendor’) (referred to herein individually as “Party* or

collectively as “Parties’).
1. Services: Work; Pi Q

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Vendor agrees to perform services as requested by B! from time to time (the “Services"). Vendor will, as
requested from time to time, provide Services for BI and/or any Affiliate of BI (as defined below) created
under the laws of and having Its principal place of business in a state located in the United States of
America ("US Affiliate’). In case of a Statement of Work (as defined below) between a US Affiliate of BI
and Vendor, any rights and obligations of BI and Vendor resulting from this Agreement shall exist
accordingly only between the respective US Affiliate of B] and Vendor. Therefore, in case of a Statement
of Work of a US Affiliate of BI, “BI” shall mean the US Affiliate of BI. For purposes of clarity, Services may
be provided hereunder for Bl and/or any US Affiliate of BI. For all other purposes, “Affiliate” shall mean
any company (i) 50% or more of whose outstanding securities or assets are owned or controlled, directly
or indirectly, by BI, (ii) which owns or controls, directly or indirectly, 50% or more of the outstanding
securities or assets of BI, or (ili) any company owned or controlled, directly or indirectly, to the extent of
50% or more of the outstanding securities or assets, by any of the companies described in (i) or (ii) above
of any company that Is under the common control of any of said companies according to (I), (ii) or (iii).

The Services and schedule of Deliverables (as defined below in Article 11) shall be set forth in detail in a
written Statement of Work ("SOW"), substantially in the form attached hereto as Exhibit A. The SOW
Shall be effective upon Vendor acceptance of a Purchase Order referring to and incorporating the SOW in
its entirety or by reference (the “PO").

BI shall issue each approved PO electronically to Vendor. If acceptable, Vendor shall accept each PO by
signing it and sending it, without modification or revision, electronically to ing. :
ingelheim.com. Vendor shall not perform Services or incur costs or liabllities of any kind without having
accepted a Bl-approved PO incorporating the provisions of the agreed upon SOW. In no event will BI be
liable for any Services performed or costs or liabilities incurred by Vendor without a prior agreed upon
SOW and PO. If Vendor fails to sign and return the PO, the applicable PO will nonetheless be deemed
accepted by Vendor upon Vendor's commencement of the Services specified in the PO. Any acceptance
of the applicable PO is limited to acceptance of the express terms contained therein. Additional or
different terms or any attempt by Vendor to vary in any degree any of the terms of the PO shall be
deemed material and are hereby objected to and rejected but shall not operate as a rejection of the
balance of the PO. Any PO that is not signed and retumed by Vendor or deemed accepted by Vendor by
commencement of Services within thirty (30) days of receiving such PO will expire automatically upon

expiration of such thirty (30) day time period.

Each SOW and corresponding PO shall be deemed incorporated by reference as though fully set forth
herein and shall remain separate, several, and independent from every other SOW and corresponding
PO. An SOW may be revised from time to time during the term of this Agreement by mutual written
agreement and by written Amendment signed by both Parties. A PO may be revised from time to time by

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Securing an approved revised PO or Change Order from BI, which is accepted by Vendor in the same
manner as set forth in Section 1.3 above. “Change Order" means an amendment to an SOW, which
describes any change in the details of an SOW, including, without limitation, changes to the budget,
timelines or scope of Services. In the event of a conflict between the terms of this Agreement, a PO, and
an SOW, the terms of these documents will take precedence according to the following order: (1) this
Agreement; (2) the applicable PO; and (3) the applicable SOW.

1.5 _ BI's designated representative for the specification, direction and approval of the Services (or such other
representative or representatives as Bl may subsequently designate in writing) shall be stipulated in the
SOW or PO.

2. Vendor Personnel

2.1 Vendor shall appoint a “Project Manager” to be responsible for its performance of an SOW. The Project
Manager shall be identified in the applicable SOW. The Project Manager shall coordinate performance of
such SOW with a representative designated by BI, which BI representative shall have responsibility over
all matters and for all communications related to such SOW on behalf of BI. Vendor shall engage the
Project Manager, and such employees, agents, consultants, subcontractors, or other third parties
("Vendor Personnel") reasonably necessary to assist Vendor in providing the Services at Vendor's own
cost, unless otherwise pre-approved by Bl in writing. The agents, consultants and subcontractors
specifically identified in each PO are hereby approved by BI. Any additional agents, consultants and/or
subcontractors that have access to BI Confidential Information must be pre-approved by BI in writing
which, for purposes of this Section 2.1 only, may include an e-mail transmission by BI. Each egent,
consultant and subcontractor shall agree to be bound by the terms and conditions of this Agreement.
Notwithstanding the foregoing, Vendor shall remain liable and responsible for the acts and omissions of
all Vendor Personnel, including but not limited to those relating to confidentiality and reporting obligations
hereunder,

2.2 Vendor and Vendor Personnel shall be fully trained, competent and skilled in and for the performance of
the Services. Vendor and Vendor Personnel will comply with all applicable federal, state or local laws or
rules in connection with the performance of the Services and shall hold all required licenses and/or
certifications. In the event Vendor discovers that any such license and/or certification has been
Suspended or terminated, Vendor shall notify BI immediately in writing. Vendor also, as applicable, shall
provide and maintain facilities sufficient in quality and quantity to perform the Services.

2.3 Vendor shall use commercially reasonable efforts fo ensure that Vendor Personnel assigned to perform
the Services remain assigned until the Services they are being tasked to provide are complete. Vendor
agrees to provide to BI, as soon as possible, notice of termination of employment of any Vendor
Personnel assigned to perform the Services due to the death, Iliness, matemity leave, voluntary
termination, resignation, disability or other causes beyond Vendor's reasonable control. In such event,
Vendor shall identify a suitable replacement within five (5) business days following such notice to Bl,
Subject to Bl's prior written approval. Except to the extent prohibited by law, BI reserves the right to
request the replacement of any Vendor Personnel assigned to perform the Services who, in BI's sole
judgment, is not performing satisfactorily or who is otherwise unsuitable. In the event of such a request,
Vendor shall use commercially reasonable efforts to provide suitable replacements within two (2)
business days of the request at no additional expense.

2.4 Vendor shall comply with all applicable laws, ordinances, rules, regulations and lawful orders of any public
authority bearing on the safety of persons or property or their protection from damage, Injury or loss.
Vendor and others working on behalf of Vendor shall further comply with provisions of the Occupational

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Safety and Health Act (OSHA) of 1970 and subsequent revisions following the Effective Date.
Additionally, Services shall be performed in accordance with applicable OSHA standards.

BI is an equal opportunity employer and federal contractor or subcontractor. Consequently, the Parties
agree that, as applicable, they will abide by the requirements of 41 CFR 60-1.4(a), 41 CFR 60-300.5(a)
and 41 CFR 60-741.5(a) and that these laws are Incorporated herein by reference. These regulations
prohibit discrimination against qualified individuals based on their status as protected veterans or
individuals with disabilitles, and prohibit discrimination against all individuals based on their race, color,
religion, sex, or national origin. These regulations require that covered prime contractors and
subcontractors take affirmative action to employ and advance in employment individuals without regard to
race, color, religion, sex, national origin, protected veteran status or disability. The Parties also agree
that, as applicable, they will abide by the requirements of Executive Order 13496 (29 CFR Part 471,
Appendix A to Subpart A), relating to the notice of employee rights under federal labor laws. Regardless
of the applicability of the foregoing requirements, Vendor shall not discriminate on the basis of race, color,
religious creed, sex, marital status, sexual orientation, gender identity, gender expression, ancestry,
national origin, age, mental, physical or intellectual disability, veteran status, pregnancy, childbirth or
related medical condition, genetic information or any other class or characteristic protected by federal,
state or local law, with respect to Vendor Personnel in connection with fulfilling the obligations set forth in
this Agreement.

INTENTIONALLY OMITTED.

During the term of this Agreement and for a period of one (1) year thereafter, neither party shall, directly
or indirectly, on behalf of itself or any other person, solicit for employment or engagement any person who
is then, or who was at any time during the term, employed or engaged as an employee, contractor, sales
representative or otherwise engaged In any professional, managerial or other position with the other
party, provided, however, that the foregoing provisions shall not apply with respect to any person who
seeks employment or engagement from the other party of such person's own initiative, such as, but not
limited to, in response to the other party’s general announcement or advertisement.

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Vendor shall invoice BI for Services and Deliverables as set forth in the applicable SOW or PO. Each
Invoice shall substantially comply with the requirements as set forth in Exhibit C.

For Services subject to State of Connecticut state sales tax, Vendor shall separately state the taxable
amount of such Services on the Invoice.

Except as otherwise provided in this Agreement and/or applicable PO, the failure of Vendor to make
demand for payment within twelve (12) months of completing the Services under an applicable PO shall
be considered a waiver by the Vendor of its rights to receive payment.

Vendor agrees that Bl may, without the need for further consent from Vendor, disclose information
relating to Vendor and this Agreement to an agent of BI solely for the purpose of allowing agent to
process POs, invoices and accounts payable.

INTENTIONALLY OMITTED.

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4. Payment

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In exchange for providing the Services, BI shall pay Vendor the fees and project expenses set forth in the
applicable SOW and/or PO, subject to those set forth in the Statement of Rates attached as Exhibit D. BI
will reimburse Vendor for reasonable, documented transportation, lodging or meal expenses that have
been incurred in conformance with the BI Travel and Expense Reimbursement Guideline for Vendors
referenced in Exhibit E, and explicitly set forth In the applicable PO. Deviations from the BI Travel and
Expense Reimbursement Guideline will require prior review and written approval by BI. Vendor agrees
that all project expenses and travel or other expenses incurred by Vendor or any Vendor Personne! and
reimbursable by Bl will be reimbursed at actual cost without any profit, overhead, or general
administration charges or other markup, except as specifically set forth herein or in the applicable SOW or
exhibits attached hereto. Discounts received by Vendor which are based on the pass-through costs
incurred by Vendor in connection with the performance of obligations under this Agreement shall be
passed on to BI and Vendor shall credit BI its pro rata portion of any rebate or other concession provided
by any third party supplier. Vendor will not be reimbursed for travel to and from Bl’s place of business,
unless specifically set forth in an applicable PO. Further, Vendor will not be reimbursed for any payment
to a consultant or subcontractor that is not specified in the applicable PO, project budget approved by BI
or otherwise pre-approved by Bl in writing. All third party expenses in the creation or production of
programs must be included in the project proposals. Third party expenses in excess of $10,000 must be
supported by at least three (3) bids unless otherwise agreed to by BI in writing.

BI will remit payment for Services performed and Deliverables in accordance with this Agreement and the
applicable SOW and accepted by Bi and expenses approved by BI. Payment will be made by BI within
forty-five (45) days after receipt of Vendor's undisputed invoice with supporting documentation. In the
event of a dispute, Vendor will submit a revised invoice for the undisputed amount for which BI will remit
payment pursuant to the terms of this Section 4.2. To dispute an invoice, BI must provide notice of the
dispute no later than forty-five (45) days after receipt. Vendor assumes all responsibility and liabitity for
the payment of any federal, state or loca! income taxes due on payments received from BI, and shall be
responsible for all employment taxes and withholding with respect to Vendor Personnel. Vendor agrees
to defend, indemnify and hold BI and its Affiliates harmless from and against any and all such liabilities or
claims including, but not limited to, interest assessed or penalty and reasonable attomeys' fees Incurred,
arising from Vendor's failure to pay such tax. Payment hereunder shall represent full and complete
compensation for all obligations assumed by Vendor and for all intellectual property rights, including
inventions, improvements, copyrights or patent rights assigned or created as works made for hire as more

fully set forth in Article 14

Vendor agrees to provide a valid United States federal tax identification number to BI. In the event that
Vendor does not provide a valid tax identification number, Vendor acknowledges and agrees that BI may
be required by law to withhold said withholding taxes from gross payments due to Vendor.

Within sixty (60) days following completion of the Services and Deliverables and payment by BI of all
amounts invoiced under each PO, the amounts payable to Vendor in accordance with the terms of the PO
and the amounts actually paid to Vendor shall be reconciled. If BI has made prior payments to Vendor
that exceed the amount owing to Vendor, Vendor will retum the difference to BI within forty-five (45) days
following the earlier of (i) request by BI or (li) discovery by Vendor of such overpayment, If BI has made
prior payments to Vendor that are less than the amount owing fo Vendor, BI will pay the difference to
Vendor after the reconciliation and within forty-five (45) days after receipt of the final invoice.

BI will not be liable for (i) payment of any fees in excess of the amount set forth in the applicable PO or (ii)
reimbursement to Vendor for any expenses not specifically included in the applicable SOW, except

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pursuant to a written amendment to the applicable SOW executed by BI and Vendor and a revised PO
issued by B! and accepted by Vendor.

 

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Print and other production will be handled by BI. Contact Sourcingmkliterature.rdg@boehringer-

ingelheim.com regarding the development of specifications, unless otherwise directed in writing by BI,

Marketing, sales and medical meetings shall be planned, budgeted and managed by Global Congress
and Meeting Services (GCMS). All expenses related to the logistics of a meeting or congress (e.g., hotel
contracting, room registration, meeting space, travel, ground, meals, AV etc.) are arranged and paid
through GCMS. All meeting requests are submitted on a BI “Meeting Request Form”. It is the Vendor's
responsibility to stay current with the GCMS SOP guidelines, To request the current SOP or ask any

questions, Vendor must send inquiries to meetings.rdg@boehringer-ingelheim.com.

Vendor acknowledges that BI has a medical, legal and regulatory review process ("MLR Review’) to allow
BI fo ensure that all BI promotional materials and programs and third party communications comply with
applicable laws and regulations including, but not limited to, those relating to the United States Food and
Drug Administration ("FDA"). Vendor agrees to strictly adhere to BI’s “Submission Requirements" as set
forth in Exhibit B. Vendor acknowledges and agrees that all content, scripts, materials and programs
developed or prepared by Vendor hereunder will be submitted to BI for MLR Review in accordance with
the Submission Requirements for Bl's prior written approval ("Bl MLR Approval"). No promotional
materials or other third party communications will be piloted, launched, or otherwise used in a promotional
context or sent or communicated to any healthcare professional or other individual without prior written BI
MLR Approval, In the event any provision contained in Exhibit B conflicts with any part of this Agreement,
the provisions set forth in this Agreement shall take precedence. Vendor agrees not to alter BI approved
content, scripts, materials and/or programs in any way without BI's prior express written consent.

When developing materials that utilize BI's trademarks, trade names or logos, Vendor shall comply with
BI's Corporate Logo Guidelines and any other design guidelines provided to Vendor in writing or via the

intemet at http://cd. - im.com. Vendor is invited to register at the Corporate Design

website and subscribe to the "News" section in order to be notified and informed of any changes to the
guidelines,

If, as a result of FDA notification a corrective advertisement is requested for a BI product program related
to the Services provided by Vendor hereunder, Vendor will distribute that message to its applicable
network as specified by BI. BI will pay normal and reasonable distribution costs to communicate this
message.

Domain names and SSL-certificates relating to Bl, its business or its products shall be registered and/or
applied for by BI only, not by Vendor. Any requests for or other communications regarding domain
names/SSL-certificates (registrations, applications or transfers) shall be addressed to

Domain.names@boehringer-ingelheim.com exclusively.

Independent Contractor

For the purposes of this Agreement, Vendor and BI are independent contractors and are not agents, joint
venturers, or business partners of the other. Neither Party is granted any right or authority to assume or create
any obligation or responsibility, express or implied, on behalf of, or in the name of the other Party, or to bind the
other Party in any manner whatsoever. Each Party is solely responsible to select, engage and discharge its

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employees and other personnel, to determine and pay their compensation, taxes and benefits, and to otherwise
direct and control their services and determine all matters. Except as specifically set forth in this Agreement,
nothing contained in this Agreement shall impose an obligation of exclusivity on one Party by the other. Vendor
Personnel performing Services under this Agreement shall at all times be under Vendor's exclusive direction and
contro! and shall be employees, agents or sub-contractors of Vendor. The Parties hereby acknowledge and
agree that BI shall have no right to control the manner, means, or method by which Vendor performs the
Services called for by this Agreement. Rather, BI shall be entitled only to direct Vendor with respect to the
elements of Services to be performed by Vendor and the results to be derived by BI, to inform Vendor as to
where and when such Services shall be performed, and to review and assess the performance of such Services
by Vendor for the limited purposes of assuring that such Services have been performed and confirming that such

results were satisfactory.

7. Indemnification

7.1 Vendor, at its own expense, shall defend, indemnify and hold harmless BI, its Affiliates, officers, directors,
employees, agents, successors and assigns (’B! Indemnitees") from and against all loss, liability, costs,
charges, claims or damages which includes all costs and expenses of any Investigation and defense of
such claims, including the reasonable fees and expenses of attorneys and experts, etc. ("Losses") that
result from or arise out of the violation of any third party's trade secrets, trademarks, copyright, patent
rights or other intellectual property rights in connection with the performance of Services provided under
this Agreement. Notwithstanding the foregoing, this indemnity obligation shall not apply to the extent that
any infringement or claim thereof is based upon: (i) the combination, operation or use of the Services,
Deliverables in combination with equipment or software not supplied by Vendor hereunder where the
Services and/or Deliverables would not themselves be infringing, (ji) compliance with designs,
specifications or instructions provided by BI Indemnitees or any third parties working at the direction of BI
Indemnitees, (iii) use of the Services and/or Deliverables in an application or environment for which it was
not designed or not contemplated under this Agreement, or (iv) modifications of the Services and/or
Deliverables by anyone other than Vendor where the unmodified version of the Services and/or
Deliverables would not be infringing. In addition, in the event that any part of the Services or Deliverables
(as defined below) does or is likely to become the subject of a suit, action or claim of infringement and its
use is or may be enjoined, Vendor shall, at Bl's option and subject to BI’s written approval, (i) modify the
Services or Deliverables, at Vendor's own expense, so that it is non-infringing and functionally equivalent;
Or (ii) obtain for Bl, at no additional cost to BI, sufficient rights to allow BI to use the infringing Services,
and/or Deliverables as contemplated hereunder; or (iii) substitute non-infringing services or deliverables
acceptable to BI that are substantially similar to the Services, and/or Deliverables described in a PO. Any
such replacement services, and/or deliverables shall be subject to all of the terms and conditions of this
Agreement, including without limitation, the foregoing indemnification provisions. Further, the options and
remedies set forth above will not limit any other rights or remedies avallable to BI under this Agreement or
at law or in equity.

7.2 BI, at its own expense, shall defend, indemnify and hold harmless Vendor, its officers, directors,
employees, agents, successors and assigns ("Vendor Indemnitees") from and against all Losses that
result from or arise out of the violation of any third party's trade secrets trademarks, copyright, patent
rights or other intellectual property rights as a direct result of BI's own written direction provided to Vendor
in the course of Vendor's performance under this Agreement.

7.3 Vendor shall defend and indemnify the B! Indemnitees against all Losses which may arise out of the acts
and omissions of any Vendor Indemnitee or any Vendor Personnel in the performance of the Services
under this Agreement that result in a breach of this Agreement, provided that Vendor shall not be liable for

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nor be required to defend nor indemnify BI if the Losses result solely from the negligence or willful
misconduct of any Bl Indemnitee.

Vendor shall defend and indemnify the BI indemnitees against all Losses resulting from (i) any acts of
bribery, corruption, fraud, embezzlement or dishonesty committed by Vendor or any Vendor Personnel,
acting alone or in collusion with another party, in the performance of the Services hereunder, and (li)
claims made by Vendor employees against Bl including, wage and hour related (overtime,
misclassification), discrimination, retaliation, leave laws and other state and federal employment claims.

The absence of Insurance shall not diminish Vendors responsibility to defend or indemnify BI
Indemnitees.

A Party seeking indemnification (an “Indemnitee’) shall (i) provide the indemnifying Party (“Indemnitor’)
with written notice, within a reasonable time after notice of any applicable claim Is received by Indemnitee;
and ([i) allow Indemnitor to have sole control of the defense or settlement of the claim; provided, however,
Indemnitor shall not settle any claim which may have a material adverse impact on Indemnitee without the
prior written consent of Indemnitee; and (iil) provide Indemnitor with reasonable assistance, information
and authority necessary to perform Indemnitor's obligations.

8. Insurance

8.1

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Without limiting its responsibilities under Article 7, Vendor shall maintain in force at all times during the
term of this Agreement the following insurance including any special terms indicated and shall, upon
written request of BI, provide to Bl Global Sourcing certificates of insurance for each type of Insurance
specified below. The insurance shall be with an insurance company that Is duly licensed and having a
minimum A.M. Best rating of A-VIII.

8.1.1 Commercial General Liability Insurance in respect of Vendor's liability for loss of or damage to
property, including property of BI, and against liability in respect of injury, including death,
resulting therefrom, for the sum of not less than $1,000,000 for any one occurrence or the
aggregate of $2,000,000 for any series of occurrences within any twelve (12) month period. The
policy shall carry an endorsement indicating that all certificate holders shall be given a minimum
of thirty (30) days’ prior written notice of cancellation, non-renewal or termination and BI shall be
named as additional insured under such policy of insurance.

8.1.2 If applicable, Commercial Automobile Liability Insurance, Including all owned, non-owned and
hired automobiles used in the performance of Services under this Agreement with a combined
Single Limit for bodily injury and property damage for the sum of not less than $1,000,000 each
accident.

8.1.3 Statutory Worker’s Compensation and Employer's Liability Insurance with a limit of not less than
$1,000,000 each accident or disease, If Vendor is not required by law to cary such coverage, Bl
shall not be responsible for any injury or disease sustained by Vendor or its employees, agents
or representatives while in the performance of this Agreement, and Vendor agrees to indemnify
BI for any claim made against BI,

8.1.4 If applicable, Professional Liability or Errors and Omissions Insurance covering any error or
omission in the performance of Services hereunder for the sum of not less than $5,000,000 for
any one occurrence and the aggregate of $5,000,000 for any series of occurrences within any
twelve (12) month period.

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8.1.5 It is expressly understood and agreed that 8! does not in any way represent that the above
specified limits of liability or policy forms are sufficient or adequate to protect the Vendor's
interests or liabilities.
9. Personal Information

9.1 In performance under this Agreement, Vendor may gain access to certain information that can be used by
itself or in combination with other available information to identify a specific individual, or that is otherwise
defined as personal information by applicable law in the state and/or country of performance of Services
and/or origin of the information (“Personal Information”), Personal Information includes, without limitation,
information related to BI or Bl's customers, consumers, patients, employees, personnel, physicians,
Suppliers, consultants and competitors, whether verbal or recorded in any form or medium, disclosed to
Vendor by BI or collected by Vendor on Bl’s behalf including, but not limited to, (a) individually identifiable
health information, (b) employment information, (c) insurance information, (d) family information, (e) an
individual's name, address, phone number, e-mail address, social security number, or credit card
information, and/or (f) all information, data and materials, including without limitation, demographic,
medical and financial information, that relate to (i) the past, present, or future physical or mental health or
condition of an individual; (ii) the provision of health care to an Individual; or (Ili) the past, present, or
future payment for the provision of health care to an individual. Vendor agrees that Personal infomation
shall be transmitted, handled, stored, maintained, used, and eliminated in a manner that will preserve the
confidentiality of the Personal Information and in strict compliance with HIPAA and HITECH (as defined
below) and with all other applicable privacy and data security laws, rules and regulations in those
respective states, countries, and other jurisdictions where Vendor provides Services and/or collects, uses,
discloses or otherwise processes Personal Information. If Vendor performs any activity using Personal
Information that constitutes or may be deemed to constitute “marketing” or the “sale of protected health
information,” as defined by HIPAA, Vendor shall obtain all appropriate individual authorizations prior to
any use or disclosure associated with such Personal Information as may be required by HIPAA or
applicable privacy and data security laws. Unless otherwise mutually agreed in writing, Vendor further
agrees not to use or disclose Personal Information received pursuant to this Agreement for any purpose
other than the performance of this Agreement. Furthermore, if Vendor becomes a Business Associate, as
defined by HIPAA, Vendor is solely responsible for implementing and adhering to a Business Associate
Agreement in compliance with HIPAA. Except as reasonably required in the performance of this
Agreement, Vendor shall at no time release Personal Information subject to HIPAA, HITECH or other
state or federal laws to BI.

9.2 When collecting, using, disclosing, retaining or otherwise processing Personal Information on behalf of Bl,
Vendor will comply with BI privacy policies and any other applicable policies, including, without limitation,
ones related to confidentiality and data security. Any and all consents collected by Vendor from
Individuals on behalf of BI relating to collection, use, disclosure, retention and other processing of the
individual's Personal Information, must be retained by the Vendor for at least five (5) years after
termination or expiration of this Agreement. Vendor agrees to establish commercially reasonable controls
to prevent unauthorized access, use or disclosure of Personal Information. Vendor will implement all
safeguards that reasonably and appropriately protect the confidentiality, integrity, and security of Personal
Information. Such safeguards shall include the encryption of sensitive Personal Information that includes
United States Social Security Numbers (or the comparable identifiers in other countries), driver's license
numbers, medical information, bank account numbers and/or credit card information, when such data is
transmitted or at rest including, but not limited to, data located on laptops, back-up tapes, USB flash
drives and other portable devices.

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9.3

Upon expiration or termination of this Agreement, or at any time upon request of BI, Vendor shail retum to
BI and/or destroy all Personal Information held in any form or medium whatsoever collected or received
from or on behalf of Bl. Vendor shall promptly send BI a written certification signed by an authorized
representative of Vendor acknowledging that all Personal Information has been retumed and/or
destroyed. Any collection, use, disclosure, retention and other processing of the Personal Information
other than as contemplated by or in violation of this Agreement Is a material breach of this Agreement.

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For purposes of this Agreement, the term "Confidential Information” includes, (a) as it relates to BI, BI’s or
its Affiliate’s products, proprietary technologies, pharmaceutical and chemical compounds and any other
products developed, manufactured, distributed, or otherwise exploited by BI or any BI Affiliate, together
with the software and all other equipment, components, devices, data, specifications, designs, test
results, formulas, algorithms, ideas, concepts, know-how, methods, techniques, documentation, and other
information and materials of any sort related thereto, along with the Deliverables (not including any
Underlying Vendor Intellectual Property contained therein) and (b) as It relates to both Parties, (i) any and
all source code, object code, concepts, techniques, information, and materials of any sort relating to
software or firmware products used, developed, or otherwise disclosed or exploited by the disclosing party
(the “Discloser’); (ii) any and all ideas, concepts, know-how, methods, techniques, structures, information,
including without limitation all specifications and test data, and materials relating to the research, design,
development, engineering, invention, patent, patent application, manufacture, or improvement of any and
all chemical compounds, pharmaceuticals, medical devices, products or information, computer, electronic,
or other equipment, components, circuitry, or devices of any sort, which is or are constructed, designed,
improved, altered, or used by the Discloser or its Affiliate; (iii) any and all internal business procedures
and business plans, client and marketing information and materials, customers, prospective customers,
licensing techniques, vendor information, purchasing information, financial information (price lists, fees,
sales data and rates for services and other billing or collection related information), service and
operational manuals, ideas for new products and services, strategic data, forecasts, and any other
information which relates to the way the Discloser or its Affiliate conducts its business; (iv) any and all
information and materials in Discloser’s possession or under its control from any other person or entity
which Discloser is obligated to treat as confidential or proprietary; (v) any information of the Discloser,
including @ formula, pattem, compilation, program, device, method, technique, or process that derives
independent economic value, actual or potential, from not being generally known to the public or to other
persons who can obtain economic value from its disclosure or use and (vi) Personal Information. For
purposes of clarity, BI shall be deemed the only “Discloser’ in relation to clause (a) in this Section 10,1.

The party receiving the Confidential Information (the “Recipient’) shall keep in strictest confidence, both
during the term of this Agreement and subsequent to termination of this Agreement, and shall not for any
reason, except as directed by Discloser in writing, disclose, communicate or divulge to any person, firm or
corporation, or use, directly or indirectly, for their own benefit or the benefit of others, any Confidential
Information of Discloser which the Recipient may acquire or develop in connection with or as a result of
the performance of the Services hereunder. Upon termination of this Agreement, for any reason
whatsoever, the Recipient shall deliver to Discloser or destroy, as directed by Discloser, at Recipient's
own expense all materials containing Confidential Information as well as any other matter in their
possession or control relating to any of the Services performed hereunder and shall keep no copies,
summaries or analyses of any kind, regardless of the format in which such information exists or is stored,
except for a single copy for archival purposes, to comply with the audit requirements hereunder.
Recipient shail promptly send Discloser a written certification signed by an authorized representative of
Recipient acknowledging that all Confidential Information has been retumed to Discloser or destroyed as

directed by Discloser.

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Each Party agrees to treat any Confidential Information of the other Party in the same confidential manner
and subject to the same use and disclosure limitations to which such Party applies to its own Confidential
Information during the term of this Agreement and for ten (10) years following termination or expiration
thereof.

Each Party acknowledges that disclosure of any Confidential Information by it or its respective personnel
could give rise to imeparable injury to the other Party and that such injury may be inadequately
compensable in damages. Accordingly, each Party is entitled, in addition to the rights and remedies it
may have under and pursuant to this Agreement or under applicable law, and without posting bond, to
have an injunction issued by any competent court enjoining and restraining the other Party and/or its
personnel from continuing any breach or threatened breach of the foregoing undertakings. The existence
of any claim or cause of action that elther Party may have against the other Party shall not constitute a
defense or bar to the enforcement of this provision.

The obligations of confidentiality and non-disclosure set forth in this Article 10 shall not apply to:
10.5.1 Information which at the time of disclosure or discovery is in the public domain;

10.5.2 Information which, after disclosure, becomes part of the public domain by publication or
otherwise, except by breach of this Agreement:

10.5.3 Information which either Party can establish by reasonable proof was in its possession at the
time of disclosure by the other Party and was not acquired, directly or indirectly, from the other
Party or subject to restriction; or

10.5.4 Information which either Party receives from a third party provided, however, that such
information was not obtained by said third party, directly or indirectly, from the other Party and
that said party has a right to disclose such information.

If a Recipient is requested or required to disclose Confidential Information pursuant to any jaw, judicial or
administrative process, or subpoena, Recipient will make known to the appropriate govemment or court
officials the proprietary nature of any information requested and shall make any claim of confidentiality
with respect thereto. Further, Recipient will promptly notify Discloser in writing of such request or
requirement and will provide the opportunity for Discloser to review any such subpoena to confirm its
validity and will either (i) promptly seek protective relief from such disclosure obligation, or (ii) direct
Recipient to comply with such request or requirement. Recipient shall cooperate with efforts of Discloser
fo maintain the confidentiality of such information or to resist compulsory disclosure thereof. If, after a
reasonable opportunity to seek protective relief, such relief is not obtained by Discloser, or if Discloser
fails to obtain such relief, Recipient may disclose only such portion of such Confidential Information that
Recipient reasonably believes, on the basis of advice of Recipient's counsel, Recipient is legally obligated
to disclose.

Vendor agrees and understands that any information or materials provided by BI or generated by Vendor
pursuant to this Agreement are subject to United States laws and regulations, which may restrict exports,
re-exports or other transfers to other countries and parties. Vendor agrees that no material or information
will be exported, re-exported, transferred or disclosed contrary to the applicable laws and regulations of
the United States, or to any country, entity or other party which is ineligible to receive such items under
U.S. law and regulations including the regulations of the U.S. Department of Commerce and the U.S.
Department of Treasury. Vendor agrees and understands it shall be solely responsible for (i) complying

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with applicable laws and regulations related to performance of Services hereunder and (il) monitoring any
modifications to them.

Vendor and Vendor Personnel, in good faith, undertake to protect Confidential Information (including but
not limited to patent-relevant, scientific or technical information) against unauthorized access by third
parties. If Confidential Information is communicated via intemet mail, use of intemet mail encryption
technology is compulsory. For another option for electronic communication between the Parties, Vendor
shall provide a “Secure File Transfer Protocol" site or BI shall provide a suitable technology at

, ringer-ingelheim.com free of charge. For files over 2MB, files must be uploaded to the
BI TEMPO FTP site. Without limiting the foregoing, any failure by Bl to use such Intemet mail encryption
technology in its communication of any BI Confidential Information shall not affect the confidential and
proprietary nature of such information. Rather, such information shall continue to be BI Confidential
Information and subject to the restrictions of this entire Article. ,

For purposes of clarification, and not in limitation of the duty of confidentiality set forth above, Vendor
acknowledges and agrees that it shall not use Bl's name or BI case studies, named or blinded, or Bl
Confidential Information. This prohibition shall apply, without limitation, to use in any marketing or
advertising materials, sales literature, list of Vendor clients, in presentations to other prospective Vendor
clients including, without limitation, general Vendor capability presentations, in presentations at
conferences, seminars or other educational or informational venues, and/or in internal presentations to Bl,
its Affiliates and the employees thereof except as required for performance of Services under the
applicable SOW. Vendor shall require each Vendor Personnel to comply with this Section 10,9 and shall
be responsible for any breach of this Section 10.9 by any Vendor Personnel.

11. Ip of Deliverables

11.1

Except as provided in Section 11.5 below, all rights, title and interest in and to all materials, documents,
presentations, reports, information, data, results, analysis, summaries, and Suggestions of every kind and
description supplied to Vendor by BI or generated or developed by Vendor under this Agreement or an
SOW as work product ("Deliverables") shall be the sole and exclusive property of Bl, and B] shall have the
right to make whatever use it deems desirable of the Deliverables. In the event of new vendor selection,
Vendor shall transfer all materials and data to new vendor at no cost to Bi. All Deliverables will be
transferred to BI or new vendor, in the case of new vendor selection, in an electronic format that is
reasonably acceptable to Bl. At all times, Bl shall be the exclusive owner of all proprietary rights of any
kind or nature existing under the laws of any jurisdiction in the Deliverables, regardless of the state of
completion or actual delivery of such Deliverables. The parties agree that all Deliverables created
pursuant to this Agreement shall be “work made for hire” as that term is defined in the copyright laws of
the United States, excluding any Underlying Vendor Intellectual Property (as defined in Section 11,7)
contained or embodied therein. BI and its Affiliates shall have all rights, tite and interest in and to the
Deliverables, including the sole and exclusive right to secure and own copyrights and renewals
throughout the World, and, accordingly Vendor's execution of this Agreement will constitute an
assignment of its copyrights in all said work and its agreement to cooperate with BI by executing any
documents or otherwise, by assisting BI in asserting or establishing its proprietary rights and copyrights in
the Deliverables. BI and Its Affiliates shall have exclusive, worldwide, unlimited rights to all Deliverables
created pursuant to this Agreement except as otherwise specifically provided in this Agreement. Vendor
agrees that BI or its Affillate shall have the exclusive rights to publish or otherwise disseminate the results
of the Services, including, without limitation, any work product produced by Vendor and Vendor shall have
no publication rights with respect to such results.

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11.2. It is understood and agreed that all copyrights, trademarks, service marks, trade names, brand names,
trade symbols, slogans, advertising plans, ideas, and other proprietary rights developed or fumished by
Vendor as Deliverables in connection with its Services under this Agreement shall be the exclusive
property of BI except as specifically provided in this Article 11. On all Deliverables prepared for BI by the
Vendor, the Vendor shall place the appropriate trademark registration notice or notice of trademark claim,
if any (e.g., ® or ™), indicating BI trademark rights, in accordance with the BI Brand Guideline. Similarly,
the Vendor shall put a valid copyright notice in BI's name on all Deliverables created by the Vendor for BI.

11.3 Without limiting the foregoing, BI shall own all worldwide right, title and interest in and to the following: all
original artwork, electronic files, video, photography, copy, layouts, films, concepts, ideas, names, logos,
trademarks, brand names, symbols, slogans messages, themes and any other materials related to the
preparation of and/or production of all Services contracted for whether produced by the Vendor or by any
Vendor Personnel retained on behalf of BI, and whether or not the material was published, displayed,
distributed, broadcast, or otherwise presented. From time to time, instances may arise in which third
parties own proprietary rights in materials proposed to BI by Vendor as part of the Deliverables pursuant
to this Agreement (except to the extent otherwise set forth in the applicable SOW). In all such instances,
Vendor shall immediately, fully and clearly, inform BI of such third party's rights in writing. Vendor will
proceed only with Bl's written authorization upon being provided by Vendor with documentation
evidencing permission for Vendor and Bl to use such third parties rights in the Deliverables per the terms
of the applicable SOW.

11.4 Limitations of rights for use of any third party's intellectual property shall be clearly defined and
communicated to BI in writing for its consent in accordance with this Article 11. The third party permission
obtained by Vendor shall include, without limitation, all necessary releases, licenses, permits and other
authorizations to use the name, likeness, photographs, copyrighted material, quotes, data adaptations,
artwork, or any other property or right belonging to any third party for use in marketing communications,
education and public relations for Bl for the appropriate time frame/duration of the campaign, geographic
scope, and/or the use intended (e.g., use of photograph on the web versus use in a print ad). Bl agrees
to abide by the terms of such releases, licenses, permits, and other authorizations, provided it has
approved use of such materials in accordance with this Article 11. Limitations of rights for use of any third
party's intellectual property shall be clearly defined and communicated to BI in writing for its consent in

accordance with this Ariicle 11,

11.5 Bl acknowledges that Vendor will own all rights, title and interest to all materials, tools, templates,
methodologies, processes, know-how and proprietary information and technology developed by Vendor
and used by Vendor to deliver the Services pursuant to this Agreement, and any and all improvements,
updates, modifications and derivative works related thereto (collectively, the “Underlying Vendor
Intellectual Property"). Vendor acknowledges that it shall not acquire any right, title or interest in or to any
of BI’s Confidential Information, even if incorporated into any such Underlying Vendor Intellectual
Property. To the extent any Underlying Vendor Intellectual Property would or could limit BI's use of such
Deliverables, Vendor hereby grants to BI an irmevocable, perpetual, non-exclusive, worldwide, royalty-free,
license to BI and its Affiliates to use, execute, reproduce display, perform, modify, and distribute copies of
Underlying Vendor Intellectual Property solely as part of any Deliverables provided to BI, as reasonably
required solely in conjunction with B's or its Affiliates’ own business operations. in the event BI
Confidential Information or intellectual property is included within Underlying Vendor Intellectual Property
for purposes of performing the Services hereunder, such BI Confidential Information and intellectual
property shall be removed by Vendor from its Underlying Vendor Intellectual Property upon completion of
the Services and shall not be retained or used by Vendor for any other purpose.

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12, Confilets of Interest

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Vendor warrants and represents that no amount has been or will be paid to or shared with, directly or
indirectly, any Bl employee, officer, board member or representative as wages, compensation, gifts, or
oO :

Vendor also agrees to disclose via email to BI Global Sourcing the name(s) of any Bl employee,
consultant, independent contractor, officer, board member, or representative who is an immediate family
member (spouse, child, grandchild, sibling, parent, or grandparent) of anyone who owns, directly or
indirectly, any interest in Vendor. Should this situation change during the time of this Agreement, Vendor
will advise BI Global Sourcing via email of such change immediately.

13. Reporting

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Pursuant to applicable laws, drug and device manufacturers are required to report data on any and all
items of value including, but not timited to, fees, meals, educational items, gifts, expense reimbursements
and other payments or items of value ("Payments") provided to health care professionals ("HCPs") and/or
health care organizations ("HCOs"). These reports may be made public by BI in order to comply with
applicable state and federal laws, to comply with BI policies and procedures goveming Payments to HCPs
and/or HCOs, or as otherwise legally required to be disclosed by BI. Vendor will report to BI any and all
Payments made by Vendor or any Vendor Personnel under this Agreement to HCPs and/or HCOs, as
defined by BI. Vendor must report all Payments made to all HCPs and/or HCOs incurred during each
calendar month in accordance with the BI Transparency and Disclosure Policy provided by BI. Reports
must be submitted quarterly by the 15" day of the month following the close of each calendar quarter and
Vendor must ensure that all Payments made during each calendar year are reported to BI on or before
January 31 of the following calendar year. Vendor understands that to comply with its reporting and
disclosure obligations, BI may be required to report direct or indirect payments or other transfers of value
made by Vendor to HCPs and/or HCOs hereunder. Vendor shall provide, to each HCP and/or HCO to
which Vendor makes any Payment, written notification that such payment and corresponding information
(including, without limitation, such personally identifiable information as HCP and/or HCO name, address,
state(s) where HCP is licensed to practice, form of payment, amount of payment, and other information
required by B)) will be reported to BI and will be reported or disclosed by BI as legally required. Vendor
represents and warrants that it will only provide to HCPs and/or HCOs Payments as permitted under
applicable law and B's policies and procedures. Vendor and Vendor Personne! providing Services for BI
under this Agreement are required to complete a web-based training module on BI reporting procedures.
Training must be completed by each Vendor Personne! within thirty (30) days of such individual
commencing Services under this Agreement. Vendor will execute and deliver to BI the Attestation to BI
Regarding Reporting Requirements and Training in the form attached hereto as Exhibit G (the
“Attestation") within forty-five (45) days following the date of execution of this Agreement.

lf Vendor or any Vendor Personnel becomes aware of any adverse event, product complaint, or
extraneous comment (as each such term is defined in Exhibit H) related to the use of any pharmaceutical
product owned or promoted by BI, or on behalf of BI, Vendor will be responsible for reporting each such
event, complaint or comment to Bl in accordance with the process attached hereto as Exhibit H, as
amended by BI from time to time and provided or made available to Vendor. Any Vendor Personne! who
may receive any such adverse event, product complaint, or extraneous comment in connection with the
Services is required to complete the adverse event training specified in Exhibit H before performing any
Services hereunder, but in no event later than forty-five (45) days following the execution of this
Agreement. Vendor will keep (i) a copy of the completed and signed Training Record certificate for each
Vendor Personnel who has completed the adverse event training, and (ii) an up-to-date list containing the

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names of all Vendor Personnel who have completed the training and the dates of completion. Vendor will
execute and deliver to BI the Attestation regarding this reporting requirement within forty-five (45) days
following the date of execution of this Agreement.

13.3 Vendor agrees to submit to Bl reports, in form, timeframe, and substance to be agreed between BI and
Vendor, providing reasonably detailed information (while respecting applicable patient privacy laws)
regarding patient and consumer usage of the Deliverables and materials generated as part of the
Services provided by Vendor pursuant to this Ayreement. Reports and final executive summaries must
be received on a mutually agreed to schedule. Vendor acknowledges and agrees that Bl shall be the sole
and exclusive owner of all data generated directly or indirectly in connection with this reporting,

13.4 Vendor represents and warrants that it will, and it will cause all Vendor Personnel to promptly report to Bl
any breach of data security, loss, compromise, or unauthorized use, unauthorized access, attempted
unauthorized access, or disclosure of any part or all of Bl's Confidential Information including, but not
limited to, any Personal Information, Such notice shall be given as soon as possible and, In any event,
within twenty-four (24) hours of the first day that Vendor or such Vendor Personnel knows of the loss,
compromise, or unauthorized use or disclosure. Notice shall be given In writing, to the Chief Privacy
Officer. For purposes of this Agreement, (i) unauthorized use means the sharing, employment,
application, utilization, examination or analysis of any Confidential Information or Personal Information not
authorized under this Agreement, and (ii) unauthorized disclosure means the release, transfer, provision
of, access to or divulging in any other manner, any Confidential Information or Personal Information,
except as expressly permitted hereunder or under applicable law in the state or country of performance of
Services or origin of such Confidential Information or Personal Information. Use or disclosure of
Confidential Information or Personal Information is unauthorized if it (i) violates the provisions of this
Agreement, (ii) constitutes a breach of any applicable U.S. federal or state statute, regulation or guidance,
or breach notification laws, or (iii) constitutes a violation of any BI policy related to the protection and
confidentiality of such Confidential Information or Personal Information of which Vendor has been advised
in writing. Vendor agrees to use its best efforts to mitigate the effects of any breach, to promptly propose
correction action to BI and to promptly undertake all corrective action as approved or requested by Bi.

13.5 Bl requires Vendor to fully comply with all applicable disclosure obligations regarding Vendor's
relationship with Bl that may be extemally imposed on Vendor based on Vendor's and/or Vendor
Personnel's affiliation with any formulary or pharmacy and therapeutics committees or committees
associated with the development of clinical guidelines, treatment protocols or standards, as well as any
disclosure obligations which are required by any health care institution, medical committee, or other
medical or scientific organization (“Committee”). Vendor shall also disclose to such Committee the nature
of Vendor's relationship with BI. This disclosure requirement set forth above extends two (2) years
beyond the term of this Agreement. If participation on the Committee by Vendor or Vendor Personnel
creates the appearance of impropriety on behalf of BI, BI reserves the right to terminate this Agreement
upon written notice pursuant to Article 15 of this Agreement.

 

13.6 Vendor shall notify BI, within twenty-four (24) hours, promptly by telephone and by email if any
governmental or regulatory authority requests an inspection or makes written or oral inquiries of Vendor
regarding any aspect of Bl's activities pursuant to this Agreement. Vendor agrees to provide BI with a
copy of any inspection report related to the Services pursuant to this Agreement. Unless otherwise
required by applicable law or regulation, Vendor shall not allow access to any governmental or regulatory
authority relating to such BI activities without giving BI the right to have a representative present. Vendor
and BI shall cooperate In resolving any concerns of any govemmental or regulatory authority. Vendor
shall promptly notify Bl by telephone or by email if Vendor believes that the actions or inactions of any

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govemmental or regulatory authority, including the issuance or failure to issue any report, permit, or
license, may cause a negative impact on Vendor's ability to perform the Services.

Vendor shall maintain appropriate documentation necessary to demonstrate Vendor's compliance with
applicable flaw, regulation, BI policy, and as otherwise necessary to comply with the terms of this
Agreement. This includes, but is not limited to, books, accounts, and records that, in reasonable detail,
accurately and fairly refiect the transactions and dispositions of funds relating to this Agreement. All
documentation related to the Services ("Documentation’) shall be promptly and fully disclosed to BI by
Vendor upon prior written request. Upon prior written request and at reasonable times, Vendor shall
make available for inspection, copying, review and audit by representatives of Bi, the FDA or any other
regulatory agencies, including foreign regulatory agencies, all Documentation at Vendor location. Vendor
agrees to exercise best efforts to take all reasonable steps that are requested by BI as a result of an audit
to cure deficiencies in all Documentation. Vendor shall retain all Documentation and ensure conformance
with applicable national and loca! regulations and as specified by BI. Vendor shall not destroy any
Documentation without obtaining the prior written consent of BI.

During the term of this Agreement (including any renewal terms) and for a period of five (5) years
following expiration or termination of this Agreement, BI reserves its right to confinn and validate Vendor's
and Vendor Personnel's compliance with the terms of this Agreement and/or applicable laws and
regulations through periodic audits of Vendor's documents and systems. BI's representatives, designees,
auditors and regulators, as BI may from time to time designate ("BI's Auditors"), shall, upon reasonable
notice, have the right to audit Vendor's documents, systems and operations, and conduct interviews with
Vendor Personnel. Vendor shall provide access at all reasonable times and after reasonable notice to
BI's Auditors to any facility or part of a facility at which Vendor is providing the Services and to any and all
data and records relating to the Services provided to BI. The foregoing audit rights shall include when
applicable, audits (i) of practices and procedures, (ii) of systems, (iil) of security practices and procedures,
(iv) of disaster recovery and backup procedures, and (v) necessary to enable BI to meet applicable law
and/or regulations.

During the term of this Agreement (including any renewal terms) and for a period of five (5) years
following the termination or expiration of this Agreement, BI reserves its right to examine Vendors
financial and time records including, but not limited to, records of any expenditures relating to Vendor
Personnel time (if applicable to an SOW) and out of pocket expenses incurred and charged to BI and to
request copies of same. BI will notify Vendor sufficiently in advance to assure that such records are made
available to Bl's authorized representative at Vendor's business offices, and Vendor shall cooperate with

such requests.

Any BI expenses incurred for an audit or examination shall be bome by BI unless an audit reveals that
there has been an overcharge. If, as a result of an audit, it is determined that Vendor or any Vendor
Personnel has overcharged Bl or has charged BI with regard to administrative tasks performed for the
benefit of Vendor and not directed to the management or conduct of a BI project, BI shall notify Vendor of
the amount of such overcharge and Vendor shall promptly pay to BI the amount of the overcharge. If
such overcharge is in excess of five percent (5%) of the charges subject to the audit, Vendor shall
reimburse Bl for all Bl costs associated with the audit. The expenses associated with correcting
deficiencies (including payment of any govemment-levied penalties) that may be identified as a result of
the audit or govemment inspection and/or enforcement action shall be the responsibility of Vendor unless
otherwise agreed upon, in writing, by both Parties.

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14.5 Notwithstanding anything to the contrary specified in this Agreement, Vendor shall retain all records,
documents and other information required to meet Bi's audit requirements under this Agreement for the
longer of (i) five (5) years from the termination or expiration of this Agreement, (ii) until final resolution of
any dispute conceming this Agreement, or (if) as long as required by law, regulation or BI policy.

14.6 Vendor shall conduct intemal audits consistent with industry guidelines and, if requested by BI in writing,
provide BI with an audit certificate evidencing the scope and date of performance of each such audit.
Vendor shall promptly make available the results of a review or audit conducted by Vendor, its Affiliates,
or any Vendor Personnel (including intemal and extemal auditors), relating to Vendor's operating
practices and procedures to the extent relevant to the Services or BI (including, e.g., any SAS-70 reports)
to the Bl Senior Director, Corporate Compliance Audit or other individual identified by BI. Vendor shall,
and shall cause Vendor Personne! to provide all audit-related materials to BI at Vendor's expense.

14.7 Without limiting the generality of this Article 14, upon ten (10) days’ prior notice from BI to Vendor that BI
wishes an information security audit to be performed, Vendor shall conduct or allow BI to conduct, as
specified in Bl's notice, such information security audit to test the compliance with generally accepted
industry standards or such other security standards and procedures as determined by BI and as
established by BI policy. To the extent that Vendor is conducting an information security audit, this
information security audit shall be conducted either by Vendor or a third party designated by Vendor
which is acceptable to BI, in accordance with standards acceptable to BI, and at no expense to BI. To the
extent that BI elects to conduct an information security audit pursuant to this Article 14, Vendor
acknowledges and agrees that BI Auditors may conduct an information security audit of the environment
used to provide the Services, Including security, policies, and operational matters. Regardless as to who
is conducting the audit, Vendor shall, at no expense to BI: (i) provide any BI or Vendor designated auditor
with all assistance and resources reasonably required to conduct any information security audit
authorized pursuant to this Article 14, and (li) remedy any deficiencies identified during any such
information security audit as directed by BI.

15. Term and Termination

15.1 The term of this Agreement shall be for a period of three (3) year(s), commencing upon the Effective Date
hereof, and upon written mutual consent, may be renewed for one (1) additional one (1) year period for a
maximum term of four (4) years. Any consent by BI to a renewal of this Agreement will be at BI's sole
discretion.

15.2 BI may terminate this Agreement or any given SOW or PO at any time without cause upon thirty (30)
days’ prior written notice.

15.3 Either Party may terminate this Agreement or any SOW or PO effective upon written notice to the other
Party if such Party breaches any of the terms or conditions of this Agreement or the applicable SOW or
PO and fails to cure each breach within thirty (30) days after receiving written notice thereof from the non-
breaching Party specifying the breach alleged by such Party. Notwithstanding the foregoing, BI reserves
the right to immediately terminate this Agreement, or any PO issued hereunder, upon written notice to
Vendor if Vendor breaches any of the representations and warranties set forth in Article 16.

15.4 Upon termination of this Agreement or any SOW or PO, except as set forth in this Agreement, Vendor
shall immediately cease all Services under the applicable SOW(s) or PO(s), cease to represent itself as
providing Services to Bl under the applicable SOW(s) or PO(s) and deliver at no additional expense to Bl,
or new vendor in the case of new vendor selection, (i) a report describing the current state of the
Services, Licensed Property, and Deliverables to be provided by Vendor under this Agreement and any

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SOW(s) and PO(s) outstanding as of the date of termination; (li) all BI Confidential Information in its
possession; and (iii) all Deliverables, in whatever state of development they may exist on the date of
termination. Upon delivery and receipt of the above, BI shall make payment to Vendor, as expeditiously
as Is practicable following receipt of an invoice from Vendor, for the Services, Deliverables, and Licensed
Property performed to the reasonable satisfaction of and accepted by Bl, as of the date of termination, at
the agreed upon rates for authorized Services and project expenses that cannot be canceled or recovered
in whole or in part, and for authorized expenses incurred, pursuant to the BI Travel and Expense
Reimbursement Guideline for Vendors in Exhibit E, in connection therewith which are reimbursable under
the terms of this Agreement and cannot be canceled or recovered in whole or in part. Notwithstanding the
foregoing, BI shall not reimburse Vendor for any advance or upfront payment made by Vendor that cannot
be canceled or recovered unless such reimbursement was pre-approved in writing by BI. if BI has made
prior payments to Vendor that exceed the amount owing to Vendor upon termination of this Agreement,
Vendor will retum the difference to BI within thirty (30) days after the date of termination.

Notwithstanding the foregoing, the Parties hereby acknowledge and agree that, upon expiration or
termination of this Agreement, unless otherwise directed by BI in writing or resulting from a termination by
Vendor, Vendor will continue performance under each outstanding SOW or PO even if performance
extends beyond the expiration or termination date subject to the continued and timely payments of
amounts due for such performance (at the then current rates). In such event, each uncompleted SOW or
PO shall continue in full force and effect and the terms and conditions of this Agreement will continue to
apply to each such SOW or PO until completed or until such SOW or PO is specifically terminated in
accordance with this Agreement or the terms of such SOW or PO. The Parties further acknowledge and
agree that termination of a specific SOW or PO will not affect the validity of any remaining SOW(s) or
PO(s). Upon termination of this Agreement pursuant to the provisions of Section 15.3, without limiting its
rights or available remedies under law, BI shall be entitled to a pro rata refund of any portion of amounts
paid to Vendor by BI for Services and/or Deliverables which have not, as of the effective date of such
termination, been provided by Vendor substantially in conformance with terms of the applicable SOW(s),
and the terms hereof.

The obligations set forth in Article 7 (Indemnification), Article 9 (Personal Information), Article 10
(Confidential Information and Use of BI's Name), Article 11 (Ownership of Deliverables), Article 13
(Reporting), Article 14 (Audit), Article 16 (Representations and Warranties) and Article 18 (Miscellaneous)
shall survive the expiration or termination of this Agreement.

16. Representations and Warranties

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Vendor represents and warrants that (i) it has all requisite power and authority to enter into and perform
its obligations under this Agreement, and (ii) that this Agreement constitutes the binding obligation of
Vendor, enforceable against Vendor in accordance with Its terms.

Vendor represents and warrants that it has no outstanding agreement or obligation which Is in conflict with
any of the provisions of this Agreement, or that would preclude Vendor and Vendor Personnel from
complying with the provisions hereof and further certifies that it will not enter into any such conflicting
agreement during the term of this Agreement.

Vendor represents and warrants that Vendor and Vendor Personnel are not persons or organizations
excluded from participation in Medicare, Medicald or other federal healthcare programs by the
Department of Health and Human Service's Office of Inspector General and are not using in any capacity
persons or organizations that are, debared, suspended, or otherwise excluded by any federal
govemment agency including, but not limited to the FDA, or barred from federal contracting by the

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General Services Administration, it further warrants and represents that Vendor Personnel are
appropriately licensed and in good standing. Vendor further represents and warrants that Vendor and
Vendor Personnel have not been convicted of, have not plead guilty to, and have not been found by a
court or govemment agency to have violated, an offense involving bribery, fraud, kickbacks, moral
turpitude or other applicable anti-corruption law or regulation. Further, Vendor represents, warrants and
covenants that neither Vendor nor any Vendor Personnel is the subject of a Notice of Initiation of
Disqualification Proceedings and Opportunities to Explain ("NIDPOE”) letter or Notice of Opportunity for
Hearing ("NOH") from the FDA. Vendor agrees to immediately disclose in writing to BI if Vendor or any
Vendor Personnel becomes the subject of a NIDPOE or NOH, Is debarred or if any action, suit, claim,
investigation, or legal or administrative proceeding is pending or, to the best of Vendor's knowledge,
threatened, relating to the debarment of Vendor or any Vendor Personnel performing Services hereunder.
Vendor will immediately inform BI in writing of any debarment, exctuston, Suspension or proposed
debarment, exclusion or suspension by any federal goverment agency of Vendor or Vendor Personnel.
Debarment, exclusion, suspension or proposed debarment, exclusion or suspension by any govemment
agency or violation, intention to violate or potential violation of any law or regulation involving bribery,
fraud, kickbacks, moral turpitude or corruption will constitute grounds for automatic termination of this
Agreement by BI in BI's sole discretion.

16.4 Vendor represents and warrants that to the best of its knowledge:

16.4.1 it is and will be the sole author of all works developed and/or used by Vendor, other than
that software, if any, provided by BI, in preparing the Deliverables;

16.4.2 it has and will have full and sufficient rights to all intellectual property needed to perform the
Services and provide the Deliverables and to assign or grant the rights granted pursuant to this
Agreement free and clear of any liens, claims or encumbrances; and

16.4.3 none of the Deliverables infringe any patents, copyrights, trademarks or similar rights of any
third-party, nor has any claim of such infringement been threatened or asserted.

16.5 Vendor represents and warrants that all Services and Deliverables shall be performed or provided in a
workmanlike manner and with professional diligence and skill and shall be in conformity with the SOW
and other performance requirements set forth herein or in a PO Issued pursuant hereto.

16.6 Vendor represents and warrants that to the best of its knowledge (i) there are no BI employees with
significant fiduciary interest in it or its affiliates; (ii) no Bl employees serve as officers, shareholders,
directors, or employees of Vendor and/or its affillates: and {Ili} no BI employees are compensated by or
act on Vendor's or its affiliates’ behalf, nor are related by blood or marriage to any of Vendor and/or its
affiliates’ employees that have contractual influence or authority over Vendor and/or its affiliates. In the
event that such conflict exists or arises, Vendor agrees to make full and effective disclosure to BI.

16.7 Vendor represents and warrants that (i) it is in compliance with and will adhere to the BI Supplier Code of
Conduct (located at https: i- erchange.com) or a Code of Conduct adopted by Vendor that is
consistent with the Bl Supplier Code of Conduct, and furthermore, it has effective compliance programs,
policies and procedures to address relevant risk areas associated with the pharmaceutical industry, and
(ii) it shall comply with all local, state and federal laws, industry guidelines, rules and regulations relevant
to the provision of Services set forth in this Agreement in each country and state In which Services are
performed. Without limiting the foregoing, Vendor represents and warrants that Services performed by
Vendor on behalf of BI shall be In compliance with the applicable protocol, if any, and all applicable local,
State and federal legislation, regulation, rules and guidelines, sound scientific procedures, any foreign

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corrupt practices act, any anti-bribery anti-corruption act, any conditions imposed by the FDA, those
relating to the Federal Trade Commission, the federal False Claims Act, the PhRMA Code on Interactions
with Healthcare Professionals, the Department of Health and Human Services Health Information
Technology for Economic and Clinical Health Act of 2009, as amended ("HITECH’), Health Insurance
Portability and Accountability Act of 1996 as amended ("HIPAA’), and all state consumer privacy laws, the
anti-fraud and abuse statute, 42 U.S.C. § 1320a-7b(b) (known as the “Anti-Kickback Statute") and any
applicable state anti-kickback laws.

Vendor represents and warrants that it has disclosed all third parties that have any role in providing the
Services or Deliverables as required by Section 2.1.

Vendor represents and warrants that It will fully and completely cooperate with BI in any investigation
relating to Vendor's activities under this Agreement, including investigations related to bribery, fraud,
kickbacks, corruption or other similar issues.

16.10 Vendor represents and warrants that it and Vendor Personne! have complied and at all times wil comply

with the requirements of the United States Foreign Corrupt Practices Act as amended ("FCPA’), the
United Kingdom Bribery Act of 2010 as amended (the “UKBA’), and all other applicable anti-bribery and
anti-corruption laws and regulations, Without limiting the generality of the foregoing, Vendor represents
and warrants that it and Vendor Personne! have not and will not make, pay, offer to pay, promise or
authorize directly or indirectly the payment of money or anything of value, to anyone, including but not
limited to Goverment Officials in order to influence or obtain or retain approvals, licenses, secure
improper advantages or business in connection with the Services or Deliverables provided under this
Agreement. Vendor will immediately notify BI if it teams that any such payment, offer, promise, or
authorization has been made, directly or indirectly. Upon Bl's request from time to time, Vendor agrees to
certify compliance with the foregoing in a form suitable to BI. “Government Official” means any officer or
employee of a govemment or any department, agency, or instrumentality thereof (including officers and
employees of govemment-owned entities or public intemational organizations), any person acting in an
official capacity for or on behalf of any govemment entity or official, or any political party, party official,
and/or candidate for public office. Without limiting the foregoing, “Government Official’ includes all
employees of govermment-owned or govemment-controlled (in whole or in part) hospitals, companies, or
healthcare facilities, including doctors, nurses, contracting officers, procurement personne! and other
persons employed by such entities. In addition, "Govemment Official” includes any immediate family
member or anyone acting on behalf of any person described above.

16.11 Vendor represents and warrants that if it leams any information giving it a good faith reasonable belief

that Vendor or Vendor Personnel has or may have violated, intends to violate, or has caused a violation or
potential violation of the FCPA, UKBA and/or any other applicable anti-bribery and anti-corruption law or
regulation (even if Vendor believes that it may not be subject to such laws or regulations), Vendor will
promptly notify Bi in writing.

16.12 Vendor represents and warrants that none of its Vendor Personnel or other persons who have any role in

providing Services under this Agreement are Govemment Officials or related to a Goverment Official
covered by FCPA, UKBA and/or other applicable anti-bribery and anti-coruption laws and regulations.

16.13 Vendor represents and warrants that no beneficial owner of 15% or more of Vendor's shares and no

directors, and officers are Government Officials.

16.14 Vendor agrees that if any such person or Vendor Personnel becomes a Government Official, Vendor shall

promptly notify BI in writing.

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16.15 For purposes of this Section, BI refers only to Boehringer Ingelheim Pharmaceuticals, Inc. ("BIPI’) and
does not include any Affiliate. Vendor acknowledges that BI has entered a Corporate Integrity Agreement
("CIA") with the Office of Inspector General of the U.S. Department of Health and Human Services

("OIG"). A copy of the BI CIA is located on the OIG website at http://oig.hhs.qov/compliance/

integrity. .2sp. Pursuant to the CIA, in the event Vendor provides Covered
Functions under this Agreement and becomes a Relevant Covered Person as defined in Section II.C.2. of
the CIA, then Vendor agrees to comply with (i) BI Code of Conduct; (ii) Bi's Compliance Program and
applicable policies and procedures; (iii) all applicable federal health care program requirements; (iv) FDA
requirements; and (v) all certification, training, and screening requirements of Sections IlI.B, C and F of
the CIA after becoming a Relevant Covered Person. A copy of BI’s Code of Conduct and Corporate

Compliance Program is available at httpy/us, boshringer-
ingelheim.co il ble_business_practices.html. For clarification, a "Relevant

Covered Person” does not include part-time or per diem contractors, subcontractors, agents or other
person who are not reasonably expected to work more than 160 hours per year for BI.

17. On-Site Bl Facility Access

If any Vendor Personnel are permitted to use BI's facilities, and, if appropriate, BI's equipment, to provide the
Services, use of and access to BI's facilities shall be limited to those facilities and those hours required to render
Services set forth in the applicable SOW. Each Vendor Personnel shall be subject to and comply with the On-
Site Policies attached hereto as Exhibit |.

18. Miscellaneous

18.1 Assignment. This Agreement may not be assigned or transferred by Vendor without the prior written
consent of BI.

18.2 Notices. All notices required or permitted to be given by one Party to the other under this Agreement shall
be sufficient, if delivered personally, or if sent by certified mail, return receipt requested, or via nationally
recognized ovemight carrier with all freight charges prepaid and addressed as follows (or as subsequently

noticed in writing to the other Party):
i to BI: Boehringer Ingelheim Pharmaceuticals, Inc.
900 Ridgebury Rd.

Ridgefield, CT 06877-0368
Attn: Vice President, Global Sourcing, Marketing Services
With a copy to: General Counsel

if to Vendor. Axtria Inc.
Suite 1300
400 Connell Drive
Berkeley Heights, NJ 07922
With a copy to: President

Any such notice shall be deemed to have been given when delivered if personally delivered, on the
business day after dispatch if sent by overnight cartier, or on the date of receipt if sent by certified mail,

retum receipt requested.

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Severability. If any provision of this Agreement is found to be invalid, illegal or unenforceable by a court
of competent jurisdiction, the validity, legallty and enforceability of the remaining provisions shall in no
way be affected or impaired thereby.

Waivers. Waivers, to be binding, must be made in writing, refer to this Agreement and signed by both
parties. No waiver of the terms of this Agreement or failure by either Party to exercise any option, right or
privilege on any occasion or through the course of dealing shall be construed to be a waiver of the same
on any other occasion.

Disputes. Any dispute, controversy or claim arising out of or relating to this Agreement, or the breach
hereof, shall be referred to upper management of the Parties for good faith discussion and resolution. The
Parties agree that, pending resolution of a dispute, Vendor shall continue to perform its obligations under
this Agreement and the applicable SOW and PO, and BI shall continue to make payment to Vendor for
any undisputed items. Where a controversy or claim relates to a matter upon which Bl's decision is
declared by this Agreement to be final, binding and conclusive, or the decision Is to be made solely by BI,
or in Bl's sole judgment or considered judgment or the like, the issue for resolution shall be limited to
whether Bl’s decision was made In good faith. If any dispute, controversy, or claim cannot be resolved by
such good faith discussion between the Parties, then each shall have all remedies available to them at

law and in equity.

Governing Law. This Agreement and all SOWs and POs issued hereunder shall be construed,
interpreted and enforced under the laws of the State of Connecticut. Each of the Parties irrevocably and
unconditionally: (i) agrees that any suit, action or legal proceeding arising out of or relating to this
Agreement shall be instituted In the United States District Court for the District of Connecticut In which Bl
ls located, or if such court does not possess subject matter jurisdiction of any type or will not accept
jurisdiction, in any court of general jurisdiction in Fairfield County, Connecticut; (li) consents and submits
to the exclusive jurisdiction of such foregoing courts in any such suit, action or proceeding; consents to
personal jurisdiction in such courts; (lil) waives any objection which it may have to laying of venue of any
such suit, action or proceeding in said courts; (iv) waives any constitutional, statutory or common law right
of trial by jury; and (v) waives any claim or defense of inconvenient forum.

Govemment Disclosure. Vendor agrees that BI in its sole discretion may disclose the terms of this
Agreement to the U.S. govemment or any agency thereof, or to any other government or govemment

agency.

i This Agreement, the SOWs and POs issued from time fo time hereunder and the
Exhibits attached hereto, or thereto, constitute the entire agreement of the Partles as to the subject matter
covered herein and supersedes all prior oral or written agreements, proposals, understandings,
representations, conditions and promises relating thereto. The provisions of this Agreement may not be
modified or amended except by a written instrument referring to this Agreement and signed on behalf of
both Parties.

Counterparts. The Parties may execute this Agreement or any SOW in two or more counterparts which
shall, in the aggregate, be signed by all the Parties; each counterpart shall be deemed an original
instrument as against any Party who has signed such counterpart. Additionally, the Parties may execute
this Agreement by exchange of signatures sent by facsimile transmission or electronic transmission,
including electronically scanned (i.e., PDF). Once signed by all Parties, this Agreement shall become
effective and binding, and such complete facsimile or electronic copy shall be treated the same as an
original for all purposes under this Agreement,

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18.10 No Further Obligations. Nothing contained in this Agreement shall be construed, by implication or
otherwise, as an obligation for either Party to enter into any SOW or PO with the other. Vendor
acknowledges and agrees that the terms and conditions of this Agreement do not constitute a promise or
guarantee of future work.

SIGNATURES ON FOLLOWING PAGE

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IN WITNESS WHEREOF, the Parties hereto have causeo this Agreement (0 be executes by thet duly aulhonzec

representatives as of the day and year first sel forth above

Mel

Printed Name: ASYEESH SuAR IMA
Tite. SENIOR PRINCIPAL
Date: 6/13] rere

ATTACHMENTS:

Exhibit A: Sample Statement of Wark
Exhibit A - Appendix |: Tracking Report (Excel Spreadsheet)
Exhibit B: Submission Requirements
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hibit B1 - ndix i G Gui
hibit C: de Info & Invo
hibit. C1: Sa nse Repon

Exhibit C2: Production Services
Ext hibit Db Statement of Rales

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Date: Y Lau ly

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ExhibiiF- Rebate Schedule

 

Exhibit G Attestation to BI Regarding Reporting Requirements and Training
Exhibit H. Adverse Event, Technical Product Complaint, Medical Information Request and Extraneous Comment
Notification

Exhibit |: On-Site Policies

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EXHIBIT A
SAMPLE STATEMENT OF WORK

This Statement of Work ("SOW") dated and entered into on this XX.day of XXX, 20XX (the "Effective Date"), is made
by and between Boehringer Ingelheim Pharmaceuticals, Inc., a Delaware Corporation with its principal place of
business at 900 Ridgebury Rd., Ridgefield, CT 06877 ("BI") and XXX with offices located at XXX ("Vendor") pursuant
to and subject to the terms and conditions of the Marketing Sourcing Master Services Agreement, dated XXX (the
“Agreement”) between the parties, the terms and conditions of which are incorporated by reference, Any defined
terms utilized in this SOW but not herein defined shail have the meaning as set forth in the Agreement.

1. Project Title:
2. Prolect Managers:
B! Project Manager Name: XXX
BI Project Manager Title: XXX
BI Project Manager Phone: XXX
BJ Project Manager Email: XX
Vendor Project Manager Name: XXX
Vendor Project Manager Address: XXX
Vendor Project Manager Phone: XXX
Vendor Project Manager Email: XXX
3. Services/Program Description:

3.1 In Bl's sole discretion, Bl may request that a single SOW be submitted by Vendor for all work to be
performed for a particular product, or BI may request that a separate SOW be submitted by Vendor for
different aspects of the work to be performed for a particular product. Vendor will also submit a Staffing plan
that relates fo each agreed upon SOW. BI and Vendor will agree to rates for all time of staff on each SOW

as further described in this Agreement.

3.2 In addition to the services described in the SOW, Vendor agrees to perform the following services, as may
be required from time to time by BI:

1) Study BI products or services;

2) Analyze BI present and potential markets;

3) Create, prepare, and submit to BI for approval, ideas and programs;

4) Prepare and submit to BI for approval, estimates of costs of these recommended programs in
advance of thelr preparation;

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5) Such other services as are customarily rendered for the project to be performed.

4 Deliverables:

5. ils:

6. Responsibilities - B! and Vendor:

7. Fees and Payment Schedule:

8. Detailed Budget:

9. rting:

On a monthly bas!s Vendor will send to BI Product Management, BI Global Sourcing and BI Controlling a monthly
tracking report by product in the form specified in Appendix | to this Exhibit A. This tracking report must list for each
product: (i) all projects being conducted by Vendor, including the status thereof, any change(s) thereto and any
cancellation of all or a portion thereof, (il) estimated time of staff and out of pocket expenses for each project, and (iii)
actual costs incurred year to date for time of staff and out of pocket expenses for each project. In the event a project
is cancelled, Vendor is required to report all costs associated therewith at time of cancellation.

10. Test/Contro!:
11. Service Levels:

12. Govemance Model:

13. Change Management Process:

 

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EXHIBIT B
REQUIREMENTS

Vendor must adhere to the following BI Submission Requirements and must receive written permission from Bl’s
Marketing Operations group to deviate from these requirements:

All materials must be approved through BI's Ensemble review or alllance review process. Final approval
(“disc release”) can only be issued by Marketing Operations.

Vendors are required to submit promotional jobs and supporting materials electronically for Ensemble review.
Additionally, native working files (‘WIPs") for all projects must be uploaded to BI FTP at time of submission. Paper
submissions are allowed only at the discretion of Bl's Marketing Operations group.

Vendor is required to have adequate network infrastructure and equipment to support efficient performance
and response times on BI's Tempo system or working with BI's FTP site for art files.

Vendor should familiarize itself with, as well as adhere, to the best of their ability, to Bl's Policy #29 IT B14):
“Promotional Materials and Promotional Program Approval”.

In developing materials hereunder that utilize trademarks, trade names or logos of BI, Vendor agrees to strictly
adhere to BI's “Submission Requirements” as specified in Exhibit B. In the event any provision contained in Exhibit B
conflicts with any part of this Agreement, the provisions set forth in this Agreement shall take precedence. In
developing materials hereunder that utilizes any trademarks, trade name or logos of BI. Vendor shall comply with the
Corporate Design Guidelines of BI, and any other BI design guidelines provided by BI to Vendor in writing or via
website access accessible under http://cd.boehringer-ingelheim.com. Vendor is invited to register at the Corporate
Design website and subscribe to the News section in order to be notified and up-dated of any changes to such

Guidelines.

ING/ED. L

Vendor Is responsible for the proofreading of all materials that enter into and leave the BI Ensemble process. This
includes, but is not limited to, supplying references that meet standards of medical excellence, ensuring the accuracy
of all references, including proper placement of footnotes and accuracy of source citations. Marketing Operations
Content Managers are responsible for managing the addition of reference assets to the Tempo digital asset Ilbrary
(DAL). Vendor must submit references to the Content Manager along with citation list five (5) business days before
they intend to submit into Tempo. It Is Vendor's responsiblity to do the following:

e Vendor must check DAL to make sure that all references that will be used are already in the library.

¢ If @ reference is not yet in the DAL, Vendor must purchase a clean, original PDF produced by Acrobat
Distiller version 6.0, 7.0 or 8.0 and saved or optimized to Adobe version 6.0, 7.0 or 8.0, When saving a PDF
in 9.0, you will need to save to a compatibility of 1.4 or earlier.

¢ Vendor must then send this PDF of the reference, along with the AMA citation, to the therapeutic Content
Manager for uptoad into Tempo DAL.

Vendor agrees to ensure documents comply with the following BI standards:

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internet references are only acceptable if the intemet is the original source of the information. I,
upon review, Content Managers decide that the reference is not a primary reference, Vendor will be
contacted and the two parties will work fo resolve the issue.

Data on file ("DOF"). DOF is used heavily, especially at product launch. Although data on file information is
listed as a single reference in the finished piece, individual reference documents must be attached as DOF
and named so as fo distinguish one piece of DOF from another (for example, "DOF: Adverse Event Table
5). Vendor should be current about when data on file papers become published. At such time, the Content
Manager is notified, and the DOF asset will be locked, and future pieces must include the current published
source in its stead.

Product Prescribing Information (Pl) is usually a major source of information; however, BI does not formally
reference the P| for a Bl product in the finished piece. BI Pls are in the DAL for referencing, and should be
tagged and linked like any other asset, but do not need to be cited in the actual printed piece. Pls for
products not owned/licensed by Bl are treated as any other reference: uploaded, tagged, linked, and cited in
the final job.

All pieces need to be completely referenced (using tags and links in Tempo), and the piece must contain
appropriate footnotes. The footnotes are shown as ‘superscripts’ and the references cited are placed on the
last page of the piece, numbered, and in the AMA citation format. Note: Pleces directed at a consumer will
not have the footnotes or reference list in the printed piece, but must still be tagged and linked in Tempo so
that the Ensemble review team can review the content.

Vendor Is also responsible for,

©  Verifying/securing permission to use copyrighted material in promotional pieces and supplying
such documentation to the Content Manager for approval.

© Reading the permissions they receive before sending them.

© Addressing the use of direct quotations or graphics from any source — how the material will be
used in the piece, and to whom it will go.

o Letters requesting permission from the publisher for quotes and for use of graphs/charis from any
source. These need to be collected and forwarded to the Content Manager in order for a piece to

be released.

© Model and photograph releases and/or receipts. These need to be collected and forwanded to the
Content Manager in order for a piece to be released.

No piece will be released until this material is received, and approved, by the Content Manager.

Proprietary and confidential information: It is Boehringer Ingelheim Pharmaceuticals, Inc. policy to respect the
intellectual property rights of other companies just es Bl expects that its rights will be respected. In this regard,
Content Managers give special attention to copyright. Indiscriminate or wholesale copying of works (visual, written,
or audio) prepared by others exposes the company to a charge of copyright infringement. This includes artwork,
images, copywriting text, and photographs obtained for or on our behalf of BI. Content Managers play the key role in

ensuring the company is protected.

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Promotional Pls, including PPls, Brief Summaries, Patient Instructions, etc., are typically created by Creative
Services and proofread at BI and furnished to agencies upon request. In the event that Vendor is requested to create
one of these documents, Vendor verifies and confirms accuracy by signature and date of review. This Signature
indicates that the document is accurate and reftects the most recent version of the Pl in BI Docs.

NIC SUBMISS F AND SUPPORTIN PIECES FOR ENSEMBLE R

BI will issue secure IDs, accounts and passwords and train the agency on Tempo to allow the submission of
electronic copies of jobs and supporting documents. In the event that Vendor does not have the Capability to submit
documents electronically, BI requires the use of AOR (Agency of Record) for electronic submission,

SUBMISSIONS USING TEMPO

ENDOR T IREM

Hardware

¢ CPU: PC - Pentlum 4, or equivalent, Macintosh - Core Duo 1.66 GHz

e RAM: 1 GB Minimum

¢ Hard Disk: Although no TEMPO software is installed on the client machine, at least 250 MB of Intemet
temporary file space is required.

Software

* Operating System: Windows XP Service Pack 2; Windows Vista, or Mac OS X 10.4.10;

Mac OS 10.4.11; Mac OS X 10.5.1

e Network: TCP/IP with operational Intemet access of sufficient bandwidth to allow for efficient response time in
TEMPO

« Web Browser:

¢ Windows: Microsoft intemet Explorer 6.0, Service Pack 2 (Windows XP) or Microsoft Intemet Explorer 7.0
(7.0.5730.11 for Windows XP or 7.0.6000.16386 for Windows Vista)

* Macintosh: Safari Version 2.0 (2.0.4.419.3) on Mac OS X version 10.4.10 or Safari Version 3.0 (3.0.4) on Mac
OS X version 10.4.11 or Mac OS X version 10.5.1.

e Marketing Operations will supply Vendor information about specific browser settings.

e Adobe Reader: Windows and Macintosh — Version 6.0, 7.0, or 8.0. Save toa compatibility of 1.4 or earlier when
saving a PDF in 9,0.

TRAINING

BI requires all Vendor members that work on BI jobs to be trained on Ensemble procedures including Tempo (BI's
electronic and review tool). Vendor will not be given access to Tempo until Ensemble and Tempo training have been
completed. Each member of the Vendor that will be accessing the Tempo system or working directly with MOps
must complete both Ensemble and Tempo training. It is Vendor's responsibility to ensure any new team members
are trained on BI procedures and systems and fo maintain records of this training. Vendor must be able to provide
these training records of these individuals upon request by the BI audit team.

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Vendor should contact BI Marketing Operations at tempo. do @boehringer-ingelheim.com for training on TEMPO -

BI's electronic submission and review tool.
BI will Issue Secure ID(s), log on(s) and password(s) to Vendor.

Periodically with updates, Vendor will be required to attend mandatory training for process changes/updates. Vendor
participation/adherence to new process changes will be reflected in the bi-annual evaluation.

B TO Bi

ART & DIGITAL FILES

All art and digital files created for BI by Vendor, including all original photography and illustrations in unflattened
formats, are the sole property of Bl and must be promptly supplied to BI upon request. All WIPs must be submitted
at the time the piece is put into Tempo, including but not limited to fonts, artwork, photography, and illustrations.
These WIPs can be Quark or InDesign files,

Corrections mandated in the MLR review process will be implemented by BI Creative Services. When corrections
are done at Bl, WIPs will be retumed to the agency the same way with a layer showing corrections.
SPEC SHEETS

A fully completed spec sheet should be submitted by Vendor, preferably upon first round MLR approval so Strategic
Sourcing can provide pricing to brand in a timely manner. If that is not possible, then within a week, of the second
round of MLR review, the fully completed spec sheet must be submitted to Strategic Sourcing in order for BI to
provide pricing to Marketing for inclusion in TEMPO,

A working comp of each project must be submitted to Strategic Sourcing for pieces other than ads, pocket folders,
sell sheets, letterhead and envelopes.

Spec sheets must be complete. Production contact at Vendor must fill out all fields especially stock coating (aqueous
dull or satin or gloss).

The spec sheet uploaded at file release must be reviewed to confirm it is accurate, updated and contains the correct
TEMPO project number.

Vendor should follow TEMPO requirements when uploading files. They must be in the correct version TEMPO
requires or else printer cannot download and read.

Fi LANGUAGE TRA| NS

BI has contracted Corporate Translations Inc. to handle all translations of its promotional materials for domestic use.
BI Strategic Sourcing has supplied Corporate Translations with list of authorized BI contracted Ad Agencies - Bl
pricing is applied to any jobs done on BI's behalf.

The following process will be followed by Vendor:
¢ — BI Marketing Operations will supply contact information for Corporate Translations Inc. to Vendor
« Vendor will forward materials for translation to Corporate Translations Inc.

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° Vendor will pay Corporate Translations directly and will bill Bl on a no-markup basis as a pass-through expense.

* Corporate Translations will forward both the translation and accuracy certificate to Vendor, Vendor will submit to
Bl.

PROOFS

Online Proofing Process: PDF blues will be routed to Vendor on a case-by-case basis, as determined by BI Content
Manager. Vendor must pull a high-end matchprint or digital proof of key images conforming to GRACol-7 standards
at final release (“disc release) and forward one copy to Print Vendor and one copy to B] Creative Services. This
matchprint will serve as the agency approved color proof.

If production does not include an online proofing process:

Vendor is responsible for reading and signing off on two (2) Blues and one (1) Color Proof for all print
pieces. Vendor must retum one (1) Blue and one (1) Color Proof to Marketing Operations Content
Manager, not to Strategic Sourcing. Vendor is responsible for reading and signing off on two (2)
Preproduction Proofs for premium items. Vendor must retum one (1) Preproduction Proof to Content
Manager, not to Strategic Sourcing. Vendor must tum the proofs around in 24 hours.

In certain cases, Strategic Sourcing will deviate from this process and will inform Vendor of specific instructions. But
the protocol above needs to be followed or the detivery of the job could be jeopardized.

AD RELEASES

Vendor is to work off of approved media plan to create a master ad that can be sized up/down to fit all books on the
plan.

The fina! uploaded file must be released 4CP. If Ad is a spread, files must be released as single pages.

A Brief Summary MUST accompany all ad releases.

Vendor is to upload a completed Spec Sheet for each ad that releases. They should not release one spec sheet for
multiple ads.

Strategic Sourcing requires 5 days for ad approval routing/release. Vendor must take this Into consideration,
along with the 2253 Approval timing when agreeing to meet a material due date.

Vendor cannot release to publication directly.

RECORD RETENTION OF COMPLETED JOBS BY VENDOR

BI's record retention schedule for Ensemble approved jobs Is three (3) years from the time that the Marketing
Operations releases the job for production. At the end of this time period all jobs completed for BI by Vendor should
be destroyed by Vendor. This includes hardcopy, as well as art and digital files of jobs. Vendor is expected to track
Bl jobs for destruction in accordance with B's retention schedule.

ing throw Sourcing, Vendor must adhere to

lf Vendor Is producing any materials for Bl, not going through BI Strategic ng.
the following 2253 FDA Submission Requirements before the pleces can be used In-market:

RONIC FILE D COPY SAMPLES FOR 225 SUBMISSION:

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After production is complete the following are required for FDA Submission:
¢ Printed Material: 15 Samples must be sent to BI MOps
e Websites: 4 Interactive CDs and 4 hard copies showing all of the requisite pages (5 for Micardis)
¢ Commercials: DTC - 4 DVDs, 4 sets of storyboards (5 for Micardis)
* — Radio: 4 scripts, 4 CDs with audio (5 for Micardis)
e Interactive Convention Pieces: 4 hard copies (5 for Micardis)
» All CDs and DVDs must have a professional label with the BI Job Number and job name

Vendor should allow 6 business days for completion of 2253 FDA Submission from the date BI Mops
receives samples, Please make sure this Is bullt into your timelines.

Vendor will receive written confirmation either via a Tempo notification, or for older projects via email from the Project
Manager, notifying them that 2253 has been submitted and the piece can be placed ‘into market”. Pieces,
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A. _ INTRODUCTION AND PHILOSOPHY:

Ail Promotional Materials and Promotional Programs, regardless of media, regardless of whether they are developed
internally or externally, regardless of type (advertising, coupons, booths at events, etc.) and regardiess of intended
audience or place of presentation are considered promotional in nature, and are, therefore, subject to legal and
regulatory requirements, including Federal Food and Drug Administration (“FDA”) regulations and, potentially, state
and federal laws relating to fraud and abuse and other laws. Violations of these laws can subject both the individual
and Boehringer Ingelheim Pharmaceuticals, Inc. (“BI”) to serious civil and criminal penalties. Failure to comply with
these policies may result in disciplinary action up to and including termination of employment. The purpose of this
Policy Is to insure that BI Promotional Materials and Promotional Programs are in compliance with all applicable laws
and regulations, and are medically appropriate.

B.  § GENERAL PRINCIPLES:

All employees involved in the production of Promotional Materials and Promotional Programs are required to
familiarize themselves with the applicable legal and regulatory standards, and adhere to this Policy and any Bl
procedures relating to product promotion.

All Promotional Materials and Promotional Programs shall provide an accurate balanced and complete picture of
product attributes and characteristics, and shall not expose BI to competitive or product liability. Likewise, such
programs shall be developed in the best interest of patients and conveyed in a manner that assists prescribers and
healthcare practitioners in using BI products in a safe and effective manner.

BI has instituted a review process (MLR Review) to insure that all promotional materials and programs are in
compliance with applicable laws and regulations, and are medically appropriate. All Promotional Materials and
Programs (including content relating to the execution of that program) are required to be submitted for MLR Review.
No Promotional Materials or Programs may be piloted, taunched or otherwise used in a promotional context with or
sent to any healthcare provider or patient without the MLR Review approval.

All employees and agents involved in the MLR Review Process must adhere to all applicable laws and regulations,
including promotional laws and regulations and fraud and abuse.

General guidelines pertaining to the review of Promotional Materials is set forth in Appendix |. General guidelines
pertaining to the review of Promotional Programs are set forth in Appendix Il.

Cc. PPLICABILITY:
This Policy applies to all BI employees initiating and conducting Promotional Materials and/or Promotional Programs,
D. DEFINITIONS:

1. Promotional Material means any material, regardless of media utilized, distributed by or on behalf of B)
pertaining or relating to a Bl product or a competing product or any disease or condition that such products
treat or any item bearing a Bi trademark or the trademark of a competitor. In addition, Promotional Material
also includes communications (e.9., sales bulletins), materials used for sales training. This also includes the
materials used in the training of HSS personnel.

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2. Promotional Program means any program, regardless of media utilized, distributed by or on behalf of BI
pertaining or relating to a BI product or a competing product or any disease or condition that such products
treat or any item bearing a BI trademark or the trademark of a competitor. Programs may be generated by
or on behalf of Product Marketing, Sales or Managed Markets and intended to involve any Customer, The
term is intended to include, but is not limited to, promotional programs involving use of physicians as
Speakers, programs where BI uses third party providers, ‘value added” services, gifts, promotional items
and giveaways to customers, customer coupons, promotional activity at conventions, non-independent
education programs and managed care programs funded directly or indirectly by, or initiated by or at the
direction of Product Marketing, Sales or Managed Markets personnel.

3. Customer means any healthcare provider, managed care professional, potential or existing patient, or care-

giver.
E. APPENDIX:
A [:__Genoral Guidelines roduct P| ional Materi
A ix Il: ines for Promotional rams
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EXHIBIT 81
Appendix |
| Guide ‘or Product P; 1 Materials
1. Conformance to Full Prescribing Information

The law requires that any promotional materials given to a healthcare provider must contain “full disclosure”: that is,
directions for use, including a statement of the products risks and benefits. Promotional materials should convey
complete and accurate information about BI products. The full prescribing information is the basis for this
information. Promotion must be consistent with and not contrary to the FDA approved prescribing information.
Claims that do not conform may render a product “misbranded” under federal law and could jeopardize the
company’s ability to market the product. Also, materials extending claims or minimizing risks may expose the
Company to product liability claims.

2. Materials May Not be False or Misleading

Both false statements and misleading statements are prohibited. True statements may become misleading if taken
out of context where part of the whole truth Is omitted. To be accurate, and not misleading, claims must be given in
context. Untrue or misleading information in an advertisement cannot be corrected by including the missing
information or a brief summary in another part of the advertisement. Promotional claims may be subject to multiple
interpretations. If any reasonable interpretation of a claim can be regarded as false, misleading or inadequately
supported, such claim is objectionable. Materials may not promote side effects as if they were a clinical benefit.

3. Materials Must be Balanced

In addition to materials being in conformance with the full prescribing information, the materials must provide an
objective and balanced presentation of both the risks and benefits of the product. Claims and risk information must
be given comparable prominence and readability. Materials may not lift statements out of context, or underscore or
highlight information to distract the readers’ attention from risk and waming information. The absence of balance can
make a statement misleading.

If an advertisement fails to present a fair balance between information relating to side effects and contraindications,
and information relating to effectiveness of the drug, it can be considered misbranded.

4, Adequate Clinical Support and Product Comparisons

A drug is misbranded if its advertising represents that it Is (j) better, (ii) more effective, (ili) useful in a broader range
of conditions, (tv) safer, or (v) has fewer or less incidence of side effects than has been demonstrated by substantial
evidence. Substantial evidence usually means two adequate and well-controlled clinical trials, Comparisons of
safety, efficacy and or tolerability between products and related superiority claims may only be made if supported by
head to head clinical trials, and not on the basis of comparing prescribing information.

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enéeral Guide fomotiona: Programs

Any company activity or program which provides “value” (including goods, services, cash or an opportunity to eam
money) to a healthcare provider or office staff is subject to federal and state laws prohibiting kickbacks, bribery, false
claims and fraud. In general, these laws prohibit providing value, in whole or in part, to induce the purchase, use or
recommendation of Company products. The laws are enforceable with both civil and criminal penalties and govem
the entire range of goods and services one might provide to a healthcare professional.

Acceptability of a program is largely factually driven. In evaluating acceptability the following are some of the factors
reviewed.

Whether the value offered is sufficient to interfere with a person’s legitimate prescribing judgment (where such
Judgment should be based on considerations of safety efficacy, quality and cost of the product).

Whether remuneration offered for services exceeds the reasonable fair market value of the service rendered.
Whether there is a relationship between the value provided and the volume of prescriptions or sales.

Whether the transaction is appropriately structured and rolled out.

Whether the programs comply with the American Medical Association guidelines on gifts to physicians from

industry, the FDA guidance on industry sponsored scientific activities, PhRMA Code on interactions with
Healthcare Professionals, and other intemal goveming policies.

Promotional programs must also comply with FDA Promotional regulations,

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PURCHASE ORDERS (PO)
The PO and any revised PO will be sent electronically via Email; POs are no longer signed by a BI purchasing
representative. Any PO must be accepted by Vendor signing and retuming such PO, without modification or revision,

electronically to the appropriate BI representative.

CONTACT INFORMATION
Purchase Orders & Accounts Payable
US toll free: 1-800-203-2016
Outside US: 1-203-791-6513

INVOICE IN TIO
The preferred method of submitting invoices Is via email or fax.

If a send to apinvoice.rdg@boehringer-Ingelheim.com.
The subject line of Vendor email must read: AP Invoice

An invoice can only reference one PO

Attach a separate file for each invoice. Format as PDF only

Vendor email can contain multiple files, but only 1 invoice per file

There fs a 12 MB size limit on the e-mails. WinZip files will not be accepted by the system

If Vendor submits invoice(s) by email, DO NOT also send a herd copy by mail

The body of the email should be blank

For Services performed on a time and materials basis, invoices must indicate the individual working, the
number of hours worked, a description of the Services performed, the dates when Services were rendered
and the resulting fees. Applicable discounts that have been mutually-agreed upon in writing must be
applied.

e For expenses incurred for which reimbursement is sought, original receipts or other documentation
approved in writing by BI must be submitted in accordance with the Sample Expense Report attached
hereto as Exhibit C1.

Send only invoices (with copies of receipts if applicable) and credit memos to this email address
If Fay, use 1 (203) 837- 5856
If email or fax is not feasible mall to our remit to address:
Boehringer Ingefheim
Attn: Accounts Payable
PO Box 1088
$00 Ridgebury Road
Ridgefield, CT 06877-1088
For all methods of invoice submittal:
DO NOT send Pro Forma Involces
DO NOT send Purchase Order Confirmations

DO NOT send statements of account.
For al other nae to Accounts kaha please use the general Accounts Payable email address

 

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Invoices must be structured In the following format:
Invoice Header (Top Part)

e Vendor business name & address (as identified by Vendor Tax ID), telephone, email and web address
¢ The words ““Invoice™ or “Credit” .

© A.unique invoice number (clearly labeled as ‘Invoice Number’)

e Invoice Date in the following format: mmidd/yyyy

e BI Purchase Order Number

© Bi Contact Name - first and last name

© Payment Terms, i.e. NET 45 (must match the BI PO/contracted agreement)

Invoice Body (Middle Part)
e Fees and expenses must be subtotaled and separated (matching the PO kine for line)
e Materials and labor must be subtotaled and separated

Invoice Footer (Bottom Part)
e Invoice total (before tax)
e Tax Amount (if applicable)
e Freight Amount (if applicable)
¢ Total after tax and freight

Payment Method (must be Included)
The preferred method of payment is via ACH
e Vendor Remit to Address
e For electronic payments, vendor must provide full bank name, account number, routing number and details
(ACH for domestic, Wire transfer for international)

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EXHI
SAMPLE EXPENSE REPORT
NAME:
JOB NAME:

 

 

 

FULLY DESCRIBED RECEIPT FOR EACH ITEM MUST BE SUPPLIED
PLEASE GROUP LIKE ITEMS
TAPE RECEIPTS TO SEPARATE PAGE AND NUMBER THEM
USE ASTERISK IF NO RECEIPT
OFFICE USE:

DATE AMOUNT DESCRIPTION-BE SPECIFIC CODE

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TOTAL APPROVED BY: DATE:
CASH ADVANCE
TOTAL DUE:
TOTAL OWED:
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EXHIBIT C2
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EXHIBIT D
STATEMENT OF RATES

PROJECT FEES/RATES AS STATED ON EACH INDIVIDUAL PURCHASE ORDER.

The Rates are estimated on a per-project basis and must be approved by Bl project lead prior to the start of work.
The Statement of Work (SOW) with agreed upon project rates will be attached or included in each individual
Purchase Onder.

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EXHIBIT E
BI TRAVEL AND EXPENSE REIMBURSEMENT GUIDELINE FOR VENDORS
PURPOSE: To detail how individuals who supply services directly or indirectly to or on behalf of Boehringer

Ingelheim ("BI") should book their business travel and to define reimbursable business travel expenses while
conducting Bl business,

LITY/SCOPE: This Guideline applies to individuals who supply services directly or indirectly to or on
behalf of BI, but not limited to supplemental workers, agency workers, contractors and vendors ("Vendors") and does
not apply to Health Care Providers (HCPs).

For the latest Guideline, go to http://policy. boehringer-

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e%20web%.

   

R’'S RESP : This Guideline is subject to change without notice. Vendor Is responsible for
reviewing the Guideline periodically and must, at a minimum, review this Guideline each January to ensure
compliance with the latest Guideline.

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EXHIBIT F
REBATE SCHEDULE
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EXHIBIT G

J
REPORTING 1 NTS AN !

Axtria inc. ("Vendor") and Boehringer Ingelheim Pharmaceuticals, inc. ("BI’) entered into that certain Marketing
Sourcing Master Services Agreement dated March 23, 2016 (the “Agreement’).

Vendor hereby acknowledges and agrees as follows:

(i) Pursuant to the terms of the Agreement, Vendor and all Vendor Personnel (as defined in the
Agreement) are responsible for reporting, as defined in Exhibit H, adverse events (“AE"), product complaints ("PC"),
and extraneous comments ("EC") related to the use of BI products of which it becomes aware during the term of the
Agreement, according to the process defined in Exhibit H, as amended by BI from time to time and provided or made
available to Vendor. Vendor Personnel involved in performing Services for BI under this Agreement are required to
complete required adverse event training before any Vendor Personnel may engage in any task that provides the
Vendor Personnel the opportunity to be made aware of an adverse event or product complaint.

(ii) Pursuant to the terms of the Agreement, Vendor is responsible for reporting all Payments (as
defined in the Agreement) made by Vendor or any Vendor Personnel. Vendor must report all Payments made to all
HCPs and HCOs incurred during each calendar month in accordance with the BI Transparency and Disclosure Policy
provided by BI. Vendor and Vendor Personnel providing Services for BI under the Agreement are required to
complete a web-based training module on BI Payment reporting procedures ("HCP Payment Training’). HCP
Payment Training must be completed by each Vendor Personnel within thirty (30) days of such Vendor Personnel
commencing Services under the Agreement.

(iii) With respect to the foregoing, Vendor hereby represents that the required AE training has been
completed or will be completed before any Vendor Personnel engage in any task that provides them an opportunity
to be made aware of an adverse event, product complaint, or extraneous comment; and that the required HCP
Payment Training has been completed or will be completed within thirty (30) days of the Agreement execution date
and prior to commencing of services by any and all Vendor Personne! who will provide services pursuant to the
Agreement; and will be completed by each additional, replacement or substitute Vendor Personnel who provides
services pursuant to the Agreement following the date of this Attestation prior to the date on which such individual
commences provision of such services.

(iv) Furthermore, Vendor represents that monthly awareness reminders regarding AE/PC/EC reporting
and Payment reporting requirements will be sent to all relevant Vendor Personnel during the term of the Agreement.

(v) Vendor will keep documentation of all Vendor Personnel who have completed adverse event
taining and will, in the context of a regulatory audit by a government agency, make the list available upon written
request by BI within four (4) business hours.

(vi) Vendor will, within ten (10) business days following written request by Bl, provide proof of HCP
Payment Training completion, and monthly awareness reminders of Payment and AE/PC/EC reporting requirements.

Axtria Inc.

 

Signature
Print Name and Title:
Date:

 

 

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EXHIBIT H
SE CHNI T.COMP!
ICAL INFOR E ENT NOTIFICATION
DEFINITIONS

Adverse Event: An adverse event ("AE") is defined as any untoward medical occurrence, including an exacerbation
of a pre-existing condition In a patient or clinical investigation subject administered a pharmaceutical product and
which does not necessarily have to have a causal relationship with this treatment. This may include Medical
Extraneous Comments.

Technical Product Complaint: A technical product complaint ("PC") is the failure of a product functionality,
condition, labeling, or packaging. This could include suspected product tampering, adulteration, or counterfeiting.
This includes Technical Product Complaint Extraneous Comments.

Medical Information Request: A medical information request ("MI") is an inquiry, on- or off-label, from a healthcare
provider or consumer which is unsolicited.

Extraneous Comment: Occasionally, consumers and health care providers add unexpected commentary.
Specifically, extraneous comments ("EC") include information other than what was specifically requested. There are
6 categories of reportable extraneous comments.

Medical Extraneous Comment (“Medical EC’): A comment that is associated with the use of the product
and might include a potential adverse event. It can include reporting of side effects, misuse, drug interaction
or other symptoms.

Non English Extraneous Comment (“Non-English EC’): Any comment that Is received in any language
other than English. For example, this would apply to comments made on an IVR (interactive Voice.
Response), entered as a response on the Web, or written as a response on a business reply card (BRC).

Technical Product Complaint Extraneous Comment (‘Product EC"): A comment pertaining to the
physical properties of a drug, the functionality of a delivery system, or to product packaging or shipment or
comments or suggestions regarding product improvement.

Non-Medical Extraneous Comment ("Non-Medical EC"): Feedback on the Company, feedback on
Company products that do not relate to potential adverse events, comments that cannot be read/understood
and media Inquiries. All of which are not medically related to a BI product.

Legal Threat Extraneous Comment ("Legal Threat EC’): Threatened legal action or lawsuit.

Violent Threat Extraneous Comment ("Violent Threat EC’): Terrorist threat or threatened violence against
the Company.

ICATION ESS

A formal process for notifying the Boehringer Ingelheim Medical, Technical & Customer Information (MTCI)
Department immediately (the same working day) upon receiving any report of a potential adverse event, technical
product complaint, medical Information request, or extraneous comment will be established and provided to

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Boehringer Ingelheim. The following is a general description of the formal process. In coordination with Bl, the
specific details of the applicable process can be tailored to each Specific program.

1.

Upon Vendor Live Agent receipt of any potential report of an adverse event (AE), medical information
request (Mil), a medical extraneous comment (Medical EC), or non-English extraneous comment (Non-
English EC): an attempt to warm transfer the call to BI MTCI through 800-542-6257 (Option #4) will be

made.

Upon Vendor Live Agent receipt of any report of a technical product complaint (PC), product suggestion or
comment (Product EC): an attempt to warm transfer the call to BI MTC! through 800-542-6257 (Option #3)

will be made.

Upon Vendor Live Agent receipt of any report of any legal or violent threat and Non-Medical extraneous
comment (Legal Threat EC, Violent Threat EC, Non-Medical EC): the preferred notification approach is
direct web entry to the EC Console or submission via XML text file transfer using secure file transfer
protocol (SFTP), in accordance with a signed “Interface Agreement.” An altemative approach, for example
for those who do not have access to the EC Console via direct web entry or XML file transfer via SFTP,
would be to attempt to warm transfer the call directly to BI Customer Response Unit (CRU), 1-800-243-
0127.

Once the agent successfully contacts Bl MTCI, there will be a name exchange, and the B] MTCI
representative will provide the Vendor agent with the BI Case Identification Number. Agent names and
Case Identification Numbers will be used for warm transfer reconciliation purposes.

If the attempt to warm transfer to BI MTCI is unsuccessful, the Vendor agent will be obligated to call the
information into BI at the same number as above (800-542-6257 — Option #4 or #3, as the case may be),
and speak with a live BI agent; or, as coordinated with Bl, follow the appropriate & prior coordinated
alternative method, for example direct web entry to the EC Console, and/or submission via XML text file
transfer using secure file transfer protocol (SFTP) in accordance with a signed ‘Interface Agreement.”
Paragraph 6 below lists other altemative methods.

If warm transfer to BI MTC! is not possible (for example, outside standard operating hours) the operator or
vendor will be obligated to follow the appropriate & prior coordinated method for providing the information
related to a potential adverse event (AE), medical information request (Ml), technical product complaint
(PC), and any extraneous comment (EC). The preferred method is submission of potential AE, MI, PC, and
EC information via direct web entry to the EC Console and/or XML text file transfer using secure file transfer
protocol (SFTP), in accordance with a signed “Interface Agreement.” Alternative methods include (but not
limited to) the following:

a. Submission of potential adverse event (AE) via fax to BI Global Pharmacovigilance (GPV) at 1-
203-837-4329 using a customized AE form provided by the BI GPV Dept. in accordance with the
GPV provided “Instructions for Completing the Adverse Event Report.” Transmission via fax
should include any supporting document related to the report (e.g. forms, letters, emails, notes,
etc.). In some programs, vendors may be requested to provide patient or Health Care Provider
contact information. Vendor shall keep the fax machine confirmation of successful transmission, all
supporting documents, and the original completed AE Form in accordance with their record
retention policy, to ensure these documents are available for audit, if needed,

b. For medical information (Ml) requests, medical extraneous comments (Medical EC), non-English
extraneous comments (Non English EC): forwarded to drugi inger-ingelheim.com.

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Vendor shall keep the email auto-reply confirming Bi's receipt and the original information in
accordance with thelr record retention policy, to ensure these documents are available for audit, if

needed.

c. For technical product complaints (PC) and product suggestions or comments (Product EC):
forwarded to techprod.rda@boehringer-ingelheim.com. Vendor shall keep the email auto-reply
confirming B's receipt and the original information in accordance with their record retention policy,
to ensure these documents are available for audit, if needed.

d. For legal or violent threats and Non-Medical extraneous comments (Legal Threat EC, Violent

Threat EC, Non-Medical EC): forwarded to cru. na@boehringer-ingelheim.com.

7. Potential adverse events (AE), medical information requests (Ml), technical product complaints (PC), and
extraneous comments (EC) not captured via telephone (e.g., hardcopy, email, fax, etc.) should be captured
as paper, or a file (e.g. PDF, JPG, etc.), and submitted to BI via direct web entry to the EC Console, and/or
using secure file transfer protocol (SFTP) in accordance with a signed “Interface Agreement’. Altemative
submission methods may be coordinated with BI, for example the following:

a. For potential adverse events (AE): the hardcopy document, including any supporting documents
related to the report (e.g. forms, letters, emails, notes, etc.), will be faxed with the completed
customized AE form that has been provided by B! Global Pharmacovigilance (GPV), to GPV at 1-
203-837-4329, in accordance with the GPV provided “Instructions for Completing the Adverse
Event Report.” In some programs, vendors may be requested to provide patient or Health Care
Provider contact information. Vendor shall keep the fax machine confirmation of successful
transmission, all supporting documents, and the original completed AE Form in accordance with
their record retention policy, to ensure these documents are available for audit, if needed.

b. For medical information (MI) requests, medical extraneous comments (Medical EC), non-English
extraneous comments (Non English EC): hardcopy documents captured as a file will be forwarded
to druginfo.rdg@boehringer-ingelheim.com. Vendor shall keep the email auto-reply confirming B's
receipt and the original documents in accordance with their record retention policy, to ensure these
documents are available for audit, if needed.

c, For technical product complaints (PC) and product suggestions or comments (Product EC):
hardcopy documents captured as a file will be forwarded to techprod.rdg@boehringer-
ingelhgim,com. Vendor shall keep the email auto-reply confirming Bl's receipt and the original
documents in accordance with their record retention policy, to ensure these documents are
available for audit, if needed.

d. For legal or violent threats and Non-Medical extraneous comments (Legal Threat EC, Violent
Threat EC, Non-Medical EC): hardcopy documents captured as a file will be forwarded to

cru.rdg@boehringer-ingelheim.com.
R N PROC.

Telephone Warm Transfer Reconcillation

When the vendor operates a service with live agents, a formal reconciliation process between BI and the Vendor
agent will be created to ensure that all appropriate information related to warm transfers has been forwarded to BI.

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1. Vendor wil provide weekly Reconciliation Reports that lists the count of warm transfers and all case
identification numbers received for the previous completed week. Reconciliation Reports are required even
when there have been zero warm transfers during the notification period.

2. Vendor will e-mail the completed reports to BI service mailbox (druginfo.rdg@boehringer-ingelheim.com) by
COB every Monday (or other pre-arranged weekday), Reports sent will be for the most recently completed
7-day period starting Saturday and ending Friday immediately preceding the submission of the
reconciliation.

3. The email will include the spreadsheet template that contains the case identification numbers for warm
transferred calls. (in the event there were no warm transfers during the report period, the spreadsheet would
be attached with no entries.)

4. BI will confirm receipt of Reconciliation Report via e-mail within 24 hours (for example, Tuesday if received
by Monday). Bi confirmation and reconciliation communication will be sent to a mailbox designated by the
Vendor.

5. BI will review reports, comparing case identification number entries in their system and ensuring that all
contacts forwarded to B] were received.

6. BI will notify Vendor immediately by e-mail if something is missing or inconsistent from the Vendor provided
Reconcillation Report.

7. If a discrepancy is discovered during the reconciliation process, the discrepancy must immediately be
researched by all parties and resolved in good faith as soon as possible.

XML File Transfer Reconciliation

When the Vendor transfers potential adverse event (AE), technical product complaint (PC), and/or extraneous
comment (EC) information using XML text file transfer via secure file transfer protocol (SFTP), the Vendor will follow
the appropriate formal reconciliation process, detailed in the "Interface Agreement” to ensure that all appropriate
information has been successfully forwarded to BI. The key elements are as follows:

1. Vendor will have automated posting of records to the SFTP site.

2. Vendor will send to BI (or 3" party designated by Bl) automated daily email notification of number of records
posted to SFTP ("Daily Reconciliation’).

3. Vendor to receive daily reconciliation notification from BI (or 3rd party designated by BI), acknowledging
number of XML records picked up from SFTP, and number of records loaded from SFTP into the
appropriate BI database (Daily Summary’).

4, If a discrepancy is discovered during the reconciliation process, the discrepancy must immediately be
researched by all parties and resolved in good faith as soon as possible.

Asset File Transfer and Reconciliation

When the Vendor reports potential adverse events (AEs) that have related asset files (for example, the original
document with the suspected AE), these also need to be transferred and reconciled in accordance with the signed
"Interface Agreement.” For asset files transferred/uploaded via SFTP, key elements are as follows:

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1. Asset files include audio/voicemail files (e.g., wav, mp3, etc.), hardcopy files captured as a file (e.9. PDF,
JPG, TIFF, etc.) from business reply mail (BRM) or business reply cards (BRC), or other ‘white-mail"
received via post, email, fax, etc.

2. Vendor will Indicate the related asset filename in the associated XML record posted to the SFTP site.

3. Vendor will transfer all Asset files to BI using secure file transfer protocol (SFTP) as defined by the Interface
Agreement.

4. Vendor will send automated email of Asset files posted to the SFTP.

5. Vendor to receive email verifying receipt of Asset files.

6. BI (or 3" party designated by BI), will confirm that Asset files are on hand for each record with related asset
file/s.

7. In the event Bl, or 3% party designate, determines a record is missing its related asset file, all parties will
resolve the issue in good faith as soon as possible; this may include asking the originating Vendor for the
missing asset file.

Fax Form Reconciliation

When the Vendor regularly transfers potential adverse event (AE) using the AE Form provided by BI Global
Pharmacovigilance (GPV) and customized for each vendor and/or project, a reconciliation process may be required
by GPV. The reconciliation process, if required, will be described in the Statement of Work.

! L S$

Adverse Event Training. Before performing any services, Vendor Personnel who may receive any adverse event,
product complaint, or extraneous comment in connection with Vendor Services, are required to complete the adverse
event training provided by Bl MTCI, preferably using the appropriate URL below.

 

e Case Sensitive Password: AEgen2014

For Market Research vendors and/or market research staff:
e ef i ine.com/, a
* Case Sensitive Password: AEtmrv2014

All Vendor Personnel who have completed AE training must email the completed and signed Training Record
Certificate to the following email address:

e For NON-Market Researchers: Gro ilbox1e9ac7 t-ingelheim,
e For Market Researchers: marketresearch rdg@boehringer-ingelheim.com

All additional, replacement, or substitute Vendor Personnel must complete the same BI MTC! AE training, through
the same process, before they start providing services under this agreement.

Annually, all Vendor Personnel must complete adverse event training provided by the BI MTCI.
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Other AE training format (e.g. webinar, in-person meeting, etc.) may be coordinated with/by BI MTCI.

Interface Agreement. As may be determined by the BI MTC! Department and the BI Multi-Channel Marketing
(MCM) Department, vendor will work with the BI designated 3rd party vendor to complete an “Interface Agreement”
that ensures proper operational coordination for direct web entry to EC Console and/or successful XML file and Asset
file transfer via secure file transfer protocol (SFTP), including reconciliation.

Database Information. In the event Vendor needs to enter potential adverse events (AE), medical information
requests (Ml), medical extraneous comments (Medical EC), non-English extraneous comments (Non-English EC),
technical product complaints (PC), product suggestions or comments (Product EC) in a proprietary database (for
example to complete XML file transfer in accordance with an Interface Agreement), Vendor shall: (1) Disclose the
name/description of the database, (2) Disclose the relevant Field Names where the information is stored, (3) Make
the records and fields available via a report in the event of an audit, (4) Ensure proper implementation of Vendors
data retention policy with regard to these records and fields.

Flowchart. Vendor to provide a flowchart to BI that schematically illustrates how the vendor's AE, MI, PC & EC
formal notification & reconciliation processes are implemented and integrated in the delivery of the vendor contracted
service.

Volume Forecast and Reporting. For projects with live operator service, vendor will provide a best estimate of
vendor call volume and warm transfer volume prior to program start. Should the warm transfer volume estimate (or
actual) mee/exceed a specific volume coordinated with the BI MTCI and BI MCM (for example greater than 10 warm
transfers per week), vendor will also submit, separate from weekly reconciliation, weekly volume and transfer reports
required by BI including following the Bi provided template, or agreed report format.

Product Returns and Replacement. For projects that involve vendor storage and shipment of product, vendor will
coordinate with B] MTC! the process for handling product retums and replacements.

Meetings with BI Medical Technical and Customer Information (MTCI) Department. Vendor will coordinate with
the B] MTCI to have a plan and schedule for reguiar meetings exclusive with the MTCI team, for example quarterly,
This will include a mix of in-person and video conferences, as mutually agreed upon.

Audits. In the context of vendor notification of potential adverse events, medical information request, technical
product complaints, and extraneous comments, vendor shall be prepared for audit activities, including but not limited
to simulated caller tests and site visits. In the event of a BI audit by any government or regulatory agency (for
example, the FDA), vendor will provide requested information to BI within an agreed tumaround time (for example,
within 4 hours of receipt of a written request).

Compliance Monitoring. Vendor will establish an intemal compliance monitoring system to ensure that they are
operating according to this agreement and the Bl Company policies related to notification of potential adverse events,
medical information request, technical product complaints, and extraneous comments. The vendor shall be prepared
to have BI conduct periodic monitoring of the vendor established internal compliance monitoring system.

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EXHIBIT |

ON-SITE POLICIES
1. Access.

(a) Purpose. BI may grant Vendor access to one or more of its facilities (the “Facility’) for the limited
purpose of offering the Services described in the foregoing Agreement. In such event, Vendor Personnel shall be
allowed entrance to the Facility only during the normal business hours of BI or as may be otherwise reasonably
necessary for Vendor Personnel to adequately perform their employment duties on behalf of Vendor related to the
Services. Vendor Personnel shall not be allowed to roam freely on the Premises in performing Services under this
Agreement and shall, whenever feasible, announce his or her presence to BI staff. Vendor Personnel shall not enter
Of approach any individual's office or other work space without prior notice to and acknowledgement from such
Individual. Vendor Personnel shail not enter the Facility for purposes unrelated to the Services.

(b) Identification Badges. B! may issue identification badges to Vendor Personnel as necessary for
access to the Facility. Any such badges must be wom by Vendor Personnel and shall be prominently displayed at all
times during access to the Facility. Upon termination of Vendor's access to the Facility, Vendor Personnel shall

retum all such badges to BI's designee.

(c) Vehicle Access. Vendor-owned vehicles and other vehicles operated by Vendor Personne! shall
be parked only in the designated parking area at the Facility.

(d) Personnel Access. In the interest of safety or security, BI may, in its sole and absolute discretion
and without notice or cause, exclude or expel any Vendor Personnel from the Facility.

2. Security. Throughout the term of the Agreement, BI may maintain such security measures as it
deems necessary for the safety and protection of its business, its personnel, and Vendor Personnel, and Vendor
Shall comply and cause Vendor Personnel to comply with such measures. BI will not provide policing of Vendor's
materials, equipment and other property. From time to time throughout the term of the Agreement, BI may specify
certain additional safety precautions and procedures at the Facility as in BI's sole discretion are necessary for the
Safety and security of the business and the personnel of BI and Vendor Personnel. Vendor shall promptly comply
with the additional security precautions requested by Bl, and shall cause its employees to comply with such
additional precautions.

3. Illegal Substances. BI prohibits the unauthorized or Illegal use, possession or sale of alcoholic
beverages, drugs or other intoxicants ("Illegal Substances") at the Facility and any other property owned or
operated by BI. No Vendor Personnel shall be permitted to bring Illegal Substances into the Facility or onto any other
property owned or operated by BI. Bl reserves the right to exclude or expel any person violating (or reasonably
believed to be violating) this policy from the Facility or any other property owned or operated by BI. BI may notify law
enforcement authorities of any suspected criminal violation conceming the possession, use or sale of Illegal
Substances. Vendor shall require Vendor Personne! who shall have access to the Facility to comply with the

foregoing policy.

4. Searches. Bl may conduct searches of any persons and personal possessions brought into the
Facility. Such searches may be scheduled or unannounced and may include all areas of the Facllity, including, but
not limited to, lockers, desks, lunchboxes, packages and motor vehicles (regardless of ownership) located at the
Facility or other property owned or operated by Bi. Any items discovered during a search which, in Bl's sole
judgment, appear to jeopardize the safety and security of the business or any personnel of BI or Vendor, or which
otherwise appear to be improperly possessed, may be seized until the safety or proper possession of such item is
determined. The results of searches may be reported to public authorities or such person’s employer, as
appropriate. Vendor shall inform Vendor Personnel of the foregoing policy regarding searches and shall cause
Vendor Personnel to comply with such policy.

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Boehringer ingetheim Pharmaceuticals, inc./ Axtria inc.
Effective Date; May 30, 2016
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FINAL

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Boehringer Ingethalm Pharmaceuticals, inc/ Axtra ine.
Effective Date: May 30, 2018
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Master Services Agreement
between
Axtria, Inc.
and

Otsuka America Pharmaceutical Inc
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MASTER SERVICES AGREEMENT

This Master Services Agreement (“Agreement”) is dated October 17, 2014 by Otsuka America
Pharmaceutical Inc. ("Otsuka"), and Axtria, Inc. ("Vendor"). Otsuka and Vendor are sometimes
referred to collectively herein as “the Parties” and individually as a “Party.”

WHEREAS, Otsuka desires to engage Vendor, based on particular requirements and
qualifications as described in individual Task or Purchase Orders; and

WHEREAS, Vendor desires to be engaged in such a capacity;

NOW, THEREFORE, the Parties hereto intending to be legally bound agree as follows:

1.

SERVICES
Vendor agrees to perform for Otsuka the services listed in one or more "Tasks" executed

by the Parties or Purchase Orders issued by Otsuka ("Services"), which Tasks and
Purchase Orders are incorporated into and form a part of this Agreement. Any
Statement/Scope of Work (“SOW”), being incorporated by reference in an Otsuka
Purchase Order and said Purchase Order having been accepted by Vendor, shall be
deemed accepted by both Parties. Vendor warrants and agrees that all services and
deliverables shall be provided in a proficient manner and with professional diligence and
skill and shall be in accordance with Otsuka’s SOW, written specifications and other
performance requirements, as may be established by Otsuka and all applicable laws,
regulations, rules, ordinances, guidelines and professional standards, including those
pertaining to confidentiality, and the use and disclosure of patient health information.
Only those Services identified in a Task or a Purchase order shall be performed by
Vendor and only following execution of a Task or issuance of a Purchase Order. Otsuka
may, in its sole discretion, involve collaboration contractors in work performed under this
Agreement.

TERM & TERMINATION
a. Term. This Agreement will begin on October 17, 2014 and will end on October 16,

2019 unless terminated sooner in accordance with the terms of this Agreement. This
Agreement may be renewed for additional periods with the written consent of the
Parties.

b. Termination. Vendor may terminate this Agreement or any Task attached hereto or
Purchase Order upon ninety (90) days written notice to Otsuka. Otsuka may
terminate this Agreement or any Task attached hereto or any Purchase Order upon ten
(10) days written notice to Vendor. Upon notice of termination, Vendor shall not,

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without written authorization from Otsuka, incur additional expenses or make
additional commitments in connection with Services after notification of termination.
Otsuka shall pay all reasonably substantiated costs incurred by Vendor in connection
with this Agreement prior to date of notification of termination and additional costs
thereafter if authorized in writing by Otsuka. If this Agreement or any Task or
Purchase Order is terminated due to Vendor's inability to perform Services in a
professional and timely manner, Otsuka's obligation to compensate Vendor for
Services shall be limited to actual and reasonable costs incurred by Vendor as a result
of its satisfactory performance of Services. Termination of this Agreement or any
Task or Purchase Order for any reason shall be without prejudice to either Party's
right to recover damages resulting from a breach hereof. The termination of this
Agreement or any Task or Purchase Order shall be executed in an orderly manner.
Upon termination Vendor shall deliver to Otsuka all work, in whatever state of
completion, that has begun and been paid for as of the termination date.

COMPENSATION
The Parties agree that Vendor will be compensated according to the Statement of Work

and Budget of any individual Task attached hereto or any Purchase Order. No other costs
are authorized and no payments shall be made for any cost not set forth in a written Task
or Purchase Order.

a. Travel Expenses
Vendor will be reimbursed for reasonable travel, subject to prior Otsuka written

approval, incurred as part of providing Service(s) to Otsuka. No reimbursement will
be made for travel expenses incurred by anyone other than the Vendor. Otsuka
reserves the right, at any time, to request copies of receipts associated with invoiced
travel and/or other pass-through expenses. All travel by vendor to be submitted for
reimbursement shall be in compliance with Otsuka’s then current Corporate Travel
Policy. All travel and pass-through expenses shall be invoiced at cost.

b. Invoices
Vendor shall submit invoices using one of the following:

Regular Mail Fax E-mail*
P.O. Box 66749 (831) 430-1970 Otsuka@accelim.com

Scotts Valley, CA 95066
*E-mailed invoices must be in PDF-file format and considered to be the “original”
invoice. No other electronic formats will be accepted.

Note that Otsuka may change any/all of the above ‘invoice’ addresses by written
notification to Vendor without the need to amend this Agreement.

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Invoices must reference a valid contract database number (assigned to a specific Task
Order) when no purchase order is used or, if a purchase order is used, an applicable
purchase order number to be considered valid.

Unstapled, 8 4%” x 11”, single sided invoices are preferred. Failure to provide a valid
TIN # may also result in delayed payment.

c. Payment
Otsuka shall pay correct and valid invoices within 45 days of receipt.

Payments shall be made to:

Bank Name: HSBC Bank USA

Account Name: Axtria

ABA Routing No. 021001088

Account No. 415015405

SWIFT Code: MRMDUS33
AMENDMENTS

No amendment hereto will be of any force or effect unless (i) reduced to writing and
signed by both Parties hereto, and (ii) expressly referred to as being an amendment of this
Agreement.

WORK PRODUCT
Except for the Tools (as defined below), it is understood and agreed to by the Parties that

all data collected under this Agreement or any Task or Purchase Orders and provided as
deliverables, including any compilations, tabulations, or analyses of such data, and all
work product related thereto shall be owned by Otsuka. All rights, title and interest in and
to any ideas, discoveries, innovations, new uses, and/or inventions conceived, developed,
or reduced to practice by Vendor in the course of or as a result of performing Service(s)
under this Agreement or any Task or Purchase Orders (other than the Tools) shall be the
sole property of Otsuka. Vendor shall assist Otsuka, upon execution of a Task or issuance
of a Purchase Order, in securing protection for any such property rights and will execute
any applications, assignments and/or documents required to secure such protection. The
costs incurred by Vendor in securing such protection shall be paid by Otsuka. Vendor
further assigns and agrees to assign to Otsuka all rights, title and interest in and to all
copyrightable material created by Vendor pursuant to this Agreement. Unlocked,
electronic copies of any work product shall be provided to Otsuka upon request.

Notwithstanding anything set forth herein, Vendor shall own all right, title, and interest,
including any patent right or copyright interest in any data, information, systems,
processors, equipment, computer software, derivative works, service marks or
trademarks, and technology developed by or licensed to Vendor prior to this Agreement,
or developed by or licensed to Vendor independent of Services under this Agreement

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without the use of Otsuka Intellectual Property or Confidential Information, that is used
to deliver Services under this Agreement (collectively, the “Tools”). Otsuka shall not
reverse engineer, decompile, disassemble or otherwise attempt to determine the source
code for computer programs or other trade secrets from the Tools. Notwithstanding the
above, the Tools owned by Vendor shall not include any custom developed software or
Services to the extent that the custom development was identified as such in a Task that
incorporates Otsuka Intellectual Property or Confidential Information, in which case,
such custom development shall be owned by Otsuka. To the extent that Services
identified in a Task incorporate Tools owned by Vendor, Vendor grants to Otsuka a
limited, irrevocable, perpetual, worldwide, royalty-free right to use such Tools for its
internal business purposes, which said limited license of use shall be non-transferrable
except as to Otsuka Affiliated Companies and defined under Section 13.

CONFIDENTIALITY
Each Party (the “Receiving Party”) agrees to maintain in strict confidence and not to

disclose or disseminate, or to use for any purposes other than as authorized hereunder
(with Vendor, such limits being solely for the performance of the Services), any
Confidential Information disclosed by the disclosing Party (the “Disclosing Party”) under
this Agreement. Any work product delivered to Otsuka by Vendor (except for the Tools),
shall be deemed Confidential Information of Otsuka. Such Confidential Information
shall remain the confidential and proprietary property of the Disclosing Party, and shall
be disclosed only to Receiving Party’s officers, employees, and agents with a need know.
The obligation of nondisclosure shall not apply to the Confidential Information which:

(a) at or after such time that it is or becomes publicly available through no fault of the
Receiving Party;

(b) at or after such time that it is disclosed to Receiving Party by a third party entitled to
disclose such information;

(c) that is already known to Receiving Party as shown by its prior written records,
provided Receiving Party so advises Disclosing Party within fifteen (15) days after
disclosure of Confidential Information hereunder;

(d) is required by law to be disclosed to federal, state or local authorities.

For a period of ten (10) years after termination of this Agreement, Receiving Party shall
treat as confidential all Confidential Information and take every reasonable precaution
and use all reasonable efforts to prevent the unauthorized disclosure of the same.
Receiving Party agrees to take all steps necessary and appropriate to ensure that
Receiving Party’s officers, employees, and agents treat the Confidential Information as
confidential and to ensure that such officers, employees, and agents are familiar with and
abide by the terms of this Agreement.

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INJUNCTIVE RELIEF
Receiving Party acknowledges and agrees that any violation of the terms of this

Agreement relating to the disclosure or use of Confidential Information may result in
irreparable injury and damage to Disclosing Party that may not be adequately
compensable in money damages, and for which Disclosing Party may have no adequate
remedy at law. Receiving Party, therefore, consents and agrees that Disclosing Party may
obtain injunctions, orders, or decrees as may be necessary to protect its Confidential
Information.

INDEMNIFICATION
Vendor shall be solely liable for and expressly agrees to indemnify and hold harmless

Otsuka from any and all liability, claims, loss, damage, costs, including attorneys’ fees,
with respect to any liability arising out of Vendor’s negligent or wrongful acts,
omissions, or failure to comply with the requirements of this Agreement.

Otsuka shall be solely liable for and expressly agrees to indemnify and hold harmless
Vendor from any and all liability, claims, loss, damage, costs, including attorneys’ fees,
with respect to any liability arising out of Otsuka’s negligent or wrongful acts, omissions,
or failure to comply with the requirements of this Agreement.

WARRANTIES
Except as expressly set forth herein, Vendor makes no further representations or

warranties of any kind whatsoever, express or implied. Vendor specifically disclaims any
implied warranties of merchantability or fitness for a particular purpose.

LIMITATION OF LIABILITY
In no event shall one Party be liable to the other for tort, consequential, exemplary,

special, incidental, or punitive damages even if advised of the possibility of such
damages. Except for liability arising under Section 5 (Work Product), Section 6
(Confidentiality), and Section 8 (Indemnification), Section 13 (Insurance), and Section 38
(Privacy), the liability of either Party for any loss or damages directly or indirectly
suffered by other shall not exceed the three (3) times the value of fees paid to Vendor by
Otsuka pursuant to the Task under which the liability arose.

ENTIRETY OF THE AGREEMENT
This Agreement embodies the entire understanding between the Parties, and supersedes

all prior understandings and Agreements between the Parties, oral or written, with
reference to the subject matter hereof.

INDEPENDENT CONTRACTORS
Each Party to this Agreement shall act as an independent contractor and shall not be
construed for any purpose as the agent, employee, servant, or representative of the other

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Party. Accordingly, the employee(s) of one Party shall not be considered to be
employee(s) of the other Party, and neither Party shall enter into any contract or
Agreement with a third party which purports to obligate or bind the other Party.

INSURANCE
Vendor shall procure and maintain, at its own expense, during the term of this

Agreement, the following policies of insurance:

a) Commercial General Liability Insurance providing coverage for premises/operations,
contractual, products/completed operations and personal/advertising injury liabilities
with combined single limits of not less than one million dollars ($1,000,000) per
occurrence for bodily injury and property damage, naming Otsuka and all other
Indemnities as additional insureds, and shall stipulate that such insurance is primary
to, and not contributing with, any other insurance carried by, or for the benefit of
Otsuka or the other additional insureds.

b) Workers Compensation Insurance providing statutory benefits and limits of liability
complying with all applicable requirements in states in which Vendor will be
providing Services, with a waiver of subrogation in favor of Otsuka and its affiliates.

c) Employer’s Liability Insurance with limits not less than one million dollars
($1,000,000 per accident or disease.

d) Motor vehicle liability insurance with coverage for all owned, non-owned, and hired
vehicles including the loading and unloading thereof with combined single limits not
less than one million dollars ($1,000,000) per occurrence for bodily injury and
property damage. If no vehicles are owned or leased, the Commercial General
Liability Insurance shall be extended to provide insurance for non-owned and hired
automobiles.

e) Umbrella liability insurance in an amount not less than four million dollars
($4,000,000) annual aggregate with above general employer’s and motor vehicle
liability as scheduled underlying insurance.

f} Professional liability errors and omissions insurance with a limit of not less than two
million dollars ($2,000,000) per occurrence.

Each policy will be underwritten by an insurer rated A-, VIII or better by A.M. Best Co.
and (except to the extent prohibited by Applicable Law) contain a waiver of subrogation
in favor of Otsuka. Each policy other than workers’ compensation policies will name
Otsuka as an additional insured.

Vendor will cause the underwriter of each policy to furnish Otsuka a Certificate of
Insurance for each insurance policy required by this Agreement. Such certificates must
be furnished to Otsuka before Vendor begins performance under this Agreement and
again upon renewal or replacement of any policy required by this Agreement.

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ASSIGNMENT
Neither Party may assign this Agreement without the prior written consent of the other

Party, except that Otsuka may, without the consent of the other, assign the Agreement to
an Otsuka Affiliated Company. An Otsuka Affiliated Company is one that is majority
owned by Otsuka Pharmaceutical Co., Ltd. or one of its subsidiaries.

NOTICE
All notices, certificates and acknowledgments hereunder will be in writing in English and

will be deemed properly delivered when delivered by hand, sent by telefax, duly mailed
by first class mail, or delivered by courier to the other Party at its address as follows, or to
such other address(s) as either Party may, by written notice, designate to the other from
time to time.

[f to Otsuka: Otsuka America Pharmaceutical, Inc.

2440 Research Boulevard
Rockville, Maryland 20850

Attn: Legal Affairs Department

If to Vendor: Axtria, Inc.
400 Connell DR., Suite 1300
Berkeley Heights, NJ 07922

Attn: Legal Department

WAIVER
Waiver of any provision of this Agreement will not be deemed’a waiver of any other

provision of this Agreement, nor will waiver of any breach of this Agreement be
construed as a continuing waiver of other breaches of the same or other provisions of this
Agreement.

HEADINGS
Headings of paragraphs and subparts of this Agreement are for the convenience of the
Parties only, and will be given no substantive or interpretative effect whatsoever.

FORCE MAJEURE

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Neither Party will be liable to the other for any delay in, nor failure of performance of
their respective obligations under this Agreement caused by occurrences beyond the
control of the Party (as the case may be).

NON-DISCRIMINATION
As applicable, the provisions of Executive Order 11246, as amended by EO 11375 and

EO 11141 and as supplemented in Department of Labor regulations (41 CFR Part 60 et.
seq.), are incorporated into this Agreement and must be included in any subcontracts
awarded involving this Agreement. Vendor hereby certifies by signing this Agreement
that all services are provided without discrimination on the basis of race, color, religion,
national origin, disability, sex, or veteran’s status; Vendor does not maintain nor provide
for Vendor’s employees any segregated facilities, nor will Vendor permit Vendor’s
employees to perform their services at any location where segregated facilities are
maintained. In addition, Vendor agrees to comply with Section 504 of the Rehabilitation
Act and the Vietnam Era Veteran’s Assistance Act of 1974, 38 U.S.C. Section 4212.

“Segregated facilities”, as used in this provision, means any waiting rooms, work areas,
rest rooms and wash rooms, restaurants and other eating areas, time clocks, locker rooms
and other storage or dressing areas, parking lots, drinking fountains, recreation or
entertainment areas, transportation, and housing facilities provided for employees, that
are segregated by explicit directive or are in fact segregated on the basis of race, color,
religion, or national origin because of habit, local custom, or otherwise.

DEBARMENT
a. Vendor hereby certifies that it has not been and that it is not:

i. debarred under section 306 of the Federal Food, Drug, and Cosmetic Act in
connection with this Agreement.

ii. excluded, debarred, suspended or is otherwise ineligible to participate in Federal
health care programs or in Federal procurement or non-procurement programs.

iii. charged with or convicted of a criminal offense that falls within the ambit of 42
U.S.C. 1320a-7(a).

b. Vendor hereby certifies that in its performance of the Services it did not and will not
use in any capacity the services of any person or entity that has been:

i. debarred under section 306 of the Federal Food, Drug, and Cosmetic Act in
connection with this Agreement.

ii. excluded, debarred, suspended or is otherwise ineligible to participate in Federal
health care programs or in Federal procurement or non-procurement programs.

iii. charged with or convicted of a criminal offense that falls within the ambit of 42
U.S.C. 1320a-7(a).

c. The certifications herein shall be ongoing during the term of this Agreement and

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Vendor shall immediately notify Otsuka of any change in the status of the
certifications set forth in this section.

Vendor agrees to notify Otsuka immediately upon becoming aware of any inquiry,
commencement of any proceeding, concerning conduct by Vendor, which could
result in debarment exclusion, or similar action.

21. UTILIZATION OF SMALL BUSINESS CONCERNS (JAN 2011)

a.

Cc.

It is the policy of the United States that small business concerns, veteran-owned
small business concerns, service-disabled veteran-owned small business concerns,
HUBZone small business concerns, small disadvantaged business concerns, and
women-owned small business concerns shall have the maximum practicable
opportunity to participate in performing contracts let by any Federal agency,
including contracts and subcontracts for subsystems, assemblies, components, and
related services for major systems. It is further the policy of the United States that its
prime contractors establish procedures to ensure the timely payment of amounts due
pursuant to the terms of their subcontracts with small business concerns, veteran-
owned small business concems, service-disabled veteran-owned small business
concerns, HUBZone small business concerns, small disadvantaged business
concerns, and women-owned small business concerns.

The Contractor hereby agrees to carry out this policy in the awarding of subcontracts
to the fullest extent consistent with efficient contract performance. The Contractor
further agrees to cooperate in any studies or surveys as may be conducted by the
United States Small Business Administration or the awarding agency of the United
States as may be necessary to determine the extent of the Contractor’s compliance
with this clause.

Definitions. As used in this contract—

“HUBZone small business concern” means a small business concern that appears on
the List of Qualified HUBZone Small Business Concerns maintained by the Small
Business Administration.

“Service-disabled veteran-owned small business concern”—
(1) Means a small business concern—

i. Not less than 51 percent of which is owned by one or more service-disabled
veterans or, in the case of any publicly owned business, not less than 51
percent of the stock of which is owned by one or more service-disabled
veterans; and

ii. |The management and daily business operations of which are controlled by one
or more service-disabled veterans or, in the case of a service-disabled veteran

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with permanent and severe disability, the spouse or permanent caregiver of
such veteran.

(2) Service-disabled veteran means a veteran, as defined in 38 U.S.C. 101(2), with a
disability that is service-connected, as defined in 38 U.S.C. 101(16).

“Small business concern” means a small business as defined pursuant to Section 3 of
the Small Business Act and relevant regulations promulgated pursuant thereto.

“Small disadvantaged business concern” means a small business concern that
represents, as part of its offer that—

(1) Gi) It has received certification as a small disadvantaged business concern
consistent with 13 CFR part 124, Subpart B;

(ii) No material change in disadvantaged ownership and control has occurred
since its certification;

(iit) Where the concern is owned by one or more individuals, the net worth of
each individual upon whom the certification is based does not exceed
$750,000 after taking into account the applicable exclusions set forth at 13
CFR 124.104(c)(2); and

(iv) It is identified, on the date of its representation, as a certified small
disadvantaged business in the CCR Dynamic Small Business Search database
maintained by the Small Business Administration, or

(2) It represents in writing that it qualifies as a small disadvantaged business (SDB)
for any Federal subcontracting program, and believes in good faith that it is
owned and controlled by one or more socially and economically disadvantaged
individuals and meets the SDB eligibility criteria of 13 CFR 124.1002.

“Veteran-owned small business concern” means a small business concern—

(1) Not less than 51 percent of which is owned by one or more veterans (as defined at
38 U.S.C. 101(2)) or, in the case of any publicly owned business, not less than 51
percent of the stock of which is owned by one or more veterans; and

(2) The management and daily business operations of which are controlled by one or
more veterans.

“Women-owned small business concern” means a small business concern—

(1) That is at least 51 percent owned by one or more women, or, in the case of any
publicly owned business, at least 51 percent of the stock of which is owned by
one or more women; and

(2) Whose management and daily business operations are controlled by one or more
women.

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(d)(1) Contractors acting in good faith may rely on written representations by their

subcontractors regarding their status as a small business concern, a veteran-owned
small business concern, a service-disabled veteran-owned small business concern,
a small disadvantaged business concern, or a women-owned small business
concern.

(2) The Contractor shall confirm that a subcontractor representing itself as a

HUBZone small business concern is certified by SBA as a HUBZone small
business concern by accessing the Central Contractor Registration (CCR)
database or by contacting the SBA. Options for contacting the SBA include—

(i) HUBZone small business database search application web page at
http://dsbs.sba.gov/dsbs/search/dsp_searchhubzone.cfm; or
http://www.sba.gov/hubzone;

(ii) In writing to the Director/HUB, U.S. Small Business Administration, 409 3rd
Street, SW., Washington, DC 20416; or

(iii) The SBA HUBZone Help Desk at hubzone@sba.gov.

22. COMPLIANCE TRAINING
a) Pursuant to Otsuka’s Comprehensive Compliance Program, Otsuka requires Vendors

engaged in certain functions related to marketed products to complete compliance
training. This training consists of:

b)

i.

ii.

Otsuka’s Code of Ethics and Professional Conduct (see paragraph b below); and

Certain topics related to Otsuka’s business (see paragraph c below)

All training and certifications required under this section shall be completed via
Otsuka’s online learning management system.

Code of Ethics and Professional Conduct

i.

il.

Vendor shall require all persons assigned to provide Services, including
subcontractors, to read Otsuka’s Code of Ethics and Professional Conduct
(“Code”), abide by the Code, and complete the Code’s online attestation within
twenty-five (25) days of being assigned to provide Services.

In the event that Otsuka issues a new Code during the course of this Agreement,
Vendor shall ensure that within twenty-five (25) days of notice and receipt of a
new Code, all persons assigned to provide Services shall read the new Code and
complete a new Code attestation online.

c) Compliance Training Instructions

i.

Vendor shall require all persons who meet Otsuka’s criteria for needing
compliance training, including subcontractors, to complete the required training

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within the specified timeframe. This training may consist of several electronic
learning modules. The required training shall be completed annually thereafter.

d) Any questions regarding training should be sent to:
EQCcompliancetraining@otsuka-us.com.

e) Failure to complete satisfactorily any training or certification, pursuant to this section,
shall be a basis for immediate termination of the Agreement.

NOTICE OF INSPECTIONS

Unless prohibited by law or by the applicable governmental or regulatory entity, Vendor
shall provide Otsuka with immediate notice of any governmental or regulatory review,
audit or inspection of its facility, processes, or products that might relate to the goods,
equipment, software, or services furnished Otsuka under this Agreement. Vendor shall
provide Otsuka with the results of any such review, audit or inspection and copies of any
subsequent written communication exchanged with the Party who performed the
inspection. Otsuka shall be given the opportunity to provide assistance to Vendor in
responding to any such review, audit or inspection.

OTSUKA RIGHT TO AUDIT

At Otsuka’s request on reasonable notice and during normal business hours, Vendor shall
make its records, premises, and facilities available for audit by Otsuka (or its designated
representative) to enable Otsuka to assess Vendor’s compliance with and performance
under this Agreement. Otsuka will provide Vendor with reasonable notice of any audit
and such audits will be conducted during normal business hours. If there are any audit
findings Vendor shall address the findings in corrective and preventive action plan.
Otsuka’s audit rights extend to any subcontractors who are providing services related to
this Agreement.

BOOKS AND RECORDS

Vendor shall have archiving and retention policies and procedures for Vendor’s records
relating to the performance of its duties and obligations under this Agreement that shall
be aligned with Otsuka’s archiving and retention policies and procedures. All records
shall be maintained in accordance with United States generally accepted accounting
principles consistently applied (“GAAP”). The retention period for such records shall be
at least seven (7) years.

DISCLOSURE OBLIGATION

Vendor represents that neither it nor any of its owners, directors, employees, agents, or
consultants is a Government or Public Official or political party official or candidate for
public or political office. In the event that during the term of this Agreement there is a
change in the information required to be disclosed in this paragraph, Vendor agrees to
promptly notify Otsuka.

CONFLICT OF INTEREST

Vendor warrants and confirms that: (i) no principal and/or their family members (either
as an owner or a member of Vendor’s management) owns a significant share of any other

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business entity currently doing business with Otsuka America Pharmaceutical, Inc. ,
Otsuka Canada Pharmaceutical, Inc., Otsuka Pharmaceutical Development &
Commercialization, Inc., Otsuka Maryland Medicinal Laboratories, Inc., or Otsuka
America, Inc.(the “Otsuka Companies”); (ii) that no employee of the Otsuka Companies,
or their respective family members, is an officer, director, consultant, employee or vendor
of Vendor and; (iii) that no employee of the Otsuka Companies, or their respective
family members, has a financial interest in Vendor. In the event that during the term of
this Agreement there is a change in the information required to be disclosed in this
paragraph, Vendor agrees to promptly notify Otsuka.

HEALTHCARE FRAUD AND ABUSE, ANTI-KICKBACK, AND HEALTH
INSURANCE PORTABILITY AND ACCOUNTABILITY ACT (“HIPPA”)

Vendor warrants and represents that Vendor, it’s employees and management,
contractors, and sub-contractors have not been convicted of and/or are not under
investigation for violations of any healthcare fraud and abuse, anti-kickback, or HIPAA
statutes or regulations.

PERSONALLY IDENTIFIABLE INFORMATION

Vendor shall maintain appropriate level of controls to assure that any Personally
Identifiable Information (“PII”) provided by Otsuka, whose access by Vendor is provided
by Otsuka, or is collected by Vendor on Otsuka’s behalf shall not be accessible to any
Party unauthorized to access the PII by Otsuka.

DRUGS AND ALCOHOL

Vendor shall assure that no Services shall be provided by any individual under their
employ who, at the time the Services are being performed, is under the influence of
alcohol or illegal drugs. In the event that a violation is found to exist under this clause,
Otsuka reserves the right, in its sole discretion, to temporarily or permanently bar that
individual from performing any services under this Agreement and that Vendor shall
comply with any such direction from Otsuka.

NON-SOLICITATION
During the term of this Agreement, neither Vendor nor Otsuka shall directly solicit,
recruit, hire, or otherwise retain the services of the other Party’s employees, except as
provided herein. For purposes of this Section 31, a general solicitation of employment by
a Party not specifically directed towards employees of the other Party will not constitute
solicitation by the Party).

EXISTING VENDOR RELATIONSHIPS

Vendor agrees to work in full cooperation with all applicable Otsuka vendors and/or
suppliers and Otsuka staff to provide quality service with no conflicting objectives,
agendas, or excessive delays.

OTSUKA THIRD PARTY USAGE

This Agreement is non-exclusive and Otsuka may in its absolute discretion enter into
arrangements with other third parties to supply similar products and/or services.

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USE OF SUBCONTRACTORS

Vendor may subcontract its obligations under this Agreement provided that Vendor gives
Otsuka reasonable prior written notice outlining relevant information regarding the
proposed subcontract. Otsuka shall have the absolute right to approve or disapprove of

proposed subcontractors, in its discretion — such approval shall not be unreasonably
withheld.

SEVERABILITY

If any part, term or provision of this Agreement will be held void, illegal, unenforceable,
or in conflict with any law of any central, state, or local government having jurisdiction
over this Agreement, or its subject matter, the validity of the remaining portions or
provisions will not be affected thereby.

GOVERNING LAW
This Agreement shall be governed by and construed in accordance with the laws of the
State of Maryland.

REPORTING SERIOUS MEDICAL EVENTS AND PRODUCT QUALITY
COMPLAINTS

Vendor shall immediately report to Otsuka (no later than twenty-four (24) hours) all
serious medical events or product quality complaints whether believed to be related to an
Otsuka product or not. A serious medical event is one that is fatal or life threatening (i.e.,
results in an immediate risk of death), is permanently or substantially
disabling/incapacitating, requires or prolongs hospitalization, or is a congenital
anomaly/birth defect, cancer or medication overdose, results in the development of drug
dependency or drug abuse, including any other events believed to be serious or
unexpected important medical events or which would suggest a significant hazard,
contraindication, side effect, or precaution. A written report should promptly follow
within three (3) working days. Vendor will provide assistance to Otsuka in obtaining
follow-up on the serious medical event or product quality complaint information, should
it be necessary. The information should be reported via one of the following:

Oo By telephone — 1-866-232-2557 (Abilify)
Oo By telephone - 1-800-438-9927 (other Otsuka products)
0 By email — IRAE.receipt@otsuka-us.com

To comply with the aforementioned reporting requirements, Vendor agrees to the
following for its personnel involved in executing the services to be performed in any
Statement of Work associated with this Agreement:

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a. Such personnel will be provided training to ensure that the procedures set forth by
Otsuka for handling adverse events, product complaints, and products quality issues
are followed.

b. Training that includes (but may not be limited to) an acknowledgement that such
personnel have received reporting instructions for adverse events, product complaints,
and products quality issues; or certification that such personnel have been trained on
Otsuka’s policies and procedures for handling adverse events, product complaints,
and products quality issues.

38. PRIVACY

a. Vendor, its employees, agents, subcontractors and any authorized third parties (
the “Vendor Parties”) shall comply with all state and federal laws and regulations
applicable to the performance of the Services including, without limitation, those
laws and regulations governing the privacy and security of Personal Information.
Vendor and the Vendor Parties will establish commercially reasonable controls to
ensure the confidentiality of Personal Information and to ensure that Personal
Information is not disclosed contrary to the provisions of this Agreement. "Personal
Information" means personally identifiable information including, without limitation,
a person’s name, address, telephone number, fax number, e-mail address, social
security number or other government-issued identifier, credit card information,
biometric identifiers, and face or other personal images, in any media or format
including computerized or electronic records and paper-based files, collected or used
by Vendor on Otsuka’s behalf from consumers, patients, Otsuka employees,
physicians, and other business-to-business customers (collectively, "Individuals").

b. Vendor, and the Vendor parties will provide to Otsuka, and as otherwise required by
law, prompt written notice of all security incidents that involve, or which Vendor
reasonably believe involve, the unauthorized access, use, or disclosure of Personal
Information; provided, further, such notice shall summarize in reasonable detail the
impact on Otsuka of the breach or unauthorized use or disclosure of, or access to,
Personal Information and the corrective action taken or to be taken by Vendor;
provided, further, Vendor shall promptly take all necessary and appropriate corrective
action including, without limitation, at the request of Otsuka and at
Vendor’s expense, to provide notices to Individuals whose Personal Information may
have been affected, whether or not such notice is required by law.

c. Vendor shall indemnify, defend, and hold Otsuka harmless from any liability, loss,
claim, injury, damage, or expense (including reasonable attorneys’ fees and costs)
incurred by Otsuka as a result of and to the extent of any breach of this Agreement by
Vendor including, without limitation, requirements to pay appropriate third parties
hereunder for any use of Personal Information other than as contemplated by this
Agreement. Notwithstanding any other provision of this Agreement, there shall be no
exclusion or limitation of liability for any collection, use, disclosure, or retention of
Personal Information in violation of this Agreement.

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39. ANTI-CORRUPTION
a. Compliance Policy: It is the policy of Otsuka to comply fully with all applicable laws

and regulations of all jurisdictions in which it does business. | Vendor wartants and
represents that it will not take any action that would constitute a violation, or
implicate Otsuka in a violation, of any law of any jurisdiction in which it performs
business including without limitation, the United States Foreign Corrupt Practices Act
of 1977, as amended (“FCPA”), the United Kingdom Bribery Act (“U.K. Bribery
Act’), and where applicable, any other anti-bribery/corruption legislation enacted by
countries in which the Vendor provides services to Otsuka.

b. Non-Compliance: Vendor understands and acknowledges that any non-compliance
with the above representations will constitute grounds for termination of this
Agreement and any other agreements Vendor has entered into with Otsuka or any of
its affiliated companies.

Signatures on the following page

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IN WITNESS WHEREOF the Parties have signed this Agreement as of the dates listed below.

Contract number: 20144533

Otsuka America Pharmaceutical, Inc.

¢ leven J of (Nov 7, 2014)

Name: Steven J. Weisel

 

Title: V.P. & Gen. Counsel

Date: Nov 7, 2014

Axtria, Inc.

Chesrian Howatet

Christian Hoyvald (Nav 7 6014)

Name: Christian Hoyvald
Title: Principal

Date: Nov 7, 2014

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Otsuka-Axtria MSA

 

EchoSign Document History November 07, 2014
Created: November 07, 2014
By: Christina Pellegrino (christina.tc-pellegrino@otsuka-us.com)
Status: SIGNED
Transaction 1D: XG6JYSFK3B66B5K

 

 

 

“Otsuka-Axtria MSA” History

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Document created by Christina Pellegrino (christina.tc-pellegrino@otsuka-us.com)
November 07, 2014 - 8:02 AM PST - IP address: 205.211.91.2

Document emailed to Christian Hoyvald (christian.hoyvald@axtria.com) for signature
November 07, 2014 - 8:03 AM PST

Document viewed by Christian Hoyvald (christian.hoyvald@axtria.com)
November 07, 2014 - 8:06 AM PST - IP address: 98.221.222.129

Document e-signed by Christian Hoyvald (christian.hoyvald@axtria.com)
Signature Date: November 07, 2014 - 8:18 AM PST - Time Source: server - IP address: 98.221.222.129

Document emailed to Steven J. Weisel (stevenw@otsuka.com) for signature
November 07, 2014 - 8:18 AM PST

Document viewed by Steven J. Weisel (stevenw@otsuka.com)
November 07, 2014 - 8:23 AM PST - IP address: 68.49.22.195

Document e-signed by Steven J. Weisel (stevenw@otsuka.com)
Signature Date: November 07, 2014 - 8:23 AM PST - Time Source: server - IP address: 68.49.22.195

Signed document emailed to Steven J. Weisel (stevenw@otsuka.com), Christina Pellegrino (christina.tc-
pellegrino@otsuka-us.com) and Christian Hoyvald (christian.hoyvald@axtria.com)

November 07, 2014 - 8:23 AM PST

Adobe EchoSign

 

 
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Master Services Agreement
between
Axtria, Inc.
and

Bayer HealthCare Pharmaceuticals, Inc.
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Confidential

MASTER SERVICES AGREEMENT

THIS MASTER SERVICES AGREEMENT (this “Agreement”) is made as of the 1st day of May,
2016 (‘Effective Date”), by and between Bayer HealthCare Pharmaceuticals Inc., with offices at 100
Bayer Bivd., P.O. Box 915, Whippany, New Jersey 07981-0915 ("BAYER’), and Axtria, Inc., with offices at
400 Connell Drive, Berkeley Heights, New Jersey 07922 ("COMPANY").

WHEREAS, BAYER desires to retain COMPANY to provide services to BAYER and its Affiliates
(as defined herein); and

WHEREAS, COMPANY desires to perform such services.

NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth herein,
BAYER and COMPANY mutually agree as follows:

SECTION ONE. DEFINITIONS. As used in this Agreement, the terms listed in this Section One
shall have the following meanings:

1.1 Affiliate. “Affiliate” shall mean any individual, corporation, firm, joint venture, limited liability
company, partnership or other entity which, directly or indirectly, through one or more intermediaries,
controls, is controlled by, or is under common control with BAYER. As used in this definition, "contro!"
means (a) to possess, directly or indirectly, the power to direct the management or policies of an entity,
whether through ownership of voting securities or by contract or otherwise, or (b) to own, directly or
indirectly, more than fifty percent (50%) of the outstanding voting securities or other ownership interest of
an entity. Notwithstanding the foregoing, the definition of “Affiliate” shall not include Covestro LLC or any
other individual, corporation or other business entity which, either directly or indirectly, is controlled by
Covestro Deutschland AG.

1.2 Confidential Information. “Confidential Information" shall mean all non-public information
belonging to or in the possession of one party (the “Discloser’) (which, when BAYER is the Discloser,
means BAYER and its Affiliates) consider confidential including, without limitation, information concerning
Discloser’s technical information, finances, business plans, marketing and sales strategies and results,
customers and accounts, computer hardware and software applications and systems and designs and
plans for such computer systems; and when BAYER is the Discloser, the study, discovery, screening,
design, research, development, manufacture, formulation, extraction, compounding, mixing, processing,
testing, control, preservation, storage, finishing, packing, packaging, use, administration, distribution, sale,
reimbursement and/or marketing of pharmaceutical products or compounds and potential products or
compounds; data from and methodology of pre-clinical and clinical studies; the contents of any
submission to the U.S. Food and Drug Administration or other regulatory authorities; any information
marked "confidential" by Discloser and all notes, summaries, analyses, and other materials, including,
when BAYER is the Discloser, the Deliverables (as defined herein), prepared by COMPANY or its
employees, representatives and agents that contain, or are based on BAYER’s and its Affiliates’
Confidential information. Confidential Information may be conveyed or disclosed in electronic, written,
graphical, physical or oral form.

1.3 Healthcare Professional. “Healthcare Professional” shall mean any actual or potential
source (including distributors, wholesalers, suppliers, physicians or other healthcare providers, contractors
or agents) of referrals and sales (including referring, recommending, arranging for, ordering, prescribing,
or purchasing) of products sold by BAYER in the United States.

1.4 Services. “Services” shall mean COMPANY's provision of computer analytics workbench
capabilities and support, including the Software Deliverables, for Commercial Analytics and Corporate and
Government Customers’ initiatives, as requested from time to time pursuant to a Statement of Work (as

defined below).

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1.5 "Software" means analytical computer code and program(s) and models that will run on
BAYER's camputer servers, including related programming tools, scripts and routines, that COMPANY is
required to or otherwise does develop or provide under this Agreement, as described more fully in each
Statement of Work, including all updates, upgrades, new versions, new releases, enhancements,
improvements and other modifications thereto, made or provided pursuant to any Statement of Work. As
context dictates, “Software” may refer to one or more Software Deliverables.

1.6 "Software Deliverable" means any Software, together with its documentation (which
documentation will include the applicable written business rules), required to be delivered by COMPANY
as set forth in the applicable Statement of Work.

1.7 “Work Product" means all Software Deliverables, specifications and other documents, work
product and materials related thereto, that COMPANY is required to, or otherwise does, develop and
provide to BAYER hereunder, together with all ideas, concepts, processes and methodologies developed
in connection therewith whether or not embodied therein.

SECTION TWO. PROVISION OF SERVICES.

2.1 Provision of Services and Software; Statements of Work; Engagement of Healthcare
Professionals.

(a) COMPANY shall provide Services as requested by BAYER from time to time during the term
of this Agreement. COMPANY agrees that nothing herein shall obligate BAYER to request COMPANY to
perform any Service whatsoever. Any Services to be provided by COMPANY shall be described in
individual Statements of Work (each referred to herein as a “Statement of Work’ or “SOW’) which shall
be subject to the mutual agreement of, and executed by, the parties to such SOW. Each Statement of
Work shall set forth a description of the Services to be provided, a detailed description of the Software and
other Deliverables (as defined below) to be developed or provided, the timing of such Services, the
delivery and/or implementation of Software Deliverables, the fees and expenses for the provision of the
Services, the resources required, the names and contact information for the parties’ project managers,
and such other terms and conditions as the parties may agree. A form of Statement of Work is attached
hereto as Exhibit A.

(bo) COMPANY agrees that any Services provided shall be of the highest professional standards
and quality and that COMPANY shall use its best efforts to perform the Services agreed to hereunder.
COMPANY further agrees to design, develop, create, test, deliver, install, configure, integrate, customize,
maintain and otherwise provide and make fully operational on BAYER’S servers, any Software Deliverable
as described in a Statement of Work on a timely and professional basis in accordance with (i) all terms,
conditions and specifications set forth in this Agreement and the applicable Statement of Work, and (ii)
BAYER’s quality contro] systems, processes and procedures. COMPANY shall ensure all Software
complies with the agreed specifications and documentation therefor. Except to the extent expressly
provided otherwise in the Statement of Work for any Software, COMPANY shall provide all Software to
BAYER in both object code and source code form.

(c) In the event COMPANY engages a Healthcare Professional to perform services for BAYER or
otherwise pays any remuneration to a Healthcare Professional on behalf of BAYER, COMPANY shall:

(i) only engage the services of a Healthcare Professional in a manner consistent with (1) all
applicable laws and regulations including, without limitation, the Anti-Kickback Statute (42 U.S.C § 1320a-
7b(b)) and the “personal services safe harbor" to such statute (42 C.F.R. §1001.952(d)), (2) industry
guidelines including, without limitation, the PhRMA Code on Interactions with Healthcare Professionals, as
amended (the “PhRMA Code”), promulgated by the Pharmaceutical Research and Manufacturers of
America (PhRMA), and (3) BAYER Policies (as defined below);

(ij) only engage a Healthcare Professional to provide bona fide services pursuant to a fully-

executed written agreement;
(iii) provide copies of such fully-executed agreements to BAYER, upon request;

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(iv) pay such Healthcare Professional for his/her services an amount not to exceed the
amount set forth by BAYER only after performance of the services on behalf of BAYER have been

confirmed and documented; and
(v) promptly upon completion of the services, complete and send to BAYER the Payment

Data File and Proof of Service Form to be provided by BAYER.

(d) BAYER reserves the right to audit COMPANY’s compliance with the provisions set forth in
paragraph (c) above.

(e) In the event COMPANY performs any Services at BAYER’s premises, COMPANY shall
cooperate with BAYER’s personnel, shall not interfere with the conduct of BAYER’s business and shall
observe all rules, regulations, policies and security requirements of BAYER concerning the safety of
persons and property and security of systems, data and information.

2.2 Term; Termination.

(a) Unless sooner terminated pursuant to the terms of this Agreement, this Agreement shall
commence on the Effective Date and end on April 30, 2019. In the event the term of any Statement of
Work entered into during the term of this Agreement extends beyond the expiration of this Agreement,
then, unless otherwise agreed, this Agreement shall remain in effect with respect to such Statement of
Work until the expiration or termination of the SOW.

(b) BAYER may terminate this Agreement or any Statement of Work at any time without cause by
providing thirty (30) days' advance written notice thereof to COMPANY. Termination of any Statement of
Work will not impact any other Statement of Work. Termination of this Agreement shall serve as
termination of all Statements of Work. BAYER shall pay the then current rates for Services provided
during the 30-day period commencing upon the date the notice of termination is sent by BAYER to
COMPANY, with such payment due within sixty (60) days of BAYER's receipt of COMPANY's invoice.

(c) BAYER shall also have the right to terminate this Agreement or any Statement of Work for
cause due to COMPANY’s non-performance or non-adherence to the terms of this Agreement or any
SOW upon 30 days’ prior written notice pursuant to the following process:

(i) If COMPANY’s performance does not meet BAYER's service level expectations based on
the service metrics detailed within the “Service Metrics” section of any SOW, BAYER will
notify COMPANY of same in writing in its 30-day advance written notice. COMPANY will have
the opportunity to take corrective action and achieve service metrics’ compliance; provided,
that if COMPANY is unable to meet the agreed upon service metrics within thirty (30) days
from receipt of BAYER’s notice of termination, BAYER may terminate this Agreement or any
SOW for cause at the end of the aforementioned 30-day period.

(it) BAYER shall pay the then current rates for Services provided during the 30-day period
beginning when the notice to terminate for non-performance related reasons is sent by
BAYER to COMPANY, with such payment being due within sixty (60) days of BAYER’s receipt
of COMPANY's invoice.

(d) In addition, BAYER shall have the right to terminate this Agreement or any SOW immediately
for COMPANY’s material breach of the requirements of this Agreement or any SOW for any reason
not related to non-performance as described in Section 2.2(c).

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2.3. Remuneration; Acceptance.

(a) For Services requested by BAYER and performed by COMPANY in accordance with the
terms of this Agreement and the applicable Statement(s) of Work, BAYER shall pay to COMPANY an
amount not to exceed the amount set forth in the applicable Statement of Work. COMPANY's standard
hourly rates for its long-term and short-term professional resources are set forth in Exhibit B attached
hereto, which shall not be revised without BAYER's prior written consent.

(b) BAYER's obligation to pay COMPANY any amounts due for Services, or reimburse
COMPANY for related expenses, is subject to BAYER’s acceptance as set forth herein. If BAYER within
thirty (30) days of receipt (or such other times set forth in the applicable Statement of Work, in its sole and
reasonable discretion, determines that the Services performed (and any Software or other Deliverables
provided in connection therewith) do not conform to the standards required hereunder or in any
appendices or exhibits hereto or to a Statement of Work, or otherwise do not conform to the terms and
conditions of this Agreement, BAYER shall notify COMPANY thereof, specifying in reasonable detail the
respects in which the Services (or Software or other Deliverables) are unsatisfactory or unacceptable.
Within such time as is agreed in writing by the parties (and, in the absence of any such agreement, ten
(10) days following receipt of any such notice), COMPANY shail, at’ no additional cost to BAYER, take all
steps necessary to render the Services (and Software and other Deliverables) satisfactory and acceptable
to BAYER, or BAYER may, without prejudice to its other rights hereunder or otherwise, terminate this
Agreement or the applicable Statement of Work immediately by written notice at any time after the end of
such time period.

2.4 Expenses (including travel, out-of-pockets, pass-throughs). Reasonable expenses
incurred by COMPANY in the course of providing the Services, including round-trip economy airfare (or
round trip business-class airfare for intercontinental travel), auto rental, meals, lodging and long distance
telephone charges, will be reimbursed to COMPANY by BAYER at cost as set forth, and up to the amount
(if any) specified in the applicable Statement of Work provided, however, that all travel, meal and lodging
expenses shall be reimbursed only if plans for same are approved by BAYER in advance. Receipts shall
be submitted with the invoices for any expense in the amount of $25.00 or greater. Mileage will be
reimbursed at the IRS standard rate. In no event will the amount of expenses incurred by COMPANY and
_ its personnel under any Statement of Work exceed ten percent (10%) of the professional fees set forth in
the applicable Statement of Work.

2.5 Invoices. When a purchase order has been issued, COMPANY shall submit an invoice for
Services rendered, including expenses covered by Section 2.4, on a monthly basis. Invoices should be
sent to the address set forth in the applicable purchase order. The terms of this Agreement shall
prevail over any inconsistent statements or provisions contained in any bil! or other writing passing
between the parties unless agreed to in writing by both parties. BAYER will pay invoiced amounts due to
COMPANY within sixty (60) days from the date of BAYER’s receipt of COMPANY’s invoice, except for any
amounts disputed by BAYER, in which case BAYER will so notify COMPANY and the parties agree to
work in good faith to promptly resolve any such disputes. In the event no purchase order is issued,
BAYER shall pay COMPANY amounts due hereunder consistent with the payment terms set forth above.

2.6 Audits. COMPANY shall keep accurate and complete records and accounts of its activities
in connection with this Agreement and any Statement of Work, including reasonable substantiation of all
Services provided and expenses incurred. During the term of this Agreement and for the two (2) year-
period following the termination or expiration of this Agreement, BAYER or its duly authorized third-party
auditor, upon reasonable advance notice and at BAYER’S sole expense, shall have the right during
normal business hours to examine and copy such books, records, and other documents and materials
(except individual salary and other personal information) with respect to the subject matter and terms of
this Agreement and any Statement of Work.

2.7 Extension to Affiliates. Any BAYER Affiliate may enter into a SOW pursuant to, and
subject to, this Agreement. In the event any such Affiliate enters into any SOW pursuant to this
Agreement, such SOW: (i) shall incorporate by reference the terms of this Agreement; (ii) shall be

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deemed a separate contract between the parties who sign it and an independent contractual obligation
separate from any other SOW, (iii) shall be interpreted and construed to include only the BAYER Affiliate
executing such SOW, and (iv) there shall be no joint or several liability between or among any Affiliates or
BAYER and any Affiliate. The parties expressly agree that BAYER SHALL HAVE NO LIABILITY NOR
SHALL BAYER INCUR ANY OBLIGATION OR BE RESPONSIBLE FOR, THE FAILURE OF ANY BAYER
AFFILIATE TO PERFORM ITS OBLIGATIONS UNDER THIS AGREEMENT OR ANY SOW ENTERED

INTO HEREUNDER.
SECTION THREE. CONFIDENTIALITY; OWNERSHIP.

3.4 Confidentiality Agreement; Return of Information.

(a) The receiving party (“Recipient”) will hold in confidence and take such steps as it
normally takes to protect its own confidential and proprietary information, but in any event no less than
reasonable steps, to preserve the confidentiality of the Confidential Information disclosed by Discloser to
Recipient (including Confidential Information disclosed prior to the date hereof related to this Agreement,
the Services or necessary for the performance thereof). For purposes hereof, Confidential Information
does not include information that: (i) at the time of disclosure, is in the public domain; (ii) after disclosure,
becomes part of the public domain by publication or otherwise, except by breach of this Agreement by
Recipient; (iii) Recipient can establish by competent proof was in Recipient's possession at the time of
disclosure by Discloser and was not acquired, directly or indirectly, from Discloser (or an affiliate thereof);
and (iv) Recipient receives from a third party (other than, when BAYER is the Discloser, an Affiliate)
without any reasonable basis to believe that such third party is under any obligation which would be
breached by disclosing such information to Recipient; provided, however, that such information was not
obtained by such third party, directly or indirectly, from Discloser or, when BAYER is the Discloser, an
Affiliate. Confidential Information shail not be deemed to be or have come into the public domain merely
because any part of such Confidential Information is embodied in general disclosures or because
individual features, components or combinations thereof are or become publicly known. :

(b) Nothing in this Section 3.1 shall prohibit Recipient from complying with applicable
legal or regulatory requirements or a validly issued subpoena, order of a court of competent jurisdiction or
other request for information from a governmental agency, seeking disclosure of any Confidential
Information, provided that Recipient provides prompt notice thereof to Discloser (unless legally prohibited)
so that Recipient may seek a protective order or other appropriate remedy. Recipient shall thereafter be
entitled to comply with such legal or regulatory requirements, subpoena, court order or other request for
information. Confidential Information disclosed pursuant to this Section 3.1(b) shall remain Confidential
Information for all other purposes of this Agreement.

(c) Recipient agrees that it will not use the Confidential Information, which Recipient is
required hereunder to keep confidential, for any purposes other than as authorized hereunder, without first
entering into a written agreement signed by Recipient and Discloser covering the use thereof.

(d) COMPANY acknowledges that the federal securities laws prohibit any person who
has received material non-public information about BAYER, any Affiliate of BAYER, or any partner or
potential partner of BAYER or any Affiliate of BAYER, from purchasing or selling securities of any such
entity in reliance on such information or from communicating such information to any other person under
circumstances in which it is reasonably foreseeable that such person is likely to purchase or sell such
securities in reliance on such information.

(e) Recipient agrees that, at Discloser's request, Recipient will promptly return to
Discloser any of the Confidential Information that Discloser may have delivered to Recipient in writing or in
any other tangible form, and that Recipient will retain no copies thereof (except that Recipient's attorney
may retain one (1) copy in a sealed file). In addition, at BAYER’s request, COMPANY will transfer to
BAYER all work in progress, property and all other materials in COMPANY's possession that would be
deemed Confidential Information or property of BAYER.

(f) Each party’s obligation under this Section 3.1 to preserve the confidentiality of any
and all of the Confidential Information disclosed to it shall continue during the term of this Agreement and
for a period of five (5) years following expiration or termination of this Agreement.

(g) The provisions of this Section 3.1 are necessary for the protection of Discloser's
business and goodwill and are considered by the parties to be reasonable for such purpose. Recipient
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agrees that any breach of this Section 3.1 will cause Discloser substantial and irreparable harm for which
money damages may be inadequate and, therefore, in the event of any such breach, in addition to other
remedies that may be available, Discloser shall have the right to seek specific performance and other
injunctive and equitable relief.

3.2. Ownership of Deliverables; Third Party Materials.

(a) Any Work Product (which includes the Software Deliverables) and reports, evaluations,
specifications and other deliverables, in any medium, provided by COMPANY as part of the Services
(collectively, the “Deliverables’) shall be, subject to Section 3.2(d) below, BAYER’s sole and exclusive
property, and COMPANY hereby irrevocably assigns, transfers and otherwise conveys to BAYER, in each
case without additional consideration, all rights, title and interest throughout the world in and to the
Deliverables, including all intellectual property rights therein. COMPANY agrees that any Deliverable that
may qualify as a "work made for hire" as defined in the Copyright Act of 1976, as amended, is hereby
deemed a “work made for hire" for BAYER. Upon BAYER’s request and at BAYER’s cost and expense,
COMPANY will promptly take such further actions, including execution and delivery of all appropriate
instruments of conveyance, as may be necessary to assist BAYER to prosecute, register, perfect or
record its rights, title and interest in or to any Deliverables. COMPANY irrevocably waives any and all
claims COMPANY may now or hereafter have in any jurisdiction to so-called "moral rights" or rights of
droit moral with respect to the Deliverables.

(b) It is the parties’ intent that COMPANY shall not include in any Software, and the operation of
all Software in accordance with its specifications and documentation shall not require, any software owned
by third parties. In the event the parties agree to include any third-party software in any Software provided
under this Agreement, COMPANY shall secure, at its sole cost and expense, all necessary rights,
licenses, consents, approvals and authorizations necessary for BAYER to use, perpetually and throughout
the universe, all third-party software as incorporated in or otherwise used in conjunction with the Software
as specified in the applicable Statement of Work or elsewhere in this Agreement. Ownership of all open-
source software components, and all intellectual property rights therein, is and will remain with the
respective owners thereof, subject to BAYER’s rights under the applicable open-source licenses.

(c) COMPANY’s obligations pursuant to this Section 3.2 shall survive expiration or termination of
this Agreement.

(d) All right, title and interest to Company Pre-existing Works will remain vested in COMPANY.
For the purpose of this Agreement, “Company Pre-existing Works” shall include all materials, systems,
ideas, techniques, processors, equipment, software, knowhow, service marks or trademarks (and
intellectual property rights therein) used by the COMPANY to provide the Services and prepare the
Deliverables (not including any BAYER’S or its Affiliates’ Confidential Information), along with any
intellectual property rights thereto, including any modifications or enhancements thereto, whether created
before, during or after the performance of this Agreement. With respect to such Company Pre-existing
Works contained in any Deliverables, COMPANY hereby grants to BAYER an irrevocable, non-exclusive,
worldwide, fully paid, royalty-free, perpetual right and license to use, execute, reproduce, display and
perform copies of Company Pre-existing Works for so long as such Company Preexisting Works are
required for the use of the Deliverables per the terms of this Agreement.

3.3 Use of Name. Neither party shall use the name, logos, trademarks, service marks or trade
names of the other party (or their affiliates) in any public announcement, press release or other public
document without the written consent of such other party; provided, however, that either party may use the
name of the other party in any document filed with any governmental authority or regulatory agency to
comply with legal or regulatory requirements. COMPANY’S obligations pursuant to this Section 3.3 shall
survive expiration or termination of this Agreement.

3.4 Reporting. Pursuant to 42 C.F.R. §403.904, BAYER will be required to report payments
or other transfers of value to covered recipients (i.e., physicians and teaching hospitals), and BAYER may
disclose COMPANY's name, address, the nature of the services rendered, the remuneration paid

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hereunder and such other information as may be required or requested to the U.S. Department of Health
and Human Services’ Centers for Medicare and Medicaid Services, and pursuant to any other applicable
federal, state and/or local laws and regulations.

SECTION FOUR. REPRESENTATIONS AND WARRANTIES; OTHER AGREEMENTS.
4.1. Compliance with Laws and Industry Guidelines.

(a) COMPANY and BAYER agree that each shall comply with all applicable federal, state
and local laws and regulations, including, without limitation, laws related to anti-corruption, fraud, abuse,
privacy, discrimination, disabilities, fair labor standards, samples, confidentiality, false claims and
prohibition of kickbacks. Without limiting the generality of the foregoing, the parties acknowledge that
BAYER conducts its interactions with Healthcare Professionals in compliance with applicable laws,
including, without limitation, the U.S. Anti-Kickback Statute, 42 U.S.C. §1320a-7(b), the PhRMA Code, and
the Physician Payment Sunshine Act (Section 6002 of the Patient Protection and Affordable Care Act). In
furtherance of this intention, please refer to Bayer's Code of Conduct and applicable policies and
procedures under the Anti-Kickback Statute http:/Avww.bayer.us/en/products/bayer-pharmaceuticals/
("BAYER Policies’). COMPANY, in the performance of the Services, shall conduct its interactions with
Healthcare Professionals (and, to the extent applicable, shall cause its employees and subcontractors to
conduct their interactions with Healthcare Professionals) in accordance with all applicable laws and
regulations, BAYER Policies and the PhRMA Code.

(b) COMPANY agrees to comply with all applicable federal, state and local laws and
regulations relating to the privacy of patient health information, including, but not limited to, the Standards
for Individually Identifiable Health Information, 45 C.F.R. §§160 and 164 (the “HIPAA Privacy
Regulation’) promulgated pursuant to the Health Insurance Portability and Accountability Act of 1996. If
COMPANY deems it necessary in the performance of its duties under this Agreement to disclose to
BAYER the “Protected Health Information” (as such term is used in the HIPAA Privacy Regulation) of a
patient, then, in advance of any such disclosure, COMPANY shall obtain a written authorization executed
by such patient for the use and disclosure of such Protected Health Information in accordance with the

HIPAA Privacy Regulation.

4.2. COMPANY Representations and Warranties. COMPANY represents, warrants and
covenants that: (i) COMPANY has the full right and authority to enter into this Agreement and perform the
Services, and has received all necessary approvals in connection with entering into this Agreement and
performing the Services; (ii) COMPANY is in compliance with and shall comply with all applicable federal,
state and local laws and regulations, and has and shall maintain in effect all licenses, permissions,
authorizations, conserits and permits that it needs to carry out its obligations under this Agreement; (iii)
compliance with the terms of this Agreement and performance of the Services do not and will not breach
or conflict with any other agreement, arrangement or order to which COMPANY is a party or is bound; (iv)
compliance with the terms of this Agreement and performance of the Services does not and will not
breach any agreement to keep in confidence proprietary information acquired in confidence or in trust; (v)
during performance of the Services, COMPANY will not disclose to BAYER, or induce BAYER to use, any
proprietary information belonging to a third party; and (vi) any Work Product and other Deliverables will not
infringe the intellectua} property rights of any third party.

4.3 Debarment.

(a) COMPANY represents, warrants and covenants to BAYER that after due inquiry:

(i) neither COMPANY nor, to the extent applicable, any employee of COMPANY,
subcontractor or employee of a subcontractor has been debarred by the FDA pursuant to its authority
under Sections 306(a) and (b) of the U.S. Food, Drug, and Cosmetic Act (21 U.S.C. § 335(a) and (6)) or is
the subject of any investigation or proceeding which may result in debarment by the FDA; and

(ii) neither COMPANY nor, to the extent applicable, any employee of COMPANY,
subcontractor or employee of a subcontractor is included in the List of Excluded Individuais/Entities
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(maintained by the U.S. Department of Health and Human Services Office of Inspector General) or the
List of Parties Excluded from Federal Procurement and Nonprocurement maintained by the U.S. General
Services Administration, or is the subject of any investigation or proceeding which may result in inclusion
in any such list.

(b) COMPANY agrees to immediately notify BAYER in writing if COMPANY becomes
aware of any such debarment, exclusion, investigation or proceeding of COMPANY or, to the extent
applicable, any employee of COMPANY, subcontractor or employee of a subcontractor.

4.4 Subcontractors. COMPANY shall not engage any subcontractor(s) to perform any portion
of Services hereunder without obtaining BAYER's prior written consent. Any subcontractor(s) engaged by
COMPANY to perform any portion of Services hereunder must agree in a writing addressed to BAYER to
be bound by the terms of this Agreement and a copy of such writing shall be sent to BAYER. COMPANY
shall be solely responsible for activities performed by any subcontractor(s), and the use of a subcontractor
shall not relieve COMPANY of any of its obligations hereunder. COMPANY, and not BAYER, shall be
solely responsible for all withholdings, liabilities and contributions in respect of any such subcontractor(s).

4.5 Insurance. At all times during the term of this Agreement, COMPANY shall maintain
insurance with responsible carriers in such amounts and with such coverages and deductibles as is
appropriate under the circumstances and within COMPANY'S industry.

4.6 Indemnification and Limitation of Liability. COMPANY shall indemnify and hold
harmless BAYER and its Affiliates, and their respective successors, assigns, officers, directors,
stockholders, employees and customers (the “Indemnitees’), from and against any and all liability, losses,
damages, claims, demands, fines, causes of action, suits or proceedings and expenses connected
therewith (including reasonable attorneys’ fees) arising from or related to performance of the Services or
the breach of any representation, warranty or covenant herein except to the extent caused by the gross
negligence or willful misconduct of an Indemnitee. COMPANY'’s obligations pursuant to this Section 4.6
shall survive expiration or termination of this Agreement.

Except as expressly set forth herein, Company makes no further representations or warranties of
any kind whatsoever, express or implied. Company specifically disclaims any implied warranties of
merchantability or fitness for a particular purpose. Except for the indemnification obligations set forth
above, in no event shall one party be liable to the other for tort, consequential, exemplary, special,
incidental, or punitive damages even if advised of the possibility of such damages. [Except for the
indemnification obligations set forth above, the liability of either party for any loss or damages directly or
indirectly suffered by other shall not exceed the aggregate fees and expenses paid to COMPANY by
BAYER pursuant to the Statement(s) of Work under which the liability arose.

4.7 No Inducement. The Services requested by and to be performed for BAYER represent
bona fide services and under no circumstances is the requisition of such Services, or the remuneration
therefor, meant to serve as an obligation, express or implied, to recommend, purchase, prescribe, arrange
for the use of, or otherwise support, any BAYER product or service.

SECTION FIVE. MISCELLANEOUS.

5.1. Notices. Any notice required pursuant to this Agreement shall be in writing, shall be sent by
registered or certified mail, or nationally recognized courier service, to the attention of the signatory to this
Agreement at the address set forth above, and shall be effective upon receipt. Either party may from time
to time change the address ta which notices to it are to be sent by notifying the other party, in writing, of
the change and the new address pursuant to this Section.

5.2 Governing Law. This Agreement and any SOW shall be governed by the laws of the State
of New Jersey, without giving effect to its conflict of laws provisions.

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§.3 Relationship of Parties. COMPANY shall be deemed for all purposes to be an
independent contractor and not an employee or agent of BAYER. COMPANY shall not have the authority
to enter into agreements or make representations on behalf of, or otherwise bind, BAYER. Neither
COMPANY nor, to the extent applicable, any employee of COMPANY, subcontractor or employee of a
subcontractor shall be eligible to participate in any employee benefit program of BAYER by reason of this
Agreement or the relationship between the parties created by this Agreement. In the event that
COMPANY cr, to the extent applicable, any employee of COMPANY, subcontractor or employee of a
subcontractor commences any legal action claiming any rights under any employee benefit program of
BAYER, COMPANY shall indemnify and hold BAYER and all other Indemnitees harmless from any and all
liabilities, losses, damages and expenses (including reasonable attorneys’ fees) arising from or related to
such action, except to the extent caused by the negligence or willful misconduct of BAYER. Except as
otherwise required by law, BAYER shall not withhold any sums from the remuneration paid hereunder for
Social Security or other federal, state or local tax liabilities or contributions. All withholdings, liabilities and
contributions shall be solely the responsibility of COMPANY. COMPANY'S obligations pursuant to this
Section 5.3 shall survive expiration or termination of this Agreement.

5.4 Entire Agreement. This Agreement and any SOW entered into hereunder constitutes the
sole and only agreement of the parties and supersedes any prior understandings or written or oral
agreements between the parties with respect to the subject matter of this Agreement or any SOW. No
alterations, amendments, changes or additions to, or waiver of any provision of, this Agreement or any
SOW will be binding upon either party unless reduced to writing and signed by both parties.

5.5 Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
of the parties and their respective successors and assigns. COMPANY shall not assign this Agreement or
any SOW or any of its rights hereunder or thereunder, or delegate any performance of the Services under
this Agreement or any SOW without the written consent of BAYER, and any purported assignment of
rights or delegation of performance in violation of this Section is void and of no effect.

5.6 Exhibits and Purchase Orders. To the extent that the provisions of any appendix or
exhibit attached to this Agreement or any Statement of Work, or any purchase order issued in connection
with this Agreement or any Statement of Work, are inconsistent or conflict with the terms hereof, the
provisions of this Agreement shall control, even if any such appendix, exhibit or purchase order is
executed by both parties.

5.7 Severability. If any provision of this Agreement or SOW shall be invalid or unenforceable in
any jurisdiction, such invalidity or unenforceability shall not affect the validity or enforceability of the
remainder of this Agreement or SOW or the validity or enforceability of this Agreement or SOW in any
other jurisdiction, and the parties shall negotiate in good faith to modify such provision so that it is valid or
enforceable to the parties.

5.8 Section Headings. The section and paragraph headings of this Agreement are for
convenience of reference only and shall not be construed as modifying or changing the obligations or
terms and conditions expressed in this Agreement.

5.9 Counterparts; Originals. This Agreement or any SOW may be executed in one or more
counterparts, each of which is an original, and all of which together constitute one and the same
instrument. Delivery of an executed counterpart's signature page of this Agreement or any SOW by
facsimile, electronic mail in portable document format (.pdf) or by other electronic means has the same
effect as delivery of an executed original of this Agreement or any SOW. A facsimile, digital, e-mail or
other electronic copy of this Agreement or any SOW shall suffice as an original Agreement or SOW.

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IN WITNESS WHEREOF, the authorized representatives of BAYER and COMPANY have
executed this Agreement to be effective as of the Effective Date.

BAYER HEALTHCARE PHARMACEUTICALS INC. AXTRIA, INC.

 

 

 

 

<? . . : Digitally signed by Christian Hoyvald
| ~ ¢ Christian Hoyvald eee ees

By: By: Date: 2016.04.19 09:30:38 -04'00"
Name: Peter Barschdorff Name: Christian Hoyvald
Title: Vice President, Business Insights Title: Principal

Reviewed

4/14/2016
Legal: HN
Finance:

 

 

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EXHIBIT A

Statement of Work
under
Master Services Agreement 9999999999

This Statement of Work (this “SOW”) is entered into as of [month, day, year] (“SOW Effective
Date”), by and between Bayer _ , with offices at 100 Bayer Blvd., P.O. Box 915,

Whippany, New Jersey 07981-0915 ("BAYER"), and [Name of Company] with offices at ___ [address of
Company] ("COMPANY"), pursuant to and subject to the Master
Services Agreement dated , as it may have been amended from time to time (the

“Agreement’).

 

1. Description and Scope of Specific Services; COMPANY will provide the following
services: , as further described in Appendix 4, which
is an integral part of this SOW. Such services will constitute “Services” as defined in the Agreement.

2. Deliverables. As described in Appendix 1. Any deliverables provided under this SOW
will constitute “Deliverables” as defined in the Agreement.

3. Fees for Services. For Services satisfactorily performed, BAYER will pay to COMPANY
the sum of $ , exclusive of expenses,

4. Expenses. BAYER will reimburse COMPANY at cost for reasonable expenses in

accordance with the Agreement.

5. Term. This SOW takes effect as of the SOW Effective Date and continues through
month day,year.

6. Incorporation by Reference. The provisions of the Agreement are incorporated herein
by reference and will govern the performance of the parties under this SOW.

7. Counterparts. This SOW may be executed in one or more counterparts, each of which
is an original, and all of which together constitute one and the same instrument. Delivery of an executed
counterpart's signature page of this SOW by facsimile, electronic mail in portable document format (.pdf)
or by other electronic means has the same effect as delivery of an executed original of this SOW.

IN WITNESS WHEREOF, the parties have indicated their acceptance of this SOW by the
signatures of their authorized representatives below.

 

 

 

 

 

BAYER [NAME OF COMPANY]
By: By:
Name: Name:
Title: Title:

Reviewed
Legal:
Finance:

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Exhibit B

Axtria, Inc. Hourly Rates

e Long-Term Resource Rates (>= 3 months duration)

 

FTE/Resource Type Blended Rate (hourly)

 

Off-Shore $41.67

 

 

 

On-Shore $109.25

 

 

° Short-Term Resource Rates (<3 months duration):
o Short-term resource rates will be equivalent to the Long-Term Resource Rates plus 20%

OK RF Ok

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Master Services Agreement
between
Axtria, Inc.
and

Quest Diagnostics Incorporated
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Quest

af va)
GS Diagnostics

MASTER SERVICE AGREEMENT

; . . 2/16/2016
This Master Service Agreement, effective (“Effective Date”), is

between Quest Diagnostics Incorporated, a Delaware corporation with offices at 3 Giralda Farms, Madison,
New Jersey 07940 (“Quest Diagnostics”) and Axtria, a Delaware corporation with offices at 400 Connell DR.,
Suite 1300, Berkeley Heights, NJ 07922 (“Axtria” or “Seller”).

BACKGROUND

Axtria provides analytics, technology and outsourcing services. Quest Diagnostics is interested in
obtaining services from Axtria. This Agreement sets forth the terms and conditions pursuant to which Axtria
will perform, and Quest Diagnostics will purchase, the services. The Parties agree as follows:

1. GENERAL PROVISIONS
1.1. Definitions

(a) Capitalized terms not otherwise defined in this Agreement have the meanings set
forth in this Subsection.

(b) “Agreement” is this Master Service Agreement, including all schedules, exhibits,
and attachments referenced in this Agreement and any reference in this Agreement to a Section, Article,
Schedule, Statement of Work, or Exhibit is to a Section, Article, Schedule, Statement of Work, or Exhibit of
this Agreement.

(c) “Applicable Laws” are the international, federal, state, and local laws, rules, and
regulations that relate to the conduct of the Parties’ businesses and their performance of their respective
obligations under this Agreement.

(d) “Authorized Representatives” are a Party’s officers, directors, employees, agents,
consultants, counsel, and advisors that the Party authorizes to act in its place and on its behalf under this
Agreement.

(e) “Business Day” is any day other than a Saturday, Sunday, or day on which the

Federal Reserve Bank of Philadelphia is closed.

(f) “Business Unit” is any (i) limited liability company, partnership, joint venture, or
other similar entity of which Quest Diagnostics is a party, (ii) licensed, clinical laboratory owned by Quest
Diagnostics, or (iii) subsidiary owned or controlled by Quest Diagnostics.

(g) “Contract Period” is defined in Subsection 2.1 [Contract Period], and any extension,
(h) “Dispute” is any dispute, controversy, or claim between the Parties arising out of or

under this Agreement or its performance.

(i) “Force Majeure Event” is an act or event, foreseen or unforeseen, that (i) prevents a
Party from performing it obligations under this Agreement (“Non-Performing Party”); (ii) is beyond the control
and not the fault of the Non-Performing Party, and (iii) the Non-Performing Party has been unable to avoid or
overcome the act or event by exercising due diligence. A Force Majeure Event does not include economic
hardship, changes in market conditions, or insufficiency of funds.

 

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ad 4 .
GS Diagnostics

(j) “Order” is any order issued by Quest Diagnostics, which may be: (i) a purchase order
or other document; (ii) a request placed using electronic data interchange or Axtria’s on-line website; (iii) in
emergencies, a request placed by telephone; or (iv) a request placed using a Quest Diagnostics-issued
procurement card.

(k) “Performance Management Criteria” are the agreed upon performance standards and
commitments that Axtria must provide under this Agreement.

(D “Performance Management Criteria Failure” is Axtria’s failure to meet any
Performance Management Criteria.

(m) “Purchasing Operations Center” is the Quest Diagnostics facility located in
Collegeville, Pennsylvania.

(n) “Records” are the books and records relative to Axtria providing the Services,
including prices, instructions, plans, receipts, invoices, vouchers, and manifests as well as any other records or
reports required under Applicable Laws.

(0) “Relationship Manager” is a Party’s Authorized Representative who will have
decision-making authority for the appointing Party regarding issues relating to this Agreement.

(p) “Service Location” is any location where Quest Diagnostics may require Axtria to
perform the Services.

(q) “Services” are the services that Axtria will provide or be required to provide
pursuant to this Agreement.

1.2. Eligible Purchasers

(a) Beneficiaries. Quest Diagnostics entered into this Agreement for its benefit and for
the benefit of its Business Units. Quest Diagnostics has the right to (i) purchase Services on behalf of any
Business Unit and (ii) authorize any Business Unit to purchase Services.

(b) Pre-Existing Agreement. If Quest Diagnostics acquires an entity with a pre-existing
agreement with Axtria (“Pre-Existing Agreement”), Quest Diagnostics will notify Axtria that the entity has
become a Business Unit. Quest Diagnostics may elect to terminate that Pre-Existing Agreement or have it
remain in effect through its stated expiration date. Any Pre-Existing Agreement that Quest Diagnostics elects to
terminate will terminate as of the date the entity became a Business Unit. There will be no adverse financial or
other consequences to Quest Diagnostics or the new Business Unit if Quest Diagnostics terminates that Pre-
Existing Agreement.

1.3. No Minimum Purchases

This Agreement is not a requirements contract nor does it guarantee any minimum purchase
by Quest Diagnostics. Quest Diagnostics’ failure to meet a specific purchase amount will not result in any
penalty or other obligation, financial or otherwise, to Quest Diagnostics.

2. CONTRACT PERIOD AND EXPIRATION OR TERMINATION
2.1. Contract Period

The Contract Period starts on the Effective Date and continues until! the earlier of (i) thirty-six
(36) months from the Effective Date or (ii) a Party terminates it as provided in this Agreement.

 

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or Diagnostics

2.2. Termination

(a) For Cause. Either Party may terminate this Agreement for cause. Cause exists to
terminate this Agreement if either Party defaults. A Party defaults if it fails to meet or perform any material
term, provision, agreement, or obligation contained in this Agreement. If a Party defaults, the non-defaulting
Party may give the defaulting Party written notice of the default (“Default Notice”). The defaulting Party has
ten days from the date of the Default Notice to cure the default (“Cure Period”). If, within the Cure Period, the
defaulting Party does not cure the default, the non-defaulting Party may seek any available legal or equitable
remedy available to it under Applicable Law. If, during the Cure Period, the defaulting Party cures the default,
this Agreement will remain in effect and the Default Notice will be void. If the defaulting Party does not cure
the default but makes substantial progress towards curing the default, the non-defaulting party may opt to void
the Default Notice or exercise any of the rights listed above.

(b) Other. A Party may terminate this Agreement as provided elsewhere in this
Agreement.

2.34 Transition Assistance Services upon Termination

“Transition Assistance Services” are the services that Quest Diagnostics may reasonably
request from Axtria to enable Quest Diagnostics to transition to another supplier or suppliers. If a Party
terminates this Agreement and Quest Diagnostics requests Transition Assistance Services, Axtria will provide
those Services for up to ninety days, or for a period agreed to by the Parties (“Transition Period”). During the
Transition Period, Axtria will maintain contracted pricing in force and Quest Diagnostics agrees to compensate
Axtria at such pricing for the Transition Assistance Services Rendered. All terms and conditions of this
Agreement remain in effect until the 90 day or agreed upon Transition Period expires.

 

3. SERVICES

3.1. Request for Services

During the Contract Period, Quest Diagnostics may ask Axtria to render Services in
accordance with this Agreement and pursuant to a Statement of Work agreed upon and executed by the parties
(the “Statement of Work”). Absent the execution of a Statement of Work, this Agreement does not, in and of
itself, represent a commitment by either Party to provide any minimum amount of fees or services.
Schedule 3.1 is the first Statement of Work.

3.2. Statement of Work

Each Statement of Work, when executed by the Parties’ Authorized Representative, becomes
part of, and subject to, all terms and conditions of this Agreement. If a conflict exists between the terms and
conditions of a Statement of Work and the terms and conditions of this Agreement, the terms and conditions of
this Agreement governs unless the Statement of Work expressly states that it is amending this Agreement.

3.3. Contents

The Parties will number each Statement of Work consecutively to facilitate identification.
Each Statement of Work shall identify Axtria’s project manager and may include (i) a description of the
Services, (ii) the place and duration of the Services; (iii) acceptance criteria; (iv) milestones for completing the
Services, (v) specifications and documentation for any Deliverable; (vi) fees and payment schedule, and
(vii) any other terms that the Parties agree to include.

3.4. Performance

(a) Performance. Axtria will perform all Services in a competent, workmanlike,
expeditious, and professional best efforts manner, and meet the applicable standard of care of similar
professionals. If Axtria has access to or controls the operation of any Quest Diagnostics information system,

 

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network, or website, Axtria will abide by all Quest Diagnostics security, operating, and safety procedures in
effect during the Contract Period. Quest Diagnostics may immediately terminate this Agreement effective upon
notice to Axtria if Axtria materially breaches any Quest Diagnostics security, operating or safety procedures,
reserving cumulatively all other rights and remedies available at law and in equity.

(b) Contractors; Key Persons. Axtria will not, without Quest Diagnostics’ prior written
consent, use any contractor, subcontractor, or other person not employed by Axtria to perform Services for
Quest Diagnostics, provided, however, such contractor, subcontractor or other person not employed by Seller:
(a) will solely provide indirect services in support of this Agreement, including, but not limited to email, phone
system or servers and (b) does not have access to the Confidential Information of Quest Diagnostics. If ’s
Statement of Work designates an employee or agent of Axtria as a “Key Person,” Axtria shall not remove the
Key Person from performing Services or substantially reduce his or her involvement in performing the Services
without Quest Diagnostics’ advance written consent.

3.5. Expenses

Axtria is responsible for all ordinary and reasonable expenses that it may incur in connection
with this Agreement. Quest Diagnostics will, however, reimburse Seller for expenses, including transportation
and lodging expenses, for out-of-town travel on Quest Diagnostics business previously approved in writing by
Quest Diagnostics. Quest Diagnostics will not reimburse Axtria for expenses for its local employees,
Authorized Representative, or agents incur in traveling to and from work. All travel must comply with Quest
Diagnostics’ travel policy.

Axtria shall provide Quest Diagnostics with itemized statements of reimbursable expenses with receipts
attached for any single expenditure in excess of twenty-five US Dollars (USD $25) upon request. Each
statement shall contain the Agreement and the applicable Statement of Work numbers under which the expenses
were incurred. The following expenses are allowed:

1. Airfares: at the lowest rate available not to exceed coach

2. Automobile, Mileage: at the per mile rate in effect by the Internal Revenue Service for actual
miles traveled in the performance of Services

3. Automobile, Rental:
e where necessary in the performance of Services
e subcompact or compact shall be used unless more than four people share the same car;
e where two or more Seller Employees are at the same site in connection with one Purchase
Order, one car shall be shared by up to four individuals

4. Meals & Lodging: shall not exceed the Per Diem rates listed with the site:
http://www.gsa.gov/portal/category/100120
per day per person

3.6 Quest Diagnostics Policies

Without limiting any of Axtria’s other obligations, Axtria shall, and shall ensure that its
employees and contractors shall, at all times in performing their obligations hereunder: (i) act consistently with
the principles of Quest Diagnostics’ Code of Business Ethics set out at www.questdiagnostics.com, as it may be
amended from time to time; and (ii) if Axtria has knowledge or a good faith belief that Quest Diagnostics or
any of its employees or representatives is violating or has violated any law, regulation, company policy or
ethical guideline, promptly report the information to the Vice President, Compliance or the Senior Vice
President and General Counsel of Quest Diagnostics, who may be reached through Quest Diagnostics’ website.

 

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4. FEES

4.1. Service Fees. The applicable Fee Schedule, Schedule 3.1, will set forth the hourly rates for the
Services.
5. INVOICES, PAYMENT TERMS, AND INVOICE DISPUTES

5.1. Invoices

(a) Format. Axtria will invoice Quest Diagnostics by electronic data interchange, within
thirty days after the end of each calendar month or according to the schedule specified in a Statement of Work.
Quest Diagnostics will not accept third party invoices. Axtria’s invoice must reference the Quest Diagnostics
Statement of Work number and the prices charged must conform to the prices listed in the applicable Statement
of Work. Axtria’s failure to follow these requirements may result in delayed payments by Quest Diagnostics
and, upon written notice and a failure to cure such defect, Axtria will have no right to declare a breach or to
treat as a late payment.

(b) Final Invoice. At termination, Axtria will submit its invoice to Quest Diagnostics
within one month for any amounts accrued as of the expiration or termination date except to the extent
otherwise authorized in the Statement of Work or by Quest Diagnostics in writing.

(c) If either Party terminates this Agreement before the end of any term, Axtria shall
reimburse Quest Diagnostics the pro rata portion of any pre-paid fees it paid or per the Statement of Work when
such termination reimbursement language is included for the Services through the termination (or any
Transition Period, as the case may be).

5.2. Payment Terms/Invoice Disputes

(a) Payment Terms. Except as provided below, Quest Diagnostics will pay Axtria net 60
days end of month. “Net 60 days end of month” as used herein means that the applicable monthly invoice must
be paid by the end of the calendar month that is 60 days from the date of the applicable monthly invoice. For
example, a monthly invoice dated January 1 would be payable by March 31; a monthly invoice dated January
25 would also be payable by March 31.

(b) If Quest Diagnostics makes a payment in error, Quest Diagnostics reserves the right
to adjust later payments to Axtria to compensate for the error, notwithstanding the fact that later payments
might be unrelated to those Services for which Quest Diagnostics made the erroneous payment.

(c) If Quest Diagnostics disputes Axtria’s invoice, Quest Diagnostics will notify Axtria
and specify the reasons for the Dispute prior to the payment date of the invoice. The Parties’ Authorized
Representatives will meet by telephone or in person to discuss the Dispute and work to resolve it. If the Parties
are unable to resolve a Dispute within 45 days after Quest Diagnostics sends Axtria the Dispute notice, either
Party may seek to resolve the Dispute in accordance with the Dispute Resolution provisions in Subsection 15.2.
Once the Parties resolve the Dispute, Quest Diagnostics will remit any amounts it owes to Axtria within ten
Business Days. An invoice Dispute does not relieve Axtria of its performance obligations under this Agreement
during the dispute period.

5.3. Taxes

(a) Parties’ Responsibilities. Each Party is responsible for any personal property taxes or
real property taxes on property it owns, for franchise and privilege taxes on its business, for doing business
taxes, for taxes based on its income, gross receipts, or capital, and for any employment, payroll, unemployment,
workers compensation, withholding taxes, or any other taxes on its own employees.

 

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(b) Axtria’s Responsibilities. Axtria is responsible for any sales, use, transfer, value-
added, goods and services, services, consumption, and other taxes and duties (“Taxes”), including any excise
taxes imposed on it in the conduct of its own business, on the goods or services used or consumed by Axtria in
providing the Equipment and Services.

(c) Quest Diagnostics’ Responsibilities. Quest Diagnostics is responsible for any Taxes
imposed by Applicable Law on the Equipment it purchases and Services it receives from Axtria.

(d) Cooperation. If a taxing authority assesses Taxes on the Equipment, the Parties will
segregate the payments into two payment streams: one for taxable Equipment and the other for nontaxable
Equipment. The Parties will cooperate to enable each to determine its own tax liability and to minimize its
liability to the extent legally permissible. Each Party will provide and make available to the other any
exemption certificates, any applicable tax forms such as IRS Forms W-9/W-8BEN, information regarding the
Equipment, or other information reasonably requested by the other Party. Quest Diagnostics shall be entitled to
deduct from any payments hereunder any withholding taxes that Quest Diagnostics is required under Applicable
Law to remit on behalf of Axtria.

6. WARRANTIES

6.1. Seller’s representations, warranties, and covenants pertaining to the Services will survive any
inspection by Quest Diagnostics.

6.2. Seller represents, warrants, and covenants to Quest Diagnostics, its successors, assigns and
customers that Seller shall render the Services in a timely, professional, and workmanlike manner that conforms
to generally accepted industry standards and procedures for similar services.

6.3. Seller represents, warrants, and covenants to Quest Diagnostics, its successors, assigns and
customers that the Services conform to the representations Seller made to Quest Diagnostics in Seller’s
response, if any, to Quest Diagnostics’ Request for Proposal or in connection with soliciting or negotiating this
Agreement, including facts concerning Seller, its capabilities and personnel; and any statements in any proposal
or similar document provided by Seller.

6.4. Seller represents, warrants, and covenants to Quest Diagnostics, its successors, assigns and
customers that it will render its performance under this Agreement in a timely, professional, and proficient
manner and that Seller’s personnel assigned to perform Services has the proper skill, training, and background
to perform the Services in a competent and professional manner

6.5. The Warranty Period for the Services is thirty (30) days unless a longer period is agreed upon
in writing as per the applicable Statement of Work.

le CUSTOMER SERVICE

7.1. Seller will maintain a sufficiently trained and qualified customer service department to
respond to general inquiries and provide readily available support related to the Services at no additional cost to
Quest Diagnostics.

7.2. On Business Days, Seller’s customer service representatives will answer incoming calls from
«time» AM until «time» PM («TimeZone» time) within one minute from the time the telephone begins to ring.
If the customer service representative cannot answer the inquiry at the time of the call, Seller will provide a
response to the inquiry no later than one hour from the time of the initial call.

 

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8. PERFORMANCE STANDARDS
8.1. Performance Management Criteria
(a) Performance Management Criteria are the agreed upon performance standards and

commitments that Seller must provide under this Agreement.

(b) Performance Management Criteria include any specific minimum performance
objective for Seller, as set forth in each Statement of Work and any performance objectives or standards that
Seller advertises it maintains or provides generally to its customers and potential customers or that Seller
specifically represented in its response, if any, to Quest Diagnostics’ Request for Proposal. Seller will monitor
all Performance Management Criteria in a manner sufficient to detect any potential Performance Management
Criteria Failures and will put procedures in place to prevent Performance Management Criteria Failures.

8.2. Performance Management Criteria Failures

(a) If Seller detects a potential Performance Management Criteria Failure or fails to
meet any Performance Management Criteria, Seller will promptly investigate and report to Quest Diagnostics’
Relationship Manager the reasons for the Performance Management Criteria Failure. After investigating the
Performance Management Criteria Failure, Seller shall advise Quest Diagnostics’ Relationship Manager of the
status of remedial efforts Seller is taking with respect to the Performance Management Criteria Failure.

(b) Seller shall promptly correct the root cause for the Performance Management
Criteria Failure to the extent Seller is responsible and begin meeting the Performance Management Criteria as
soon as practicable thereafter. Seller shall take appropriate preventive measures to reduce the potential for the
Performance Management Criteria Failure to recur. Seller shall document all proposed corrective actions and
submit them to the Quest Diagnostics Relationship Manager for approval.

9. RELATIONSHIP MANAGERS, MEETINGS, AND REPORTS
9.1, Relationship Managers/Meetings

(a) Each Party will designate a Relationship Manager. The Relationship Managers are
responsible for communications between the Parties about the relationship.

(b) Each Party will consult with the other before appointing a new Relationship
Manager. The Quest Diagnostics Relationship Manager may be the Sourcing Manager for the Services.

(c) During the Contract Period, the Parties will meet quarterly at a mutually agreeable
time and place or by telephone to review and discuss, in good faith, the Parties’ performance as well as issues or
concerns arising under this Agreement. The Relationship Managers may invite other members of their
organizations to participate in these meetings from time to time.

9,2. Reporting

(a) At a minimum, Seller must provide a Performance Management Criteria
performance and diversity report. Seller will deliver the reports required in this Subsection to the Relationship
Manage unless otherwise indicated. Seller will deliver the reports in an electronic format agreed to by the
Parties, on a monthly basis, as requested in writing from Quest Diagnostics’ Relationship Manager, or as
otherwise specified in this Agreement.

(b) The Performance Management Criteria performance report will provide data on
Seller’s performance in the month just ended as well as comparisons to previous months’ performance. The
report will include agreed upon trending and statistical analysis.

 

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(c) The Diversity report will provide information regarding monies spent with suppliers
who are qualified Minority-Owned Businesses, Service Disabled Veteran Businesses, Veteran Owned
Businesses, businesses with an 8(A) Designation, or Woman-Owned Businesses. Seller must provide this report
quarterly.

(d) Any Business Unit may submit written requests for additional or different reports
from time to time. Upon receiving a request from a Business Unit, Seller will evaluate the request to determine
whether it can provide the report and provide an estimate regarding the time and effort required to produce the
report. If Seller can provide the report, Seller will promptly advise the Business Unit and will make the report
available as soon as reasonably practicable, but in no event later than thirty days after notifying the Business
Unit that Seller can provide the report.

10. COMPLIANCE WITH LAWS
10.1. Applicable Laws

(a) Each Party must comply with all Applicable Laws. Either Party may consider the
other Party’s failure to comply with any Applicable Law to be a material breach of this Agreement.

(b) Each Party represents that it is not an Excluded Provider. For purposes of this
subsection, an “Excluded Provider” is a person or entity (a) convicted of a criminal offense related to health
care or (b) currently listed by a federal agency as debarred, excluded, or ineligible to participate in federally
funded health care programs. A Party will notify the other Party in writing within five days after any change in
this representation or if circumstances change to render this representation false during the Contract Period. Any
change in circumstances will constitute cause by the other Party to terminate this Agreement immediately. For
purposes of this Subsection, the terms “Quest Diagnostics” and “Axtria” include the entity entering into this
Agreement and the entity’s parent, principals, shareholders, directors, and officers and any employees or agents
of that entity.

10.2. Compliance with Massachusetts Standards for the Protection of Personal Information (201
CMR 17.00). In performing the Services, Axtria may have access to Personal Information of Massachusetts
residents. “Personal Information” under 201 CMR 17.00 is defined as an individual’s name associated with
their social security number or drivers license or other state-issued ID card, or with a financial account or credit
card number. To the extent this law applies to information accessed by Axtria, in accordance with the
requirements of 201 CMR 17.00, Axtria must implement and maintain appropriate safeguards to protect the
Personal Information that Axtria accesses. This obligation survives termination of this Agreement, to the extent
that Axtria may have any Personal Information after the termination of this Agreement.

10.3. Privacy and Security Requirements. The provisions applicable to privacy and security of
patient health information are set forth in Schedule 10.3, which provisions are incorporated as if fully set forth
herein.

10.4. EEO, Affirmative Action, and Small Business

Axtria hereby certifies that all Equipment produced or manufactured, or Services provided in
the United States are produced, manufactured, or provided in compliance with applicable United States
government requirements, orders, and regulations pertaining to nondiscrimination, equal employment
opportunity, and affirmative action, as amended from time to time, including: the Federal Fair Labor Standards
Act of 1938, as amended, Title VII of the Civil Rights Act, as amended, the Age Discrimination in Employment
Act of 1967, as amended, Section 503 of the Rehabilitation Act of 1973, as amended, Executive Order 11246,
the Vietnam Veterans’ Readjustment Assistance Act of 1974, as amended, the Occupational Safety and Health
Act of 1970, as amended (“OSHA”), (in the event of a conflict between the requirements of OSHA and any
industry codes or standards applicable to this Agreement, the more stringent requirement shall apply), the Noise
Control Act of 1972, all applicable environmental laws and regulations, including without limitation, the Solid

 

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Waste Disposal Act, as amended by the Resource Conservation and Recovery Act of 1976, and the standards of
accessibility set forth in Section 402 of the Americans with Disabilities Act, and the rules, regulations and
orders pertaining to the above. To the extent Axtria will provide services to Quest Diagnostics in direct support
of a federal government contract, the following Federal Acquisition Regulations may apply: (i) 52.203-13,
Contractor Code of Business Ethics and Conduct (Apr 2010) (Pub. L. 110-252, Title VI, Chapter 1 (41 U.S.C.
251 note)); (ii) 52.219-8, Utilization of Small Business Concerns (Jul 2013) (15 U.S.C. 637(d)(2)); (iii) 52.222-
17, Nondisplacement of Qualified Workers (JAN 2013) (E.O. 13495); (iv) 52.222-26, Equal Opportunity

(Mar 2007) (E.O. 11246); (v) 52.222-40, Notification of Employee Rights Under the National Labor Relations
Act (Dec 2010) (E.O. 13496); (vi) 52.222-41, Service Contract Act of 1965 (Nov 2007) (41 U.S.C. 351,

et seq.); and, (vii) 52.222-50, Combating Trafficking in Persons (Feb 2009) (22 U.S.C. 7104(g)). In addition,
the following government regulations may apply: FAR 52.222-35, Equal Opportunity for Veterans

(Sep 2010) (38 U.S.C. 4212), also found at 41 CFR 60-300.5(a), and FAR 52.222-36, Affirmative Action
for Workers with Disabilities (Oct 2010) (29 U.S.C. 793), also found at 41 CFR 60-741.5(a), which
regulations prohibit discrimination against qualified protected veterans and qualified individuals on the
basis of disability, and requires affirmative action by covered prime contractors and subcontractors to
employ, and advance in employment, qualified protected veterans and individuals with disabilities. In the
event that there are changes or additions to the preceding regulations based on the performance of federal
government contracts, Quest Diagnostics may unilaterally amend this Agreement for purposes of complying
with the changes or additions by sending a notice of amendment to Axtria .

11. CONFIDENTIALITY
11.1. Definitions

(a) “Confidential Information” is information or materials disclosed by or on behalf of,
Disclosing Party relating to Disclosing Party’s business or operations that is (i) not generally known other than
by Disclosing Party, and (ii) Receiving Party learns about due to entering into this Agreement or due to the
relationship between the Parties. Confidential Information includes the existence and terms of any negotiations
between the Parties, and the terms and conditions of this Agreement. Confidential Information also includes
information relating to pricing; inventory levels; Product specifications; prototypes; marketing techniques and
materials; marketing plans; timetables; strategic and development plan; organizational, technical, and financial
data; personnel statistics; customer and patient information; trade secrets; organizational structure; business
plans; and financial information whether discussed orally or in writing.

(b) “Disclosing Party” is the Party disclosing Confidential Information to Receiving
Party.
(c) “Receiving Party” is the Party (or its Authorized Representatives) receiving

Confidential Information from Disclosing Party.

11.2. Confidentiality Obligations

(a) Receiving Party shall hold in confidence and not to disclose Confidential
Information received to any person or entity except for Receiving Party’s Authorized Representatives and only
to the extent necessary to perform the Receiving Party’s duties and obligations, or to enforce its rights under
this Agreement. Each Party shall advise its Authorized Representatives of the confidentiality requirements in
this Agreement and shall require them to comply. Each Party is responsible for any breach of this Agreement by
its Authorized Representatives. Receiving Party shall use Disclosing Party’s Confidential Information solely for
the purposes set forth in this Agreement.

(b) Receiving Party shall limit dissemination of Disclosing Party’s Confidential
Information to its Authorized Representatives who have a need to know the information for the purposes set
forth in this Agreement. During the Contract Period and for two years thereafter each Party shall maintain

 

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appropriate and adequate safeguards, policies, and procedures to protect Confidential Information against
unauthorized use, disclosure, alteration, or destruction.

11.3. Exclusions

(a) Confidential Information does not include information independently developed by
Receiving Party and that development can be documented;

(b) Confidential Information does not include information known to Receiving Party
before receiving it pursuant to this Agreement and that knowledge can be documented;

(c) Confidential Information does not include information released from the obligation
of confidentiality by agreement of the Parties;

(d) Confidential Information does not include information later obtained from a third
party without an obligation of confidentiality or secrecy; or

(e) Confidential Information does not include information that is or subsequently
becomes public knowledge through no fault of Receiving Party.

11.4. Permitted Disclosures

(a) Receiving Party may disclose Confidential Information when required to do so by
court order. If required by a court order to disclose Confidential Information, Receiving Party shall promptly
notify Disclosing Party of the need for the disclosure and give Disclosing Party a reasonable time, if possible, to
oppose the process. In addition, Disclosing Party may disclose only the minimum amount of Confidential
Information required to comply with the court order.

(b) The confidential nature of Confidential Patient Information does not expire.

11.5. Intellectual Property.

(a) Subject to Section (b) below, the Deliverables shall be considered works made for
hire under the United States copyright laws and shall become the exclusive property of Quest Diagnostics upon
payment of any amount due. To the extent that any such materials, under applicable law, may not be considered
works made for hire or all right, title, and interest therein and thereto may not be otherwise considered to have
fully, irrevocably, and unconditionally vested in Quest Diagnostics, Seller hereby irrevocably and
unconditionally assigns to Quest Diagnostics all right, title, and interest, including all copyrights, patent rights,
trade secrets, trademarks, moral rights, and all other intellectual property and proprietary rights, in and to all
such materials, without the necessity of any further action or consideration. Seller agree, at the request of Quest
Diagnostics, to execute and deliver such documents as in the opinion of Quest Diagnostics are necessary or
desirable to evidence further Quest Diagnostics ownership interest. If Seller has any rights to the Deliverables
that cannot be assigned to Quest Diagnostics, Seller unconditionally and irrevocably: (i) waives the enforcement
of such rights; and (ii) grants to Quest Diagnostics an exclusive, irrevocable, perpetual, worldwide, royalty-free
license to reproduce, create derivative works of, distribute, publicly perform and publicly display such
Deliverable, by all means now known or later developed, with the right to sublicense such rights.

(b) Notwithstanding anything in Section (a) to the contrary, Seller will at all times retain
and have sole and exclusive title to and ownership of any software, methodologies, tools, configurations,
specifications, techniques or documentation which are utilized by Seller in the performance of Services
hereunder whether created before, during or after the performance of this Agreement, but not including any
confidential information of Quest Diagnostics, together with any and all additions, enhancements,
improvements or other modifications thereto which do not include the confidential information of Quest
Diagnostics (collectively “Pre-Existing IP”), and all copyright, trademark, patent and other intellectual property

 

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tights related to any of the foregoing. If and to the extent that any Pre-Existing IP is embodied in the
Deliverables or required for use in connection with the Deliverables, Seller hereby grants to Quest Diagnostics
and its Affiliates, an irrevocable, perpetual, non-exclusive, worldwide, royalty-free, right and license to use,
reproduce, create derivative works of, distribute, publicly perform and publicly display such Pre-Existing-IP
with the right to sublicense such rights, solely as part of or in connection with the use of the Deliverables per the
terms hereunder.

12. INDEMNIFICATION
12.1. Definitions
(a) “Claim” — any claim, demand, action, suit, or proceeding whether civil, criminal,

administrative, or investigative, in which either Party may be involved, or threatened to be involved as a Party,
that may give rise to the other Party’s indemnification obligation.

(b) “Indemnifiable Losses” means the aggregate of Losses and Litigation Expenses.
(c) “Litigation Expenses” are any court filing fees, court costs, mediation fees or costs,

witness fees, and the cost of investigating and defending or asserting any Claim, including reasonable attorneys’
fees, other professionals’ fees, and disbursements.

(d) “Losses” are any liabilities, losses, claims, settlement payments, costs and expenses,
interests, awards, judgments, damages, fines, fees and penalties, or other charge, other than a Litigation
Expense.

(e) “Quest_ Diagnostics Indemnified Parties” are (i) Quest Diagnostics, (ii) Quest

 

Diagnostics’ subsidiaries, affiliates, assignees, employees, officers, and directors, and (iii) all subsidiaries,
affiliates, employees, officers, and directors of Quest Diagnostics’ subsidiaries, affiliates, and assignees.

(f) “Sellers Indemnified Parties” are (i) Seller, (ii) Seller’s subsidiaries, affiliates,
assignees, employees, officers, and directors, and (iii) all subsidiaries, affiliates, employees, officers, and
directors of Seller’s subsidiaries, affiliates, and assignees.

12.2. Indemnification Obligations

(a) A Party will indemnify and hold the other Party harmless from and against any
Indemnifiable Losses incurred in connection with a Claim arising out of or relating to (i) a Party’s acts or
omissions in connection with this Agreement; (ii) personal injury or property damage related to or caused by:
(A) the Party’s negligence or willful misconduct; (B) the negligence or willful misconduct of the Party’s
employees, agents, contractors, or subcontractors; and (iii) the infringement (or any claim of infringement) of
any intellectual property or other proprietary rights (including patents, copyrights, trademarks, and trade
secrets). Notwithstanding the foregoing, the indemnity obligations under this Section 12 shall not apply to the
Seller to the extent that any infringement or claim thereof is based upon: (i) the combination, operation or use of
the Services or any deliverables in combination with equipment or software not supplied or recommended by
Seller hereunder where the Services or any deliverables would not themselves be infringing, (ii) compliance
with designs, specifications or instructions provided by the Quest Diagnostics’ Indemnified Parties or any third
parties working at the direction of the Quest Diagnostics’ Indemnified Parties, (iii) use of the Services or any
deliverables in an application or environment for which it was not designed or not contemplated under this
Agreement, or (iv) modifications of a Services or any deliverables by anyone other than Seller where the
unmodified version of the Services or any deliverables would not be infringing.

 

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(b) Seller will indemnify and defend Quest Diagnostics’ Indemnified Parties against all
Indemnifiable Losses and defend Quest Diagnostics against Claims arising out of the negligence or willful
misconduct of the Seller.

12.3. Procedural Issues

(a) A Party is not obligated to defend or indemnify the other Party’s Indemnified Parties
for any Indemnifiable Losses if those losses arise from the Indemnified Parties’ negligence or willful
misconduct.

(b) The Party seeking indemnification (“Indemnified Party”) will give Indemnifying
Party prompt notice of any Claim. Indemnified Party will cooperate with Indemnifying Party, at Indemnifying
Party’s expense, by complying with its reasonable instructions and requests in connection with the preparation
for and defense of the Claim. Indemnified Party, at its option and expense, may hire counsel to assist in
defending the Claim.

(c) Indemnifying Party will not compromise or settle any Claim that affects Indemnified
Party adversely or admits any matter concerning the Indemnified Party without the Indemnified Party’s prior
written consent. Indemnified Party’s failure to provide Indemnifying Party with prompt written notice of a
Claim will not discharge Indemnifying Party’s indemnification obligations under this Section unless the failure
or delay in providing the notice materially prejudices its ability to defend the Claim.

12.4. Infringement Remedy

(a) If commercially reasonable, Seller will, at its sole cost and expense: (i) obtain any
rights necessary to enable Quest Diagnostics to continue to use the Services or (ii) modify the Services so that
they do not infringe while continuing to meet the required specifications.

(b) If these options are not available, Seller shall refund to Quest Diagnostics all monies
it paid for the infringing Service.

13. INSURANCE, LIMITS

During the Contract Period and for twelve months thereafter, Seller must maintain the types and levels
of insurance sufficient to cover Seller’s obligations under this Agreement, in amounts not less than $1,000,000
per occurrence and $3,000,000 in the aggregate. If Seller carries insurance on a claims-made basis, Seller must
maintain the insurance for so long as a Party may make claims legally with respect to occurrences during the
Contract Period. Except as expressly set forth herein, Seller makes no further representations or warranties of
any kind whatsoever, express or implied. Seller specifically disclaims any implied warranties of
merchantability or fitness for a particular purpose. In no event shall one party be liable to the other for
exemplary, consequential, incidental, special, or punitive damages even if advised of the possibility of such
damages. Except for the indemnification obligations set forth above, the liability of either party for any loss or
damages directly or indirectly suffered by other shall not exceed the aggregate fees paid to Seller by Quest
Diagnostics pursuant to the Statement of Work under which the liability arose.

14. RECORDS

Seller must maintain complete and accurate Records, in accordance with generally accepted accounting
principles, to substantiate Seller’s charges and expenses under this Agreement. Seller will maintain the Records
in accordance with accepted industry information storage practices and record retention periods applicable to
Seller’s business and the health care industry, in compliance with Applicable Laws and in accordance with
sound accounting practices, consistently applied.

 

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15. MISCELLANEOUS
15.1. Notices

(a) Any notices or communications required or contemplated by this Agreement must be
in writing and sent, properly addressed to the other Party at its address listed below or to any other Name or
address as a Party may specify to the other Party in writing delivered in accordance with this Section. Notice is
effective upon delivery.

(b) Unless otherwise specified in this Agreement, the Parties must send any notices or
communications by a nationally recognized delivery service; or certified or registered mail, postage prepaid,
return-receipt requested.

 

1201 South Collegeville Road

To Quest Diagnostics: Collegeville, PA 19426

Attention: Sourcing Manager, Commodity
3 Giralda Farms

With a copy to: Madison, New Jersey 07940

Attention: General Counsel

Axtria, Inc

400 Connell DR., Suite 1300

 

 

 

 

 

 

 

Tolsellens Berkeley Heights, NJ 07922
Attn: President
Axtria, Inc
With a copy to: 400 Connell DR., Suite 1300
Py fo: Berkeley Heights, NJ 07922
Attn: Legal
15.2. Dispute Resolution/Governing Law
(a) This Subsection sets forth the exclusive dispute resolution procedures for any
Dispute.
(b) Any dispute must first go to the Relationship Managers who will work to resolve the

Dispute. If the Relationship Managers cannot resolve the Dispute, the Parties will escalate the Dispute to
persons who have authority to settle the controversy. These persons must meet within ten Business Days after
one Party notifies the other in writing about the Dispute (“Notice of Dispute”). All negotiations pursuant to this
clause are confidential and the Parties shall treat the negotiations as settlement negotiations.

(c) If the Parties cannot or do not resolve the Dispute by negotiation within thirty days
after delivery of the Notice of Dispute, the Parties must endeavor to settle the dispute by mediation. In
mediating the Dispute, the Parties will work under the CPR Mediation Procedure. If one Party fails to
participate in the negotiation, the other Party may initiate mediation prior to the expiration of the thirty days. All
negotiations pursuant to this clause are confidential and the Parties shall treat them as settlement negotiations.
Each Party will bear its own costs and expenses. The Parties will bear the costs and expenses related to the
mediation equally.

(d) If the mediation does not resolve the Dispute negotiation or mediation, the Parties
will submit the Dispute to arbitration. The Rules of the International Institute for Conflict Prevention and
Resolution for Non-Administered Arbitration (“CPR”) then currently in effect will apply. Three independent
and impartial arbitrators will conduct the arbitration. Each Party will select one arbitrator who will in turn select
the third arbitrator. The information obtained via the arbitration process, including discovery documents,
evidence, testimony and the award, and may not be disclosed by the Parties, CPR, or any other participants to
the arbitration to any third Party any except as required by law. The Federal Arbitration Act will govern the
arbitration. Any court having jurisdiction may enter judgment upon the award rendered by the arbitrators. The
place of the arbitration shall be New York City, New York. The arbitrators will have no authority to award

 

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punitive damages or any damages other than actual damages. The arbitrators’ rulings, findings, or awards must
conform to the provisions of this Agreement and Applicable Law.

(e) Before the Parties appoint the arbitrators, any person may request that a court of
competent jurisdiction grant interim measures of protection to: (i) preserve the status quo pending resolution of
the Dispute; (2) prevent the destruction of documents and other information or things related to the Dispute; and
(3) prevent the transfer, dissipation, or hiding of assets. No request for interim relief from a judicial authority is
incompatible with or a waiver of the right to arbitrate a Dispute. Once appointed, the arbitrators will have the
authority to modify any interim relief granted by a Court.

(f) Each Party shall bear its own costs and expenses and shall share equally the costs
and expenses related to the administration.

15.3. Use of Marks and Press Releases

(a) No Party may use another Party’s Name, insignia, symbol, trademark, trade Name,
or logotype (or any abbreviation or adaptation thereof) in any publications, press releases, promotional
materials, or other form of publicity without the other Party’s prior written consent. These restrictions do not
prohibit a Party from identifying another Party when required by Applicable Law or the Parties contemplated it
when drafting this Agreement.

(b) The Parties will not and will not permit their affiliates to issue or publish any press
release or make public announcements with respect to this Agreement or another Party, without the prior
written consent of that other Party.

15.4. General Provisions

(a) During the Contract Period and for one year thereafter, neither party shall solicit the
employment of any employee of the other party with which such party has had contact in connection with the
relationship arising under this Agreement. For purposes of this Section 15.4, a general solicitation of
employment by a party not specifically directed towards employees of the other party will not constitute
solicitation by the party

(b) A Force Majeure Event excuses, the Non-Performing Party from whatever
performance the Force Majeure Event prevents, but only to the extent prevented by the Force Majeure Event.
When the Non-Performing Party is able to resume performing its obligations, it will immediately give the other
Party written notice to that effect and resume performing its obligations no later than two working days after
sending the notice. If the Force Majeure Event extends beyond thirty days, the other party will have the right to
terminate this Agreement, without penalty, upon written notice to the Non-Performing Party. Further, during
any Seller’s excused period of non-performance, Quest Diagnostics may procure the Services, as needed, from
other vendors, without penalty.

(c) Expiration or termination of this Agreement for any reason does not relieve the
Parties of rights accrued or obligations incurred prior to the effective date of expiration or termination. In
addition to any provisions that by their nature are intended to survive termination or that contemplates
performance or observance subsequent to termination or expiration of this Agreement, the provisions of
Sections 1, 2, 4, 5, and 10-15 will survive expiration or termination of this Agreement.

(d) The Parties are independent contractors engaged in the operation of their own
respective businesses. No Party is a fiduciary, agent, Authorized Representative, or employee of another. No
Party has authority to enter into contracts or assume any obligation for or on behalf of another Party or to make
any warranties or representations for or on behalf of another Party.

 

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(e) If a court of law or arbitral panel holds any provision unenforceable, the remaining
provisions will continue in effect. If possible, the Parties will amend this Agreement to modify any
unenforceable provision to render it valid and enforceable and to preserve, as much as is reasonably practicable,
the original intent of the unenforceable provision.

(f) No Party may assign its rights or delegate its duties or obligation under this
Agreement to a third party without the prior written consent of the other Party. However, either Party may
assign this Agreement (or any of its rights or interest) to a successor entity to which the assigning Party
transfers or assigns all or substantially all of its assets. The assigning Party will provide written notice to the
other Party of the assignment and will remain liable for the assignee’s performance of its duties or obligations
under this Agreement.

(g) This Agreement constitutes the entire agreement between the Parties concerning its
subject matter and supersedes all prior written or oral agreements or understandings between the Parties
concerning its subject matter. Modifications to this Agreement must be in writing and signed by the Parties’
Authorized Representatives.

(h) No waiver of any breach or failure by either Party to enforce any of the terms or
conditions of this Agreement will limit or waive the Party’s right to enforce and to compel strict compliance
with every term and condition nor will it constitute a waiver by the Party of its rights in equity or under
Applicable Law. The rights and remedies provided in this Agreement are cumulative and are in addition to any
other rights and remedies available to the Parties at law and in equity.

(i) The Parties may execute this Agreement in one or more counterparts each of which
constitutes an original, and all of which, collectively, constitute one agreement. This Agreement is binding
when each Party has signed one or more counterparts. The signature of all Parties need not appear on the same
counterpart.

Gj) Each Party had its own counsel or access to counsel during the negotiation and
drafting of this Agreement. The Parties negotiated the words used in this Agreement. Neither Party is a
fiduciary of the other. The fact that a particular Party drafted the language at issue shall not be a consideration
when resolving any ambiguity in this Agreement. If provisions in this Agreement conflict with provisions in a
Schedule or Exhibit, the provisions of this Agreement control, unless the Schedule or Exhibit expressly states
that it will control.

(k) Prohibition against Gifts
(i) Seller may not offer gifts or other items of value including cash, free goods,
merchandise, tickets to sporting or entertainment events, special discounts, honoraria, liquor, food products,
personal services, preferential treatment, reimbursement, or payment for travel expenses, lodging, or meals to
Quest Diagnostics employees, representatives, officers, or directors or to their family members (“Gifts”).
Promotional items or items of minimal value such as pens, caps, mugs, and t-shirts are not Gifts.

(ii) Compliance with this provision is a condition of doing business with Quest
Diagnostics. If Seller does not comply with the requirements of this provision, Quest Diagnostics may consider
it a material breach of this Agreement regardless of whether the Quest Diagnostics employee accepted the gift
or benefit. If Seller breaches the requirements of this Subsection, Seller has thirty days to cure the breach after
receiving notice from Quest Diagnostics describing the incident. If, after thirty days, Seller has not or cannot
cure the breach, Quest Diagnostics has the right to terminate this Agreement and any other agreements it has
with Seller.

(iii) Seller shall cooperate with Quest Diagnostics in investigating any incident
in which a Quest Diagnostics employee accepted a Gift offered by Seller’s employee. Seller’s cooperation

 

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would include making the employee who made the offer available to Quest Diagnostics, under agreed upon

terms and conditions, to answer questions about the incident.

The Parties intend to abide by this Agreement’s

terms and condition, understand that it binds them

legally, and represent that the individuals executing this Agreement have the authority to bind their respective

 

 

entities.
AXTRIA QUEST DIAGNOSTICS INCORPORATED
DocuSigned by: DocuSigned by:
by: Dawid. Wood wy { tle mas Ul. Plows
DOESDD8B475A417. e004 SAARRAA:
Print Name: David Wood Print Name: omas "A. Plungis
Title: Sr. Principal Title: Executive Director - Supply Mgmt
Date Signed: 2/16/2016 Date Signed: aAle20uG

 

Schedules 3.1 Fee Schedule

Schedule 10.3. Privacy and Security of Patient Confidential Information (Inadvertent Access)

Exhibit 1 IT Security

 

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SCHEDULE 3.1

Fee Schedule

Fee Schedule. Listed below are the hourly rates for Seller personnel.

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Rates Commercial Analytics Commercial Operations
Onshore Offshore Onshore Offshore
Associate $130 $50 $110 $32
Manager $215 $95 $175 $55
Director $310 $135 $245 $110
Principal $395 $215 $315 $175

 

 

 

The table below references the expected skills and experience within each level across Commercial Analytics

and Commercial Operations resources.

 

 

 

 

 

Level Commercial Analytics Commercial Operations
Associate e 0-3 years of experiences in e 0-3 years of experience in
analytics business operations, and data
e Knows tools and technologies management
in the analytics and data e Understand client business
visualization (e.g., SAS, R, issues, operating business
SQL, VBA/Macros, and rules, data and standard
Tableau/Qlikview etc.) operating procedures
e Experience in providing
detailed statistical analysis and
support to operations
management
e Knowledge of SQL, Oracle,
Unica, RedShift, etc.
e Incorporate process changes in
response to evolving business
| | | needs
Manager | e 5+ years of professional work | e 5+ years of professional work

experience

Hands-on data analysis
experience with tools
Familiarity with statistical
concepts and database concepts
Hands-on programming
experience

Proficiency in applying
advanced statistical concepts to

 

business problems preferred
Project management skills,

experience

Deep analytic skills and ability
to evaluate alternatives and
make compelling
recommendations based on
solid business case analysis
The key tools for operation are
SQL, Oracle, Unica, RedShift,
etc. Examples include sales
force deployment, marketing
operations, performance

 

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Level | Commercial Analytics | Commercial Operations

including ability to monitor,
correct and report-out on cost,
quality and schedule

e Expertise on tools and
technologies in the analytics
and data visualization (e.g.,
SAS, R, SPSS, SQL,
VBA/Macros, Tableau, etc.)

Director e 7+ years of experiences in

analytics

e Partner with various
stakeholders to define the
project scope, assessment and
timelines; manages small-to-
large engagement

e Strong analytical and business |
acumen: ability to structure |
problems, diagnose issues and
triangulate with multiple
approaches while keeping sight |
of the big picture

 

 

Principal | Leadership position with 15+
years of analytics experience
e Demonstrates thought
leadership in analytics
e Conceptualize proofs-of-
concept, design analytical
models and drive insights |
| e Managing multiple teams with |
| diverse skill-sets |

management, offline reporting
& adhoc analysis, etc.

Lead analyses on requests from
clients relating to deliverables
Perform what-if analyses to
evaluate business scenarios
Mentor, coach and guide
associates in the team, often
across multiple offices
Expertise in key sales and
marketing processes and
advise client and internal teams
on -

7+ years of experiences in
operations analytics

Structure and execute
operational and strategic
initiatives by developing work
plans, gathering and
synthesizing relevant data,
leading analyses and
developing recommendations
Build capabilities in
operational teams to ensure
seamless transition of project
execution and results

Build operational dashboards
with metrics to track the
impact of the projects
Leadership position with 15+
years of experience
Responsible for all work
streams related to running core
business operations in sales,
marketing and risk

Managing multiple teams with
diverse skill-sets

 

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SCHEDULE 10.3 [INADVERTENT ACCESS]

PRIVACY AND SECURITY OF PATIENT CONFIDENTIAL INFORMATION

Privacy and Security of Patient Information

Definitions. “HIPAA” is the Health Insurance Portability and Accountability Act of 1996, as amended from time
to time, and the regulations issued pursuant to it. “Individually Identifiable Health Information” has the definition set forth
in HIPAA. “Privacy Regulations” are all regulations in effect from time to time issued pursuant to HIPAA and applicable to
the privacy of Individually Identifiable Health Information. “Protected Health Information” is Individually Identifiable
Health Information transmitted by electronic media, maintained in any medium described in the definition of electronic
media, or transmitted or maintained in any other form or medium “Security Regulations” are the regulations in effect from
time to time issued pursuant to HIPAA and applicable to the security of Individually Identifiable Health Information.

Obligations. In performing its obligations under this Agreement, Axtria, or its employees, representatives, or
agents, may inadvertently obtain access to Individually Identifiable Health Information (“Patient Information”). Patient
Information is not required for Axtria to perform its obligations under this Agreement. Axtria must advise its Authorized
Representatives of the requirement to keep Patient Information confidential and require them to comply with the obligations
set forth in this Schedule 10.3 relating to Patient Information. Axtria will not use, disclose, or reproduce, in any manner, any
Patient Information that it obtains or to which it gains access because of this Agreement. Axtria will immediately report to
Quest Diagnostics any incident in which it or its Authorized Representatives gain access to, use, or disclose Patient
Information. Axtria will maintain appropriate security policies, procedures, and practices to protect the Patient Information
against unauthorized use or disclosure.

Indemnification. Axtria shall indemnify, defend, and hold Quest Diagnostics harmless from and against any loss
or damage that Quest Diagnostics may sustain due to Axtria’s failure to comply with this provision.

 

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Exhibit 1 IT Security

Service Provider shal! be responsible for establishing and maintaining an information security program related
to securing and protecting Quest Diagnostics, its employees, any deliverables, its data (including but not limited
to confidential information and proprietary materials) and its customers’ data (collectively “Data’”) that is
designed to: (i) ensure the security and confidentiality of the Data; (ii) protect against any anticipated threats or
hazards to the security or integrity of Data; (iii) protect against unauthorized access to or use of Data; (iv)
ensure the proper disposal of Data; and, (v) ensure that al] contractors/subcontractors of Service Provider, if
any, comply with all of the foregoing.

In addition to the above, and more specifically, Service Provider shall meet or exceed industry accepted
standards, including where applicable, the Payment Card Industry Data Security Standards (PCI-DSS), to
comply with the following:

A. Personnel Security

1.

to

Service Provider shall perform background checks on all employees and
contractors/subcontractors (collectively “Users’”) that will have access to Data prior to
employment or engagement and annually thereafter.

Service Provider employecs shall sign a Quest Diagnostics access agreement before end user
access is granted to any Quest Diagnostics networks, systems, or applications.

Service Provider shall maintain a list of users with access to Quest Diagnostics networks,
systems, and applications, and will provide a copy of this list to Quest Diagnostics upon its
request. Service Provider shall notify Quest Diagnostics within a reasonable timeframe when a
user no longer requires access, so that Quest Diagnostics may disable their access.

Service Provider shall provide security awareness training to its employees who are providing
Services to Quest Diagnostics at least annually, including, as applicable, training regarding
Protected Health Information, as defined by HIPAA, Personally Identifiable Information, as
defined by federal and state laws and Payment Card Industry Credit Card Information.

Service Provider shal! ensure all employees and subcontractors of Service Provider who are
providing Services to Quest Diagnostics comply with this exhibit.

B. Physical and Environmental Security

1.

Service Provider shall have and implement access control policies and procedures for its facilities
and data centers containing Quest Diagnostics Data.

C. Technical Controls

1.

2.

3.

Access Controls - Service Provider shall implement access controls that include the following:

a. Access that is authorized, unique for each User, authenticated, and assigned with least and
minimum necessary privileges, and includes session timeout not to exceed 30 minutes.

b. Password controls with appropriate password strength and complexity, expiration and history,
removal of vendor supplied passwords, and account lockout.

Remote Access

a. Service Provider shall follow Quest Diagnostics remote access procedures when accessing
Quest Diagnostics network. Procedures include, but are not limited to, the execution of access
agreements for each User requiring access.

b. Service Provider shall follow Quest Diagnostics remote access procedures when accessing
Quest Diagnostics network. Procedures include, but are not limited to, the execution of access
agreements for each User requiring access.

Network / Security Management

 

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a. Protection against Malicious Code — Service Provider shall implement automated tools to
detect, prevent, remove, and remedy malicious code on desktops, servers, email and internet
access. Servers shall be updated with security patches that meet or exceed industry-accepted
standards and criticality. Service Provider shall use supported versions of operating systems
for which patches are actively deployed.

D. Data Security

1. Personal Devices - Service Provider shall only store or process Data on/in assets owned or
leased by Service Provider. Service Provider shall not store Data on storage devices such as
flash drives, memory sticks, CDs, or DVDs.

2. Mobile and Removable Media - Service Provider shall comply with all state and federal laws
and regulations that require encryption of laptops, data storage devices and other mobile
computing devices that may contain Data.

3. Data in Transit - All sensitive Data transmitted by Service Provider over public networks,
including email, shall be encrypted.

4. Service Provider must have policies and procedures in place that require Service Provider
employees, contractors and subcontractors to destroy, at the conclusion of that work session or
shift, all electronic or hardcopy data containing PHI saved locally or printed during that session or
shift.._Notwithstanding the forgoing, if Service Provider is provided Quest hardware for the
services being contracted, they will not move Data off the hardware without prior written
permission.

E. Data Destruction and Retention
1. Service Provider shall implement policies and procedures around the physical destruction or
secure deletion of hardcopy and electronic media that meet or exceed industry-accepted standards.

F. Incident Response
1. Service Provider shall have a Computer Security Incident Response Plan (CSIRP) that is
supported by a cross-functional response and recovery team that are on call 24x7, 365 days a year.
2. Service Provider will promptly notify Quest Diagnostics when Data has been compromised or
suspected to have been compromised.

G. Compliance with Laws and Regulations
1. Security Breaches

a. Service Provider shal] maintain the security of the Data received from, or on behalf of,
Quest Diagnostics under this Agreement. Service Provider agrees to comply with all
laws that apply to “Security Breaches” of “Personal Information”, as those or similar
terms are defined in the states with security breach laws (e.g., CA Civil Code Section
1798.82), or by any Federal law that may be enacted that supersedes the state security
breach laws.

b. In the event that the Service Provider has a security breach, Service Provider shall
promptly notify Quest Diagnostics, but in no event later than then (10) business days
after Service Provider knows of or should have known of the security breach, of the
circumstances and scope of the breach. Service Provider must provide Quest
Diagnostics with the detail needed to meet any reporting obligations relating to the
security breach, e.g., date of breaches, elements breached, identification of persons
impacted (to the extent that such information is known to Service Provider). Service
Provider shall investigate the causes of the breach, ensure that remedial measures are
promptly instituted to prevent further breaches, fully and reasonably cooperate with
Quest Diagnostics in addressing the security breach, mitigating any associated harm
caused by the security breach and/or reimburse Quest Diagnostics for the cost of
mitigation based upon, arising out of, or attributable to, the acts or omissions of Service
Provider for uses or disclosures in violation of the Agreement, and meeting all legal

 

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requirements associated with such breaches, In the event of such a violation, Service
Provider shall be responsible for its and Quest Diagnostics reasonable costs associated
with meeting the requirements of the security breach laws, including costs associated
with issuing notifications to individuals and government agencies where applicable.
Additionally, all of the direct costs reasonably associated with sending out notifications
to patients, individuals, clients and regulatory authorities shall be the responsibility of
Service Provider. In addition, to the extent such incident warrants the provision of
credit monitoring, Services Provider shall be responsible for the costs of providing at
least one year’s worth of credit monitoring to the extent required by law or as part of a
settlement. In the event that an identity theft arising from Services Provider’s acts or
omissions in violation of this Agreement, Services Provider shall be responsible for the
costs incurred by Quest Diagnostics in providing services reasonably required to
remediate the consequences of such identity theft.
Compliance with Massachusetts Standards for the Protection of Personal Information (201 CMR
17.00), In performing the Services, Service Provider may have access to Personal Information
of Massachusetts residents. “Personal Information” under 201 CMR 17.00 is defined as an
individual’s name associated with their social security number or driver’s license or other state-
issued ID card, or with a financial account or credit card number. To the extent this law applies to
information accessed by Service Provider, in accordance with the requirements of 201 CMR
17.00, Service Provider must implement and maintain appropriate safeguards to protect the
Personal Information that Service Provider accesses.

H. Audit and Monitoring

1.

No less than annually and in compliance with all applicable laws, Service Provider shall conduct
an independent third-party audit of its information security program. Service Provider shall
perform regular and periodic vulnerability assessments on internal and external systems with
respect to its information security controls and policies. Service Provider shall make available
such audit and assessment findings to Quest Diagnostics upon request and within a reasonable
timeframe. Quest Diagnostics shall treat these audit findings as confidential information of
Service Provider.

Service Provider shall make available and/or provide all audit reports within 30 days of request
by Quest Diagnostics, i.e. SSAE16 attestation, vulnerability scan and/or penetration test results
and proof of regulatory compliance such as, but not limited to those associated with the U.S.
Sarbanes-Oxley Act of 2002 and Payment Card Industry (PCI) where applicable.

Service Provider shall be responsible for all costs associated with any mutually agreed upon
additional penetration testing required using a mutually agreed upon 3" party tool or vendor. All
critical and high risk vulnerabilities must be remediated by Service Provider within 30 days of
the testing report, at no additional cost to Quest Diagnostics. All medium and low risk
vulnerabilities shall be remediated upon delivery of future releases.

In addition, Quest Diagnostics, at its own expense, reserves the right to perform vulnerability
testing on applications developed and hosted for Quest Diagnostics by Service Provider, using
industry recognized 3rd party scanning tools or vendor(s) at least annually or more frequently
within one year of an event of a confirmed security incident. All such reports may only be used in
evaluating the security readiness of the Service Provider shall be deemed Confidential
Information of the Service Provider. A copy of such report shall be promptly provided to Service
Provider upon completion.

Upon reasonable notice to Service Provider, Quest Diagnostics shall have the right to review
Service Provider’s policies, processes, controls, and results of internal and/or external reviews of
processes and controls regarding its information security program associated with the contracted
service prior to the commencement of Services and during the term of this Agreement, including
immediately at any time after any security incident incurred by Service Provider that may impact
Data. Additionally, Quest Diagnostics, at its own expense, shall be entitled to perform, or to have
performed by an independent third party, an on-site audit of Service Provider’s process, controls

 

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and results regarding its information security program associated with the contracted service. In
lieu of an on-site audit, upon request by Quest Diagnostics, Service Provider agrees to complete,
within twenty (20) days of receipt, an audit questionnaire provided by Quest Diagnostics
regarding Service Provider’s information security program. Service Provider shall implement
any required safeguards as identified by Quest Diagnostics or information security program audits
in order to conform to the terms hereunder.

6. Service Provider will perform the Quest Diagnostics Supplier Security Assessment within 30
days of contract renewal. Supplier, at no cost to Quest Diagnostics, will remediate all critical and
high findings within 6 months of the review and notification of Quest Diagnostics findings. All
medium and low risk findings will be reviewed collectively and remediation on mutually agreed
upon issues will be corrected based on an agreed upon timeframe.

 

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Axtria, Inc.

Agreement of Lease

For location
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UD swotoxoidy Pur courtney ‘sunday "ZO L UOKSES
coon fuolpumry Aq sunday "10° uoNDag

 

“ BACNAMANS “AONVITANOO ‘SNOLLVUSLTY ‘SUIVdTU “WA STONY

“" SUBIS “Z0'9 UoHDeg
* Aowang “T0'9 uonoag

 

 

see SNOIS ‘TA PIOLLAV

   

““ysodag? Ajunsag $0°5 WoNDEg

~ quay so juoudeg “p0'S UOII9g

* suomysnipy | ‘sis0D) Funeadg Surpping “€0'S UOKIEg
yunowy aseau0u] XB], “ZO'S UOTIDES

i a quay aseg “LOS UOTOOg

 

 

ANS “A A TONLYV

* 2AIO 3H}y Jo wpBLY “Z0"p uonoag
* Mauay oF suonde "10'p woes

 

remem" WITTTO LSM JO LHDM SMANIY OL SNOLLO “AL FIOLLYY

 

setter uonujuassidayy ON “€0'€ UOI}Seg
ssoooy Ajseq S,,ueud |, ‘ZO € UONOag
Gsssresenenesen WOM, JURUaL “10'€ WoNsag

SNOLLINTAGC ‘Tt ATOLLYAV

 

     

“LO'[ woNsag

“90'1 dons9g

"$0" | UonDeg

“asodaq Aumoay $0" | voIDag

"Way ase g “€0'1 UorIEg

* SeSIWUAL] postwsg “Z0'] uotag

areasg [way ‘puey] pus Supping “IQ'T UoHsag

 

mere’ NOLLWIAHOANI ISV91 OISVE “1 IOLENY

 

SINGLNOD JO a Tav.L

vA [PUU0D DOE

yuna],

‘ONT ‘VRILXYV

pus

pro[pury

ANVdWO9 TIANNOD FHL

Wasajoq

aSvat
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Case 1

le£20'S1
ip

WUNpUSPPY AMC] TaMAAUUNLUIOS Tug
Suoneayioeds jouotuns Turpping, a uquyxg
stonuinsoy pum Fapmy auqiyxg
J9H19/320,q\ WuUA | TO UqUXg
Subjq ands TO Tqryxg
Sosiuiad] Pasittiag ayy SuLMoYs Utd [eID a aryxy
NOAW] ONS PUL PII] ay Jo wondussacy puso'] ¥ uqIUKg
SLEGIHXS

“"** SUOLUIPUOD pue SULA] [eWUsMUOITAUg JO yeAIAINS, “SO'LZ uoT}eg

Sey | IO “po' [2% uonoag

 

SyuLsoIE PY snopuezer pur ‘S1NO | “€0°1Z uoYoag
oy yids 20'(Z UoRDag
ey Aapaooay ang peenpuy "10°1Z uoKRIEg

   

MELLEL LESSEE SFL TIAL TWLNEINNOUTANG “IXX FTOLLV

 

               

 

1S perouRULy "8107 uoTo9g
* RTT Fup “LI'02 Wola

~ qunalapy 9020, “91°07 UOKDag
Auoipny aesodioa ‘S102 UoKOag
" SUMI"] SOLUEQOOY “p07 UoHoag
asPe"] WUO LOWS “EV'0Z UOTIIIg
Isyoig “CLO UOHOag

“ SOATEAK-UON, “LTO UORDeg

98324, 218] ‘0T'0Z uonsag

 

 

   

* youoqUy 60°07 wOHDag

ee ye JURDY "80°07 woKDag

FULD [JO toy ry “40°07 Honoss

Sorpreneneciecneicccnuatnaneces Su Bate OUT SOSSARITS ‘90°07 LoKDag
OsHo"y JO MOT UTULtS ay: ‘wan SUOISLAOSY JO [BALAING "S007 WOR}OES
@OTI0N, “y0'0Z UOTDES

parnboy juowscsy SIAL ‘0°07 UCHDag

SOsWIYY PUL SPIOM JO UOHONAYSIOD, ‘20°07 UoLIOaS

“ae uorrmerdzany “T0'0? HoRoag

EERE SEAS ALES BCI TTTNSTAT ¥Y TTL
sherrrersrrenene" INA AOING LSINO JO LNVNAAOOD “XTX AIOLLEY

 

ees LLLLLLLLL SPIEL SEAT TOY LBV MAX STOLL

 

* FLVOULLYTD TdddOLSa SLNVNEL TAX ATOLLY

   

 

terest tereateeeeeteree cannes “O19 “SUDANE AY ‘SoIpOMay jeuOHIppY “$0'91 UoHOSg
oe JuBUaL, JO MNOS 40) LUO LOg OF 1pdNY S;puOT put] “L0°9T UCIEg
” uorduapay so IY8ny fo saArE, "90°9[ UOT}Oag
con SOURCE v “SO’9] WorDeg

" SOfpouoy PEUOHIppY ee “p09 Boag

 ARUROU S,PsO]P “£0°9[ UOIS8g

“APOIO 8, p10q pte} ‘ZO'9T UONSES

I€LZO $1

 

sommes Neo, “TO'9T wouDag
ELISA IEE SSS SAT OPT SUTAWAIC IAX WIOLLYV
Puojpury Jo Ayaan “€0°S 1 UOIIOag

OFPaLAy PUR 1A A ZO'S1 uoToaS
* Hyuuwopuy “TO'ST uortIag

 

Pee LLNS KUTT GNV NOLLWOIINAGNI “AX FTOLLYY

       

mosseenereereserre Siler QOUBINSUT “LO'p | uoTII9g

* MONRTOIgNS JO JoArE A “90'P] HOSE

“ SQUBINSUT Jou”) “CO'r] UOHoaS

souemsuy O jesusduio;) $194.10 A, ‘FO'P] UOKSag
aourinsuy Auedoig “€0'P1 UOIIOaS

souwunsuy AMqerT “ZOFT UORag

 2OurRINSUl [esOUNH “JO'PT HORIES

HEELERS SONA SNE SINWNQL AIX FTIOLLUV

“““SDIEMYy Jo uoltsodsiq “POET UOTI9g

* 98¢ Araoduray, 105 Bunya “€O'E] UONDES

* Sasywdag pasta] Jo uryel, “Z0'€ | uoTI9ag
* suontmyag “10°E1 uonD9g

 

 

pies aa * NOLLYNAUNOD HTX ATION

 

  

~ AMQUYT S,psoypuer| “p0'Z1 uoNoag
PIINgOY 0) MONET GC spso[pue’] "ENZI UOIjD9g

* gyeuTuUa yy 0; uondo 'ZO'Z UOKag

ieee quawsleqy Jue ‘LOZ UorDag

 

‘Seaver TOMA YO NOLLONYLSAG IX FIDL

   

™ Rory Surya 4 yodsoy ip uonediqQ s,psojpuey “pO'T| uoljseg
; SJSQUINN SSUSOI'T “£0'T | uoroag
SIUSrY S,PIO[PUrT ‘ZOT | WoHdag

“* BalY UOWUUIOD JO 987) ‘10 [| uonsag

HEEL LLL STINT NOWNOO TX FIOLLAV

een piaitees S)YSTY soade8popy “60°01 UONIEg
13]U] S,p4o|pue’] Jo Jaysuely, 7O'O[ LoRses

    

“ JuSUTTLONy “E0'O1 UOrSeg
HOntuIprogng “ZO'OT UOHSag
‘219 “HOIna|qns ‘uawuiissy “10°01 uoroag

ELLEN AO ALON SLSAWALNI JO WSASNVUL “X TOLL

  

 

erettraecetestrn ets sasoding jE@o\jt ¥0'6 uonoas
“STAI SIURUS | UO DOSY "€0°6 UOTIAag

projpary fq PaysTIgessy suonwABoy pue saima{ Z0°6 UoN9g
3sf) “10°6 Hon29g
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Case 1

leezo'st

‘| Aaenuer uo Gurouaunuos sinuous (9) xis. 20} 99 [TRUS OFA] OOE ay JO Wai sup (}) Tey aptacid o) asRa]
OOP 2yt purtie jpmys RUS], pur Proppuy] (4) PUP JaAsosiByM AYO 10 DONE) OU JO PUR PIOA puw [Inu oq
PRE SHTLITHLED) |OYS SSI] SIL OWL] f1C)-11) OY) Jo se BANIAYS (x) (EUS, PUY pyoppI] Aq Sur ut on
posite Syvuaifio ssayun) pun sums ay Jo WWeUD | jou []EYS pso]/pUE] Hay “UOLANSIp 3]0S §, prO|PUue’y UI
Poppi) oy Gojsupsnms (apes aud pte ous MoU oy) Jo Ssvd) oI fo SPP AANdrayia oI ‘Arep waL MULLET
ayt HUH] HOUT “Tu payaut) Isqns pire iso) Ln “HUN pyingy dip ut paojpue | unddy adeds Joyry asmay
STEPUOITY Tear] pe amp HoYRAdKs parnpayss si oF soni Kpuo Ad} PASTE] Ayton padsay yay
Osea") EpAYINY ogi PUT Tis ain ue (jo Adios paingaxa A|jny & poatsooy
Pur) OLN PouajUs aany rou [eYys POPPE] (AEC) NOW. MN) Slot ‘Og I2quiaKtos Aq iy maAD
MN MY “Puofpun™| wozy Surpyngy ay) uy aoeds saipo asea] alepHuTNy aay puD sup HoHerdKa pejnpayrs
aH 1 sour (Apo sostuasg: posttiogy ayt oy iadsay YIM) Aska] AePHUAYINY aly aieuUUE) oF aster]
SIPHUSYINY ay) PUALUE oO} sUOIssNosip ut ApUALNS ae AyEPUARINY pur paojpurry (11) puE sepAUAyNY
pur pioppury q (,osve] oIphusipnny,, ay) ‘por su) Se asvay Eo} juEnsind
)'dioy 1OH SIepHUay NY OF Sages PASTUDC,, Vp se OSeI] SIT WI paquosop sounds
Peo|pury (1) Jouusy sep ot Jo Se wip sBpsjmouyse weuay, puw psoppurr]

     

 

 
  
  

  

 

‘SUBISEE PUT Siossazons Nay) pun ‘sand
Sip UO aarsnjoucs pur Burping 9g [Teys ays HRY Og sjuUHA] Jo uOLHMIULAIAP sity! 34990" =< 00]
¥ 99080'0 = "E “bs 6LI'phz Jo Fulpying Jo easy yeyuar ayy Aq popraip “y “bs ajqmuad ¢6g°G1 JO sostDIg
PSSHLD(] <EMO][OF SE POIN[MOLHO "26gg0'g A AIMUS LIEY OJ SIUUUD], 1M paunMiMap amy MUD], puT
Puo[puey “Gupying agp jo sFmooy asmbs ajquiuas jmor api 0} sasiurAy pasiuFay aq} Jo Smo} aueNbe
SIGHIUOZ [RIO] Ot) JO OTA ayY og [feYs ays MEY O1g S;tuMUID, ‘osed] sILy Jo Sosodimd 404

*aSBa’] STU] JO SUOISTAOId ayy

RIM souepI0992 UF pamaual JO payguitdsa] JoUOOS ssofuN “1oYBo194} SYUOLU (yp) snoy pue sxe9k (¢) aAty 205
SNUNWOS [[BYS PUe SBC] WAUWISOUSWUIOD OY} UO DoUBUIUIOD |[eYS BSED] SIYI JO ,WAyT,, UY

 

“UNL ‘SOT uonsag

\ Jooroy SO's UOIjoIg
Aq powsaao’d aq jyeys j1s0daq Ayunosg oy], ‘(,,Wsodeq Ayunoag,, aq) ysodep Andes B se CZ IP6'ZETS
0} [enba junowe we piojpueT YIM yIsodap ‘poinsexs S] SSES] SIU] OEP SI uo ‘[Teys JUBUa,

susodsq AWiNnDag “POT unas

“Quay eseg OL GonIppH ul junowe ues! joazey Z9°g UOSOag Jad
Ajouos|e soy juaWIAed yey pootscapun Farag 41) yoasoy [9's UoWOag Jad a}qeded aq ]Jeys
Way Weg yooisy [Q'y wORIAS Aq pswUdr0# aq [jeys we} jemetO’ Aue SuLINp tusy oseg

“yuo! Jod 67°96‘ pg 10 ‘uMuUT Jad sastINasg
Pastwsg] ay} JO Jooy auenbs ayquyuer 1od QO'GZS :9 YBN ES syUOW (HA)

syuoW sod €9°S/ LOPS 10 “LuNUUR Jad sasiuIa1g
Pasliog, sy) JO oq} ayenbs ajqeyuaa sod yg'gz} :z7S ySnosyy [p SILO, (ta)

‘yluow Jad 00°¢ 56'S pg JO ‘uuu Jod sasTUIaTg
Pasiwod sy1 Jo jooy asenbs ajqejuss sed QO'gzZ$ Op YSNou 67 sHUOW (a)

‘yuo sod 9 gE 1'Sp$ Jo ‘wnuue sad sosmuarg
pasimag] 24} JO jooy azenbs ayquywes sad g¢'7z7$ :gz yuo 7] spuopy (a)

‘yquour Jad goog Jo ‘umuue
Jad sasiuisig pastulag ay) jo jooy azenbs ajqequas sad goog = :91 uo fat)

‘yluow Jed ¢/°¢ [£' ppg 40 ‘uuu Jad sasiuag
Pasiuleq ay} Jo 300 oienbs a[quyusi sod go'zzs :s1 ySnonp p syoW (1)

‘Yuou Jed QQ'Og 10 ‘umuue Jad
SOSfUTS1g Pas{Wlsg 4] JO IO areNbs aqejual Jod Q'Og -¢ UANoIy) | syLOY, (1)

:Ak0|9q
quo] jes se junowe up aq [[e4s ue] oy} Sump pored afqroydde oy) ut usy aseg,,

 

TY aseg “ENT uonseg

 

‘sudisst pun Sossazans aiotn pur sarumd aip) mo 9A 189 pue Zuipu He}OO] Saenbs aqua

Jo nonmindwos siq | conuei ape amyeu Aue Jo suidas ao syustusao ONppL ‘suOIBLOTTR Cur
SAPNA SHSM POFUNDET OL “CL WGINS $7 OFAVAY Pays st YoyAs) wep g pewusy,. ay) LO d
Pasitiag,, Dy pu “emCTe| Aq loay osenbs ayqesn ayt win
tH Aq BOE JOLY JO Jay amMNbs a]qeiuas ¢6g°G) Ot Paumauod ealD JOOL} JO Jay Daenbs ajqusn 74.0°9]
MSISUOS. “JUNI, O] pospsy Turpying ay JO wood yt sl sasttuag posiuag) ayy,

   

   

 

  

w EJSy [BDY,, YL st tHavay Apaanae
INOAR] as B puE pur]
PUk OJIY payoeye W a
«PURT, SUL “77620 KosIaP

     

 

 

{SIEIS [VOY “pueyT pue SUIpyng “TOT Uorsag

 

NOLLVWAOANI ISVaT OISVE Ta TOLL

SSNO]]OJ SP IRINO GIRO YA Sarde Aqouoy iueUa), pull puDjpiuEr] *patpaymouyre
Aqaiay oun ysiqa, jo Anoarouyns pue yWiazaz ayy ‘ue OD AIQHU|WA PE POR satie pin o
J0 UOrWapisuos Ut pur Iopunaisy punog AypwFay aq 01 Trip “UAL YLOP OS SUOLIPUGD pur su
Jy) JO []t O7 19efqns pum quas OT) It (PoMyap saqymutaiay) toy ay soy (paulfap Jayyruiaay) so
PASHUEAC] ay) pro[puNy ogy sya) Aqazay jnmiay, pure wea, OF Sasea| Aqarsy puOYpu’]

  
  

 

 

 

“LaUBUa |) TZHL0 AASAp wan “SHptoy | Aajoyiog ‘oatacy yous OOP Sf SSasppe asoyan
botrerodso9 ammavjaq © VONT “WRELX'V PUE(,proIpUTr], “JOAIDH FO'| YONdAS Oo] loa{qns) Zzp/0 Astor
MON ‘SIFlaH Aajsyiog “ALG [PUUOD OOT st ssuppr asym wmsodioa Aasuap MAN PANVAAOD
TIANNOD FHL Yaoweg *c1Oc ‘1] saquimdag jo KE paiep sr (,aseary, siqt “orasaN poyoetie ag

0120 pOySME soinpoyss PUD sUQIN [pe Ia JayaTON) AS VAT AG LNIATAYDY SUT

 

 

 

 

dsvaT

LINGIW1900 TVLLNSCIMNOD ¥ SI SIBLL
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Case 1

ELZO'S{

‘oust Aue ye adesioy Aue Jo Jopjoy ayy wesw [yeys ,r9TeTUOW,,, q)

 

‘Joosoip suotsusyxa put dau “suonepry NADL FPOUW “sy Aue ‘uonenwy
Moy Burpnjow "syuataarda duipeoids Aue pue ‘pucy ayy ‘Fuypying sip ‘sassy pastiwagy ay: uodn
Ul] B 3g JO JOQUINSUM “PoAgIH FoyRAIDY JO NOU ARI IST yuOUINU}SUl 20 jusUINDOp AQLNdaS sayjO JO IsNI
JO pasp ‘oinjuapur ISN ‘qep anos O paap ‘sFeiLow Aue wesw [eyes SaraUOPN,, (b)

O8BIT SII JO [0° | UONDES UT YO} Jas Tuiuwous oy} sAvY |}ZYs ,,PUL'T,, (d)
“asee’T Siu JO (9)Z0'S UoND|g UL YO} Jes TUNA ay] OALY [JeYS ,S9xeL BIKA, (0)

‘unSaYy paptaoid AXIMJayie $v Jo pazumaz0
jou UOTUTHLA) Jo Gorn] ,OUND Yons pey poudxs oARY PMO WAL Ay TEP oy |)puN onUI~IOS {[eys eseay
si) Jo suotstacud ain sapun Aupiqeyy squeusy, ‘(peuryap JMMUISIAY AE) NaC] JO WwaAy ue fo uoseos
Aq ate¢) uonmidxs ayy 07 so1sd paywuyussey 10 poj[souRo st Osho] SLL fr ulauay END IL Oy OSI MIaLIG
SunpAuy Fujpurysywaion “poadouny os se wo) 94) Jo Aep Ise OYE Iq [PAYS NC] Lloresidysy ayy *pamouol
HANG AEH HEME SSRA"] SEYT J] "MMOS OT Jo Ap ise] ou oq pays ,ottC] Lormidxy,, (u)

asea] SIU! JO ZQ'] WOL99g UF YLOJ Jos ZuLuLsU! sy) sAwY |JeYs ,Sstualg pasiwec], (Ww)

«MBq BeIOdIOD |JaUUOD,, a4) se UMOUY APUOUNHOD s} YOY AasIOC MON ‘SIYBtOPL
Aajoy1og, Ul payaso] ysed syesodio9 oy uRsUr Heys Bq aywsodiog jjauuag,, a)

‘pur Ty Alp uo suayaAuD pao} sparamos
fo skempnos ‘si0] Huppnd dow opnjout teys (11) nq ops FupyNg 40 7p FurppINg spnjour iov foYs (1)
Tary UOUILLCES © ay LN|a yo sasodind soy jreyL “Sano ‘popracud ‘amitsia soo 20 saeguac] ‘SSAA
*SIUBALIS 2 DALaatsoy soy) PINT SVU) F>YLO YL, JUBUD! JO 2UdIERALIOD PUR ash feIatAR otf
ir] Ag SU on otyT Ody papracud pyar] ayl pit durpying, Mp TO SSNT[i9e Pus sear Joyo yju pun
1) ‘seaye Turpin ue Tenyad syjemapis “Aamaaup “sdresgia ‘esd 1ayeD ‘sues ‘ShumAnua
AMOI AOANDaOD ‘vale (RYS. RAY MOWIOS,, tL f, (4)

   

  

   

“(aeno] sip Jo st oqo Aue so aTeC] EasUAMO
ou} jaz Aun Aue tL you [Uys LNPUOppY ayeq juauasuAMIND ay1 synsexa o7 Gued Jaya jo aunjruy
OU TEYT prote Furoq 1) ARC) WowASUAUTTOT ay, WLNyUOD [eYS qOIUM 4 NaIyXy se D}aIay payee
PV SRC] HHOMIISUUG) OUND [CUS UO.) PUY PIO] PUR ‘aIEq IWALaouoUMOZ)
1 WM) “OSTENT] SHAY) LAN aU t JO UOPSSHWO 40 oN 43110 Aan to oRDo]
SY) sapun pannbas si syn waypo ao “sin Hiosds “sunpd ayquoyddn <uw Fucwoqine so Tupaoudde
Jo PoHULIOy Tuatidelns ct jaRiAy po aun so Anyap aip 40 ‘sHonmoypoads pue suyg oy) uO
pond samt sa nil HL ISR OA, PUND | YL OF Hue Pe LO SOY “soups (pp) sumpg aaedg ou te
PAPNpIM TOU THES) Aq porsanbas seu ky sauna Haudinbe pet de ()) Aupaey tawuay eet paywasy
Oq [PPUS Simcy luawEIHotO OM Aujap myp sitoaa Turwajpoy ayy Jo Aum MAE] TU] W SA; SUK
Inga Jo .Gipmauod ayy Funan] yoy “wwER saude said py “AepOX) yuEUEA| YONs JOY jnq PALINAIG aAKy
PINON SINC] HIAWAOTAIITIOD ayy Ys wo AEP oY 9g 0} pada ag [js sea] guy) sepun sasodind jt
JO) aries SUNLESS, AL MenET "C, Aitjagy Hetty, ‘y9wa) SUNT YY sjuEEDT 10 JMU Jo (SjuCHSstLIO
JO(SHOW Ay OL ALQUINQENE st Yay BOA, HuTHAL ay) JO UeNadwos ap ur Aujop AUR st auayy ay
IANA SEO} pare yy Aman aap Rup TANTO dad Pastunac] syn ut Sng Op oF
WRU] YHA GO AEP on (11) JO Sosy pasieac? om Joy Aowmdasag Jo amaruss Armrodua. |
10 AQuMNDI_) JO PAILS & SUIEIGO “Ytoy, MUD.) AYE pata;duMos Ayjetinsgns duiary pope Ort
uo App oun (4) yo goysea ayy aq jpoys asnoy sip fo amd WoUWAAALUNIO,, Uy, (E

   
 

 

 

  

 

 

 

‘asee’] SIy) Jo (9) pue
(P)(@)E0's uoTI9eg Ur yLI0 1s BuLULoW ay oaKy [[eYs ,sISCD FueLadg Furpying,, @®

1g2Z0°ST

(os Fun a ey
ak PUT ay) HO aaymAUR payeoo] SPAeNLiNoD wy etempoos !
Oo] *(payon OD usdq SABY 00s Ruy SUO}TE PUTO) ay WO "pos ap ay su ny}
tsap 8 TZacg Today oN SHYT NayaqIG]
a YRYS QOS Fuupyingy,. ty)

     
   

 

“00p Supymg yo uontuyap
ot WIM papnyout jou or pue’y ayy UO dJaqMAUE Paleo] spreAyNoD JO skempeos ‘slop duped Aue
‘uouBalzIIe]O Jo sasodind 10,4 ‘ovssy poyoene y Hqiyxg UO parnusisap se ‘7761.9 Aasiag Man ‘s]YyStoY
AdjoH2Og ‘SAUC [19UU0D OOF 1 peyeDo] Sumpjing ayy wow yeEYS ,ooF Fuipling, (3)

  

“9S29"] SITY JO 10" | UOHIOag Wy YLOy 198 SuyuRoWw sty savy q[RYs ,,BuIping,, g)

“9L0Z
Awad JBpUdTed ay} JOF yOajJa UL ayes KR] dPBISA [RAT SI} Uvow [jeys ,,2ey XP], aseg,, (9)
9589" SIU} JO CQ"| UONoag Ur YpYOJ Jas SurueoW oY) sARY [TBYS ,JUSY aseg,, (p)

apqirayddir se “Tumyore gy fo USNR a

Y SPUCIIAL XP] BRISA [eas Ot) PUB SIYSIOF]
Agqaxjiog Jo diysumoL oyi jo spaogay vey oeisa peal iq pa

ap SR 980 goka UI puz ‘s]UoLUSsasst

    

 

 
  

Poxuo Jo/pue poppe Aue i ast Yara Wh “puey ayt fe AEA plossasse ayy Jo (¢/[) pattpi-auo (11)
snjd duping 9m) Jo uot passaseu oy (1) uvoww Jpeys .uotenyE A passossy,, (9)
Put proyput] HaAoMIAg Apps pounys aq joy seaxemuddye yons ype fo Saay pant sacuadye mt

     

  
 
 
  
 

 

aif) oe 4 PUN [EY Sy [PMNS YS “HUY TOYUEPY SU aq preys saeiaA yone
HEYs SanjeA Om) TutuMUAL ain ‘papnjaNe pay yrys aemsMAK YorS tinoNy sou SUP
tp ‘polimasn og way ypmps unsteady OUI AIL Jo yous Aq. par ap ey ey ,
“(Qyo'y 9S WT YHO} 1s Sotouremnd oy Won ddele joy FEA JO anys au ouTuLaDLOp [Rus ceasrrdd yy
‘THANE son do SHY UeyE SMetp (OT) Aa uit Way, Eye} JO june
Hap OL PALMLsu oq [pms ampascad Fnowose) ayy on imnsimnd payne arnuddy qyaey
Weurnniodde yons <q punag 7 Les satuind qjoq pun veh ns ayn on ( VV, 1
MOMMY uot ayy on xidde deur Kyed soy aeitaddy Gas oy yo itounmoddy oy jaye
sAup (OE) Suit unpin pannodde sy sasesddy pay yore vit py caasnueldly pany) e putea
of suasuddy aval veld 1aayn shop (nz) MI M LARTER, we) (soprinos
RL AMO UY DPN ype Yano) oa sypFapy Aopoysoey ayh ma soquadosd peyisy Hursimadde asuarbco
SHRM OMY 18RD] TE SIY PHN (HONEZLUEALIO MPMI ISSSO]D ANY) “SSID auEU Je wor
suoermddy aresyy [may 10 SIMATISUT UMDLMtY ayT oO raQUIdUT et srays aside jwapuadspur ‘paisaasy
wvupoddhe jjrys und yous yoosay (y ‘I

ade pouml Arp (cy) woo
ye SAP (OT) GL une Runa .UNposoiy yesimddy.

   

    

  

 

 

 
  
   

  
  

         

 
   
 
 

 

 

    

  

“9SP9T SIMI JO £0'] UOWIA UT YOY Jas SuruRstY ay] eABY ][eYS ,7epUuaLANY, (3)

‘sBuyuRoW FuLMoy|oy By] BABY |[eYs Mo[2q sud) op ‘UIDZOT pasn sy ~

 

‘SNOTLINISSO WA IOLLYY

“SIPHON Wii WiatuDautE yore Aue ¢
Aur anry you .

          

      

eae © TO'h pu
tn sad amds pases] (pp 3 dad 00 ETS 9q II
1 EL Cp) POT PU] OF pOAaYL aaHION UA Ay JOLId séep (Og) Gary yp
Papas yoAs or joud ase] yyy ay oreUUD, a

       

 
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Case 1

(Cezo'st

MOA, IIA) [BNIUL AY) JO] SrOyORAJYOOqNS
PUE SsO}OBUOS [eIoUSs aleuaTsop o} jYBU sJos om aARy [[eYys pso[puRT (1)

*WO!SSUUOD 7eY) UT “UBUD JO MoIeradooo ay) YIM ‘projpuR'] Aq voNaydwoo 0} pansind pue jno porzre9
29 {EYS (10M WEUD],,) SUOTBOIIOedg pue sue] at) 07 BuIpsosoR ‘uoronisu0}, (9)

“BUIPIING yp UT 0A
qunual JO sjoadse soyjO UleL|D PUR YIOAA JURUOY, ‘spiepus}s SuIpying Surpsesox Aurpueysiapun sotued
aq) [Heep UT YyLoZ Si9s “7-D JQNPXa se OIOJOY poxoUUe ‘JaNapOM JNeUdT ayy, (p)

‘unin th projpurry Aq O1 paivasiios ssajun Muypuyg so pry aq pou yymys suormon sad
puL sun] g ail Jo woNeaL pou to aSuRYD FREAyU AVY ‘opytssod se OOS Se parajdiuos yioAy juNtLiD |, At
SAM OF 0A LE LY PUOYPUR] WIM apsadoos Ajquunsras Oy Saae jueus) yang, juUUd) s1p jo sysaden [pF
on pada yi ay “(See ] SHE JO SUBIOY ANT YEAS aoumydinos Wy us] Aq auop oq pst SANOT TYP TEST OTIS
Sunt PUNT) Sastizay posta 9) TyTN Butea site LUO A PU HUQ KEP Awe fo MOELTP PNA
aN FOF “109 tiv SH} ie “aygrsundsay ag |pRys yuTuAy yt passe si cuoneatjiMja yo sosodind 30,4 “asva-]
SHE JO SUD] oUft oF fund suO|ApZAdS pow sup Hons YIM ArtEPuODDL ED partuopad UOLARIISUOD dtp)
Sam OF UME Joiflo "Coasoyt AWWUOHAUTY OY) TurpN|au) sHOL aU IIAGS PUTT Suny YONs Joy Arpiqisnextsas
AUR OAM JOU [pRqS paqypuE] sHOnmoyIOAdS pur suny ay. poxquddy aany peys wumus) suo jy) acute
smiund ayy, stonroyioads pur sieyq sip or Funoalgo so Rucaouden uy sou AYQUUOSEsL MU re ppeLys
yuu y 1 pur propper dq uedn prose <yjyminus aq isnt suonRayroods put suey pouty ay pure

purer] oy apqmid aq Inn saduMys pasonbas Awy “suet roads pure Sumy 9y1 10 diagos 6, yuna |
MOO) SAop ssauisng (g,) MOL UY Joye] WARD ou UF Inq ‘‘gqissod st uoes st sodueyo paysanbas
1 JO PAOPPUL] LUOEYL FFEYS WENA] “Apgissod Ajqitioswas FR WOOs Ft UONWIEpIsuoe pun Malar #,1Umta |
JQ HIMUAL OF PMPAIAP aq OF suOHTOYTOodS pun Sumy oy) ssneD |poYs ProjpUr] (9)

  

 

 

  

‘SBuMTup [RotuRysow jo LopBedaid aut soy pasinbas Ajqnitaswar ay pjuqs st OTTO UT
ayqnuosear |v PO[PULT] OF apraosd pps qunuay “Surotasoy ayy Tur non pur MOLT]
4q. papanbos Aqqriosnas se pur satus <pouity pum syapdines wun ost wirayisads pur su, oy jo

 

 

 

 

f 1 tga tpyian wey ty Aas HSH atRIAdoOD jens TUE, { SuoNPoipoads puit sity, at)
sin 2onds on WM a2uRpAOs IN UE A RHUMISQNe asus yowa ui “Sosy Pos) oy po wolremdosd ayy
40) STupanap dauiy putt 3 1 .

Quy “[wotapsaya “peseonny pun HEM rods IOLA PUL SLO
BOHLIN) joe TuIpAysIN "skuLAvEAp wOyAKuASuOS solani ayazdeins amdand PUM Sastry, pastuacy oii
JO FOOT SY) URIsop OF Aa ye UO UNMAL |poys pIOLPUE | yey dau <arpwe any iq)

 

OHOA Wea L ay] JO UoLoNAsuod pur ud)sep sy OJ suEjd aoeds oy) aq [yes (,,SUBIg
aoedg,, 241) 1-D JIqlYx| Se Oleusy payee sued aseds ayy 72y) aa13e sated ay) {e)

 

 

DMO WUeUST “TOE UONdeS

 

“SHSING ad CHSIANC SIL AO NOLLVaVdadd TW a IOLav¥

“as¥o] OOP OY) Jopun
Psofpur’ | uroyy Furseal st Jueus,s, yoLyM doeds oy] UBoUT []BYs ,,doBdg Pasesy] 0+, cp

‘plo[pusy] Woy OOP SuIpying ye Wasay)
payioads eoeds uigsaa Buiseo] sf juvua, YoryM O} JueNssnd juBUaL pue PforpUeT] usaMTeq oyur pozaqua
SRO] SI) JO aJep oly JO SB payep JuoUSaIde oswo} SYyI UeALU [ES ,2Sk97] OOF, a

‘98B9'T SIU) JO SQ" | UOLOES UI YyLOJ Jos Suruesw ay) saey []eYs ULE], (yy)

“OSBTT SIU} JO 19'€ BONDAG Ur YBJO} Jos BUlUROUT aU) aARY [Jays ,yOA\ 1UeUS] (84)

[£LZ0 ST

‘oseary
SHB JO 90°f UOHDag of quOY 1es SujuROUr ay} aavy |[eYs ,ARYS eIEY Og sJUBUD],,, Gy

‘saaSlAap pur ‘saajR3oy
‘slossd00ns ‘say ‘SIO}SENUCS ‘SsoUBISSE PUB sjuvusIqns payed ‘spasusol} ‘sluo8e ‘saarjequesasdar
‘syuvasas ‘soaXojdwo sjuaues uoley uty mouyM ‘uRsU TeYs ,syussy ByuRUOL, (9a)

“SANE | S11 PAPNAUL paniaop aq {peys afeYA 46 XM s9yLO 20 WyoOud ‘susOoUI
quar ‘suet yrdes “yoois prude ‘asiysuny Yons WWALISSass2 JO MOHRNK) Jo paren ain ua atunYy> #
OF an arRisy [HOY oy UOdN pasodun syjeauay 10 WOU SOK LAUOLTA pr uDuND SU) Oy Bred tn to apoun qt
PIMPS NS 3g [PEYS ADO RTA oun 40 OFLeyo Jo ser sone At 30 Jord “ouRMaET Ms * jendes
“qooys ptudes "asiyoursy Aum yy “(osear] sq) oF paamooyyn aq yyitys ‘apquonidale <9 -Fumysir ay 10 anc
MPL J0 SPOS NEL OPERA pe ayy puree sents HH Aapoyaagy Je diysuvey TYE FO SPUOaIy Kit Sys pros ayy AQ
PRUTALap st “fone an aera ras ajqrandche ais sain) pur | ayy jo HOPIEN HA Passosst apy po (ey |) pany
U0 Sst"| SY) OL PALMAaYE aq [pNpe Ky (Auuppingy oto} pasodde se) puery ay OF ALQMINgu sawn |
Tupac, “MONTE mayNTy Atte a alg ns (it) PUT PaysuOd st TuppNg YOOs Ly PULL) NOS Tunpyirngy
40 OOP SUPE, jo Suoned puny oy) or pasodilo se cnonuiod Supp Syn ted pesodinn syuaussossn
fuy saleys ‘sax aims yeaa Aue SpMNYSu dou (pys Soe | LN) yea Poosapnun Manny py) aw oh EH at
uodn pasodult siimusesssr pun som@myo “Sonat onmisa puad [fe uesUE neys saxny, (pp)

 

  

 

 

   
  

 

‘read sepuajeo Aue upowl yBys eo, xeY,, (99)

UsWOIay
Stu2 JO (2)Z0’s UONO9g UT YOY Jas SuTURAUT OM) daey [[2Ys ,tuNOwY sseo19uy XeT, (qq)

“ase3"] S14} Jo (2) TQ" UONDOg U) YOY Jas BusLEOW ay sAeY [;eYS wSueTq aordg, (eR)
JOsiy pO’ UoHoSS UL YOY Jas ZuruBauL oy] say [jeYs ,JIsodaqy AyUNoeg,, {z)

“soszeyo Aqjrin Juypnyour ‘yapunssay
Pso[pueyz or aiqeked soBreyo soyjo Aue pue (ulasey Pauljap se yora) juncury asealoul suneiodg
‘SOXR], BNXY “WNourY eseoIOU] Xe], quay aseg jo ayedousde ay) uo [yeys Udy, (4)

“AUPRISHTS0OD =| TUIpT IG (ons Hot pu 11) QOS THIPTINE 20 ODF
TUIpp ME, Jo (anpeA puEy ayt oy posoddy se) anya FUP yp MoO pasodune ag set qi xy ays yen
Aut OPNPIU! you [[RYF OEE] XM, OINESY [Ray ayy) Je Peolsdapior Sergi) aypeaiayy anuyyuos oy payday

 

 

Ajqeuosvas oun yin sie pray aq uodn Posodhut siusiussasst yo safes dint snd ony Ny asngy aut
Aq HOTIEN GA posssesy ayy Aunddiypu 4g Pouiusp ‘aeg (envi ane to aati (MOY oN OF Iadsaa YIM
ageAed NEE AIISS [SE JO TUMOUR IEYOP ay wEDUL [POys .asvgT XU MO}Sy pEIy,, (x)

Joasay [Q"] Wolaag UL YOY Jos SuruaTE OY) aABY [LYS ,212ISq Bay, — (M)

Josusy [0'€ UOHSaE Ul YOS es SurURaW oy SABY [TEYS ,sUOeoIzloadg pur suR[g, (a)

 

‘saauds Tunystd of ssoage § 10mm, so) ont Sunped OY) PUN TEMA | JO; parinsal se pojeudisap
soothls Tung po uaquinu sip WEG Sas Jae] (9) )0'g YOl}I0g IY pooreapun aiyag i ‘PAoppuey su)
Aq pamiasay panmidtisap aq Antti sozeds Ruryswd ary so 0 | Oy dry “aun oF aut Mica) proppue’y Aq Suryzed
Joy PAIMUTTISOp ou YOK|M pur] ap jo suored asoyy urow Teys kay Funny, (n)

 

 

“QLOZ AB94 Jepusyes
AY} St tea A BupesodG ysaly,, ALL, “JeaA sRpuayeo Aue ura [feys ,3e9% Bunesadyy,, QM

“3SB9"] SIU] JO
(B)E€O°S uOH}I0g uy yO} Jos BurueoW sy) oAeYy Weys ,Junowy aseasouy Juyessdo,, (s)
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IELTS |

Aue 0} ateupsoyns pue soalqns aq {{eys Zo" YoHAAg st spun snes SauRUDy (qt) pire (qeeUO
JO STRAY Oy URN Jape) dandy pasva | yof op 40 SASHUOLY PAtUAC, ay yO tored Aut (astaygis
40) opquyriag Tutany so/pue) Fupsrarqns 1 wu st Tua, oF ZO"p wOMDAS Shp spun snymia Aue aary jou
Heys eu] (1) ‘aaeds Joo] 4 [ny Inafqns ayy oy yadsaT QUAL MUD] O SHORMAyQe FayLINY OU aABY []PYS
propa) pun ‘andxa jjeys aouds so0)4 (ing wahyng oy) oy joadsa TO'p MONIES sy MY paquosap
Situ sua) ua (node qyans Jo asiaoxn Slutus) soy step ssoursng (q() Um un douse
MPAs JO sseo} Sif) JO Sid] ay) Wo deve Apenunu oy “YppeE POOT my) pul ApquuOsEas ainiow sayR ‘aq
asim are saiund >yp ing waldo Yons Sasyasaxa juNLIAY JI JO) pe 400744 (IN Walgng ay oy padsar
HHS CO"P UOLSaS. SHA I paqhiasap uondo sit asiuND OF SAUNjIOP UOJ JuAAS ap Ut ([) ‘ZO"p UlONDag
Si) UF paurenuos Hun sine HupuMsy AON “Furpping dys fo soos yABY) IYI Jo AauR[NQ dyp) s ADRS J0O],|
Oolgns ayy jt aouoyuas sig) ul paquasap uotjdo HOLES) Sap. Say JOU |PRYS JURUDL YL “dAaMoY
popiadid taands soopy [ng afqns ay jo JeRa] YT JO SLOP MowAanouOD ayr von Sanoaype Suiag
VOWBUTULIAY Yon EL “aea"] Oot ayy OL oafgns gqy Sipping yo sey) PAY aIp uO azeds yo yay ants
apqeitiay gog', ayn ol iedsar yum seea'] gop Sy suTUMLAt O} (OYUL passjus SP aids sO4 afqns oir
JO OFHS] TL OuaTD aYL Te PAO[pUN-F OL UMUD | Ag Joa) A>VOU HOMLIM <q pAsosANs aq INT Got) UOHdO
SU) AAgY |[PYS IuruS) “OU! pauaiue £1 sandg Joop [jny malqns oy po asta AP Sty Sty) We Pu “yy
Pun projpuny o7 apqeidanse Ajquuoseas Kenn aq (pays se (UA! oxo] Oy) “LOLI Ino Fuypnyaut)
SHO HHS PIE SHLET dio (ans “Hay asitg 1Aeo) MONppE uy ‘apNjoU! |peys s30dg 2001.7 [pI ALQNE ay
JO aseop oH “Geausy (q))g'p Henaag uh pauLAp se) Woy EM ayy oD pins yunount un aq ypmys sands
100)4 Halgns oyy 49) yoy SeeE TYP IY] Aare said ayy “pUoppuT] op aanou tayum Aq ‘sandy
oops JIN soafqne Mp seta] oO] Hondo SL as}9IaNA OF ArNOU s,panpUE] fo Idiason tuoay sxe Cg) uasiyty
Dany |pEYs Tuy ooKds Joop) yng nafs ai po (|e ue Ssay lou ing) |] asma] Oo} j9ajo Aur pty
TOY) DUR OSH] JOY JiquyMaw s} ookdg JOO] [ny tokqas Syt peyL iO, Apo [mys puoypuLry “(aonds
Yyans Wi paisaiaquy st cords yon jo pumuAqns ko Wei Tunstxa ou putt ‘odEds Yyons Kdnase SUNNY
20 98S) OG} Sulsap SANYAL SL Jo Aue JON PEO[pUE | IOIpAU Jey pEprAaad pun) uordo sy Jo ostousve
Jo oun) ayy te FumunuEs x} pur pando Samy VEY CYMRPAC] JO HEAT Ue OMNI UOS pos “ye 20 Tana
(0 Sua so aunt jo adessnd any TREN “YON HON PIS fo MAA JO) [NEAL] JO WAT] OU Uddq sty a1)
ity papiacid wayt "(acids tools pny algns,. ay sn ot Pauaper Finag Aupping yn ay io
TAURTEG 1) IO “oowds pO sOO]) sua tye ) asia] Jey afquy PAR sotnogaq AMIp|Ng ot
att] YT sey Upp NE YT Goey poy wow mart) oands yo yon OAD Un CoNary sigh yo LEED | arity
a) Pe. pea sap oT yl are) ay vo au poll aut Funnp jy

 

 

 

  

 

 

 

    

 
 

    

  

   

RYO WTIOMIY “TOP WoRsEg

“peeiint oq jjags (LOT MoHaas uy pauyap sr) aunpaocy,)
pestuaddy Sp UDI "(SHE SINOAL, ay) Monde) (eawsuayy ayy RulspaaNs sayou Sq prO|pU | SoAtT punta y
SATE SAP (S|) AOMNTLY LIT AN Ua FaysEPY UO aaTE OT apQMIM age sorumd aut yy TAY DONIOPY SYD YystpqTED
OL AME) pore ul aymnoraU [peys soyund ayy My asegy Ft UDI oy MYL SSay De CU UE yg “(Tuy
YY.) aseds sjgemudiuins so) stu) sanpadsoad or sproypuny Aq PMALYO Fuag way (SpoumAVy
Joule pot city yuna age Wad “F-a} sur AU thOnsap OM FupyOH yuEUa | Aq
pesesy ump y OYTO} ayquand J CH JO] (OPLUGD gy apnery any)
APMPOUE OYE YORAL) warw sHPSsI|| AdpOyIG] Jy) ML WOLD] PUT UBisap ‘Anynb apquinduios jo aaeds a0
40) 91d puiuas JoXMET Fuyesaid ap jobs (ews aay pemawds oy) Fuunp way aseg (q)

 

 

 

 

 

   

 

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9) JT “MMA, [EAU Y Jury 947 10 spp uONMadKD dip OF
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Ine THUD] OYE fo omc) unary ayy op sonid stot (77) Aaja tobde famanay ray
eo St po TM UT PURI PTE ant Hees ders ‘Hope JEMOUSY U1) 1p) 199j5 oO) Sagtgap:
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NTESHOD PPNOW "TVOQ FO “OM POT JO Aya Io aU ssid OU Udlas "YONA HOTIpIOD 30 JAAD
AO) RRC] JO avy GT AY Shy oat) Tey panaosd “(, HL |, [EMaUaY puosag,, oy) sm sAUIAUIOS Ue
OF PoaRyas Fulag pravouay s94 (¢) aAi) pulodas ayy pul (UAT RAAUAY ISL ,. 3yD St SOULS
Poaunjas Rupay pemauar mag fC) aagy psayy ays) sma (c) SAL) 10 1A TsO) Yses “Mag pap Aud so

           

   

 
 

       
  

 

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Joy (.MOndQ JeMoudy,, B Yowa) aseaT SI] MaUSL 0} suoNdo (Z) OMT oARY JPEYS UeUDT, (e)

 

MIU} OTSUONAG “TH p uonaas

WHO TSH AG THOR AANGY GL SNOMdO “AL TSI V

   

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toadsau UL Santa 40 syuRAADa ‘suonMHosaday OU SAyeuI pue apell sey PloppuL'] “Joy 53 1C
IN] SUBSLOUTY ay YL tmydios am Forpyingy puw sasimosg pasiuioc) ay) puu ayec) luoWa
ay UO sepia FuppOm pood ui aq jpn ‘swoysds Aiapes 2
a ns As Suupying oseg [je ‘aBpay H SIE GO 19q4

      

SPM

 

 

sudneosaiday oN “Ep E uays85

‘SASTUIDY PISTUIOG] SY) SANTA OTEPHUIYNY pum soyeuusse] aJepnuayNy 03
SasTWald Postuad] aq] JO 9SPoy 94) NEP dy 07 JOL.Ad SasitUsad PHHIMIOC) MY) AMIE oO} payed aq JOU |[RYs
jueUA], PUR AepruoyNY oO} sasiaorg pasitueg O47 Rursea} st pojpur asta} SIyl JO s1VP aI Jo se yey)
purjssapun saried ayy “Z0'E UONODg sry) ul paUreUED Hugdue TuypuEsYIANION (9)

“aeuidodde susoap ‘uonassip ajgeunsecy si
Ww) “puorpun] st Arum Arka surety LO SUOQIpPUOd [oOUIppH Yyons asodut o1 YT! oy) aARY [;LYy PIO|PUT]
{JOorary dapimuasaudas so sojmjuED “LunAres “Mote “Aasoyduns | mua, Aq SosTuIAL) Pashuacy a4) 0}
ssacan Apsta jo ynsal ese Fuunsop JaAsosiniys aunyeu Aue jo oFMiuNp ao esop "Aanfas Kun sop Am Aut ut
SIQUI, Sq tN [POYS paoppur] ‘yuna, Oo) soo ua Hodn “oeuty Aum ye puoypuEy Ag UANRUIpIi sq Aleit
OFRNOT] S$) “WUtaD Joyo Aum Jo UOUROM oy) Jo “HOA WuMUA ay Jo woNetdutoD suai: sproypue-y
JO PIO[PU] INI @uuapoqur you wuoTy sauna) pum iM] ae sp asuan) Suda ayy,
“NBL S]06 SnD] Tw og [jeye 1 ‘(Yooay (tgg'E Montag o1 joMNsind ‘vor INGOT “RUIpN|out) sec
WustiAoUSUMED oy Mm Joud sasittialg pastwag ayy o1 salon panied st jews] J] {q)

   
 

 

 

‘SIMIUIN) pue BULA ‘s3u “uauidinba suoipenumuntioggjo
“QSBO] SITY) JO SWUIS] OU] YIM soURpIONSE Ul PUR asuIadxa [PEESUT OD TUM Ay ‘OL Jopso
Ul aJeq UsWIS9USWIWWOD 919 04 JoLId sAep (Q¢} A SISIWAaIg P Od Styl s5Tt OF WTA, [ud osjE
Heys paoipue] “Aquo uonssdsui Jo sasodind sy) joy sunoyy ssaussng, |eUet TULINp a1e¢) HiatiASERWO}

aly syoJaq sestularg pasimec) ay) s0yUd 0, JURUA], Wuad |]eYs PIO[pUEy (e)

    
    

 

sson0y Ape SjueUdy, “ZN E UOII9g

“SINO}] SsoUISNG

   

  

 

UOU pur sunoH ssouLsng oq Sunp * ay ul wor u09 Jayjo pur yom dn
“ly yueua) Suro sed aq [[IM 8101081 S$aJ 31941 pl Ippng ayy UBUD) JOYIO PUB PJO[pue’]
Jel, pue “Buipyng yueua-yynw e st Bwpping oy wy) sagpajmouyor juruay, (3)

“S10c “Pe daquuanngy Ag ysoay tuetay ay:
s1ojduo Aqyer hy OP SHOT 344 Aye Ssn ([EYS PUO|PUE'] “KANE] pt capan Burpying
aiquoydde [je qi SoUTMGTUDD UF pun JSULUT on |-LD OM pire poom @ ut poiarduima aq oy 420A,

 

UBUD] AYT asNeS [fVYs PLO[PUE] “spmEp EDIE] Uta ou Wag []FHS HOA, iUTUD,L ey Jol

“suonmaydde yons Aum jo steno
pue say yenjoe ay) Jof ayqisuodsas aq 4petfe puNYpuE] ‘uonmalyddy oy) yy YoOHNaasoad
ay) yum ayezadooa |jeys ysonbeu s,psoipueyy i pur ‘suonmsydde ay jo uonnaaNxa
aul Uf Ulf [[RYs JueUa], ‘Auwssaosu jf OA, IMA, jo AsRULGEd ayL Inn
WoRaauuoS Ul pasinbas AyTesoy siuLied pus spescuddie jpe soy Ajdde jpeus pacypury (st)
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f€2z0 ST
or

paxojduro s9yu9 suosiad o} pind sray pur sauiiyjns “sasaM ‘oy POW, JOU ING Zuiprysuy ~wsyLINY ‘puy ‘saay
TuyUNOTOT puT [EBAY ayquwasmaL “‘Funpnsuos yuawareuvu Supnysut “symszy peo ayy
SODIAINS a yaod projpurry st paojpun| Aq pxdmys <q 10"

pur SouuUsUIE ‘SsunsuL ‘LOL uaurateuei “iersquipe “diysis

WU! pasmnaul osuedxa Aaaao puw yor apnjour jpeys _sise> Burmiad’) St nntgy,, 2

    

 

“yuu |

iF au) JO Sysoo [fe win “Aso 30 (9¢¢) edad aay Aq paimisraAg iou sty S805
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JEMYS SIP Dy jo sasos |p tain “AsoET to (%4¢) itaqued any Aq sIs0D Funmiodg Ampying jo uormunuesrp
5. P10] PU] Ut IUalayesIA0 Ue Sasoldsip HPA [ruL) AL J] “PAO|PUE’y JO JOARY UL “pAojpUE-] Aq pamdard

Ag auog 39 |jeys sh
Fuywade Aurpy

  

   

juaweoe AupouapyUOS w PAO|PU] OF IOAOP puw aNONA “[pAR YSAs Cur of soLd “|joqy sophie
SH} pur ymuay, ‘puojpury Aq parsanbaa yy “Ainua to wesuiad saipo Sue on yueway se suoqIpne sup Aq apqRypmar
[AUS PUL PRUMAPL UGS UItAD puw oq [pas “upne yans Aun fo SyHsas Sy pur (eas
i }qurnsind sseupnm op paoypuey <q papisord uote Aue pur spuossy §,plojpuutry
waMaIMS Tunmady yns aida JAE OL pauisap ag [pets wuetay “uMINS TunRiadg Auw yo ydiaoa:
Jo sdup (og) Anxts ui aindsip & yo projpur’| <jueU jou saop luuay yy “oindsrp ap jo JuaWayyas
JO. DAISN]aWOD oq OL pauraap a [eys uauded ot yuawisnfpe yuonbasqns pur ipne hwy -puewsp uo
june 4q pied oq yjtys wiautdedsapun Aum pun yiiayuor IED] oO} PlO[pur] Aq papungas aq [pys WEY
Aq WoWAKEIOAD AuL pur <pHUIpAOIIE jUdWIDINS Sunesadg sip Stade |jEys PUOPPUN] “uaMAINS Tunpesadg
ai UE Po}aAoosip St Joua Um ‘siumunoaon oyqnd payties wapuadaptnt Aq MorAad puR spso0dad ¥,p10] pur}
JO UpHe dip Ao -syoog Ss puqjpuny jo Hionnadsiy sjumay jo ynsaa msm yy umCA, pun puopur’| og uo

IPUt PU DALSH]SUGS aq |[eYS UOHCHIDIap sxoym “HNTUINOANE aqnd partes pazuoses Ayuor
ued pant vodn pacutie Xyponinur y Aq pawaraaa ppm SAuMUa, dat or ((q)¢0's tonaag sip jo oouaias
Ist) 941 OF algae) asupdxe oyos say IE “NERY ayy aATY [eys paojpurry -((q)Eg"s UoNDAg Sit] Jo aouatIAs
AruNuAd ayy Or 1afyns) wuNUAy Ag Apa]O8 tug aq [EUS JPEYag szuTuAy, UO PeyInpuoS jpn Aue
40) 399 BY, “spuoom pun 1) SUITIUTELE UC pL] Say Soyo ayy Th sinoy ssaursng sepnBss Fuunp
PAANPHOD 2g |[eyS “POIPUIT]) Aq payinods osimsayio ssa[un ‘pur paajpuLr] oO} uaa18. s} aindsip Jo oono0u
Stumus zayye Andinod poyanpuos 3g joys uPA yong “yauogur ares SOAMOG LUELD], Wey eauaMNS
SunuadE) op wy (shady anand ayy Arnyisads YM SayNoAp! aayou Yyons pur ysuir quAUIIMS
Fupeiad’) ayy uo UMoYs se onp suns [Ee sxed yxy yma paptaoad ‘pas 8) TuawIms Tumadg
SY) You uodn sproaay Spuoppue’| UpAl op (poe ayy jo synsar oy no ped U1 420 SJOUM UT qwadonu0D
“AQanput so APA Vou st uaKsuadwED aso pun) PAg[pury] oy J]qQmdooa" Ajquuoseas syunMOgT
ayqed poyruas qwapuadapul jo wuyy i onmiisap om ‘ain yons 1 Tujnayues si puw pauinsso sey
JEL COYAB}SE] JO 1udag unt oro sNOS Prom “yO Jo “sano Jo Tular Jo aun) jo afessed oup LIAN “YSIS
VOMPHOD 20 THINS JO) |NAOC] JO WAT] OW Uaag sim] adaty iI papraoad "ty sy) aay [ys quBue | ‘oyRg]
Auype, ayn jo sénp (99) <pxts anpin PUCTPUr] OF foaisIp sonou uM Tuya Aq wows Fumsde)
ayy OF PAULTWOD Wen AUT JO LANEZarMMyS Jo jo oy saindsip pueUD 4 (q)

   

 

 

 

 

cies Suipaserd ayy soy nimowiy

oseousul Tuned’) ayy jo wnosse vo jueuay <q wowAedsopun 40 TusULtRdiaac KuR Jo yonoum ai (sr)
pur sopqeenycld gn rua a Iq Bur Foy you Oi) Loy 49f wey Aq oper spouted
Ayywion sip pa peren aa “yea a aC) Aunparsd ai 40) sis0g Funmedey Burpying paaiiprq
oY! pun ssa Aunsdey fe anTOP (RMR aI ImAMjeg Soup oy Gn) oAe< yawns
Joprorpur |Yys tunLiMMS SueedG yseg “sing Hunyyeg ap saye

Aut Av TIE, OF HIT SEAN DY PUMNEAT [YS PULP] UBUD] O) payuasaid juawayS
Turwads yau ayl uO UMOYs SE MY ASPAUAU| Te adS at ump soars sy send Xue Fup yuu,
Aq aprin siuswéed Cuiuour yans jo jeror ayn jy] “ary Buy oyt saye sep (QE) Auunp wnt puojpurry o}
aaliuagyip or ded (poys jirud,) “WMuay, oy paruasard juts Funieadg ixau aig Wo UAVoYS su “UnOUY
aseoiouy Suimiodcy ayn ue seay <1 ata, Sunmaade Sur Fuuinp yuanay Aq apm siuauided <yON yons
JO [MOF SI IY way Ssng orp Uta ApsnoauM nuts pied pue or pappy aq [peys wnoUYy aerazpuy Tuned
om jo suouded Apo osayy, AZM) WUaue 4g oe3y dunead¢y sjqraydde ayy JO) (NOU

 

    
 

       

        

  

 

 

  
   

asmavany Tupeadey out FuLAjdyyjnu Aq pamuajop ue uy par ty uEYys Apanbasy ssay
ou dune Surmadg oy) And yrys wimuay “(aincy Fanpegy, api st oF pacrapas say euiczay Sug
TWetO | O1 pan St Juauayg fun oy) tps veda at) ZApUAAUEY anp “Aue je “yunoUy
aaron Tumadg ay) Type Joli Humogs (, mig Aunmode, 9g) W wma) oF iiassad

 

1ELZ0'S 1
6

(eus Ploypuery “aeax Funmad’ iss1y ay) soy ydooxs YayRazoyp a)qmononid so-uoos su Jo uray Funieadg
ora jo WusaAUSUNGD ay soe Shep (ogy) Aiyio pur paspuny suo
Sq supa Tuyesodey ye1y.) oy ad spoory Murase)
Siuesadey Fmppng, powkpng aip URAMIAg Spay ray
Suiptiad’y, ayy) iumoiwe ue “Egg neLsAS sty Uy pappvcud wayLNy sue oyu put
Eset paoypiery op ded pips ieotiay ano, Fanssde 1 40) S909 Aude Fi
diay Runiiade) ysis sop paiospng (pauyap sayruy
SUSY SPT JO MS] OY SIN MAA Sunwaadey Wot A

        

     

     

 

 

‘SluSTISNIpYy “SISOS SuneIedG SuIpiiig “Es wordeg
“ASBO7] SIY} JO UOTBUIUUIA] A[Teo 10 UOTIPITdxa ou SALAM |[BYs WO] ayy
duimp sexe], exg Jo 1nowy asvasoul XBy so wouded JOJ SuONIeTI|go saueudy, (2)

“Tp pINg sy uw juTDY aauiD Aum yo S]HOmoAOdua ay) OY ayqmNngune
SON |, ang AUT IO) afqUyE aq Jou [mys wueUA, “pouolmdde <jquyws oq [Ys seaK | @ uetpy ssa] fo pound
B10) aNp SOXW), TINY Ary “DAOqt MPS SE TMS XAT My) pO SaueNsSH BOI Shop (og) Anat
SOXDL BANG Yons pxojpury oy Aud [mys qnmay “(Saxuy taN,,) YOUN A, passassy aij) Fu
Up HONTENpeA Uy E OQRYSINTULSIp & pausisse sy porn TueKoy yy YT AK OY pure
SIMD), JO) JO asundxa 5 )uNLO) yr PApLSUOD Auippingy ays so sas 1
ATTUIPSORNING OF arquInquinT am OWN astay snip jo woe ayy Tuimp ay joy. ou
SUMMUSSossH pull SARumyD ‘saxey ony Jo WOK Ae yoy apqeiy oq. [eys TUTE | (q)

     

‘pounodde <\qures og [peys sa A sey
10 8 uetp ssa] Jo poyod eso; UNO aseossUy KM AU IMOUO RIG XE] OYTO JOUuASSY
ail 4oyt sep (og) SUI Ul proppur] oF jUNOIY sstasouy xm ouy ded qyeys queusy,
“MOFRG PUOS 135 SH ONp saxU) tN Aue (AL) pe Aue y) "SNP yuNoUTYy esearuy xR aay (et)
“SSEAIIU] YON JO AP AaNDayD Jy (IN) ‘SaXEY. ayy Ui aseosouL pUMUL AUP (+) AIPM ppeyS
YPiya "fs Xi, 71) WIEN e PUR HoA eM] YS FOF soxmy ayy Joy (S)IIIq aMp
Jo Ados w pumvs| op jrugne |peys poopie] ‘oyeasaty alqranoqid sv uoos sv Jo ‘paysyqrss
Ws0g Set UOTTUNIE A Poskasey Sp YOM UL MOK ayy Ampnjsur ptm Joye sea we yoNT JO
MALUSUAUNO otf Jaye Shep (ng {) Asie pi pagpuny ano UNI, (i)

   

   
  

“put

5 Mey og Suen, Aq
aiqeaidde oy soy sawn,

 

\ Aidiyyni Aq pamuuiaisp (aunoury
aSBOIOUL XBL, ta MOLY (CTE Ss UorDIg Wi paptaoud se put way jo
juauoduios #8 s ape) oy Med |pereps ques | ny ASAE VEY, SETS] [ROp] MAY} UID soTeaIR
34 HEYS Oseo"y SH JO ula) oT FULMp Away XE Aue sO) SAXTY] OWN IT (a)

  
  

‘SMOT[OJ $B PIO[PUPT] 0} (Patuzop soyeUrarey se) JUNOWNY asesiouy XEy aIp Aed y]eYs WeUa
‘Jepunazey Aed 0] posinbas sy yeuay safreyd Joyjo [ye pue 1W9y 9seg 0} uoINppeE UT (R)

 

HUNOUTY SSBOIOU] XBL “TOG UoNDeG

‘pares-oud aq |[eys syrtoM feruRNd Joy OY aseg “way ay) fuuNp yoow
yoea jo ABp sit] a aJO}9q JO UO Psojpue] ay Aq paalscai pur oi onp aq P@4s watyTRIsU! ttianbasqns
yoRy “ojeq Wows .uaWWO) 3yi uo Suyuuigaq SOA PAE ‘ul SHUDUN][PISUI apie ul “nueID 40 salou
MoM “EO"E UOREY Uy YO) 39s uNOUE ayy ut ‘PLO|pUEr] OF OY osRq ARd [FRYE pu

AUDY Seg “TOS WoNsIS

“INSY AP TOLLaV

‘sords yons 0] yoodsas (nM aavy AW yleY aeIOdI0D
[BUUCD UT stuRUA JoyjO Aue ey ‘paynooxa A]]NJ s} aseo] SIYA AEP ay) Jo SB SuNsIxa ‘syd aorsuedxa
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Case 1

TELZO $1
al

mak Us uy paunsul S180 Furmiadg Surpping purse uy) suoer (aveSayiaw oy ny Spuertany ype aay.
PMOLPMAT] [[MYS HeAe OU Oy oAowo “eA, Tuned’ oye Jo wea Tuneadcy ri4 yous Tuunp paninsse
(sgg6) Waguad oAy Spout azoxy Tnpping ayia ‘aiqeaydde st une, duywssde asyio so sa, Sutrtaadyy
fury Sy) Fup pacmaut oq op payadxa oq Ajjmuuiow pjnom Suonsafoud ayqnuosnas Spuarpuey Tuysn
“in! 880.9 SuneradG Furppingy jo wunowm ay or dn possuus,. xy qjmps "spquondde <tr ‘yma Aunynsadey
Joie Aue do seo A Funmadey W414 ap soy e805 mode) Fupying, way “(eqce) woaiod oat Apu
URYL SS] St soypwasat seo A Nurtiadsy Cue so aro, Sunuad’) isang oy Fun duippng ays at Kauednosce
WEAD SYL UL Tet OoUTE sAELINY TUTUA, puR puo|puN] “A JIN] 820) S80 FunEde) Tuipping [pe wapjpou oi
porsnfpe og [pRys JayRazayy sa, Funiesade) yows soy pur awa,A Fapimaodey wat y sayy Joy fooumyy KysoD jose
ain ‘siso> Suntsdg Tuypping ype ot jaadsau wim ym sous yuwuay pur paoppuTy QQ

  

 

 

‘rodeuew Apodosd Jo sped ayy saoqe soakoydwo
aatnoaxe Aue 0 pied uonesuaduros ssqjo so ‘sawures ‘sede jy (x)

pure ‘sjuaz pana (1x)

{pue’y] sy] UO Sutpying mau Jayjo Aue Jo NOs ZuIpping
Jo ‘aiqvardde fi ‘uononysuos at YM UOKDaUTOS WI poLINoU! s}soc) (x)

ues) Aue Aq Apel pred ore yoy $7805 (x1)

‘sesea] Sulosoyua pue Suneyjodou

UBIM UOTIOSULOO UT PeTINOU! sasusdxa JeYJO PUB SUOtssIMIMIOD Butseay (ua)
sSoxBL, (a)
‘SULP] ng ey] uo uOTTEID9.1d9q (tA)
‘Aue JI ‘s1soo
1g9p 4ayjO 10 saeByow uo sjuawed JayIO JO [edlouUd “soueIUy (a)

‘SuIp[Ing tp UT siURLD] Joyo Jo S4017e81jqo
Jo saiipiqely ‘sonnp ayy 01 Supefa: somppuadxe Jo sasusdxa ‘s}s09 (a)

SSUIp[ing oyt UT sjuBUsy Ley
Jo sasiusaid ot 0) sjuswoaoiduat pure Jo Burseay 0) a[qENqLHe s}sop (un)

‘Aued piryy Jo yuBus} Aue Jo Jounsui
sjueus} Aue ‘sounsut sy) Xq pasinquuras st PLO[pueT Yoiym JOJ s}so_g (ay

‘oreisg JRoY 9q) Jo JusIdopoAap jeniut 347
Jo BuIp]Ing 9YI Jo UosonNsuOS oy WIA UOTIZeUTOS UI paLinoU sjso_p (1)

LOPTYOUT 0}
Panajsuoo JO pauisap aq 10 apnjoul JOU |{BYs ,sIsoD Sureedo SuIpjing,, Wa) SY], (9)

“YlIMasay} palwrsesse
Sjsoo solAJes pte ‘uongyejsuy ‘umday ‘aaueusquyu ‘uoKneUN] jnOWIM ‘BuLpRfoUI
‘areisg [POY OU] O1 aotares olNoa[a Fuipacad Auedwuus Aue jo oueyo Aue quam uonosuu0D
Wl proTpuey Aq pasunour ‘Aue jr ‘sagtiadva put saSseyo ‘sysoo ayy (AIX)

pue “188A Suyasad¢) yyy JOF SISO Buyessdo Smpying syq wi papnjowi aq oy
4294 Bunvisdg Aue oy o[qeNquE JuNOUTE poziuiowE fenuUE ou} Ayuo ys ‘syuawesodut

VELZ0'ST
i

Yns JO ayr] Pafastt yy 49A0 paziowle se Furpying ayy so uoNs|dwWos ay) Joye psoppuey Aq
Polfeysul squsuFsAoidurt yeyIdeo Bare jeUD} -UOU Jo ‘AUR JT 3S09 OY], (ix)

‘IRIS [esy ayy Duiyedas pue Surureywew ‘Funjeiado ‘urseuew
Ul peginouT A\qBuoseas Jeasos}RYM purty Aue Jo sesuadxa Jaqjo Auy (1x)

‘duedwes 1awoFmueu
quopuadapur ue Aq poptaoid sastAios yuauleSeuew Joy soap Ammiojens pun ayqeoosta:
Jo “oules woyisd ‘sjuBAras 10 Sjusda ‘sashoydwia syt ‘pojpuRy gl ‘seataass juawABTUTU

 

403 paoypuery] duos 0) aay oi arg v (x)

SOqPISq
leey auf) Jo uoyersdo pue soueasjuIew aif Y}IM UON.oUUOD UT paumnoUl SsWeWesMasip
pue seoj squRynsuoS puke sAowoye ‘Bulunoooe “Auyipne ajqeuoseay (x)

sooner GSO pu Jnyrog onesuadiios syayr0M “1OVRAaTA
‘Qunowy gaseorouy Hunyeriyy POEUN PU TINO aSOIsuy Xuy poyeuInsa ‘uo
aseg Sulpnyour) souminsin anjes jeuaa “<uadosd pum Awppquy, oyqnd ‘aRereaoo papusyxa

  

pug aulf ‘02 payUUT] 104 ING durpHyoU ‘FouEUNSUE s,PJO;pURT] JO WON (x!)
‘oreisy (BOY oO} 0} payzfad seorass JuitmI0JJ0d p3o[pue’] Jo sywoFe J9yJ0 JO s1M}oBIIUOS
juapusdaput 0) sfqeXud uonesuadu0s J04}0 puB soay a]qeuceeay (ftta)
Soyeysy [ES y aut
0} payejal sootAros Buruuojsad ssaXordurs 0} ajqeded suuoyiun ‘spyoueq aBuLy ‘juawomes
“eourdnsu! ‘saxe] Suypnyou! ‘uogesuedwoo 1ay}0 pur sareyes ‘sofe (ta)
‘we Jo syoofqo sayio 40 sduruied ‘aandinos Sui}EIsut
fo ysoo ay) Suipnjoxd ing ‘Bely DoWWOD Tuyes0oapa] jo js07) (a)
‘[PAowa. mous pue 3uldeaspug] Jo 1805 (a)

‘901295 [Mo] pUe SuNeuTULIANXe ‘TRAOUIal Ysiqqns “Surues}9 MopulM pur Jetioyuel
‘OVAH ‘1oyeAsya 01 paw) jou nq Furpnysm syoenuos soiasog (al)

‘sBaly UOWUIOD pur
sostuiaad queus} ‘sMopulm 0} payruut] Jou yng AuIpNyout ‘sis09 Suyues]|5 (np

sBary UOUIWOD ay) Ist 0} pue (eary UOUTUIOD pur sosiwuaid queuay yloq) Supping
SY JesY O} pur situN DYAH 1oM0d 07 AoLNOs]s Jo soo ay) 0} pau] JOU Inq SuIpnfom
‘(Se9} aolAres UONeoIIe0 pus Fulpees sajaw Fupnfour) sisoo AAA (1)

‘squeuajuTeul pur siredsy @

BIST [BY 9p 01 payeoo7]e AjJadoid
9B 10 A[a[OS ayBfar Kay} JwUA U9}X9 OY} 01 ATUO Ng “BUIMOHTO 247 9q ABW JO are S1S02 Buneiedg Surpying
at astduoo Agu 30 asliduioo ysiqm asuadxe jo sway judg ayy jo awos (p)

“PaA[Oaul Soledosd Iayjo
ay on pamdines aimsy pray ayy aay Auyisitodsas fo eauiop oy to oEISq peoy ou OF Bulyepos suayew
Ho Jomo 40 uosod Yous Aq quads Sun Le pase” preroliu aq [eys 40Jasay) pied soa) vo satieyES
‘satiny ayy “apsy (Magy on) up -soruodoud suouL op ppodsay ipiay pevoydwa s) soyenuos juapuadapul so
uosiod Ate j) “Moja (p) corasqng ul payeapur sn ostadva yo stiion jeard& sayso yons pure *318)Sq [BOY

YL OL PSAs Sam Ados oa Tudo FinuueOp sad urs PNadapuy sv poedus Jo puojpue] Aq
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1€L20'S1
vt

EBT, Aq ustsAcMi] pur saeuT UTE “sireday ‘TOL UOMDaS

‘AsuAdNS SpURUA,) ye Puagpny Aa prounniday
TIM [Og WOnDag sry un (9) pow (g) im) sages on quo) tos aRwumey “pum SPU 4] OF JO apr
a anual D SLOT? “SUORELRISUL "SUOKAE Aue (5) FO ‘asiar] uy IEUOAOD JO SUDTI PIO
© Adios 46 tO Lad OL WUE L JO aunpiEy aut (q) saaIAut to stuagy suumeua | uM | JO
al to UorssiUO “ioe Kum (im) Aq pasns Suny sur apnyaxa jpeys SuOnNAYO s, pLO|pUE WL anaaavay
‘papiacid Sastuadd pasturacy air fo Sypitay souraiui Foueay-pooy Aue pur ‘ssoImAapo *(SAstuy,| pastttac]
oy) Apojos Funssos sutaysds Jesiinyasw pure “snquungd “yy Ap) TMaMIeap ai) wey yt) EL YT ae
sitasxs peo putt A MAOV AH JEAIDAp ‘sMOputa *S]]yH JOUTIxa ‘vol EpUNO) ay) O1 suieday
PUMLS puw Auppngy ayt yo poo ayy oy suindoa Capssapog apm aq oj anes uo SYBML [RUS PuOPpURy
Tay UOUIUED 31) Oo} suedsy Amsspaau apeul oq oO} osnnd so ayn pays puOppu]

   
   

  

    
  

 

SpuOTpUr] Aq siedsy “TP Luong

 

YACNEAANS “AONVI TANS “SNOLLVUdLTV ‘SUlVdad HA FOLLuy

“HOLIpUOS 2OLd Sy! 0) paXyyR oom Aalfl yoy ul ease
SU) Stojsal pue suass [ye oAOUIAL ‘asuadNa pm 3509 apos 5,1 We RYS WuEUaY “May aYt jo UoNEmdxa
a) TY HOM Yons jo uONa|diwos ap sayn uss yons Aue ‘asuadya St 12 “[peIsUtay |jRYs pIO[puey
pur ‘asuadxo s)| ye ‘sosuiaug posta 40 Surpyng, oy uidn so Ul sluauaAOudiuE JO sideMuayle ‘suyBdos
a4eU 0} JO TUEd 0} Joplo Ul UBS AR OACHwAI Oo) WTI Oy SAMY [PRYs PAO[PUET] (p) ,

   

"SOS|UIDAd PIS|WAC] OY} JO SPLSINO oy] WO] 3IQISIA 0 ayeIsy
[ray ay] 42 Jo ur suds Aue ureyureus Jo |[eysut oF YSU Sy} @ABY JOU ][PYS WeUDT, (9)

‘panssi are Katy Jaye awy afqeuosess
B UNHIM p1O]PuL'T O1 Pavealfep aq |JEYs Sasueor] pue syuniad yons [ye Jo serdod ‘parmbas aw awes J! ‘uSis
Yons 04 Sunejas sasusoty pue syoued pamnbal [je soy Aed pue ure}go [feYs ueUST, (q)

‘URISSp PUT UOKwSOY WuaItOD
‘TELOI “SUOTSUDIIP 01 St jusstiOD Haya Joud Spsojpue’) upiat Sasi PIStliAC] sip, JO JoLoyWa
at uo Buus, 4q aumu seas sy Pi Oo] juBUay yuLod Aew pucjpus] “padrjap so prayynias
AQBUOSEAMIN |aq JOU |peYs Yaya WSUOS UaTIM JOLd splo;pue’] MONA SIsWAIg posuMg oy) to
ABaUOOp Sou ayy uO UTS @ UNEUEEUE pur {| 01 149i ou saey |peys IuBUD Dp (ty

  

 

SUIS “Zqrg woT|ag

Suipring sy3 Jo vase Aqqoy JOOTJ ysI1} Oy) Ul syURUEY Jo Atojoaslp & aplaold [jeys psoppueTy

 

:NopaNg ‘Tog wong

‘

“orion wads ini UONeT|go Aue Jo poratya.
3q {IBYs P4oypue’] ‘ajsueN Yyons uodn puw cq°s UOT|AGg sty) O} rUMSANd otNS AYE BJOY 0} UOIBAI go diN
‘SuNUM UT ‘SaWNSSe Jo134sUB.O ayy “IAZSUN Yous JO uoIIpYoD sh popiacud “SURIST] BAY oY) Jo Tuipjing
Of Ul JsalayU! 8,pro[pue’] Jo saseyound Aue o} paxaysuesy aq dtu piscdacy Aqnoag ay (a)

   

‘2s8aT Ol JO WJa] ey} utp ysodacy AiMoag ary raquinsua astwuaO
40 sdesuoUr ‘azoayjodAy ‘oBpoid ‘ustsse 1ou |feYs 1 JY} soasSe pue syueuaaco jueual (p)

l€£20°S1
el

“sapuniaray, Artyiqety Jo paaarjos A[aya[duroo aq
JTeys pIO[PUR"] “TO | PLUTO mp Oo) Joaay) SoURyRG 10 Nsodacy AiUNSag YoNs Jo WINjaZ oy) UOdN ‘jusAd
yons gy “Heodagy Aliandag Yons uy WSSU} satmUay Jo siuAUUT)ssH asOUT 40 SUO Jo ssa[puedar yuRUDY,
[eUIsLIO ay O} sodaq] Ayunoeg sy WNy Aww proppue’y ‘youloys SouRey SuIUreWos stp JO usodeq
AUNIIg ay aatoar OL NPT ap jo i9WNTESse Au go paajpue| of Asmoe]syes sousplas Jo souesqe
SY UT “Sas|WaIG postmac] IY} PoywORA sey ZURUD) YO!YM Jaye ayep Joye] Aue uodn so syeq] uoresidxg
ayy saye sXep (Og) AUIQ] UNALM JUBUa] 0} powimer aq [[RYS Joosayy souRleq Aue 10 ysodaq Aymoss
aU ‘asEaT] SIyp Jo suorsiAoad ayy Jo [7B YPM Ajduzoo ATnyupey pue Ayiry [pegs uBUaL Jy (0)

 

“Spung Jeo S,pso|puey GUM ysodeq Aynoag sty s[ZutWUWOD 0) pajuus oq
[reys psojpuer] ‘orqissyued <]je Say J) puw ‘ysouojul ou seaq [peys wsodaq Apanoag ayy, (q)

“pApNUS oq SeIMOIpO ATU PAd;pur] Yor oF Aiskodq Aup UO WOLTIUNTY
8 st ayuado you [eye A] qe Jo Jopunozsy soy papiaosd Apawias 40 jy®2 soypo Aun Buisiovewa wos
puoypury yusacid you [mys proppur’] Aq joazay uoniod Jo nsodag Aiunoag ayy yo wonuayes Jo uoNsoitd
‘gen OY], "OIMC] UOy af CO SaSTUY poHUra] Sy JO Jap RyumuD | wodn sospwasy posruisc)
yt or aBeuep jo aredoz oy toy prodag Ajunoog op jo und Aum so ajoya oui mor so dtddo ‘asm Avur
PUO|PUPT “yuMoUNt pUTALIO sf O1 poroysay 3g ]Uys oUNES aE wy Os Ysodag AjND0g aun oO pappR ag jpRYE
Yor ‘pourmas Jo poydde os imyy.o ponbo ums t projpuur] oy And ‘pumweap wo “}peys yumua) wey asta]
ay} SULINP UonUdIa Jo “uonPodde yons eae so asno ot uy “souAy [AX aPMW YL woNauUOS UT
Sesqioang porraIRct sip Jo unaaj-24 ap Gi AQva|oup 40 saSewp Aue Surpnjout ‘y[myjoq Jo wHAg Yons Jo
uoseas Aq pueda oy pasmbar oq 10 puadxo Azul pyojpue’] Qaim ums Aue (111) Jo fase] stn fo stiorstaoud
AY IIs PoURPIONIE UL JpMEq SAUNLDY UO projpuRy] Aq papuodxa wins Aue (ir) yneysq Jo TDA stp
Je souaumneoo ay] syn onp auiosag Aeio yoy Jo pied oamy jou ABW! JUELD] YT Aauow Jo sums Jato
Aue 10 Woy (1) Jo wawARd ay 405 Uws0doc] AqLinoeg arp yo ued Aum so ajoun out uImarso Ajddn ‘osn Av
PeO[pUrry] “pauinaro sity (PoULOP Wyss SE) INBIAC JO IAAT UE J] “AseOY SHIP YIN UOMSeUEOD Ut Jo asTAT
Sup Jppun suoneSygo sy Jo |e Jo yeu, Aq sommUNOFIAd nITIEZ puR [[NY aip soy AyuNIas sr ‘panppue’
Yen asodap o} pagnbas si weuay yo ‘po BONDag UI IPO ws wins atyy {n)

qWsodaq Aimnsag “(> Uonoog

‘esTa] SUL JO toeulUa? L91,IWe JO UoITesdxa
ay JAIAINS [[BYS jOaley [XK BINy Pue A apomry sapun (uuay ayy Fuump Sumiose) suonesrjqo syueusy,
‘Woy IR _ JO JuHtAEdUON Jo ASR al UL SR AME] IR LO ASEST aq) Ot XO} paptaoad solpouzas [je oAeY [yeUS
puopuey] “uay ee ne SY} LOU 20 JoyAyAN ‘Zopunamay ajquded safmyo 1oyjo Auw so ‘saxe), eNxg
unouny asnasouy Tuy IO Tanouny osearouy xy, Aun Aed of py [pus auauay Jy (9)

“ZSTLIRO[ON00E “AaquINNy IuNoSOy ‘Aaedulog
Teuuog YT JO OY AUY Gt UPMD 104 'REZOOOLT! “WAY TWwaptsary 9914 soIwsg ‘Aydny Amey “sy
HY “1060 IN “Hwuing “peoy 4941 OGL “W'N “AuEg ORY soy AuNSSE Turmoroy oI 02 ‘sreTjOq
S'A) UL spuny o[quyleaw Aimeypstinu ur saysues aut Aq projpun'y o1 a(qeced oq [joys aseay] spy) epun

 

‘quowazege ‘ulossy poptAodd Ajssoudxa se ydaoxa ‘Io ‘asuayop
‘uoHonpap ‘jasjjo “uNeQJeUNOD ‘pueutep ‘soNOU jnoYUIM pred aq [[eYs Usy (e)

 

WYO juouxeg FOS cog

‘squnowr yons 03 yoodso1 ym ‘Aue
S$} Ope si juowAed suo Ajuo yeuy os “ajqvorjdde se ‘poyou Jo payedaidde oq [yeys eased] sy) Jo ENS pue
ZO'S SUOOag 0} JuUBNsind weO,A Buijesed_D Aue o} Wodser WIM anp syuNoUTe ayy, (q)

“Une, 8Y} SULINP passnoUy $1809 JOY 9689] STY] JO VOTFBUINUIA] Are JO UOIBIIdXO SU} SATAINS []EYS
une] a) Faunp sysop dunesadg Suipying Jo yuowAed joy suoyesgo sjueuay, (a)
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beLZ0'S 1
91

Joy papraoad sv so suo Rayiaodg pue swag au) ut autes saaordde pio[pue’] ssaun Sulpring sq) Jo syueUS)
Joyo Aq JoarayZ ASN AY (NIM IAjOIUE [{FA YOIYM JO BISA [Boy A) Jo ZuIpjing au ‘sositelg pasturaq]
SY) UE SOU] OY} SpAOpiaAg Jey) jUatudinbs jeoLgos[s Aue [[eIsuI Jou Aew jWeUay, (B)

Sour (ROMA “SZ UOnds5

  

suimdas yons FuryMU Jo 99 OY) JO) PAc|pUe’] ASINQUIAS [[PYS WWRVAL *S
siudag Yons 407 (tq & Sapuas puojpuR' JoyR skup (QE) Gang uiyT AQ “AoUDTzawta yons Fo aan10N aUoYydaym
UBUD], AALS |PCYS psojpur] ‘osusdxa sauuuas ye opeUl dq 0) sIUdUIDdzIC AJ Jo SuIRdad YONs asned JO ayrw
01 poosasd pire ‘sasntaig pastuoc om gus Aun pio[puey ueUD|, fq a>peu aq 01 pouinbas asiasayio
Siatiaondas so saieday Aue oyun o} Aissanau swosog [yes yt ‘Kouatuawa un Ww‘)

 

ireday Adussisurg ‘fO'T wonse¢

‘qJueud |, 0) LoIJsuadUIOD
INOIBIM UONTET[BIsHT Tet uodn popu] jo Ayadosd ow oulossg pyeys (yo WWRUay oy) qu
Uonssumeo UT ape sIMSWeAOIdU] 20 SUDITRIaye Aue ‘Mote NUNY NOTIN ‘Buipnjour) sosiwasg posiwog
OY) 01 opel sjueuiaAcidun pus suopMEMyy pantuuod [je yey) aorde saiyed ay, (9)

‘Xayfod yons Aue uo painsul

[EUONIPpe Uk Sk PITT ag |pOYS pro|pUN] pu yuo Ato FulousMOD oF soLid sarstjod
AUMITISHL ap yo saidwo yn psoypuury Ajddns |joqs yeu] ‘posay CO", UORDES WIM
F uy “Mund 1 ain Aq papery oy sonoU sold Shap (OE) Aun
NOUN SpqRypaours-vow aq jjmys Ao ‘oumadosdde SIDS DIO|DUR] se SuUAy yons uo
PUT suuronut Hons Hy oq [joys sorsyjodt Yous “EO, NANDA: site UE QUOT Ine su pacoyduza
aq 0) JOPEAUOS “G9A0 Jago a} sauWNsty UONtsuaduIOS szoylom. pi Anyrqiny
aygnd “pom yons jo oommcyied ayy Finuinp soz0] WT aATY put ‘uMNge Oo] suOTSENUOS
Si [ye aumnbor jms pu ‘uimgo |pmys yeu] ssayuN asea] si] IN GoNIouUOS uy
TSUOYIO ID SOLU POSTUAC] Af UO JO OL 320M sine Aue muo.ied 40 “suCLINyjmsTT
40 summdsy “Suoinuayt AUM OpRi aq O} Ashes 20 yw yOu {pms preva) (ita)

“SOmTMAY PaTWag ayl JO Mouvdnogo s;icwud7, 01 101d
Proppuey oF foarayy Adoo 8 spiAaid pus Aasutdrioso so oytoynI09 Yons UiMgo ‘10y A[dde
ITBYS JUBUAL SOM YONS JO }[NSAL BSE SONIA POSIUAC] aij O1 Wadsax UPA Ponsst oq
Aoundnoso Jo aywaytyes B yey] Saurnbaz Ajit [eaMNUAAGs Aue IT “qa)

*yzom yons $0 Uoyjatdu09
uodn sduimeip ying se, YA plo[pueT sptaold |[eys juBUsy *(a)

“HOM Pls JO] Astor] a1) UL paptaosd se ssojuey puo;pue] ploy PUB cAEs 0] sao78e
WED), “JOFUayL Apjiqisoodsas ou aAwy [peys proppuRT] 320M Yons AUE o1 Joa[qo oO}
poop Aq cunjing Aun Simpumsipimjon, “Buipting 9y3 uw eoeds pases] 3,)ueUD) yons
Jo quoutéolie jainb pure asn s yuma sao Aue yl Jo suaisds SuIpjing qyla 949}791U]
WAS OU UE |MYS YOM YONs pur “KAUUT SyTUUIYSOM puB pood u U- os op ]TRYs
pie sa;ojjod SOUCINSH []U JO suoNIpUOS PuT.sitaa ay pus “Aysoyine s1¢qnd arqeondde
Aum jo snonmpnias jo sivaurmsinbas ype ‘suoqeauye pur sup om YIM aouRpsoaoE
i 420M YONG Jo [pe pauopiad aq o} osmta 40 wwoyied |yeys yueUa], (Al)

“uotajdui09 0} YOM yors
aynsasoid Ajjuadiyip [jeys pue Yom yons yo soueUUOjIed oy) soUeUTUIOS ]yeYs jDeUaT,
‘pajuezs Usaq sABy sjlued pug syeAcadde ayisinbos ye soe A[\du0Ig “(in)

‘proypue’] Aq ysanbar uodn pur awn) oj ou} troy ssaz301d
SH JO P1o[puey esyape [yeys juBUSs, ‘Joatayy ydisca1 uodn sjeacudde pum syuued [|e
Jo satdos yim piojpue’y apraoud yjeys pur Joy parjdde syruuad pure sjeao-dde avy yoos

[ELTO $7
sl

 

OF SOU.) bag 41r oen pe Apt yp suena Mnoasoud (|RYR WENA), “pPUOTpUT']
Aq pauinout sosuadva say so yeday Sun Furpny Hdde ai YIM HONzaUUMS uF
sasuadxa pun syseo ‘saay [ltt fea [pes ju) “unesydile oi jo wornaasasd ayy) yan
dituadoos jpeys tsankay syuruay Te pure “suopmanydde ayy Jo warnsaxa ayy ut mol |Eys

  
 
 

  

POPU] “Kivssooad jy Spon Wane jo soumioad ayy ii uoNAaUeD UT paarmibaa
Seay sued pur syeaqudder jo soy Aydt Xpduuoad yyeys yowuay ‘(y)
“MOTIMLEFOTU}

AA aif po jdiapas Spoipnet| jO-SAEp uay IY WORT OL aanou umm Aq
SHOTSENIOD pana pasado Safe OF NYT ay) BAR (eS PuOrpUT]. ‘padeyap 10
PITA SpqeMoseastin oy rare ypeiis wASUEAD ISNA “psoTptrA] oy a[qEIdaao" sopreduios

attump Auades! pue Aipomy siqnd ‘uetresuadmog
Y SMOEIOD Gayo pum |s201sRNUOS
fuala® yons jo aides proppurry of ystmy [jes WeUaL ~SaNUOIpNe ywWatass0;ue
sy dope wannuaaed syqesiydde yy SASUAO TDD UVUTET [pyy
PUR sIMORUOS WON SssH]o4say og lees (SIOPNNUOD {]M PU) TOIBUOD srIaUsT
Yong “Yom yons wooed oy pssodoud asm oym suojonnuOD jRIAKeN Jo Ist] UaNIN P
PLOPPUR"] OT Ys) [puts yea] “YOM Wyone Auy Sususwures oy Jog 4D

 
 

  
    

 

 

(o1sJoy PayouneE Z~> NgIYRY Jo £ wim
Yi aoumtduios ‘won anoyttan “Surpnjouy) yi 4, URUDT, JO] OVQIDy paysMNE 2-5 TqUpK] UL Ypog 338
BIRLA ayy trem gouNT [doo Wl os MAYO pure (asUOdNS pull sods, LUNA, IM pune) AOjOq tpUOy 129 SHOINpUOD
Pun suum Ot UO oq [TRYS (E)EO'L UeIg UL poguaxap sumwaAcMdun 20 suOIppE ‘SuotPinyy “saredas
Paniuvad Aue ‘oory (e)¢o', VoRS9g uy pourmios FupAIM Foray Me A (q)

“SHOA\ HoMUa] FRNTUY Sth) SAO: oO pasinbar oq wweuay, (peys
MAD OF OY OOM YOns Jo] WuAsuOd © proppHor | xyes WON) BUT] ot) Te 1MaUIaINnbal volmerss yans Jo
{WOLD OL aoriOU sApiADK! proppuT-] papracsd yso 4A TRUS, wonsTdieS 40 O90] WWI) IY }O
Sb 20 SuoHMAye Aun Oo} JoLd suoIy pUOS ayy OP SASTUARA PISUACE AL ALOTRAD Op yumMttA suINbaa oF ap al
SANY TRYS PUOTPUE] -SUONTPUNO] Jo Fuylad peanyon.s “oor ‘sywen JOLaIKS “suUMpOD pun sym FuLtaG
<prop BULISIXD Jp 40 SUIPLING ott po suopsuauip SPAS Te po Ste OTA Annet Ay YETTA |, [POS [aaa on
UT “PRMIETIOS WAsSY yoy, JuRUS | oy Supuias euorsivoud tai Aur pie sail aun inibas ye jo
SUONIPUOD PUR sta) aI “AMIOUINE | a dé Aue yo wifvog yyer i
AMIEL OYT[UTECBIOM pu poor e UL pouLiopiad oy yprttys Hoyt parunod Ain sasiayg pasturagy ayy
$0 }90) aumnbs ayquiuas sad ye'gg o1 jenba inoue un parova or paisuunsa $1 squAWWarcAduit Yane jo kes
afqruoseas on J prorpury] JO uasnoo uayUM Joud au moun yoarpy ped Aint ac “sasemingg pasting
yi O1 syusu Mut JO SHOR IPR ‘suOpRroyY “suyedad “ayeu jou Amu ptt, (mn)

  

   

 

  
  

 

 

‘S@ATAUL JO SISANS ¥ URUAY JO ‘sjuaTy s,jueuay.
queue] JO esnsiw JO ‘sonedsySou 3nvy ay) o1 arqringime joaramp pd Aue so purq oy 10 Suipring
SY] SOSIUIGIY PasUlac] ay] 0} SaTeWep []P JO} a[qri] pur ayquaundsas oq jprUS IwAUS |, (q)

‘Aims [POY OyL Aunaayse wo on une ALK apsiLy 4q pasinbas saiotjod
OOMUNST ITE JO SUOHI PS pul sta) ai) pue AoyIne sjqnd ajquaydde Aue. 30 SUULIRINAA JO Sine}
‘stmmmauinhas |pe punt joasay co'e URFIIAg Jo imbas 1 aut ype Ay pur aajasgo |yeqs
que ‘suredoy Tunyeiu up “SMOpUI Woy spuNfG asoUAZ you [pry MeN]
aig yO ay atmbs ayquyuas s9d egg 7 punba yunowe uv Ruypasoxa
SAHHIEAE Mt PIOLPU] APNOU |[Mps THNUD) “SASHA PASI] at O1 RUAMAGAdUN ,
pue wedas yi so) apqistindnaa aq | TTD | WY AaMOy ‘papiacid Spoauay go'Z | wOTIIOg uy YO] 1ap
Asnpanume acu sw Ayptsits 291Ro punt uty JO ouLANDIA ANT AQ pouinbou sieday (pu ayn pets puoppwey
cmiotanoy ayy Fup i N HHO PIC] OY) UY sTUAaaeydas pow summa ‘Ratedos
HE so) ajqisuodsay aq yymys “asiadya spt re "tay “oy OV pmEsiyqo Ayjayioads #1 pacypuiey gums
MM Moos] “Sastunaay) pasiittag) ay jo ama pool aim pun UIEVUFeU ppEYys yuma (v)

     

 

  
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l€£Z0 $1

TPYS MreuD |, “pyo|pu] Aq papraoad sooraios UoHRUUaINa Atm OL todsex quia ‘suOKMTNFoY pun sarny out
th paulmuos Huryidue TurpuesLNPoU INYL ore Saud Sys “pOmUOD [MYS asearT stip ‘(O¥|IOy payomyT
HQUpN] Joyo Av Jo) suoLWiNTay pure sajny ay) pure obo") SII JO SULA) AIP UdEANad WipUOD Aut fo IWAAA
Ayr i] “Uuagy soTimys Suv jo sonon sup (¢) aay weal Ie uaAtT oq [PRUs quMUay ‘{suontNEoy puv
SA/PH. A “AfaaHaaTOD) otMsy oy ay pur Furpying ay 20} sues) 1 auT wo, psoppuRrT Aq paystigerso
SUCH THAIS PU Sans JIE [|e PUL SUCH) N Tas PuMr Saye Yas [YR angssqo [pwys yweUsy ‘olny poxsuuT
1 NQI EY UL YYOS Jas OSE OUP SIU YO $B JOOJJa UT PIO;puey dy) JO suote[Ndaz pue sans ayy,

 

 

 

 

‘ploppURT Aq PaUSTquISY SuOTIENITY pue soMY “ZW GONseS

“AIRG] MOWSTAUNIOS ay) JO se Fuysixa eine oy on saey apquaydde ini asumyduis
udu JO WwapIouL Aue SuiApamias soy ayqisuodsay aq jou jprys qutuay "BuroFalo) ay UEDRUIMA WIN

 
  

INN aMwy Uh yoy tox sinauaummba: ay) yjt sm fem eu ‘(soorEpNBay puw sen] jriuotUOoAUA
HOHE) notin SiupAysd) say jeay ag) 4aA0 worsipsting Smaey Anyua peruano

   

JO SPALMUIpAO uN SHONY] Nay “sajna “SoeE JOU |] Pu syuSMAZINbeu 40 suONE|NRos Burw0z ayquoydde
[IY Grow Apduton jjmys yuma) (eastunuy posing, Oy) UTIs Sua yuoug eeXojduta ui sooumidde
ANILUNS pure siod s5)j09 (poo, jo Hurmay ai soy) suaao samara [pers Api wueUay TRY) passe Auyag
#) asodind Jaye ou soy pun samy pmisuad soy sasqiasg posta, ayy sn [jeys wea

 

357. “106 uondag

“SSRI PASTA, SUL Wy GouTyoRU sao Aum pur “Sulin ‘suasis “huapasy
“SALTY ALIDA}S SFI Pllaygy MYLO} SsAr aryMUOsMaT salyyUD J9yIO YON pull PO[PUL] MoOjTe []Mys “AsEsssoq1
A[QRUOSED SH “PUN SSUNL [Jo IE JaplAosy PAINS oMUUAIPY AUE PUR “LAPIADIy SStAINg SU}99]3 WwWELND
aI AN HE) att "PuO|puET, YHAy arAdoOD [[RyS IMUA] “OMT [RAY dy JO] saatAgas so|O puE AWDTIODIS
aiap or (AWE. ap) Aueduios uowinquisip jroop t sosn Apueuing puoypury ‘seplacig Maateg
AW94IN 2D PY) MIO DatAsds JO} JOBE G1 ANULUOD JO (,J9PLAOIg ATJaug TBWIET]Y,, UT SE 0} pauiogal Su19q
Augduio ons yar) Ayaiui9ja Fuipjaosd sayuaduios so Auedwios waayip w Way sodiazes OJ TOMILOD
JoyNI9 O} asa] Sy] Jo ULI] ai) Bun out, Oy puny) Woy pun Aum) Aue TR WF op samy [peYyS prO;pUER]
‘any ajqnaydde Aq pamuuad j1 BuroFa20; ayy Turpumsiniwioy ‘Laapiacig Atuaug youn, 9y)) aps y
ery op soy Avatisa;9 aptacad o1 Au oD UinIA B senn AMAL puo|puE] (a)

“SANTI PASNMDC] SUL Ie ATLA | O1 Parstuan AoUTospS [8 fo 3809 oy] Iuasoudas |wUs wns SIL
‘(e8esn 91499} Yons fof WURUAT, a2;OAu! puL ounseaw Aed party we dATY [[eYS PAOTPURT] II PreTdiusuOD
StH Jeyl poopuoplin Fulsq a Cages OuNAAj> Yans sy TMA) AMOAU! PUT amEnow oF paojpuny
Aq paSedus Aud pany Aun Aq paanys aa1Alos Tuipiiay sajaul puM voLmyiLAS Jo}our Aun Auipny ur)
Popp] oF orgeaydde O10 OY I "sisNg AliuoIU a HO Turmowgns Yons uodN paseg atusn quia si
40] juay Jo jusuoduros vse ‘paoppury Ard yprqs weuay pue ‘(ostory siyy aapun sosiuagy postaiag ay
10} S OVAL T i AUB Ya GOL tit TuypNYOUT) Sosa PAsMinE] ap Un P a
Alpunine Ayatsoo}9 oI oP RS OG MGR Sela PALO]. SH] (ey

APE “COR CSAS

‘JONI? a]qQEUOSEAY s,pro][pun7] puotog soouE|suinauD Aq (11) 20 WuNUD, (1) Aq pastes sem wondnuayu
\ons ssayun saolAles Jo uondnuo yons jo powad ayn HuuMp oqmunumin pasapuas usEg AaTU SOsIIOIY
Pasta Mp YD TAINS di O01 pare oq |[rys uAY ayL "saojuas Jo uoNdnsFL UL Oy oNp pLO[pUET
OF WURUDT, Woy JOoUNA s9NeU UDNLM Joye skp 4] At (§) aay soy apq) pouap
St Sas[ttiodg pasung ayy}! Rujodeuoy ain Aurpursiymion “vondnuauy sayy saoraszos usar or spoysa
iseq SH asm yjeys pyojpuey] -uondnsmut yans Jo poured Aug Tuuinp way jo wawArd soy ajqisuodsay
aq 01 ANUAUOD |[EYS UENO] "JoNMOS a]qMUOSeA si puosog sasnes 46 WoHDadsut “Mdos OF ANP SamAIOs
jo uondnazaiur a pasnes sadeump to sossoy Auu s0y 9]QMI] 9q JOU [[eUS Pao|puA] (p)

WLc0 St
il

  

‘queue £0) porsosal,, sv (saoeds g a's) asuaquas suipasanl ayn oy wuninsand ssoooR payuedd s1
ques] Yor 0} saonds Surysnd so soquunu ayy JO (eet)1 } iaadad ur onmuTiisap fjas profpuey -eay azenbs
atqejual $69" JO] StS g, Ft) ogy anmbs ajquiuay gop’ | yous sod sues y- parm My eys Bary Iuyey
oy Ul duryed 9y1.03 ssanDy aly SUN PUL “SUMOOTSAE SOPLLOD ‘RO NAapS “KuEE “sarqqoy Suipnyaul
“Cory UOWMIOD PUT PUT] Ay! OF saa}asas opovuad pie unenuuEliT (pitys paoyputy {9)

“WARY aswE, YM Jayjadoy “Ap UOU! Pso[pue'T oO pred aq [[eys pue judy paursap aq [yeYs sao1~zas
JO ASN ssaoXa JOY OULU “sAepANRS UO “urd {| 6 UaaMjeq polad oy Sump saasiasas
dup ueinday pur

     

PUE SpUdynam WO pur

(q)

 

‘somubtj> Sut yo S3nou sAmp (¢) Daly pea] yO SALT pyo(pue-] sm Auoy 8 saotasae
aI Jo Aouanbayy s/putt susp oy Aypou Aiqruoseas oy WU ay aaaty [pets proppure| “At ©} Out
ted) YLIO) i Ke puoy pun] se SADbAdAs Jaye qos (A) pure “SpHayaany PUR SAMpL IpnpoNe “KARP AIK
wo “A NqI x4 S@_oluay poxouun (payns os sayminaay) siouesypinads pruoy MEL. SY) tit Wyte
Jos SH SAdAIOS Runumaya (Mt) csayddos wood (yn) oIwAg}O puayoas ano Rurpnyour oorasas sopAops
pul ssagew (11) tous Jamo oy ApOUTa[a ai pir sostuiosg pasiinag ayy Jo) paunbas Suworrpuo0s
JUF PUTT Tea Tiipying aeny “sunayy ne) Suunp (Cf) syswany [NYS proypuTy (®)

    

  

 

ISSOIAJSG Spioppuey] ‘THR UoTidss

SaLITTLIA ONV SHOIAMAS “ITA PIOMUY

qurdnooo
40 turuaygns Aut 40 yuma L Aq paumo Auodosd yons Aum or Sunun920 arurep so ssoy Aun soy ayQIsuodsa:
a }OU FPEYS paojpue yy “oyeC) uormutys] aH) MAladns [RYs UNE Ga YoY BuloFaIay ap ino SurduTe
4 puopur’] Ag Paunour asuadxe so kod Suv soy proypurry SSUNQUITAL [UYS RUA) “My aoe Acw pyojpury
Si aati Wane tt” Iw (jo pasodyp oq a0 Auadosd su se puojpunry Aq pout
ay JOY KOU pure HAKTAS TeEUO) YRS Sq PAvOpLUTH Ug GAY OF PoOUIDIP oq ‘2anou
FOOUTINS PANE pPueEpER| yO EG ayo up yer Maen “SASL PISIG] SY) Woy jumdngse to WRUaIQNs “yeu ]
MONS JO [EAOLIS Ot PUN ASE] GIL JO VOL RMIULIOL OF JOY SASTEUA,! POsHUaC] aip io so Uy UtTPUNOL frUys
Yo Ywednsco Jo jumyagns fuw Jo jmMay jo Kuadosd pouowod Auy “RUNUAS UL Sstaoyio saptaosd
PAOPURT -Saa[UN. FOP { amday oy pounbos st projpury yoga Jaiio 40. any Aq. arunp
4oj Wdaoxa pur ‘paidaoxe aa) pun smass Kanuipio redo) pur voNIpuos pood ut put “unayD moog ‘opal
PAPA S8iMsayo JO PaXauunt "ul apEW UD|g oany Ant HOW SIAC put suOIppo ‘suOT apes
“(pmdooxa swat pue mom ajquuoseay ‘soanyxt) apes} oi) Jo VONE|PESUL 9y) Oy JOLd Ut SEM We LOTIpUCD aT
0) pasopsos Og |[UYS SasTALy posiutag] ay] pur “os Fuyop us amws ojquuoseas asyosoxa |jwys wwUa) ‘seunnxy
SPE SOACUIAT JURUA] Jr “WEYL pooysippuN Suing pW ‘rauMIXYy apen jdeowa) soni) ‘KHON RIMe [TO YM
JoyoFo. sastuady pastivacy oy1 sopuauins pur yb |uys weua} ‘sq voneudxy an WE

  
  

 

 

‘SaSlUsig JO JOpusLING ‘ON, WOKoIg

‘SSOUISNY S1UBUD | JO LONPUOS ay} JUSAaId JOU [|ZYs YOM s,psojpue’] JEU}
Pepracid ssepesy yousn 0} piojpuey] Joy ssa90e apraoud |TeYs EUS], ‘soul 1B Iv (q)

IUeInQune pROpAAG peonsas Aum Ag pasnes apmsy jeoy ay) 0) 99dSez YIM 10
P [1 20) a1get) 4o opqisuedtsas aq jpeus yuRUD | “souoyne psusWuZA08
Ml ooinansul pazmbau je JO suonlpuos pue swiss} oy) YIM
daz JO/pur SOLPIAI|T JOASTeY oyeWT 0} ‘asusdxe pur 1509
I WURUTL a.tnbas ABU PUMYPUI] ‘VOLU]TEIStE YONS SITU WUNWDY J] “eAoge ¢Q"1 WOES w

     
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“WoHeFOIQNS fo I9AIEA YONs IBpo}MoUyoE 0] Sotoljod aouRINsU: s,jUEUSIGNs aU) aumMbai |JeYs pue
PIO[PUL'T ISUIEZE VOLEFOsGNS JO JOATEM B UTEYUOD [JEYS BSEAIQTS dy )

*asee’] sii Japun suonesjgo
Sil Jo AUE aTB[O1A 0} UBL] aSNeO Pinom yey) JuIPAuW ‘Op OF [fey 10 ‘op o) JOU aseatqns ayy Ur sare |TeYys
Pue ‘asBaTy Siu] Jo Swuua} JY} Jo [Te 0} paoade pus pamolacy sty 11 MY) oApamouyoe [[eYys zURUDIGNS ‘asbor]
SIY} JO suLia) ayy 0} SJeUpsogns puke qosiqns aq |juys seearqnS ayy — (1)

‘syuswouinbod
Zumoyoy ain yu Iurd{dusos pue sses] sry Jo sua} ay) YIM qwoEIsUOau! jou stuz9) FururEuoD
(,2seaqqng,, ayy) [eacadde woniia s,projpuey on yoo(qns pu plojpury ayy a1 Arojorssijes souessqns
pue wo) ur juaWAsTH wo eB o1 ENsINd 3q [;eEYS [O'O{ Wag s1y} sapuN pantwisd yuowasuuue
Aouevayqns Aim “youl | p'g| woes ul paureyuco SuiyjAue Rupuyisy inion (4)

“OSRI'] SY] OPRU/ULEA PUR FASIUAIY Poste] a113UD 94) oIN)dwooL
0) ‘sonou s,jueua] Jo Jdioad JoyR sAep (51) loa MGI JUMUAT, oO) acNOU uApLM BuLMs Aq UOT}aI9SIp
3108 S}L UL pIO[pue’] Aq pasissexa oq OF YA ay aATY [CYS PrO|puE] uot ‘sasittars Pasittieg oujus 9y)
asko|qns JO asBo’] S14] UBISse O} JUORUD 5 paoypuIr] sisonbes juuay IwAAa ayn OY (3)

“MOLAINOPRD yYoNs TO
sasodand soy ines out uaym aq ypRys 1ajqns os ands agy yo uoruod ay: Aue warm Japqne age pasting
PASH] ayY fo HorOd & Ajo It juYy) Poonwapun Xizag yy “(CQuawarcudun qurua puR caay shoo
APISING “MOISsAIuOD ‘SHOISTMWOD Fuses, Aued pulyl OF payuny jou ing urpnyout) aswayqns yons
HAY MOHTSSUTOS Ut JL, <q pawinouy sasuadxe dupsnpap s9ye ‘porsad amies ay) Joy porajqns sesimialg
PISLWAC] DL JOY LUMA | ay) Aq pind dq o1 40 pred joy J} JO S8naNO Ly juRIIAY Jo aaEsazgns ayp Aq prud oq
0140 pred uONwapIEuoS ||P IMTAUT [MES .sHITOY asRapng sso. (1) PCE (SHUSINSAONdUNL MUD! pluie say
SSEMUOHR ApISTNG “SHOFSaaiOD SuOSTUMIOD ausiay Apied puny) Or pantiny 100 Ing TuIpny our) juoMNUA eye
(ens Iw UonsautEs Ul yuma) Aq pauinat saiuadxa joypod-jo-ino jemier Aunanpap sym wituay
GO] Mey Jo aauRissn oy Aq pred aq wy a0 pied MOWMUSPISUOS [0 UBDL [jTys OT MIApisUOD IUOWUTIssYy
ssaavy,. (9) "UO01'0] Wonoag sty Jo sasodind so4 "puojpue’] pum iueuay toamaag Ajpenba poss oq
[EUS Asbo"; sup Japun panmuad aseayqns 40 yusUTE SSN UR YM BONDaULOS ut (Mo[ag pauysp se) spray
asmojgns sspaxq 40 (mojeq pourjap st) uonmAprsuOD jwauUissy ssooxq AUy a)

   

 
 

‘ulajey peptaaid 19350 Isp
JO sit oy1 JO UeJOY paptAoid sostMarg pos!wIE(] DY) JO ase] BUR JO feMmaual OF SIYMU ay) OATY I0U Treys
(eel Wy leUe] ® ‘saudisse UE Jo 9sE9 ay} Ur “UBL Jato) souTISse 10 JUZUMQNs Y (2)

‘SasiWo1g pastwac] 34} Jo uo:Hod Aur Jo [ye suUBISssE 10 sjorqus
¥JuaAd OY) UT aseoT S14] Jo suUOTeSTTQO [[e 10 afqery APeWid WeUTaL [jes UVa, (Pp)

“Surpying sy} wi yueuay, e Apeadye s) Jasn Joyo 30 jUeUayqns SUT (ar)

“BIEISA [BY OY] JO SPURLWOP aAISSADNA sNwd ]TIM
Sas|Worg pestwaq oy) Jo Aouednooo s,iasn s9y10 Jo sjuZuayqNS Jy L, an)

‘ALIOUING [BIUAWILLIDAGT
Aue Aq pardinwoid soueuipio so Aiojejnaa ‘ajna ‘wey 10 soueulpio Murmoz Aur 0} AseUOD 10
SyUvUd} SJ PUe BUIPIINg OY} JO siso1ajUI puB WoIeIndas ‘Ia}RIEYD ‘A19Tes AY} 0} tetoipnfead aq pjnom sesn
J9YIO IO yuRUATgns ay) Aq SasILuDIg pasiwac] ay} Jo osn posodoad oy] D

‘ATOVIEASTJESUN SI JON JOYO 40 JUBUDIGNS oY} Jo UOIPUOD fRIOUBU SYED

:SUOTTIPUCS
PuMoloy ayy sapun ‘aaoge (q) ydeaTereg Jopun Bunetqns 0 Juowustsse ‘sajsuen @ 0} [BAcsdde
PloyyiM “HOHeUIULIA}Op djos sy] uy ‘AeW pro[pueTT ‘FuroFas0j ay1 Fugit; Inoyr A (9)

LELZO'S |
61

‘popiaad waaay se ‘aug uppeadx:y ays Aras
{[EUS YOY osRo] any yo suatsiaord asoyy sor idaoKs “prox pur [nu aq mys osvA’| SHY) FO stONpIATD
Pun sual [[P “sastualg postuoy) stn go wanjor ayy wos “Way CU JO) PTE PHA PTI [PHU Paina oq pny
WON OR LOE Ii HES say }e ge eps, HITS AM O[QnS ParLEYINMUN Ke pur ‘padnpap a0 pane
“PEM Sjquuostasuin SOK [PRS ISOS ISM “WASHED USI fond spuoypye | pnt Ait
POTRYLLAN Aue OF yoauay) Rd Aue Jo DSTA paspMa¢y ayy jo Aotmdnaao ayy any Sastiaaty ao SUOISsasuOS
Wiese 400 "UID! PsAdayL AUT so aster] SHY) aaquingUA asiwuayyO Jo “opmoayjoddy Jo aTTB OW “yaysuRA
“udissn Jou ‘yoasayy Lund Aue so soenuias) pound syn iaTQns you TTRYS Tutina yf (q)

  

 

AVEO] SHYT JAPUN SUOITET YO (pe fo JotrULEp iad ayy soy
ajqrsuodses puv organ Apamunsd og of sonunuos uma), se Tua) OF IAsUOD s;pIN|pUR] MoYsS ( arenyusy
iutuay,,) WINES], JO Watewli-sossonANs Jo Aumipisqns so syeyye fue so wonuedioy quaund sy 01
Oser] Sip Uaisse Jo umd ur Jo apoyM UT sasiUIady pasiuiag] ayn 1o]qns Amu punta | ta)

  

BS

  

sasodind [e83] [1 1aqj0 Aus 103 10 ‘ssaursng JoWyo 4o “ornjODNURW
‘ape [edalj! Aue soy sasiurorg pasiwag ay) Jo asm ayy wWauisd 40 3sn you [feys JUeUaT,

‘sosoding [e835] ‘PO Uooag

‘asodind Aue sof Suspjing ay) 4 sostulaig PastUIac] aU} fo S][VM JOLIeIxa
Jo Joo ay) Jo uoryod Aue Jo [Je asn jou jreys jueuay -Jooy 10 ‘STEM Jonesy (Pp)

“JUASUOS UAYIIM S,PIO[PUe] INOYYM
joo) o1enbs Jad spunod (99) pespuny suo jo peol 1007, auf spesoxa YyoIA quswidinbs yo wat Aaesy Aue
SesUiaig PasiWec] ay) ut UTBWUIRWI JO ayeiodo ‘][eISUL JOU |peYs JURUAT, :PRO] JOOLF (9)

“purry ay 40 Auypling om ‘sosruatg pastwoc) 917] Jo
SyMpuos pue sourjsdid ay) oseurep 10 aposs “Boro ARUL YDIM uEDoYy) SaDUTTSQNY Ate JO ssodsip you Amur
jueual, "papuojur ase Aaqy Yor ym Joy ssoyy uBN} JoIpo asodind Aue soy Tuupiingy Fiyy 40 SasIWAlg PAs]
ay) JO sanpory Surquinjd oq asn you jyeys JuMUOL sky] NINMIRy MUNQMITyy (q)

‘asuadxa 90s s, UBUD |, 18 J IIqIUXY Ul YLOJ Tos suoNBatpads Juruesto
91) 0] Juensand po[puey Aq jo pasodsip 2q 0} Ayuenb aq) Jo ssaoxe ur adequed
pow ysiqqns Aue jo jeaouras jdwoid ay) soy otuese qeys jueuo], )

“Fg uqtyxg Jo wed se payesodioour suonearytoads Sujusoyo ou) yA
SaUUpIOOIE Ul ;BAOWAI sduquBd PUP YsIqqns aprAosd ]JeYS pso[puey (u)

 

‘plo[pur’y] Aq paysijqeiss suone[ndoy puz sajngy oy) qyLM 3oUEpsOs0e
ul edeques pue ysiqqns [ye Jo asodsip pue ajpuey jjeys jueuoy, @

BeeQD OO (e)

 

Sanlanoy Sfuewsl vo WOnSTsay ‘O'S uoNsSS

“SINO} ssauisng
(Zu1unp jou pur) Jaye sasiuraig pos}weq ay 0} ssa0oR WIM prorpue| apiaoid oy posmbar aq [uo
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‘squemeaosduit Jo
uorleray[@ ‘souzuajurew “redex 10} vary UOUIOD ot) Jo AuB asoj9 ATUesoduray 0} (p)

fpaambog jr ‘Burysed aynyysqns

sap|aoid pso[pus] papiaoid saoeds Suyyred poyseur Ajeaisnpoxa Jo voueoo] sy] sdueys 03 pue yons
Joy payeuaisap AjsnorAaid seaze Uy $3]91YaA 10;OW Jo aSessed Jo Buryed yrquyord 0} (9)
‘wary WOWUOD IY] Jo UOILOd Aue 10 |B SSO[9 07 (q)

fulasoy) oyqnd ayy so woguad Awe jo syy3is Aue jo penrooe

917 Jo Joassy] UoNeoIpap ¥ JUaAaid 07 ATessaoau aq ‘jasuNod s,pso}pUe’] Jo uOIULdO ay UT ‘Ket se yuoIxs
Qons 0} gery Supe ay} SULpNjoul Bary LOUWOD ay) Jo uOHOd AUD Jo |JU aso{s 0} (B)

“YS ou) aazy [[eYs pro[pur’y ‘urssey paurejuoo Areuos ayy o} TuryPAUe SuTpURISYLIAMION

 

‘MYRRY SPIO[pueT TH TT woRoag

“payausisap
Os S}1xe pure saouenue ayelidoudde ayi ySnosy) ajeysy [ROY sy 0} JUsOBfpe AeALYTIY JO JoaNs o1jgnd & woy
SoslWald pastwad] ay] O} S8999B JO; SWI) OF OW WOY pio[puey] <q psyeUTIsop sAem jIxe pus s.UBQUA
OUR BSN O} soaylAUT puU Sjuade ‘saaXojdusa sj! yuNIEd 0] BopIALd dAIsHTaXe-uOU Jy (q)

pue ‘10°Z J9pun pouijsp sk eory LOWUOD
SI 98N 0} SaaqAUl PUR syueTe ‘ssaXojdusa syt uad 0} asuadt] SATsNTOXd-UOU 24) (2)

sjuBUa] 01 payuEd Kqosay ose ‘suone[ndoy pur soiny
S,PIO[PUB] PUB dSzdTT SIY) JO SUI} OY} OJ Joalgns ‘puo]pur’] Jo SeuZIsap Aue pUue plorpueyT WIM UOUIUTOD
Or aeISy [Ray oy JO suosod uTEyed osn o} sadoylalsd Surmopjoy ou ‘Uva, ay Suu

ToIY VOUT} JOB “TOT TONISS

Vauv NOWAIOD Ix A TOILYV

‘pao[puey Aq pauuozied 31 se jueuay Aq paidoson ag |pinys pur pudyputT jo sym UO osu) sad payraap
9q [Ys ‘powreouco SI eu], se Ieyosul ‘soe; Aq asumuwopiad yons “Aapunasay uuOysad OF pau!
Si ploppuey yey) woNeTI;go Aue wioyred [ous aaTeiayy uw y) 'paysanboy telraoou Wun “pee prow
Jo palsies Aq saseSyoy, Yyons 0} Juss AjsNoouMINuts x1 poasayy Adora w ssopun UnALT nad
9q TJBYS PJO]puey Joy papusjul do!;oOu ou “uIAIaY pauses GevES ay) oF Tunyidue Rupe UE LAD
Josip soBea yoy 94) JO SSaIppe pue SUEY Au YO] Jas sonON YONs M1 puE ATERLOY # Ag posaqumaua
are puey oq) 10 SUTprIng sy) ‘sastwasy paseuacy ayy pt yA, ApLyOU ypnys pyO]pUMT] aT

{SITY SsedeSIOW_ “SOOT GoTIO8g

    
 

"SqeISY [VOY Sy) Lo Buipying ayy ‘sosimorg
POSPRIAC] SYi JO JAUMO ISI MYT O} Paty aq Lou FyRYS PUT ‘ou OF out MOL LUMO Yors.o7 ofqeotdda oq
{Joys MONSASgNs M4) UApUNardsy suOnETI qo spro]pUT"] Jo |[e SotUNSsE Sa9;suNN ayL poplacad “sapunayay
[IGE Por suontdiyge ‘sjuEUaAc SH JO [JP JO Paaaryal puny paar Apia s) Ages] put aq, [eys ploypoey]
Ss] [eay ay 4 k HEL ME “SAS POsIUIDE] jo (4onqasvaj-opes Aue Sinpnpout) apas Aue
JO JusAS A Uy Fug 1p soy STTss] [ROY Oy) JO AMIPpNg ayy ‘sAsrUALY pasUAC] Hp Jo vot d
ut aoe pow ayy 20 Joumo ayy Ajuo SUES asmor] st UL posn st ,plOypUeT, U9) ayy

   
    
  

 

1EL20°S 1
1¢

s]S3IO)U] S,pIs|puey] JO IsJSUBL], “PO'O] WOES

"ula,
APP FO HUME AYL tO) 3q [jRYS sseay Ma YONS JO Wary ayL WL Kaaxs osRAT] eI) Jo SuOIstAOZd AY] JO
[# quo Tunas sassy pasitiag, stp toy asza, Mau B aIndaxa Apu? pun aseo] sig) JopuN siysu squUUa,
SUnUAODA! TAWA aMQUMSTp-1oOU T SIdALAp sapjoy yons paplaqid soseysund Jo saBeFopy ons
OL ONE [[UYS jUMUA “a]RS 3o aInsopoosoy yons ye Jaseysund so aadeduoyy ajquardde ayy jo wanbos ay) jw
(q) pun Gapunosay suqnesi)qo sy yo Aue ap asus" stun wWatjzesip 20U [yRYys JEUD| (@) ‘ABEL; pres Jopun
umejap & 40 uostar &q 40 aunsojzaioy yons o1 juENsind pjos am ouses 4) Jo ‘paso|sqzcy st aRNTVOW |oNs
pur atefuoy F Ag pasqumous am pur] ay) so Fuippng, ayy ‘sasiuaay pasa] ayt fy

TUSUMIONTY “FOOT UoHsa5

‘SOUBISSE YORS 0} Koop spuowARd OYE ]]BYS TUBUS], ‘PIO[pUB] Wo s01]0U Vay JOLd uod_,
‘sadedpo] Aue 0} sjusuXed quay sjueua | usisse 07 IYSII oy) BABY |PEYS P1o|pue] (9)

“sostuoid
ay] JO uoIssassod OUT soutod 71 UAAa ayy UI saFBBYOYA] pres oy) 0} WORE 0} Saouzde JuRUD] Oy) poplAcid
pue ‘aseay] sit} uapun yNejop Ul JOU SI JURUAY OY) Se Zuo] Os JOY JUEUA], SY] JO JOAR] UI JUsUIS9I9e
sourqinysip-uou @ aadespoy Aum wloly ute}qoO Oo) JOABapUa [[eYs pJo;pUuey (4)

“SUT OF MUNy CuO “MOURAIOIA Aptrauayyip
Ul poplaoud suoTIZa]9 oI Jo Aue jo astasaxd ayy “os
DUEGIMISIP-LOU & HIZATOP oATLA ow yons papiaoud sai
Wwoj ons ul ‘BEER ow Aum yo wat] ayo (esa;a sean pac
SI) Fury MOWINSUI uM aNdexd (q) Jo/pun sau Ly YP OP WnowTed o€ Jo sppLOgns
OS 51 aS8a"] SNP IRI GUO) s[qupIONo uP pur FuyUM wy ULIsUOD (0) [[aYs TnUSY “aU OF aun Woy
pur aun Aue i Yanbes spuoppu] uedr) ‘paumnbas aq jjrys Ou puE aatpuadojjos aq
TITYS OSNeFO SIY) “pUoYPUEK] LO UGIDAPO aYLIY “MUU | om) porary) Aq Wonaayo yous astazoxa
ADU pro[puH] ‘oaeALOW yans jo Furprosar yo a 1 1 SaMiny 1O wwasasd Ate
JO War] SY OD JOLANS JO SyRupsogNs oq [PEYs aN] 17 Speoqpurry yy (e)

     

 

      

SWORRITpIOgNS *ZO'OT uoHoaS
‘aaintbes ABUL PJO]PUE’] SB SULIS} JOJO Yons UTEWOS Tfeys sseatqng ayy, (1A)

"MISUOD HAIIM S,PJO[pUR’] NOY asBa[qng oy? pus
Jou |[BYs yuEUAIGnS pue yueUdy (A) PUB asue"] SIY} PUSLTB 0} Pauleap JO pansstioo aq [[eYs JO puswe
IteYys dsea1Qng ay) WI BulOU (x) Jey aplAod [TeYs asestqng oy], (a)

“yuzUaIgNS puy psol[pur’] uasaqaq
aqeyse fo AAtid Jo younuos jo Apatsd aye229 OF PatuMap 40 parutsuoS aq [JeYS 10 o1ROL0 Teys asestqns
9U) UF patlejoo Suryjou ‘sage (a1) SsnN]D oO} yUTNSsInd yNUDIgns Aq pomncexa Ss] JUSTUBAIAY jUOUTIONR
ue se aw) yons [un pub ssajun Imy) apracad [jRys asearqns oy], (a)

“pur pine] o} apqendsoon JUSTO PUB MUO] UL ag [JELs wot9s13e
JUSLULIOYE YON “aSeo] ST} UOLPWUIILUD) JO IVP aI PuEAeg snuNUOS asralqns ayy aamy OL JOSTo [TRYS
“UONSIOSIP 9TOS SU Ul “PIO[PUR] J! WOwWAATE wIuMID}}9 UL IINzaKe 0} UEUMIQnS auInbas {JMYs oseatqng
MYL ‘ep uonwsdxa pajnpayss 1} o} OLd sayeUIWD) |sRaT] Sty) INL IUAA oY) WN aTTUTTEA) jou ]JeYs
asea]gng aij ‘uondo s_projpuey ye “eI apiaoad jjRys aseajqns ayy, — (Al)

‘UONISJOSIP 3]0S S Ps1O[pUe’] UI PlaytPIM 10 pazuwss oq Kew Juasuo9
GOLyAs JUasuOS UDNLIM §,pIojpueT SUIUIEIQO IsJIy INOYIM jUBUaIGnS Xq asearqng ay} Jo jUSWUATSse oy)
Jo sastuiaig pesiwac] ot JO aseajqns-qns B yiqiyoud [TeYys asearqng oy, (111)
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MLM PuO[puy FULALT Aq oftra]
tHE] SYy O} Ssaaaw Ss yeMUAY yljas sauapta!
ty @ 40 sasiuaag it] oy

‘a P

SOS S MAL, We “WUNAy ‘SARA po
PE] 20 Finpying, ay worsed «jo A

 

i : F
SUS) LAN § ww if PASO) aIp fo UsyOd ojo Turyey eyo widAS oy

 

Uy “PaAlovad sp 2S10U YONe Jayyn SY MOLW S244) BATOSLIO dy [[BYS aSUD"] IY] JO VONLUULID! ot] “AP Yons
JOYE SYUOW AdATY pum AIeC] Auiye | oy on sold sinuOT (¢} aan) poUuad ain uoomiod oie AO
SYP OL SONOU HOLM HUAI Ag sea") <1) SyemuUE, Amur Hondo apes 8:1 IT “PAO[pulry “Sosiuiaag posta]
AHN IO 2605 Jo PRT YT IO koh “Tenpyingy St yo Isp JO BupyD|, a jo was ay? 4 (q)

    

 

‘aed Burye |, ayi JO se oyeurtura) A7;eoTeMOyNE ]BUS asBe'] sry ‘osn ATeAOdUED] Jos Bulyey ev ueY) Jot
‘saslWorg pasiwacy Jo pur] “Auppying oq} Jo sjoym ayy jo Furyey, & Jo wars oy) uy (R)

 

‘SaspMsig pastmaq, Jo SUITE “ZI E] WOTDaS

 

 

*sday ,sAauojye ajqvuoseou Sutpnjour
“WIMaJay] UOLSeUUGD UT asuadKe Ife ssay Buryey Aue yo spaaooid ayy, ‘prey (9)

josseyy uolyod Aue Jo puey oy] 10 Zuipying
ay ‘sasiulolg Posturac] ay) JO uotssassod o1 YB ayJ oAeY |PEYS J8OIy] Japun Jaseqoind 10 Ayuoyne
SUIUUIDPUOD sy Yor Uo aep ayy ‘Buryep Aue oy oadsaz UWI ed Sue, (q)

 

g0028q] 1B984y1 Jopun Joseyoind Aq aseyound ayy 29 *wOLRMUSpuOD “urpLOp JuoUIWE
Jo zamod Au jo Aoyyne pLWSWUIEAOS v Aq as|osoxa SY1 JO JINseu 94) sz “FoosNig woRed Avo 30 pun] oq)
Jo BuIpjing ay} ‘sestuterg pastuag aq) 0) aReUlEp 20 JO uonealidop oy HUTT, (v)

‘sduluesta BUIMOI[OY SY] BARY SPIOM BUIMOT[OJ dy) ‘Hhasoy] past sy
suontuyed “TOT wondeg

“NOLIVNASONOD “THX FTSLLaV

 

‘ajomay Sip Oy wensind Dumpling yj Jo Jo sasiuasg pasiwaq ou) Jo UOPIOd
Aue Jo uoyesosas 10 s1edea so “Ayensea Aue wos Fuisize souekouue Ic ssaulsng Jo sso] ‘ooualUaAUOUl
OJ un] Jo voHesuadwoa ‘sadeuep Aue Aed 0} payeygo 2q icu [yeys pioypue]

RPT SPOR] “POT WORsEg

“yao &Ps0] put] 10) 40 pxo|pur-] Aq partes Aoyod souesnsut Auy jo
spaasaud ai umyy sayrand sums Aunt Huappinqas 20 aedaa yans ut puedxa ct paredigo ag iu jjuys pao(pueny
" HAO SaHAU “Wuaey s uta) AUR vo juMEA) JO qn) a1 6) SNP jou se} atu YyoRs pue (asray
Sty) JO tia y jo Aap ysey ayy op sored sypuoUT (Z) OMY uMy) AWOL SE YONYNG SYP EOP spares Widely papradud
BR SONIA periinag] oy fo pyinqas pur DOTS a aya O) OU) tpt Jo MEU ISS DEUCE
SPlO|pue] "AERA STI JO uay, ay) po anak pew LIP nO aT oyT j) FO) WOtnyEsp
Jo oTMiuEp Yons Jo sp ay wo sywa (g) >! M papracud ujasay sh
ijingaz pun pasoisar lou sey 40 sXup (gg) Avouu ony spiedag paginas sip paauaut
J} "proypuery oy aanow wagon AWATs Ag asm] sip oie ,
HIND 3 O} SEC] MEAStOMIOT ot oy Joud Ajarmpaniun uot puOD 4 TMAESQNS 0) OLasAIy) ssaac
20 volved Yans ‘sas|uIaag pastuagy ary pyingar so wedas op suOya AQULNISIAL a8n “AMAINDSO Wane gaat
OXUINY S]GUMOSHOL w UNYTIAN “EYE PLO[PUT’] ‘AsHT] StL F OF POIID[2 you sey pUaY PUNT yy pure Ary
4oi10 40 41 Aq poitmump st oI] ksa9oR Jo Sasiiaug pasiutg aa Jo void Aue 10 [pe J)

        

 

 

      

 

    

 

“pUINGSY 6) TORBTAG Sprojpuzy “ED C1 Tonos

 

IELZOS 1

6
a

TUCMLLISO PS AC) STV ATEETIEGY
JO ARP AY? WAY parwge aq jpeys sopunasoy aqrdéwd tusy oun ‘NOHMUTULS] JO JUAAS SI I] “uORMUTELIA)
HONS: AALAINS YIM suysu osay, OL SB JO MOVUUIUUS) FO SIP at) JO SR IMHO] [SUIT Saypaial
putt studs sproppure-y oy uaAomoy ‘aoipnfaid jnoquan sostuiaud ap preonA puw sapuouns: ‘nb ypmypwoy
NEWS UBL “WUaAa QIN U) ASE] Sty Jo WOKE Jo siep ay) Zurdyisods “Ayunges ayy jo. aimp oy) sy
SABp (0G) MIOUIU LINQIM aA USM IuvUD) TwAts Aq ssvo"] siya aeuiULID] Aw puo/pUR ‘ase> Yons
Jay) WL LOY ‘oq ADU Ose OUT Sw RAsILAIY Pasig Jo ng) AyD jo (Aner ayy oy sold pauimsaiap)
SHIRA AQMUNISUY [NY AL JO Seo UYT Seow yo HONdo spqruosnay sproypuey] uy aumipuadya um oumbar
0} 82 os (potouisop go padoump au ssn. | AY) LOU JO JaytayM “Dew Jaulsoy ayy ut) Aijenses
Jayio 30 aap Aq padonsop 20 padeurp oq | al PasnWag] ays so Map| MEE OYD Jy

     

   

 

  

wiodg yuBUay Aq a1q fe wOHaEd apne OF PQESOTE TTY “Apqeiat
341 0} sold pues aonyd duryey <p yw i panna any
v Adnosoas queue), prhoys —-ayeympute pouapudy $1 sae
S8uwep yons Jo ada Le Yin pyO[pue |] papraod aamy ypuys py
aiqniueusjun pasopuas uaag 2a x

agreed juoy ay} “saadoqdiua io JO], JO asNsiws Jo aouadTJeu ney sup oO} dTQRINGIUMe 10u
Ayenseo rayjo 10 a4 Aq padansap so paseurp Aijnued aq [[eYs sasturarg pasiwaq] oy) J]

  

   

quowoyeqy way [OZ] wonsas

 

"SDVAVG HO NOMONMISAC TX ATONLYV

“DOT SUL ISAO SOOUTIRgNS oAystaqT
Jaq}0 pun puns peaads 07 propery JO} TUOISITNS Sq HM HY puEypUEy jo Lied oyy we Lye
YUM PAAOtIAI Aq JONUAD ad} AUN J] “SOOUTISUTNOND oY) Jap AuusKsoan og AvUN xe Ray UOLUO ay
JO stlolued york uo MoUs pore;nWNsoN ysodap Kew pAoypuIT] “Aor pu VOU jo oAay SpyoEOSHAS og [joys
pany Tung au ‘oqeatomd qusixe ay) 01 ein os UENajduioD 67 sums 2iy aynaasoull ApMAz IP pur Rasy
Supued Ap) WroUy 29! PUL MOLE PIE INUNIIe aAQWA! oO} SOUAINMOD [])As PIOLPUIE | “TY et JO pus ou
auy ‘ssands Zuiyted panuSisap or sodins prared apracud yrys pur paump Apiadoad uneday ptm japro
pool u) pun poand Ajiadoud eony duiymy ain daay jreys p2ojpue-y cuua) oy; neyfnouy

 
 

    

 

 

TeaIy cule” Oh sadsay TIM UOHEATGO SpIO[pury] “POT woiisas

 

“sjuame to ssedopdua sjueua) pur
queues] JO a]01y2a Auw yo sraquunu ssusoly] ath YM plo|pue] Ystuny “paojpue’| Aq paisanbaz own Aur ae
‘WIM Jey) soosde JuBUsy, ‘seany SuTyeg porlysss 30 poasosos ‘peddeoipury sv puojpue] 4q pareudisop
aq Aew YoIyM Jo poyeusisep sease Jo saskofduis sjueuay, Aq ast ou} JAMISAL Oy saps tT

 

SIOQUINK S8t30r] “EQ |] uOusag

‘payonsisgo AjqeuosBasUN 4OU SI SastWo1g PSSIUISC] 9Y) O1 $6999 S,JUEUD], paplAoid ‘aszo
yore Ur ‘puey oy) YAnOs) sseooR $5019 JO sUBIWT JOINO JO Syfem ‘syyed o)BOI9 01 (3)

fpue’y oy) 40 Suipying ay)
UNAM sjrawsAcidunl Biys1x9 qsyowsp 10 Appow ao sjuswoAcduT Mau ptING O} @

“pUR'T aU} sO BOW
YOUOD 94) UO SBUIPTINg ;eUONIpPpe y9aIa JO SUIppING Sy] OF SUCITPpE py oO} (a)
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TELZO'ST
9%

 

ALITIGVIT ONY NOLLVOIMINASON “AX FTSILYV

‘AMISNPOUNS aq O} PAOSAp 9q [[YE MIS] [US Y OY) 4A MONS psiunf Furary uojeeueivo Sums
TOURINSUL aul} AI JO. dNpayos so Furpuyy Aue ‘uoysag sin jo sosodund ayy soq “oy jo wed astuduos
yaiym ‘sumjurasd 1 Spuojpuey] Jo 309 p 1 3) JO} *f Pp uo ‘pacypurry 1
(WeYs WeUs, ‘pasjes aun diese [ey ay or a[qwayddy sarz | §,paojpury inb t
Splo]PUBT YUM Ajdwwos o1 aunpiyy s:\ueUd) (9) Jo ssasimarg pasiwacy ind sey ieRUD, Yor, @) Asn oun (q)
‘osea"] SITY] JO sua; AUE Jo UOKMOIA JO JURUA) Aq HOISssitio Jo jo Aue (e) Jo YNsale sR yy

Hey suemMsyy ‘ZO yl woes

 

“HALESIOPUS Jo ASNR]D-B YONs aPNLA []iM STUTIUOD diay) JO soSItIAg
pastuac, 24) Tutsaso> pur <jaanaadsay mo) jo yswa Aq poured soraijod aauminsur Auadosd uso) pmiaads
Sue yep saaufe yoes jueusy put pacypury “spaasold sounansut yo juarxe ayy o7 ayqisttodsas og At Mund
ons woym “WO) auaKuN so “Aud apo ay jo aaugsyFau so [prey ay Ag pasnes pay say [pny seep
40 $80] YONS J) UAAD “WOWAs~OpUa IHeIAAOS papHaS PepuTs YM Astod aouensm <uadord un0y
fronds ajqiaayjoo pur pies Aq palaaoa Ausiens « op adeump so sso, Aut ao) (aspnuayie Jo HormOayns
20 dom Aq tuayy dopun so yAnosyy Furums auodue so same oy) oy) Appiqistodssy so Ayraqniy wad) siuade
putt seaXojdurs "suoioadIp “sr9arJO. SH YAYLO ay) SosHajas Aqauay] yaw pA pu PIO|pUt]

SWOHBFOIGNS JO BATE ‘OO PL wondeS

‘aUlt} 0] OWI] WO
worsajoad 31 403 aainbay A|qeuosee Aput pro[puey se ‘satpodod seats Jo sueuay Aq paises Ayewoysno
9q ABW se SJUMOWR YONS Ul PUR spseZeY JoYJO yons jsurede souBInsuI Aled [[eYs JUPUDT,

SsoTeINSO] KYIO “SOP YONI

‘wuny Aaijod aseastp oo0‘N00' 1 g/uosied sad
9SB9SIP JOONOO [$AUEPIIOF Yoea OON'OOO'TS JO SJuNOWe oy) Ul DDUBINSU! AIN|Iqer] SJa<ojduia ‘uoreyUNy
Moya Turpnjour ‘savy uoNesuadwoo siaxiom opqeortdde 91) Japin saytyiqey pus sucteIygqo squeuel
aureus pue jsulese Suynsut soueinsul uoesusdwos szayJOM UrBUTBUI jJeYs JUeUDL

    

SOULINSUT LOTRSUSTMIOD SJOIOAL “PO PL UOrsag

 

‘uns ay) Sonjdad 40 o}AuMy) aBeuD Aue sedas OL paTeRyqo aq jou [peys ‘spunaioy suOLERGO
Si jo Aur yo yamaig st 20 aauaty Fou ojos sy Jo UOSTa Aq 30 mee, Aq poptnoad se idaaxs ‘puu ‘Auadoid
juuosiad so juSWwdinba syumuay uo pury Aum jo aoumunsu: Aum you [pis proppuery casumundut Spadoud
WSTH IV. Aq paiaaoa gysty pu sanpensrs soy pUE tsuONe! om ‘any Aq sieunp jsueTe json
TAUaM Coe Wt pans MeISy [VY Oy) MO WayMasja 40 SastuidTg pasiuDc] Oy) BuIyouag stusutanosduy
ployases, je pue Auodewd jwuossod 4uauidinbs sy daay pur aunsuy jfeys imu),

 

 

sourmtisuy Muadoig “EO PT wonda5

‘sayioods punjpur) suay wo Astod wypasquin
‘OOO'OOO'SS © Aplagud pue uneUleW |peys iUTUA] ‘uOMIppy uy ‘sleTaZtty jaousd ay) ul goO'NON'TS
pun ofiuep Auadesd pur <antuy Aytpoq pur Ainfun Suisiuaape pur jeuosiad ggg'pog'1$ “aauaunaso 419d
900'000'1S 389) IF aq OF 51 Aoyjod yang ‘prorpuE'] Ajuapu oY pasinbas si juRUAT YA IsUlETE [Q'S]
UONOaS UF payaipul susp ayL Jo Auw mow THIsIE JO Oisioy) SoueUaNddE AuL Jo soSstUg posite]
aq) Inogy Jo uo aouano;o Aum Aq pouotioso Auyiqity Aum jsiie8e psojpue) jo soutisap Aue pue
qwmuo.f “pxo]pun’] worord |peys Koyod ayy, “Spainsut jnuorppt sv piojpun] Jo sap AUR pur plojpur|
Suny ooumnsuL AWIqEr] ‘uLUaL pu Pso[pULT] Jo Hyoueq ayy 4O; WAY ay Fuunp acsoy ur doay
HIEUS puv ucsPas AOw LO) SOsIWIAIY PasrULac] aly) Saa7ua M BVOjAq 20 VO ApLAsd [jeYS WMD)

 

  

IELTO ST
sz
‘souRMsUy ANGE] “ZO'P] doling
roy ip wedi FV WUNED] MONAEC JO SSSUiNTY AU po Loa

 

  

Aq Spadoud 0} Jo suosiod so vostod Su or Confut sop Siprqisiodsar so <uyprqeay sue oy PAOyPe | 4p
(1) 40 Fupyng, ayi jo ssn aor priauas soy oq pinom osrnaaqo um) aay ANE eo ae

ayn MH aiqraydde asutunsur Ayensts wip ao Auadoad yo anes at aston £
SSUNINY) Pur Surp[ing ap Tudo sarod souminsty spadasd tem TOMY uC aq ao avipuedoal (1) ppd
WAY AIS] JOY oY) uN Aenyy so JW Aue Sudp og of yuuwad so op yon yTRHs
SHAS LSE pute] pur Fuppngy My) toy aainugAc9 oun URTUTRU [Os paoypun-]

 

: tt
Poy tie Auodoud pur

    
 

‘Aoqyjod aoueinsut
Yons JO s[emaual 10 suo|suo}xa Aue apnyoul |jeys ,Aoljod souvansul, wis, ayy (2)

UORnQuIuES jo WU otis Arttnad

SY HW yoy (AL) pus QuBuay jo ul Wo 20 Jan Aum yo oseay Aq isan = paoqpuney| oy se HOTUpL TALL

9) afgns iow stow qeyy Car) *Aayjod ayr ut opm. aq Anat aBuwyy jeayem ou wp (1) Sproypuary on

jNOU LANA SIUEAPE S€Ep (QE) AULYT INOL TAY Aotod OYE MNaMAL OF [Ay Jou [ey Suedivos-aoununsut arp

wy (1) :aplaoad Ajssaudxa (jays panssi os Aatpod seq poms, INUDIIO 40 paljoques Fuing Aarpod

2u1 01 solsd sXep (9g) Auryi tsRa] 18 psO|PUE”] a) ADT UONAT|IOUED w pUrs [FTE FOL SOUMLINSUT Syl yey)
HFOMAAOPUS VOUE|JASUAD FO HONOAU H apHyMH JRYS ponsst os Kayjod youq (q)

  

  

 

 
  

‘SPUNSUl [OUONIppr se ‘sanTeRwor |e pur
‘qymandde 41 “susquiata s,psojpue'y “soperEpe pun suoIsiarp ‘soumptsans PUIPUL PIE ANP $,peojpuN |
‘pHO;pUT] Aue jWAWASIopUA pouNsHY jCUCIIPpE UF aphpous [pees sotoyod ITY “tintutasd opquanjdde
Jo ywourked jo oguspraa yen Jopuinaiay poles ag 0} paumbay sainyjod souminsu: jj Jo soinsytuas
PUO[PUEE] OD USATPOp [es yh | “pUo]puM] <q pasanbay-s# aut OL aumM Woy pus ases7] stip jo uORNaax
ay uody) “panppurry or Gornrsuits <jqruostay Aunduzos aouminsin un Aq pangs: ysanbor A|quuoseas
AULT OF SUNY WON) Aur proypUI] St aoUTISYNS pu UO] LL PUR sYuNOWE Jou; yoas 10 (ajgnanpop <aw
THOU pure) Op Ty Shp we paypzads stunoun “ppunasoy posinbas aatwansun ayy ‘Asuadxa syuvuay
Je EE pare Cun pes qMTUS | “ASRITT sty) JO MUA, at TuLiNp sou ype Ty (wy

    

‘sOURINSUT PeIOUdT) “[O'P] WONd8S

“AONVUYNSNI SINVNUEL AIX PIOMLUV

 

“PAopUrr] OY paw y oy} 1o9yye JOU
Sa0p wie]d Juspuadapur Yons ey paprAoad <Ay1adoud euossod Jo sso) pum sayuadxa duwaoui 40) Ayoyine
[esuusa08 atqeoridde oq) ysurese Mey Aq pamore weyo quapusdopur ur oyuu YZ oud sABy
Teys queusy, “queuay Aq uonediomed Aue oy psorpueT on Buajaq |pMys spam [TV

 

 

ispremy Jo UoNsodsiq “POE1 WondaS

“S[QUIUTEN pasopual Ladg HAN [YD Sosy
pasiweq ay) IBY] oN Jo poliad arp Joy pus qusIxe sf OF FuIYeL yons jo asinos ay Sump pagu
2q HIEYS wey “BUNfeL Yyons jo uospa Xq afqearovsdun so apqussoxtiat passpuar oq jjeys sotrinjditios yans
se wdaoxa Joorsy) suoistaosd ap |[R yA <[duios oy snuyUuoS {jeys juMUAL pit “ayo pum oso) [ny ut
SUNOS [TeYs asBa’] stip ‘asn AreiOdwa] soy sosturaig pastua¢] AY) Jo Turyey, est aap jf

 

 

1357) Areiodulay Joy SUIyeL, “EET HONS

“Gurye], 1B Jo sep aAnaayzo oy} 0] Jord aaqogye aq uaAd OU U! |]BYS LOKRUTUILAY
Yons ing) soy0u uoytM sjUBUA], BUTMO][OF SYUOW (¢) do1y) SIeUTWId} [TRUS aSeS] STYY “BUDPRL, ay) jo
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Case 1

feéZ0'S1

‘papusyeun pue
paidnosoun seuss oO} awes ay] Sunjuned ‘yueuays, Aq sastworg pssiwisq
Ot) JO JUSLUUOpURge PUB UOTOEA ay) JO JOA, JUeUAT, Jo UOeTduzo9 uodn
SOSIW31q PSSIWIS(] SY] JO uolssassod aye} 0} JUBUaL Aq tESNyor ot (a)

‘uawyuiodde
Yons jo skep og uly opise jas useq oARy JOU [[eys diyssaajooar
yorym ‘“Buipsaoord Aue ur quedey yo Ayadoud ayy Jo uoniod Aue
JO [[# £0} Jo JURUDT, ay) JO} saqsn4) 10 Joatao—ol B Jo JUaUIOdds sy (p)

‘aynyejs oye1s Aue Jopun syesse
SUL JO [[@ Alferjueysqns Jo T]P Suyapoauy puswWoesueIe 1OY,0 AUB 10 sIO]IpeI0
Jo ujeusq ay) Jo} usWUsIsse Aue jo queual Aq Suryew ayy (9)

‘Jooray) JuatasUsuILOD
aut Jo skep og UTINIM podueyosip uaaq aAey JOU |PEYS aseo YyoIYM “JOIgaP
aly st JueUa] SutWeU ayeig Aue Jo sMET ADUAJOSUT OU} JapuN Juspaaooid B
Jo uonned Aoydnsyteg B Jo Jueua], uBY) Jato auOAUE Ac Bunyip a1 (q)

‘J0}Q9P ou) se lUeUay BulEU
ayeys Aue jo sme AouaAlOSU ayy tgpuN BuIpesoosd B 20 pUSTISOUNUILOS
ay) so ‘vonnad Aojydniyueq eB jo jueusy Aq Buy ayy (e)

NRpaq Jo Waa Ue aynyysuGO [;BYs Tui moypoy ayy Jo yorg

Ings “To'OT woHsAg

 

 

“SHIGSANAY VINVAAC TAX STORY

‘9sBaT SIy} Japun suoNRal|go sql jo Aue ‘Sury]Ij]nj ul podzyop st 10
‘TIHINY 01 a[quun sy plojpueT asneosq pasnoxe Jo pasedun ‘poysagje Aen OU Ul 3q [[BYS Japunasay uBUST,
JO suagedijqo ay) pu oseay stu) ‘wlesoy poplAosd Ajssoidxa asimsayjo se idaoxq (p)

 

 

‘ATMAUTIP oqey J9q10 40 ays “VOL! ‘pop JO Ty “Yuh
Ag paunisvago Jo JaAacsymyas Jou 2auyO Aue UL pasned 10 HosIod Jyjo Aue jo joa}Tau 2c PY at) Ag
Jo ‘poulues uly) ssoumiapmdde so jaoundinbs “sainixty ayt jo Aum 10 sastuiaag paswuagy oy) "UL IDajOp
Aut Jo “Jo psn ayi yo tosmay Aq Susie uo yoopsou so jou Muy uiduy Sursiue afeuep Aue yoy Jo UBAdOSTe
ssoinmaundds yo quandinba so sasmixiy Aue to ‘sadid sayy go utrays aap ‘sel “Sunquuinjd eplog
AU WoL 40 Ag pattolstso0 30 ota Josaostoy MM atop Au i Sopo 10 sei ‘ofmamas ‘usps ‘AaReyual
“mem Aq pos “Auadod sayio Ane oy uo Sunvay o1 so Avadand pins oy aatmeep due soy ajqeiy aun03ag
JOU [|MYS PLOPPUN-] PUT ‘AyuO THETA yo Ys ALY Im Ag [MES sostANG postenac] oy) UOdN Jo UF PoyEDO] si)
Aue yw (poxtu 40 pruossad ‘peas sayjay) Auadoud (jo ‘aaogu (e) asneja oy 1algng (9)

“ADADOSTRUM
uordaaxa Aum inoypim pue siyesqe ag yjoys Auyigni) Jo woNEdinaxs yong “suonefiyge su jo Aue
JO paojpue"] 49 yoeasg wo won| oy UL jUDUO |, jo saypoulaz Aue Jo UOTORSSITTE aUy Joy asa") StI JO xULIOD
Sy! JapUn apracud oF poyyqe <) panypurr] Yor asuEunSU) Aue Of JO aITySs] [RAY YT UE JUNO ay) JO

ba oyt or Ajayos yooy (jaye ieUD | “YI Mouat) UOl2|ULOS UT 40 Wosfasarn Tulse Gipqel] to uorEATgO
Aun so “oster] sty po uronstagad Aum op yooddou yin Antyiqet] jeaossad ou Ajanposqr aagy [pegs digssaumo
Juiol Jo WuWtoy 24.0 40 LOMAeseY “HoUUIOS-UE-AouUay ‘diyszouued ‘uedwos Anpquiy poy) “sznauar
u iol AURELIO SIOQUISU Ott Cling AMAA utol po Wwo] JaYIO 40 UOITeISossE “HOMIES -UE-ADUEY ‘diqssaunmed
“Aunties ATePLQEAY payuny ‘samo, wapot rag [juYys poOTpPUT-] osu9 UL) puT “puOTpUE] (a)

teLz0°91
LZ

 

saa toydura so sade sy pso[pure |
JO aruadiFou ssout 40 JanpuOoEIL (nzT|}M ay) OF Np 4 Ky postin IUaIKo ay) OD Idaawa ‘ssp io cafewep
‘Aaniin yons yo asnes pe aanpodsaut ‘uosind sayy AUR wy quits oO Agimfoud Aun “yo. (asimaaypo
40 yop Ag) S50] 40 ‘oy ofewep Aun (in) 40 Uosaad aero Aint Ob 10 10H | Ob oduanmp so Caintin e (1) 10)
TELA | OF SIRT] OQ [reys PO|PUNT] Jo Sakoydurs Jo Juste Kutt Jou proppuTr] soyTN fey

  

 

 

 

*PIO[PURT FO ANTIGEY'T “EQS ] UORDES

Hau pay Lown] aap 40 VonguATuy
‘pouruuojiad ayjtoads Jo) 40 HopsiAnud Yons Aum aaipUe of Fuyprorcad ue LOH Ut Sq yyw Apauuias
ajos squeuay “jeaoidde Jo juassuE YoSNs Joy Fupraqsd sO pasos SI AAP APQUUCSTAILIN SO PLAYA
A[qeuoseasun sey proypue | fey yn } Ag venuassy so uneys Ant woth posed fasuaqap so mueposojunos
{Yoks Jo fem AQ saTeuyp avo SUP WIND LUMA, pA QOU) sagineump Couou Joy TS Aue saarcas
Hevea), PUR “LUNH]> Sule AYU HURLED |, PAN FON OPK Of PARE og JOU [lA lot, (q)

 

 
 

 

“asea"| SIy) JO sUoIstAosd oy 0} JUeNssnd AqjIQel] PaUUNZ[OSIP sey PLOTPUET YOrYM Joy suayRw
IP 01 oadsay Yuin paojpue’y isurede suurAyo [Je saseojos pus Saale Aqalay yueua], (R)

 

 

Sbe3/dy ple ISATEAK 'ZO'S] UOTISaS

IOS] BORIeS SIM) a7
Juansund wouyesyiUWapL S¥aas pso]pue’] Yay JO) suTe;D Aue Jo tray, Ajriow pjeys (Aug pagtumapiy
aiqvadde Aue put jposu yo jyeyaq uo) psorpuery — “joasory UONTUIML] Jay JO oe uoteuidsy
aU) SAIAINS [(eYS PUR ‘asBaT SI] Us YWO) Jas VONBALyULIapUl OF say Joyo Aum jo nop ur yeu pur
OY UONIPPE UT aq |[BYS [Q'S] VONDIE SiYys UI YOY Jas UONeotULApYY Gy SLL ayy, (a>

“AuoSaIOy Mp UAN WOT}AAUIOS
ui Aueg payfamapyy Aue isureZe paraaosas aq Aeul yoy saazoap pue siapso ‘stuswiBpnf Aut ony sip
pur Ajsies “sed |jeys yueusy -papwaidun aq Aeu Kay yorym ur 30 FuroSosoy ayy wy yaadsaz tli ALtEG
palptuwapyy Aue isurede .y8n22q aq Aews Yoty sFurpsasosd pue spins ‘suonoe AuU puayap {ys Tuttus |

‘queday, Aq ulasay) uorstaoid
Aue Jo aseaT siyy Jo soueuUOs1eduou Jo uoLETOIA “Yorosg 4[negap Aue (uy

‘SIOJISIA 10
SOOIAUI ‘SUSY SjueUDdy, UBIO] JO soUBTI[ZeUu 10 VOISSIUO JOR AUR ap

{(pue] sty to Turppingy ayt Sastuiady pasiuiag) ayy ynoge Jo ur paurMens opty
Jo ssoy so Apadoud Jo (s)unsuad ay satenmp io antag Awe ‘uoneyy yoy Suipnyauy)
JOssoy] UOLod Aunt to ‘(yard aeieelio’) ypaune-y yw scopstyoy Aue po asn ‘uolety INOW
AuIpnyoul) puery 9yT to Furpymgp ay *sasiuaay POSIWUAC) SY JO jostuNS to SouTuAyUTeE
‘nedos Wuatiasruvuc wonedngja = asn cumssagsod = -syueUay ty

 

 

 
 

HMO) SUISUe Jo oF Fuytpa ToMpUODSTUN RUOLTUDIET 40 [rnyy|EN
40 a2uaSi|Fau ssouT s,projpue-y or snp juoNa oy) ap WoaKo “daAsmsymyn aumpu Kus jo (SIUISUDSIngs|p
pur soay sf Huypryour) ixa pure spunwap ‘od “SOHTHqMI| “Say NpGisuedsas “uoNaE jo
sosngn "SuoHol ‘saiyjeuad 's3ay “sTuypaanaid "syns ‘sums ye puw fui sceSe pum uioay ssopittaTty (,saiuey
PayruApYT, ay) ‘APPANSa}[O9 pue * ALB poiypluttiApul,, UL "Yysna) aoTeT LOY Au pun ‘sate pul stuMaie
‘soanmquasoidan ‘saadojduia ‘soisauip “sjwigiyjo ‘soquiow ‘siapjoyasmys aanoadsay Jy) Jo YoRa pun
SAITYLTE Sy “PLOTPUE™] Poy Pur pualop O1 saovde pue sayumapu) Aqaiay yuruay {R)

 

 

voNBoyTUMSpU] “TO GT worsas
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JeL20'ST
OF

:prorpue’] Aq ssoAlem pur Jo soipawios pue syst oy) 0} Joodsel YA

 

“DiS “SISATR A “SATPSUIDY TRUOTIPPV “BOOT WOtioag

“OY [BUOTIPpYy 2q OF pawiaap aq |fEYS aULS ayy Jo [[e pue “jnezacy
JO MUTT ONE tim UOROOUUOD Ut pPaunout ‘sAay sAawOE ajqeuoseas TuIpnjou! ‘paojpuE] Jo osuadxa Aue
puke puojpuery Aq paunout so ‘papuadya ‘pind os wunowE att oaay GOO UOIIDEg Aq pauinbas se ysoraqUE
(DIM "PUO|PUET OF ‘puna UO “Aud [jEYys JURE] “yUNUD] jo osuadNa aul Le puT jUNODDU ay] Jo] I[NeJaqT
JO taAsy Pres ound “au Auw ye ‘Ae p4o] pur] Yapunazoy sndo0 [[eys yNUJIq Jo WwaAzy UT JT

 

“PAPAosd UAV] SU SASTLIDL | PASIUIAG] aq] FO uOIssassod wIMNgo |jeYs pso[pur’] aseo
ur Jo ‘asned Aue Joj passossodsip aq [yeys jumudy, asta ut amy amniny Jo wasaad Aue sapin aseey sy) Jo
voresado aq JO uorwsoysas ay) 20) 10 uoHduoped jo Wyale Suey sapum ap apaay ‘Aq Burusrejo suosiod
He Pue Jas soy “(ajqissinuad Aywits} jUsINA oY OI) SAANIM <pesoudea qogay wea),

 

 

‘SOS{LUIIf PSSIWI9C] 9Y) JO VONIPUOD TAIN LAI Jp) Pacey pid POSEN IY SULLA FSP OL palonuisul
2q |jeys sesiaaddy oui (Z) pus fasta] sity) Ut paquaxap amparosg jesmaddy oy) jou puw) psoppu
Aq poisayas oauay [g'Z UoNag I poulap sn) Jasnuddy avo uu pesmsdde ue Funnego Aq pausuuoy:
3q [|GYS judd Jay.leu sey (7) “dsamoy paplacid (oaay (q)/ gp wariaag uy pauljap se) pay oye
So AUIUROW AIRS OY) SABY [JES IE RYE wey, ‘so'g] MONdAg sy) jo sosodund soy

  

   

“pueWap Yons Jo dep oy] Aye poldad ayy OF J9adsou YM Aypiqely faq OU LapunN aq
[US HED | “EQ"O] UONADg WY poqLvap suNOUE sO [pt pul saTewep yeu) poe pur papinby
Jo jiamed vod “uinuum sad (949) wansad xys o1 jeaba ayes unossip & Tursn poinduros oq
HRYS NOK (EE) ASHES PU (LICY) asTittpS In poquiasap sonyra nasoid jou ay, ‘(aun Jo poled jueatsuBrs
Jo) paseopuin Twines sasiady pasiutag] oy jo pesod ou) WoYoU OL MUD] WNBA Tuieway
an] URL Sea] STUOW SAT st YIM pod © 40y vOrE[NAyED yons} uuay anayoq Fumewsy
my ° Avp Se] SkyL [MUM pusttop s,proTpUNT] yo oyep ayy sige sypuOL {¢) aaa Surauauuios poyad
Sy] TULINP SASILUOU] POSSE] SY] JO) (PIMMAp §,puo|pUL'| Jo wp ay) fo se patuLayaAp “(mnyeg pauryap se)
Wad YIM Wey 31) JO SnpM juAsond you ay (g)) SHUT ‘ours ayy Tunay-au pue tures au) Nulassaad pue
Sunaoud Sieday sadon! wy) suns ai Buy JO Tur pOD TSIM PAstAC) ay) Fuipiarp 40 Buys9yr
“Tunured Yynayaq) yo wary Aur pood Furyeiu tours seassoday ‘Sosnuad poSituac] ty) Muara
uy Panu, samy AW pupjpuer] Yorn sosuadxa [yu Shy ‘pied woaq you aan qa “pumuap
S,PO|PUE’] JO STEP OY) JO FA ‘pAO|pUET] OF WIT) wog) Fumo pur onp sjuNoU Aum (it) BATE "(wey
WNeacy Burimayy,, ay) sto} pasuayai Fursq aunt yo pouad ions) presasope sa payeuruuiay usaq iu
pet It ft pandxa aAgy pjnom aseo’] stip woyM step yt on puNUAp Yans jo amp ayy uioay WeUD, Aq ajqednd
seen. Pino Yat luey [YR Jo anpes quasazd jou aur (1) (Cy) ctunowe Turwopo) su ‘sekeump pray
pacide pur patupinbyy se ‘putiuap uo ‘plojpury Ard ypeys euas. “stoajs os puoppUe) 4)

   

 

 

 

 

 

  

 

 

SSONRUIE [PTY posIsy “SOOT WONsag

‘sadewep s}1 aan 02 sosiulorg pasiwag uy 49]-91 01 WduaHe
OF JO ASED]-a1 OF SHOHS a[qeuaswar asn [yEYs PUO|PU] ~toyauaYy Sjuas dy OAIOOM puB Ia]joo Avi pur
SPGUSTAPE UDP UOTIAINSIp ainjoRge Pur ojos $}1 ul Amu 1 se queua) mau Aue 20) Bunuied pur suoneiosap
‘suoumusye ‘sudas peioods qons Hutyeu pure juas fo suoissaaiioe tons Surald ‘syqruinjgo wow peyued
Auv soy ‘spouod royeys toy aun) oy Sury Woy 40 ‘Z97uO] 20 ‘asrs7] si] Jo pouad paidxaun oI JO syouM
aq) 40] sastMazg pasiuisg oy Jo ud Aum to ajoym aun asRay-aa Amu PIO |pURy] (a)

‘Joossy suotsiAoid
ay) aoJOjUS 0) proppue’] Aq Painjysul UOYSE Jo yNsMel [NYSsodons Aue oO} Joodsaz YIM Sagy SKaWOYR se
s]qeuoseos adpn {pe Atw yinoo ay} se Suns Yons pro[pue’T O} Aed jpeys yueuay “‘AuloFaio} ay) 0} uOHIppe uy

le2zo ST
67

“yuout anbarqns Aun soy aouauaypip Aut Jo uoaparjos ai) annoys oF ll spuapptite | a0 sina yw
{uot ato Aum Io) aoummayyIp yans jo uOTD9]]09 9040 ©) poppin] Ag Vplnoug juny Any “ypu!
JO plo oun ye “yy OM YOR oF podsay Ita aAogquarauay (11) pum (1) SUID URAAIag oouaLAY)IP any
o1 Aad of soaste quotas “Rumaj-ay Aue fo spaoooud tau aye (11) sap cumio wan <tr jo 8
ay) Fuunp anoul Avw proypunry yor sakuodya Aut pum (Sumop os ut 'soay aSwpyoiy ‘saay <,
“SHIOIInYSIP pul saay sdouone Fiypaysny) aumes ay Rurpapas tsyeyaues. pi
Furey Aq unre ay) Fagasand pur Bunsoyond csieday sodeud wy auuws ay aeuseyd to gh od

         

 

 

 

 

PasiMeg] au Buapy Jo Tuuoye “Tununed syoryag, jo ywoacy uw poo Ruryuus coums ayy Suiyeassodos
‘SASHUALY PASC] ayy FuLNUE-a7 UL PRLMNsuy oACY AUUT pAC]pUR'] YIM sasuadNa [ye pur tpaunNado
you wot

ee es ud

   

HPP WE) Ap wnt yous jury
SLURS Ot) Jatpoltn “Asee] stip jo WoleuiutAy

‘salpoWay TPLONIPPY SpIO[pueyT “pI'ST voROOG

[ITYs ASB97] Sty) JO SuosLAoud aug Jo [jE Japun Aypqrsuadsas
xisip “wolssassoday ‘“ayun-oa yons Atm Surpuwsipton
YIM UeAauTOD Ul ABA Aum UE oQUT] 9q yOU |PMYs pAo[pUTy
AsO} UOYUNT $,PoTpuN'] JO AANOU AUE JO BaLAsAs ay) OF
MU, Uap pum Gye AN) UL sdtuupooqosd 10 ‘syuourauia) pum spuny jo Aaxoong
Apaads ary Gunsadsas avey so suorstycud (jo fo sijouaq ai Oy payauD oq |pmis Puo[puey] ‘sassy
2 put ssassodas Amur propper] “uoTMUnt| Yone JO IOAR aul UT “ASTAMIOYIO IG Moy

Payqruns sue hy ao Fury J war dap « Aq aounia “Auodoud araqy
40-51 JO AUW Uli Jaypoaoy “SaayrAul Jp saummUOINSOoUOD ‘sAAsuadt| “SiuMUAIgNS Aue pur ‘suody sims}
“WURUDY WWOUjozayt aAoUIAs pur sun Aue qe sastualg pastmogy aI) soyua-o1 Amu ‘soodojdwie Jo siuatir
Si 40 "projpur] “eaoge “To'g| UonDAg uy paplacsd SH paywure oq [TYS asuOr] sty yy

       

ple Anyigei) syumiay “yeaqtmas
FuroFaioy

       

ase Aut <y doy popracad

 

 

OGY SPIOTPUCT “EN OT wORRSS

“OMT IPRS TRY
Si yo suowtacid ayl yo ye sapun Anpqusuodsos pur Argel) sjueusy saa pun ‘apn yt sau
JO uniendxa oyt pue “sapuouins “vorwUIWa! Yyons FuIp {UMN "PIOTPOR] 0) SSSTuAl sy: POST}
Sy) JOpusuns put yimb (pays qunway putt “asdxa pur aseaa A] ICUS ASpunazsy yuNUD] Jo isagamt
PUR ONT YET oul jo [je pue Muay ai pun 1 OWN LON We Daou Bon yons jo Auart ayy
uodn aImUIUs) [NYS WUD, puN ose] ay) 1S Puy INezoc] Jo (Shuaary yans FuAyisads yutiay oy
SHOU LANLM aM Aut proppue y “IpAMyAC] Jo lw9A7] Ue yo aonaNDgO aN IR au) Aum Ty

 

  

‘APSUDY SPIO[PUET “Z)'OT WONIdSS

 

“Sawa yp onp tym arta
Paano 9q 0) oles oy) jluad oO} Arussao—u Apqminosmas og Aout mm (Shep (NE)
AU] [ANOUIppe Ue pasoxa oO) 1OU Ing) aU? PIOLIPpE yoaR Spams Fuiag fo
atqedeo si pue sXup (o¢) Auryy unpim poms aq asualipip snp tad jounES
YSIY J[NBJOp BJO aseo ay UT “IO J[nejsp ur sw} 94) DurAjIoads juevay,
0} ploppue] wo soyou udyTIM Joye skep (g¢) Ary) so) Suinuquos
aINIeF Yons pue ‘uorosg siyy UT O1 pautaza.s A|pealgioeds you eszary siy)
JO juswasInbor Auw oAsasqo JO uoysed oj JuRUaT Aq oun[IR} au) (y)

pue joasay AIX apanry Aq posinbas quarxa ou) 0} pue yjim aounrjdu09
\{0J UL eorO) UL! soURINSUT UIEOIRW 0} jUBUDT, JO dIN|ey Oy] (3)

‘orqeded pur
onp ysed S| Stues ay) BY) JUEUO! O} PAOTPUR] Woy 99R0U UST Joye Shep
(s) aay sop Guinunuos auinjley yous pue ‘Ispunazay yweuay Aq pred oq 0}
Pounbas adszyo sayio Aue 10 Juay Aue Led 01 yueua] yo osnjiey ayy ()
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SELZO'ST
ce

‘uruesw [B89] yeoLUYDeI
Jt9ay) 0} pajolysas you ase uloisy pesn se ,ANUd-91, PUB ,JOIUS-95,, SPIOM Sy], (q)

‘Op 0S 10 wuoysed os ‘oy payeStyqo oq ou jJeYys Ing ‘Aew Ayed yons yeyR pons|suoo 3q []eYS
4 “unpdus op Jo joe ue uLojiod Kew Aued v Tey) uleroy poplaosd st yf J9AaIOy AA (8)

SOSEIYY pu’ SPlom JO UOMINNsSHG, ‘ZO Oc UOOsS

‘SO(Mpayog pue sjquyxq
Yons Spajoul 0} powisap oq [TEES SSB] Oy) 0} soduauaJar 1]B pue ‘esea] siy) Jo wed yecHayUT UE WOT
pue ul eouessjos Aq payesodioour Aqasay ore ojasoy Sa[NpayoS pure sHqiyxX” [Ty Q)

‘JeNDuls ou sapnpout [eanyd oy} pue yesnyd ayy sapnyjour sepn3uis ayy, {q)

“urssay peplAoid astMsayjo
Ajfaoyroods st Ht ssayun ssuodxo WMO sy ye JUOUTOLINber yons wosied 07 pouinbar aq yjeys Apred yons
yey psuisep aq [[eYs 1 ‘ojorsy Ayed Aue uo pasodun st juowasmbal & 19AaI0U (3)

‘UOMINSUT SWUs 9y) PUB SUD JN aINgSUOS |[eYs suedieyuNOD
ay} 9889 Yons ui puE ‘syediajUNOD [esoags UT poynoexe aq Aeur seo] sIyL @)

“wey Xq uopeiado Aq Jo uosiad Aue Xq uayB} 2q 0} UOLIOR
yons jrunied 0} jou Ayed sy) euinbas oj pawsop aq |[Bys uOloR sejnoqRd
Aue aye} 0} jou Ayed Aue sasinbax yoiya uolsiaoid Avy cn)

pure Sue}2} 9q Oj UaTJOB Yons
gsneo 0} Ayred & arinbos so yued 0} powsep oq OsTe [feYs LOTR Je[NoNIEd
Aue ayy 0] Ayred @ saimbes 10 syed you uolstaoid Avy Q@)

‘SulpueysypAyou Arequos oy oO} aseor] sty) ur SunpAuy (9)

“aseo'y Siu) JO UOT BIemdaqUt oIp OaIFe JOU {;eYs pue A}UC sousIOToL
JO SOUAIUSAUOD IO} 18 SSE] S1Y) IoYTnoiy, posn s#uipwoy pue suctdes syy, (p)

“mey AQ poyuniad yueyxa 4s9]] NY Sy] 0} pooojua
9q Pua plea aq [feys asBe] sty JO UoISIAOsd YoRa pue ‘AqozaIp pojoayje aq OU []eys ‘s]quaorojuauN
AO PITBAUL Si YT YOIYM OF SSO) UY] 2a9—0 SeIUEISWMON JO suosrad 0) uolstAoId Yons Jo uolzeol\dde
oy) JO ‘aseay] si) Jo Japlinmad sy. “SiqeaosOjUaUN 20 plyBAUT aq jue)xe Aue OV Weys souesuMoIs
Jo uosied Aue oy joossy, uoroydde ay so aseary sty zo wolstaold Aue Jy (9)

“UL dt) Jo worTMidNa ou JeqyR WOTssassod Uy UIRuAY OF PalULad 3g
[T8ys ques) wy) Jo Aqayay parejduisquos S| Wa, oy} JO |RMauAs 20 UOIsUArxa Aue ivy) A[dutT Oo} pawoap
8q Jou [juys sing worendxy oy) Joyn uoIssassod ul ag AewW juMUay YoIy SuluNp pousd Aue 20 UD] ay
Jo JeMoual 40 UOIsUaIXA Aut oO} UISEIY soUAISos Auy “uOpuNdiay paNiuad ase saasu20]| 49 siumuaigns AUR
yout Atdunt oy powiaap aq lou [jRys 4 490 ns oy wIsuOY jou Au (q)

“yauuo fF, Aq }uRUaADD ¥ OSTE Og 0} paTuaap aq |jeYs JUeUD] UO UOIJRBI[go Ue sasodu
YOIyM aseaT SIG] UI pouTE}UGS UOIstAOId JO JUSWO2IZ ‘UOTpUCd “ULIa) Aiaaq {e)

‘TOnR SIMI] ‘TO Oe uonseS

[ELZO'ST
le

joomay sma) amy o1 selqns ‘pro|puR-] Woy asuRqamstp
] ay Sofua pum ppoy ‘saey Apoinb pum Ajquaarad ‘uu ayy
Acad Jato ain Jo [jt saqjssqo0 puD “sapunesag ny popracid
Pp val pow so Joust ApOuyy @ ul Wlessy soy paplacid
oF Way Ayr sAnd QUINT Ft TRY UELAACD plojpue’y

     

 

“SSa00T Tons
Turmp sudrypisdo ssoursng £junuay 07 aduertaAuooUL 10 uoNdnusip sziuitiTY oy Swope ajqriaseal asn
ITWYs plo[pun'] “s2assa] 40 yound aanioadsosd 0) sastuagg pasT or Furmays (9) pur ‘sastutary
PaSIUIAC] Sin 10} alqrursap tuaap Amu! yt YOM 20 pap}vowd wiazay s¥ ULDZIAd Oo) pazinbay oq Amur yy yorym
SUOHEINE 10 sywoursoHidas ‘saredaz yons Surymus (q) ‘sues Fuyoodsur (w) iyo ssodimd sip yoy “samy
OTqRUuORRAS IM PUR yuNUA oj aorOU od Yuva ‘(pasnbea yi ‘speyayeur pUe oy tI) yoousut uoruied Aun
Jo ‘sasiinalg pasruecy ayy vodn soyuo Aew ‘sony Jos ‘suse ‘soohojduie su ‘proppury

 

SSS00V 40 LHOTH WAX FOLLY

‘SPOUBISAP Mary Jo

Aue 40 eaffe@uow Aue ‘psoypuay Aq p bar Ay aq Amur se aseo] sit] o7 Sunayal ssoneus pene

Jay10 tons (a) pum tooteape wn pred us|aq axry safmys uoypo ao way Aue Got ot ‘Ante Jn ‘sorep ayy (p)

Houms ay) SinApaads tos jy pe) jueusy, Jo wore: qo ao Ainp Auv xo ‘paojpur] jo Apoutas Jo jy ts Aue jo

HIMUAIUO]UN AY] ISUINdE soeUAyOP 10 $]j70-195 Sunsixa voip aut suai tou 40 satpays (9) “CuONeDyTpoul Ins

ug] Tuas: pur payppols st yaya PUR S970} |]NY Wi st OUTS ay JEU) ‘MONET [pOU UTaq SEY Guay I! 10)

IIYO put auoy [|My Ut Pla pay;porsin sy ase] siyy JOU JO JALAYM (q) SsostUkasy PAstamME AY Jo UoIssas

Ui SI HRUA 10U JO Jaina (2) “paxpaymouy we pee p «inp tua Aq “paoppunry

Aq payisods “uosiad soto Aum so Gesmyoind Ane ‘so8nApuou'e yo soutissy ‘aokus ow Aum “propery a
Ajruad page wma ‘prorpuey Aq isonbos ventas soyn step (oc) AUP urtpiem ow Aue py

 

 

SLVOMILYSO TaddO.LSa S.INVNEL WAX A TOILYV
‘psojpur’] Aq poudis
PUB SUDIIM UL SIM SSa]UN sANoayze 9q ]JeYs NEVA JO JUOAY UZ jo LsAIEM ON @)
‘NBJOC] JO USAT UL JO J9ATEAs B aINgHJSUOO T]BYS PIO[pue'T Aq UONBUT JO UOI}OR ON (2)

‘oyozayy joodsas yim Apoulas Jo 7yFt1 Aue seduii 10 1NBFaq
JO jusag Joyo Aue joopye 40 0} pusyxa [pBYS INefaq] JO JOA ue JO ISAIEA ON, (p)

‘yNejac] JO WWsAg ue 0) souaosembor Jo ‘Jo JOATEM B SINYNSUOS JO sures ou) eduAL
Jo ysnvyxa [jeys Apavial so 1y%11 & BuIstoIOXS uw! projpuer| Aq oIss}WIO 10 AB[OP ON (9)

‘aUUT) OF aluN) WoL ‘ApoutaL 10 YBLI JaYJOUR Jo Ss1919x9 arp (II) 10 JoalaT] asto1exo
Joypny e (1) spnyooid jou jyers Apowar 10 1YSII @ JO osToJox9 [ened 10 asus y (q)

 

“EMPOUR JO ast aif sp 40 ttt f i Ap JO WYBL SUO JO aSISU9KA oy
HAY OF paRHas INOYTIM B[QRsTApT stUSap PYO]PUE] Se UAYlO se. pus IWOTKd IONS OF “APIO YONs ui ‘sour
Ons Tit Spalted pUE siT Uons asiaioxo Am puo|pUr] “sOWO yoRd JO OAten[OXD JOU pur SaAQMyNUIND
34 [TYE Sarpowier pue saydu yons jy “Ave) Aq popraoud soywosoy pure mou Apouiay pie qYAU s9i0
AUW O} LORIppU Uy aq [fuYs Urssdy YOY ys plO[PLIr] yo saipowos pur syd ay! (wv)
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lezz0'st
vE

“Aqauatp papopye Apattios
4ayro Aug jo Wawysinburyas so asAleAN @ €8 pongysuod aq rou {peys tt any ajquayddr on 1amneind 40 acney
Sit Jo sui) ax Aq) poruEd Apatios Aum sansind paojpue'] J] “ayo pue souoy [ny wy uRUIDI pur aq |eYS
ALUBS dif) Ing “suOrdo Jo SUOLIPUOD “s}URUAAGS Yons Au jo juDWYsiNbuyar 10 JOALEA Te Si ponsisuts Sq 701
ITPYS SPOUBISUL Blow IO Ud AUB UI paLayuos ulaay Lorde Aue asinzaxd OL AinjiMy s,po[pInr] to ase] sup
JO suoHipuos Jo sjuMUaAdS Aur jo SoUmeyad joLAs Uodn SISUI OF PAO]pUE] Jo SuNyIMy ayy

EMEA-UON “TTOz UoTDag

Yoouoy] 400s YoHsag sopun pasmbas wagon ayy 1 WONIppe UL anp aq []Rys PUT “ysas9}u1 PouaprstiGd
oq HME |S “projpury Aq pRuunsu: osuadxa peuorppr soy si ofsmyD simp ym) pau pur poorssapun
S! If "Jooayy oyup Anp ay) saye séep (c) day ump azoM prop] Aq poatooar si sapunasay jay
Jo jwowAnd Aun ay onp mou sip yo Wadsad (e—g) aay Jo omy ain, e Sed |rys ‘vod ¥paojpuR]
Ye “yuntiay, “sumed wwonburap Suypuny ut parjoauy asuadsxa wyxo ayy JAA OF J9py0 Uy

BSYO BIE] “HCOz UoHsag

“ploppueT oy soaaty juawwAnd jo amp ay) Forpnyouy puw oranp oumsag
Uuns ples aep oy) Woy payndusoo ‘sys [eBo] JsoyiTiy] ay) PaAaxa oy LOU Ing ‘AIRs auld aL se HU OF OLN
Ody (JOSSBCONS SIT JO) YIOX MAN YWOA Map] Jo YUE sy) Aq poimudisap ams aij) 4900 yuDOI9d (age) aruYT
Fe UOsIeP ysai9]UL TIM puBWSp UO PIO[PUBT OJ juBUAY Aq oqNAnd aq [[RYS onp sw pu UayN iMNtA) <q
apa Jou aseaT sity JO suors}Acad oy) sapun queuay Aq ape aq oy pasiniros pound Auy

 

RM] BTN vos

‘puaad soumaziie-t-luwual SauTUa, 0) eouaSsopnhaR UE FO “WID], ATL JO
PUD op uodN sesiuDdg Pastuoc] dif PIWIUA aawy OF aUINjtYy SUUUD) Jo INO Surseme proppuey oy apqunraT
Soqpottar Jo sayy Auw jo sagem we pawesp aq jou ;/CYs PsO[pURT Aq quay saa ploy Jo ssteidasoe
Avy ‘spouad jRmguar Aur 30 tua) oyl tO YoU 188) DUT 40} yOAYO Ut wy AlyIOUL oYp sou Own
“snqyeouorp (11) pus spouad jumauos Aue to Ta, ATL Jo WPUOM FEE AY) JOY 99yJ9 UF IUDY AjyrUOWW YY SoU)
$'] ‘porsad 190 pyoy lyons Jo sXep (gE) ALL ISIN oY JO asuvD oy Ut (1) aq [[eys pouad JIAO pjoy Yons
Suunp yueuay, > aq OF WAY St YD O “aSva"] STYY JO SUONWAQo PUB sUaI/PUcD “suOIsANsd
aYL FO ype o1 algns ‘souMAyjNs-je-yUTUDT  pPalugap aq C1 EWA, aI aanes |puys Jano Aurpyoy yons ‘(ases]
SI} JO SULIA) SY) YIM SsdUupsogo" Ul perapuayMs Usaq jou SABY Sasiwelg pasted oY) J! Iuipnyjour)
WIDE OY} JO pus sy) Jaye sastuaig pasta] ay) Jo uoIssossod wu) urewos |[eYys yeUaL J]

OUBIaNG Te IUeUSL, ‘BO Oc uoNsaS

‘squaurasinhar Jo SuOHoLSa1 yons YIM Ajduro9 07 suosied ButoBau0y dy asne 0} YOTJETI}qO syueUD],

9q 1124S 1] pue saasuacT] pue saseuotssaquod ‘sjUBUa|QNS S)UBUal ueUay Jo sojUerens Aue 0) puayxa
01 pawiaap aq ]]eqs Jopunsiay yueuay uodn posodun sjuawornbas so ua suoMoLysas Auy

quBuel Jo JOjuRIEND “ZO Oz uoss

“suaisse payjuuied pus siloy ‘searEyuasaido, ‘siossaoans sarjoadsa. 19U) pus sored
olf Jo yauaq oy) 0] ou! puE pur [JeYs esEe] Sy] ‘JooIay sUOISTAOSd O17) 0) Joelqng

 

BUBISSY pue S16SS995N§ “90 Nz ToTos5

“MONIPUOS Jo TInaAOD "MLOT YONs UL YLIOF Las 198 UP JO paLEIRAquaT
JO/PUE suONeAgE si wuOLod o1 Auusszoou Ajqvuoseor si aus st ‘uonpoyroods yons 10 juars
aut o} “pautoads Jl4o oso) jay oy [[yiny o7 Amessaoou Ajquuoseas qwayxe ayy on aq peys [BALAINS
Wong “Aseo"] Sip yO VoRMUIULIM so HONEnds| ay) saye opuay Aued Joyo Ag you Ut Jo aoURITAqIOY
ay) 10 sUOITMEGO Jo sounWUOJd a1) saunbas asea-] sip Jo wOIpYED JO qUEUDADD “wie, Aue IHU
Atesspoou 1u9}x9 otf] o7 WIA, aIp Jo woNsUTIuD) Jo UORENdxS op DAIAINS [[RYS OSI] KIL],

IELZO'ST
€t

‘BSUS JO UONCUIMIS | UOdN SUOISIAOIY JO [BAIAING “SO Hc UOTOSg

quapisarg ‘BYpeYyD ‘s JOpuIMseEr ‘LOTUS
TZ6LO AdSiof MON ‘syStay AsjoyIag

aA |[9UUoD 007

OU] “BIXy

SOPPY OHON STAT (11)

jueplseig ‘Donusyy

22640 Aasiog MON ‘s1ysI9H AsjoxIEg,
SALI [9UUOD 0OZ

Aurdwioz jjouuod ous,

‘SSSIPPV SOON Spio[puey (1)

“aBUTSOp [[eys JuBUS], se Ayred 10 wosiad Jayjo Yons 0} Jo ssouppy
Ado soon saueusl se pareusisep ssorppa ay} 03 Joarsy} Adoo u YIM ‘sayeusIsop JuBUa] SB ssoIppe
294J0 YONS Jo ‘sKoIPpY SOON SJUeUa] SB poyeuTisep ssoippe oy) oj ‘WWeUAY, O} JT (q)

Soyeusisap
[]@ys paojpuey se Ayred Jo uossad Joyjo yons 0} Joazoqy Adoo & yy ‘soyeuBisap pioppue’yy se ssouppe 19410
ONS 10 ‘ssoIppY ONON S,PJO[PUe’] Se _PaBUsIsep ssouppe SI} 09 ‘pso[puey Oo} J] (8)

:passauppe ‘pyedaid advjsod ‘parsanbas ydioaar uumyas ‘frm poryiyzeo 10 “eo1AJas Jornooyssaidxa
1suwaao0 ‘pauaysidas Aq Buljrew uodn puy Runm ul fr wears useq aazy 0} powoap oq [yeys
Sse SIW) JapUN WO!JEOIUNWUIOD JaINO 10 OATES ‘TeAcuddr ‘juasunS ‘sanbar ‘sonou Atoaq

 

SOON “h0'O2 UOTOSS

“Wweua], pur piojpue'y Aq pouts pue

dUNMIAL UY passaidxa ssajun Tuipulq Jo plwA 3q |p aSea7] 9y) O} LOHIpps Jo Jo uoTesuyIpous ‘uoLeIay2

SWPUDIUT ON “ORUOUT Adsay LIM JRO 20 VATA ‘s]WoWasJEe Jano [Jv Sapoazadns pur ‘joossy soyRW
Toalgns ay] Surusa9u09 oratoy saiped ayy uaaajag juauraasae SAUD SY] SUIEIUOS Seto] Stl]

 

‘paiMnboy jUswlasIsY Us “EO 0 DONssS

wot
equ] JOU 3nq Zuypnyouy, se pannsuod aq PeYs ,AuIpnyouy, —(111)
u'll? pue Aue, se pansysuos aq jjeys ,Auy, (11)

9001} 0} SULLY
Woy 10 Wy Aue fe, ‘se panysuoo aq [jeys own Aue iy, (i)

‘SAAOT[OF SB panysuod aq [Teys seswiyd puB SpIOM ZULMOT[OF OY], (p)
“AUoy NE

TEWoWWeACd JO JUSUWIGACS B JO ‘UOIEZIULTIO JOJO ‘uoneIOd109 ‘uoNeroosse ‘way ‘diysiouyred
‘Isr ‘oyejso “Aseionpyy “[ENplAIpUL Ue SB pamysuce oq [[eYs ,UOsIed, Prom ay, (9)
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1€2Z0'S1
9€

sosuadxe pur ys09 a[0s Sit J ‘[TRYS 11 J8Iy SeaIse JURUDT, Ue] dnues[7 parosdde ue
Burmiejygo Aq voroag sity Jo (111) (q) ydeasried ym sazjduzos yuwusy IAS 9y} UT (p)

“WS] HM A[duo9
0) uonestigo sjueua), Juni] se pensysuoo aq [[eYs vOROSS sit ut SuTyION, (9)

‘SOSLUIOL] passwiocy
ay} 1 joodsor Ym UORPUTULAIap (.VAN,,) YOO JYyUNY ON,, ® dIC ay
WO UIE}GO 0} aq [TIAA YOY Fo JusTUL aI (sie YYST 180 uoyorpsunt
sary vay} [feys yoy Apog so Aousde s9yyo yons Jo) ¢yq Aq podosdde
Ainp (WUS] UL peuap si wie) pres se) uBjq dnuegjy e = (im)

Jo ‘siayeua WAS] 1840
uonsipsrmf Hussey usyy Apog 10 Aousse Joyo yans so gad Aq poaoidde
Atnp (yUSI ul poulgap s} wa} pres se) uorerR]9aq] aANRRAN B (m)

Jo
SAMO PISHUAC] Sy Te suOHEOdO Jo Buuuaysumsy Jo Tureanuuay “Sursojo
oy) OF Pun FasTMOIg pasword] oi jo Asurdnge0 pum asm steuey Sueusl
a Ajdde you saop yys] iy Huns ‘asunoa epaoppanry oy Atoyoessyyes
WO} U} (sIaTUT YYS] Jono Monopsisn{ aagy wows fyeys Yary Apog Jo
Apuade rayio yons 40) ¢yq Woy Arpiqvoydde-uow yo so] 0 (I)

go Adoo angy it yin pucypury apiaoid |pniys “osuadsa pun poo 9105
S}| Je JuBUST, 'SBSiLA pasta ay) jo mo fioy Sy) ut pasn pur pauyjap cy suo; pres se) suoneiodo
Fuoysuen 10 Autywuuisay "Buisajs, oy. 4 sAmp (09) ALIS AYE sare] OM stHaAa [fe UL put “HOyauSYy
asaribas s,psorpue’] uodn “TuioSaio) oy) POY, “PY ayl fo suorsinod pur suid) OUT Jo JTE TNA
A[ditos pur sagosgo "yjnyg ‘asuadxe putt seo Spox Sy Te |pMyS HY WI) saautie juTUsy (q)

   

  

“TOL WORDS simp so (p) pun (q) sydmutmmdgns ut quay yas se stionIpUOD
TP Tim Ada jpsys qwRUay, “gyC] oun Aq podinbad st 4o maWYstqEIsy [eLNSApUT UE smLOAIg Jojseatoy
40S) NOU TUN | TY) TUSAS BYR U] “TUDES T [QUIET [ELNSN PU] UN TOU Si TA) 1eI POPU] M ArOTETSIVeS
Joosd apiacud 0} asuadxe ojos Sjumusy 72 jumUay aurnbas our oO) aun wos Amur pyojput] “osvo7
Simi Jo WuaL op TULUM toy sy2 JepUN JuOUTYS!QBISA |ELNENpU] UT FWOTAq OL ssHeS [pK eID TunpAuD
IIMS 20 Op fo [ME TEU, CSI, JO ay oy) st uraday Oy pagiazar ‘poazain woHopsunt Surmy
APO 30 Coty “Konaee | JA0F-Isub JO f )F 2outO Aur Jo yoasay MFaIng Jo UOTsIAIpans
Sim 40 “CalteL) moHaesg [apo TAUS, jo jstEdsg Aoszag May ayy Ag 9 pits {In WoHSaude}
Hho oy jummeand payedpnuesd so panssy Saaroalip pur -suapao “suopuido ‘SaoURUIpIO “sUOKMNGDZ “says ([e
DIAN JOU AOL) ae oO) AUT) utiogy popuaure aq Ami anne ce “RSS YS El ¥'S'TN ‘PY Aupoistodsay
HRA > [PUAUEOAI] ay] SI WAMU Ajsauinicy "Hy AaooDy SHS JTUISNPUL Sty Ul PeuULap st mS}
FEY) SV FUNIITS QUIET POLIS PUT, Um IOU St TI TRyR SIRLE pum sjuasondos july (2)

     
 
 

“OY Aroaooay SUS [eLIsMpUuy “[H°TZ WoIIsag
“SUTLIVIN TWINSWNOMIANT TXX FISLTYV
‘Auedwoo papey Aporjqnd wk st iuBUA x HUA] os ajqroydde
aq 104 [TeYs BI "OZ UONS9S sit) ey ‘aAamoy ‘poptaosd ‘sjuBjuNOISR ayqnd Paynes Jo uu poziudooe1
® Aq O1 paynad juausayRs sso; puB jyoJd pue yooys soURfeq sjURUD] pO[pUE] a1 Jaalpap ‘ssRos
TOs] SI Jo yous Jo as0]9 SY] Jaye Shep OT UIYLA ‘[eYs JueUAL ‘pic[pUry] Aq patsanbas fy

SUSUTBTOIS [eOUeUTY ‘RT Oz uonoeg

1ELZ0°ST
st

“Kasia
MAN JO IBIS Sys JO SKB] By) 0} JUeNSsINd panysuOD pue Aq pauiaAod aq [Jeys asea’] sty,

(MET SUTOSAGD “LT Oz uonoas

‘sqeaguddy pur siuitad pmuswuzaae’d Arssooau uleiqo
OF ATPIghu! Jo sauoynE AAAs jo sjuaUauMbar {gens SOO JO PUL] “tit JO 198 ‘uonOUNUOS
40 10U) "WHaApome “onagrs “uorsaydva SUID JOGE) JBYIO 10 sINO-yoO] “FAYLIS “por po SW cuOLTey UNI]
1 ,{(aumainyy (sjoaog, wv tysua) Aued @ Jo jontios opquunseas oy puioseg sucaa
Joyo ple Sfejap Abe soy apyey| ae) KOU |;EYSs pro] puR'] “wzuay popiaaud SSiMUAYyLO st idan]

    

  
 

‘GME SdIOT “OT OT Uooes

Japio uauaosiie words f pug you sop
Plojpuey Aq aswary syn y 01 peziouyne
A\Np uaaq sin, pAcypue |

      

“palgns <1 so Ayed est perma y yo
4uowfonf opin “Ate “Hereodios:

 

@)

 

(pmuap podn pacypuwy
TIMMY [UES (UM | put uu Jo GaN ay jo Apts ayy OVE ZuAAbAL OHTA, HMI] jo Hina
any 20 Gy] op Ad Jo puro Anu paojpue’y U9] aLp pug so oslamyosip c
JO SIRp MT HOY) EARP ATtAND WITS ones HO setups yey i
Jo fi HynypMNu "surdau yy App sue se (propor, dq oye
Ot UN Joyo) oY, yuRGAY, Aunt po nou est Pury at zo Tupying amp ‘sastutsy
at PLL Sy UAL) SINTRA Jo enum Aue 7] “USt] SSyUMtPOSUE PB Ag pewoqunaus
ay ATUL Sasritay,| pastuiagy oi) Aqauaka aap aq oy FunyAUue agnea Jo Op 18U |pRyS TUNUD]

      

      

 
  

SuaT] SSTuEaN

   
 

Oe Vols

‘S8ka] JO WINpIRIOUION 20 wuIO] Boys Yons Au YY LONSaUUOO Ul SISO put soa
Auyprooas ye And jis Aumd Sunsanbar oy, *gq's pew core *ZO's ‘10'S "yO'E “EO'L stIONDg umn Jomo
jooraly vorstacud Aue puw ancy inswasUSTLO> aif yuo} Zumas “Burprosay soy tie] sadoid ui 2809; je
WINPUBIOWSU 20 Asta] LO; MOUS BIO ULE aLQRPLODAL UT LUAUINSOp B aINdSxo ;pMys ZOYI0 oI AMd JetpIa
Jo isanbar uody) -osea} oy) puosas jjtys Aud sayyou ymp sai%e quruay, put pucypurry

ETT MHOT HOTS “ET Me Honey

ALOT USL apenas yt

   

“aS yOIg Put PIO]PUE | UI

         

   

 

ay onp s ag Ata Areed pp puny pour’ {UNA YAY aaty oy so yo jjmyaq uO pare
aay oF Bursa BD sayouy say An Ag sos) 1) Peay YIM UOnesuadutos
40 WOISSIUMIOS ataayoig Joy sues duw pueden © pare ap “piiayay

 

OL Sarin Nay caster) sy) Munotion a0 inc A. toy ayqusuiodsas (so4ougy,, apt) ayegery Amey
SOUOP UII IOYIO JUMNDT fo Jpeg Uo Tuyow sayorq ou sem auoUN INY) swoSsaudar IeUAY

THY “TPT woHseg
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l€L70'S |
ge

  

T pun Au jsurete pow tog) ssayuuny arunty Payuwepuy pjoy puc Aptuurapur ‘puajop [tim pur
40) afqrsuodsas Ajapos aq (pow juts] iN SHOT {20 jun SND JO 7 1p purv-ssn ‘aRrojs
(S20S1A 40 SsapAUE “Spuody <j] pee) spun pay ADUUOD Ut JO JO INO Awisuw “xisad putt
soa) SOUO}E TuypAy a “sanipqey pu saToump ‘smyeudd ‘soo “SuONe ‘SWE pn! ‘suey (pe isuiede
PUNE Hod) Coster] Sun JO (LDS | Mona Ut POULAP SH) NoRUMG PALULDpUY poy put Cprumtpin “puiayap
IM pu soy ayqisiodsaa Afayos oq jjem yma, “CoaupqUDs StL JO LOTTRIOIA AUB L Appa Sw
ML pUOPpUR] Aion [joys pNuAL pu) asa [eoy oi Jo sastwayg pasiuacy a INOGE JO ‘UO ‘uy sywIayEyAl
SnOpsAreRy| JO Kop Aue Jo Isip 40 aRroyosyp ‘aseajas ‘oonposd ‘a, My 7 “osn ‘au005
HOU |EYS IY Sane yuUUDT “Yopunayay suomusiqo saqo S40 Aur Rupr you,

   
   

 

“E01 UOnDAg siUp so suorstaosd

Hiss Ajduro 40 dasasqo 0} UaADOSEY Uoseal Aun

IM UOHASUHOS LL I0 WhOdy ASL 40-0) SIRpaa

Atay Ate BY Konya PUR Ae?) paLuuApUL Aut Isurmde pauses Jo Kg pasa

‘uo pasodun aq ou ue pe Kean yon (ropouaip topenidasd 39 vont

Jo-sasuadsa sayno pun saay <Cauuone of Pay FOU gq Tpnysue) “sans

JAAS JO “SYE] BY} JO/PUM suns “sHoUrpnt TE fo SAsnes ‘suninps

‘stso9 ‘sateump ‘sasuadxe 'sogsoy ‘sanye gry) [ye put Aue pane
PUB WOE -SSOFULEY PROP PUIE] POY pe Apuuapur “puayap oy (1)

Sy) 4o)pur tay ppg oi
JO) qe to Sanyin

 
   
   

 

Pun siaw [yids
9u} Yim Ajdtuos OF sanju SineuAL Aq pasodun ueuas Kg “ued HE FO ooyM,
UW “payjouiuos so paumo Spadosd sayjo Aut do sims: peay ou) "Supping
OU) “SASHA POSH) Oy IstNLAE oatEQuMaUD AUP 40 Gar] Ay SAotiAl
pur asatyosip <piduiud of ‘osuadxa pur yoo ojos su ®

 

‘saaude jueuay ‘BuroSasoy ayy Surpuny Noy AA, (2)

“SUOUSTA JO SOSqIAUT “Saad y s juNEO| 40
juvlla |, JO Slow Wo Suypnsad DY jy ayy YU aouenduIOd ylIM UOLOALIED
We JO Woy Tulse suoQeTgo put axuadxa. jo yo OMY 9G fjBYs PaoypuTy]
ley) Olaiay sarwed al) Jo UUNHA}UY ay) Bulag HI ‘suOUSTA Jo SOMAU “stay
SIUBUA] 10 JURUAL JO 198 te ty Bursue juarsa oy) OL “asuadKD pur woo
JOS Si] Je SUOHTBSI]GO YaNs [yO * ny PuUe [oe Yons Op [jes jueUo) ‘Tae Aur
Op 01 ,JO}B1ad0 JO JaUAO,, aYT SauINbal oy Inds ayy sanouayans (wy

 

pun (oy [ids
SU} Ul Pauljap ase SWIM pies sR) SOMMSQNe snoprEzty sdiRO 20 sjanposd
wngfosad jo adaeyasrp ait wOATEHtNY NOY BuIpnyaut “yoy [ds olf aapun
AN Aue ul ynsas Ae so Aq paigiyoad st yoryn yom Aut Jo wotssitio
40 UOISS}WWOD aq] LayyNs.30 OP OF HwWO ‘op you [fBYys 1 yey (

 
 

'so0u38 JURA] “‘Fujodai0) ay) Fuyptwy] inowN A, (q)

“GAP IMS, $8 91 paLiajay s}7411991109 Zo"1Z UOHOAg
SAP HL Su RUP AE] Out saarioadp putt siapio “suorurdo "saauRUIpzo ‘suOHUFitay 'sa]ns ples ][u PUL 19 pres)
“oousyy woNsipsunl Fuiamy Apo so XovaTie pemuowiaro®smnb so ptuounassaod 40 Joaay) nEsung 40
uoESTMpyOS At pyc] Aq Oy: |S AAS UO ul Joo} I paeay Jao pansst saanoanp pur
sropo “suoturde ‘sasuptit SHON a NBA, “Sapna [pM PUY SUIT, OF sty Wo) papudiue og KEUI atnEE ai se
5 IS VSN “PY [onite) pur tonrenadwes [pds ou) Jo suorstaoud pur suman ayy so [Te
pint f}ditos ‘ovgasqo ‘asuiadxa pur isos ajos <y e “TOUS Hin, Saaute y J ()

  

 

  

Tun

BYTES “WTC ToNIEg

TELTO St

“LO'EE Mona Siu po suotstAcad ayy uojpUR Wyss] ita Adios 49 ansesqo
O71 “Saacosimps Uoseas Aur soy *AUpLQUUl JO ain] SUBD | IL HEH SoUNED
Up do Woy FH 178 S809 YONE WaIXa ot) oF “sOyauayL UONMEdaud Jo HONEA
JO $1809 JOO PLE S{WauiosiNgsip pul saa] sAoMIOU oy PAH pot
SuIpHau] “AMeU JOAaIEYM Jo ‘ANI ai 1O/pu sua pal “uonsr jo canta
‘suaiNo ‘sisoo “sodmump “sasuadya ‘ssop “Aypeuad “arpqeny |p pute Sire pu
PUB UtOdy SSopALUY PIO[PUR] PLOY pia <puwiepuy “puajap or (HN)

   

 

  

pun “vus!
yim Ayduioo 0} aanyiey syueusy 01 anp pasodim jusua) &q ‘ued ul so sjoym
Wt “pajfosiu0s Jo paumo Auadod asyio Aue 40 aieisq jRay amp “ZuIpping
oY] “SAsIUaig pastuieq 94) suede aouerquinoua to usI} Aue aAowal
pue agreyosip Atydutod 01 ‘asuadxa pue ysoa jas sy qe (a

‘soadge jusuay, ‘AuroFoloy oy) Suyrwny nou g)

“msanbar saDea Lou splo/purry 30 propputr’y sf saouTIsgnS
SHOP RAE, J SS MT OL TULAY MORMUOyOT juoMppe tons WIEN
‘Aut ji csatiniou §.pyuypur | pur puorpuey <ddns Heys ateusy “aus jo
pasodsip Joypim pascrs “prea ‘pauodsuan ‘pauljou “poumagynuei ‘paypuey
“pansniat 2). HYUN I JOUUIMLE 2y) aquosap pu aoUE}sYyNS snopazEYy
qons Apap aye TSE yjeys uous using “sazuegnES sopuirzuy]
JO Sous AY SaajoauT Yor. sHopRisdo syumUay jo worded np
Help srajdivios Ut aquasap [jEys HABpIETE pres ‘iaaa YoIyN My “SOUS gRS
SMOPIEZE}] JO SoudSAlY SY DAPOAU! sPOP asM IOUIND UA sauIMIDy tt
(a) Jo", sadumsqng mnopreceyy jo Soudvag,, dp SU Or pauayss AjPAroAIOD
Jaynutaioy are AuteFazo) ap jo |[e) punowd mojeq so punosd arcqu
‘AUS UO CY YS] Uy pauijap are aisem shopmey pur {ns snoparzny st)
SISEM JO SDILTISQNS EnOpaFANY yO yesodsip so Bunipuct, AswoH Wweunean
uoumuedsums “Huruyas “sanjauyninmw ‘uoresousd on DAJOAUL IO seop
SAS|UALY PIswAC) Ay] jo ASN WNDUND uAY) squHUAl wi Oy) far)

  
  

 

pur ‘sasTuaag
Pestulad] oy] JO 9sN JUIN UdY S,JURUDL O01 GuNejar wiaysXg uOIedrpisse[>
ANSnpuy UBSLSUTY YON a3 Japun uoNeoTfisseyo zodoud aq} @

HUAI HIDD “yaoy]O Iayndaxa jaryo SuinmuAy, FO WAMpITE podpajmouyan pur poinsoxo
Aynp & ‘Aue ji “safiemuoyy spyaqpur'y pul Plo|pue"| OF JSATAp [[eYs WUE, “aed jwomasueuu0>
oy) JO Aspssoaiuun yaaa uo uaaa Kup u “pue (aac) ay Aq paumbar 41 ‘rations 20) pioypuey
fo aadeTpow Aum to paplpury Aq isanbar way o iaye sdup (97) ua ant, (=)

 

“WIGSOIA POSH ANT. 94
JOU FPS [uUEL PUR Mute] asa] oy JO UoHpeNiAL JO HOKMdNS aif soyT
Sit Op Jo spuny puadxe oy jueuay auinbas dew (p) punt (4) sydmaemdgns
Jo suerstsoud ayn inte soumyduion syueuay mys saouie put solpapwouyse
“Spurisiapun Ajssaudva pus) ‘uryg dnuray,7 ysis 4aa0 LOU MpSLin! aARit
Walp [Ins ut Apog so Aauate oye yons Jo Fac) Aq paysauip 4o pasapue
ag ASLNMAYIO ABU SEO UNAUAYT polNMUOD sAlNpaYDs ayy WYeM oouEPINOaE
M1 “UOHeUIUUSIEp Yan un BunuEgo Aq unyg dnuvarsy pies uonapdiuos
o) ainsasowd pure usury Apap pu dpycurdad (tl)

 

 

pue ‘ueyTg dnuea|5 yens yo uonajducs pur uoneucusfdun
aNdes 0} posmnbas puog Jeyjo Jo sejuerena jefoueuty Aue ysod ()
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lELZ0°ST

 

SISGLLV YO SSANLIM

CAP IS PYG :omy,

ANWdWOD TIENNOD FHL ‘LSALLV YO SSANLIM

 

‘TORU SA0ge js1J IBAA pus Avp ayy Jo
Se painosxs aq 0) esBa’] SII pasneo aaBy IUBUA] PUL PIO[PUE] YOTATHAL SSANLIM NI

\eézZ0'S |
6E

['yue}q Yo] Ajpeuonuayu st aed simp so J9puleuiss sy]

JOodaUfi FRALAINS Plusasoje al Pile |XX HIUY Sty Jo suOIstAosd dy JJ Ng ase STU OFT JaqUE
Jou pirtom pso[puey 1ey) 92488 pile asparmouyoe Ayssoudxe oyasoy soled au.) “ases] simp Jo uontuULa)
OUP BALAINS [TPS IX BMY siyr Jo uorsiaosd Aaa9 pur yses yey) soowSe juvuay

SUOHIPUOD poe SULIST [eUSMUONIAT jo [wAIAING “SH [TZ UOIDSS

 

 

 

“SIOUINtA

10 FATAL ‘UAT ys juMuAy IO pMOA], Aq Pury 94) oy be IYfinnug tou sem put mR WuatURsIIO >

Ayr Ob sod pury op 40 FujpjNg sp sapUN JO UO “UL PayEAD] azoM Yori pRB awe JUS IUD >)

OY) MO AET PEUALIUOULALSS YAN SouiydOd AL JOM SFA MYL SpRUAINAY sNOpIETET, CUP Jo un 14

Wes UY PALIN osuadso Jo. OD SY UN AlqisiOdsay aq pot :

“AmaOD aK OL MaIOY MUNG LAuE FepURESy MOR, “TUARUUOSLALD at) Jo DONTAdasaud soypie uot) Asard

WOH ;pOU dapess pul PUNT “TOF Au Hyad Inbad pire suey yEyHaAL ‘sayna IPO SAN] [RAO py

SIMs “PAPAL PE YUAN aad |pny un AypENUTUOS dasy pret AjctuoD <pduiosd ‘oytiadss pint ike apes
SH UF pS Ae Mey SAAN jUNUD | “daprMasay suOHAN Go J9IO su jo Kun | inn

       

   

   

 

SP] PRTSMGTALL uC) “Te ueToS

 

“SOOUITISGNS
sunscud to/punr-uerparoad pur-uornyjed sae ‘puncrd
$ ONAL ‘SUOERAY pRIUTSApUN pysy op Fuiumpad
AMM St ass yous ut) jHAMastNbad Jo-ayny apo “uonepnfad ‘soumui pad
‘apm “puopay Aum sapnysur wey pRIETUUCUIAUG,, Wat ot “spaapos
Mydig pamuitojysdjod (>) ssianposdtg unojoned pun stanpaid unsponad
AUE UE SHLO} IUPITS IO Lit Pros, | 'SISOM SHOPIEMMY, ,“SaouWISqns Sion,
«SELENE Stipseait), SasYe snOpuEZTY, JO SUOTLAp ain HIM papnfoul sauvysqns ssauy (n)
201 PANU JOU-st Ing KOPN \SpeUNEPY snOpINZEH,, WET SI ‘aswAT] sit) Jo sasodind 404

      

(SORSIA JO SSOAU) SHINS s,juNUeY 40) jURUD| Aq spulsareyy
SMOpARANF] JO spuayette oINO} Jo proodsip 40 oiATjoxIp ‘asvapar ‘ton snposd “aunjoepnur ‘uoNTALAaT
‘asn “adwors Yans oF told Tuysixe woyp putin ayy OL IMIS [way ay) UO paresoy aunteu aavaret go Auadoud
sayyo Aun ple soeuuady poriuagy oy) wun Ameoap sprout pur seh voice put dr-usay
‘WAOIISL au) THEM HOHASNUOS Hy JO fo THO SuesuaT SiseD pu soap Sauron Suipnjaur ‘sanyjiqey pun -sysao

  
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Case 1

‘aQuauy ‘139} Ep'RT YOAA SpUOTAS g/ saNUIUT /¢ SaaJ3ep $2 YON ‘OT

‘souayy ‘Aouadues Jo yutod & 0} 399J 96°COE JO YIAUE] OFa UB pue spuOdss 99 seynuiw
00 seaidap fp Jo a[8ue jenues & aay Og ELE JO sMpey e ZuIARY V9] BY] 01 SAINI & Suoly *6

“SOUSY} “OUNJPAM Jo yulod B 013995 1€°LE] ISA, Spuooas Z] samulm {¢ soaWBap |e YyUON —*g

‘souayy ‘Aouadue} Jo jusod B 0} 109J [9° | Jo Busy om ue puB spuodoas g¢ saynutuL
87 Sad8ap OQ Jo o{Tue punuad z ‘Jo9J GO'SOOT JO Snipe e SurAey WB oy} oJ samo e Buoy“,

“SOUSH] “eINJEAING Jo WiOd BO} 3995 /.F'Z6S ‘ISAM SPUODDS gp SaINUIUI Sz SeaiFaP BE YON “9

‘sousyi ‘oua8uey Jo jurod & 03 199) G6'ZZZ JO WSUS] oue UE puR SpUOdas gz SaynUTU
ZE Seauap OZ Jo a[duv jeyuac e ‘jaay QQ'ZZ9 JO sMIpe B Buraey 3yB1I OY) Oy dAsND B BuOTY ~—*s

‘eouayy ‘oinyeaano Jo jurod B OF oy 1 [BOT ISOM SPUODes g| sayNUIW gS SsolZaP go ON —“p
‘a9uDy] 7925 RSG ISOM Spuooas /p SoNUIUT [Q sao1aP OG YON —'¢

‘sousyp ‘Kouasue) Jo yULod w 0} Isay Sg°Z] | JO YIFUDT ose UB PUE SpUOTaS 6S soynurur
Ze SaaiBap | JO 9/8ue [eNUAs B ‘Joay 64°] 19 JO SNIPE B BUABy WSU ay] 0} sand B BUCTW “TZ

‘sousy ‘omjesno
quosuej-uou jo yurod & 0} 399y 15°9¢ ISOA\ Spuooes /p soINUIW PE ssasZep OL YON “|

‘sesinoa ([ [) Ueag|a SurMO][Q] ayy ‘enueay playureyg Jo aultopts Aj1ase9 ples Suojy

‘gousy)
‘Guyouns pue 9 a8eq ‘09Zp Yoog pseq UT S91 Sy12[9 LuNOD uoLUP ayy UI papiosa1 psep
2 Ul J] JRL, Se poguiosep pug] Jo uoNduosap w Jo pod SmuurFaq oy) Gulag Usod pres ‘peoy
AojBA JO suraprs ALoypOU otf WO aUT|spIs pus Tuo sosanos sNOURA aIp 393} QZ"SBg JUEISID
(Aem-Joqydu apim “Yy QS) anuAAY PLUM] Jo ounjoprs A2iseo.oq3 uF juIod v ye suuuraeg

 

iSMOJJOJ SB Paqiosop Ajiejnorred oso! Zulaq
Pue (£007 ‘sz aug 0} pastaoy pue £907 ‘67 YorRA payep “Bwyegac] Jooyos Aq peredad ,‘Aesiar
man ‘AunoD uo ‘syyatazy AasxI9q Jo drysuMo] *10'| 107 - LOE’ WO PUe Zw [ 5I07 -
COU F AOE “TF | SOT - TOL POOLE “TOT 101 AFOTG 40H VOISTAIPANS JOUTY ‘URI UOISLATPQnS
JOUNA,, “Papiiua deut urmas f uo usoys se “asap MON AUNOD VOU ‘sYma_ Aopoyog
JO CIYSUAO L “PEOY [BIUO|OL) PIG Pur “Olt YOO 'Z WF TO] “AH p Yo LOZ A | S107
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dnysuMos. CO] 491g] "| 10°] SB payeutisop pul umouY Sujoq ‘uiazoYy paquiosap puny Jo jooed y

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‘Teas [BIo1gJO pur puey Au yes oyunayay | “AQUYAHM SSANLIA\ NI

‘uOnEZLOKNE ayy] Aq OpzaIp oweN s1y paUdis oy(s) reyy pur ‘uoTBIOdz0D pres Jo
NOMSlp JO prog al fo woIEZOINR Aq poxtT Os SA TEU? ‘eas ayeroduos yons st MoUNpsTY
PITS OL PAXIZE [RAS atp imp “uoNModoo pres jo ay] SNOW aYy(s) WH taseary Tunas;

 

 
  

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posodde Aprnossad ow alojoq ‘saz * | vey se dup Jo? sap tig
f NOINA JO ALNNOD
“Ss
( AISA! MAN AO ALVLS
S10 b) eliey seating ao; 2 WO)
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INO 805 RAR ATK {1P98 teuPION)
anqng MON

ager we")
‘TR9S [BtolyO pue puey Aur jas oyUNsUDY | “AOTMAHM SSANLLIM NI

“LOTERLOYING ayty Aq Masaip atu sry pauls ay(s) imya pur “wotejodios
Pls JO S1OlOap Jo pitog stp Jo uonmzoIjne Aq paxiye os st 71 mp ‘Jeas srmodios yons
SE JUSUIEDSHE : [wos oyL ren ‘nonmodion plus jo peas oy) SmoUYy ays) met fasRe]
yn pur AY pa ap MoNTIOdOD ayy VOL] ‘BLuIXYy jo ay)

     

 
 

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; meqerspwny| dO ALNNOD
C parerp fmn JO ALVLS

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Case 1

“plooal JO SuOTIBAIOSOI pus Aem-JO-S]YBII ‘sILISUasEe Fuystxa [Te 01 }Nafqns

UId19Y4
Paqiosap se ssa] 10 a10U PUR] JO SaIOv 16 R9'/p / $89] JO sour Jacq suenbs EgE‘//.0'7 BuTUIEIUCD

“Suruurdsq
Jo aed so ytod ay) 0) 1993 [Z'9p ‘ISEAL Spuooes ¢] samMUICE ¢z ssalJep 6] WHOS

‘20U3Y] 23] 90", “ISOM Spuodes gz SaINULU Z] SeaTZep GP INOS
‘SOU9Y} "I0J GZ'OST ‘IS2A4 SPUDaS pO SoINUIW gE soaTZop GY YINOS
*‘20USY) 1004 Shh ‘IS®A\ SPlOdSs Zp SOITIUID go saa1Tap GS INOS
‘20UaY} 199} Ob LE ISAAA SPUOSES 92 SsynIIW Ep soatTOp Z¢ YINDS
“‘gquayy 5392} 0Z'ZZ “SAA, SPUoDSS Q| SeINIUI /_Q SA0Zap GE INOS
“‘aDUusyp 3994 LOPLI ‘IS®A, SPUODeS CZ SAIN-W p] Seadsep Sp YINOS
“AOUdY} “J99J GZ'19 “SSAA Spuodas p[ SSINIIU HE S2QIT9pP Z¢ YINOS
‘QOLIOUT °J99J_ GY'G9 ‘ISOM, SPUODIS SZ SOINTIW Hp S8ouZap 17 YyINOg
“sQUSUN ‘399J OO'RS “158A, Spuodes |G SONI {| SaalZep co INag
‘s0UdTp “199J 96°01 ISAM Spucgras GH SAINIW BQ SsatZap ~O YINOg
‘aoUay) 399) [¢°86 ‘ISeT spuosas EC saint py sarap EE INES
“sod 139J $¢°9] “ISB Spudzes gp SoINMIW SQ sael3aP g] YINOG

‘QOUdY} {399} GS'OZ ‘ISOM SPUOdOS PE SaINMIW Gp SaeuTap 1 | YINOY

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“ey
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“a0UOl] 99} LE 19 IAA Spuoogs EE sanUIU $7 s9oNTOP GF INOS
‘aguatp 199} 0719 ISOA\ Spuooes ZO SaINUIUL Z| ssaIZ9p Zp MNOS
‘eOTOY] 1893 6ST p ISAM, Spuosas OF BaINUTUI pE ssezTaP 9¢ YNOS

“QOUBI 109} $8611 ISBA\ Spuooes GE SaINUIU g¢ seaidap O¢ YNOS
“QOUSY) 2993 Ep’ Op TAA, Spucoss 79 sant ¢z Saa‘dap Cg yINOS
“SOUsy} "JO9} p1'SZ IS9A4 Spucses 909 Saynurw Zp soaJTap OR YyINOS
‘adUaY} 399} 0096 ISAA\ Spuodes E¢ sayUIW 1.7 SaoIZ9P pg YON
‘souayy ea} Z['ZI ISAAA SPUODES CZ SOINUIT €0 SaQUTIp Op YLION

“souaTp {09} Sf'6 ‘ISSAA Spuodas / pp SOINWUI OF SIaIFOP G/ YLION

fsesinos (¢7) ea1yy-Kjuomy BULMOTTOT
SIP ‘YOorg ussiH Jo suyseloso qeuixoidde ayy Su1eq ‘oury Arepwnog jedioimmw pres Suoly

‘sousy ‘AIUD JasIsWOg Tunyoye A JO yshasog, ayy
pus Qunoz soup ‘siyZiey Asjsyog Jo diysumol 3uy Fupraip au Asepunog jediorunw
a1p ur yuod & 0} y0y CE'ZSZ SUq Spuooas g¢ sanuNU /p sasITSP Zp INOS ‘uly ples Suopy

‘souauT {OFF HOUT ‘T LOL 11 JO Out] ALOsoMITROS a WIM tOnsasuaitt
ue 48 Aouasuzy-uou Jo jutod © OF 10a] TEZL] ‘Weg spuooss Hp somuimr co soasfop g¢
qUON jo soueysip put Juuwaq plOyd B PUB AY LEZ EL JO IBuay ase ue ‘spuosas ¢] somniMut
LE Seu8ap 6] JO o[Fue yequao & 199) OO'RRE JO SNIpTs B AuATYy Ya] ayo] dame & Fao

‘aauayy “amnjBAins Jo JUIOd & OF 199} OIG, YSE Spuodes / | SOMNUIUL pH SIaIBAP 99 TION
“souey) ‘Aouaduay Jo yurod & 0} 1305 Z8'ZS “ISA Spucoes 17 SAMUIW gS saaiBop [i

Ynog JO souR}sIP puw Bulwag ProYd & put 399] 0/°/5 JO WTua] ose ue ‘spuoses ZE saynuTUT
8£ SaoiZap 7g Jo a[due janUa. B Jaz OO'OF JO SNIPE & BUIABY Yo] OY) 0} 9AIND & BUOTY

‘Souaty ‘omnjeAId Jo yuLod B 0} 1994 Lp ELY ‘ISeA Spucdas | ] soynutuT /¢ seou8ap Os qNoS

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‘sasmoo (p) Ino} Surmopjoy sip ‘710’ [ JO] pres Jo ouyy Apaysomyinos yy Suopy

‘sous ‘dew pouojjusurssoje oy UO UMOYS SE [OEP YOOTE ‘Z10'T
JOT JO JOWIOD SAMYLOU 94) 0} JO9J C19 “SRY SpUOSOS Op soiNUIUT gO ssoTEpP 96 WON,

‘99USY} 53993 BO'S99 ISBA Spuodas OP Sa]NUNU ¢¢ saauZap p9 FON,
‘20USY} °}92f 9Z"909 ‘we Spuooes Cp SayNUIUS ] p SdoIZap 99 YLION
‘s0Ual} 3693 69° PLZ ‘ISB Spudoes ZQ saINUIW p] SAoITOP 79 YLION

‘20uatp “399f £7 S| ‘ISBA SpUOES GF SAINUTW YO] SooTBEp gg ION

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*S9SMOD (5) SAI] AULMOT]OJ BY) ‘aurfapIs AjJayINOS pres BuCTY

Bousy) °gZ aoy AemyYsIY d4BISIoqU] Jo suI[apis A[JoyMOS
8Y) YIM VOLassajUI JO WWIOd B 0} J99J 9¢"*7, “IS9\ SPUODES Gp SaINUIW RQ SeouTep GL HON

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Case 1

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“sous ‘AIMYBAIND Jo IUIOd E 0} 1993 ONO'S IS3M SPuodas pO sayNUIN [Q SseuZep ZpIM0g = "ZF
“20UaY} “993 Zp'09 ISAM Spuooss /.¢ SaINUIW 97 Soaudep yo YINOG = “OF
“soUaYy 3904 LL°CL[ ISAAK Spuodes pO sanUIW [Q Ssa1d=p Zp MOG = “SE

Ssouoty ‘Aousiuny

Jo wulod & 01 y293 6g'BE ‘ISEM Spuooes GO SaNUTW yz SooIZEpP ZT} INMOS Jo DouNISIP

pue Suiagq proyo & pur y203 Gg'RE JO WBUa] Oe Ue ‘spuooss |] SAINURU OF saauiap
00 JO 9[3ue fenUss v ‘JoQy C6 PERT JO SHIP 8 BuIAY YP] up 0) aso yusRuR-UOU E Buoy “pe

‘sasunoo (9) xIs Buimor]oy a1p “oulpapts pres Fuopy

‘squsyy ‘peoy AajjBA Jo SUTTSpIs ApJoSomYzIOU ayy UI oINJeAIND
yueSuej-uou Jo yuiod & of joa gE"QNZ ‘ISEY Spuocas g¢ soIMUIUT /p sazuZop Zp yNOS “EE

‘soUoY) 192} ZL R0Z ‘IBOA\ Spuooes |p SQNUTW Op SeouJop ZpYINES ‘ZF

‘sasmoo (Z) 044 JuIMOTIOJ Bu} 'Z J0"] plBs Jo saul AJsoysamuNoOs pue Ayajsomyyiou sip FuoTY

‘s0ustp *[0'SL WOOT ‘Z JOT Jo Jetii0a AyisysBoypou sp
01 169 £9'6T 1 ISeq SpuOdes g¢ soInUI /p SoaBOp Zp YINag ‘OUT A]so}somuNOS pres BUOTY "TE

“OUSUR SUMOYS SB [OSL JOOTE “€ 107] JO OULjapIs AojsomUINos OU] TPIM
auTeS al] JO UOTSaSIa,UT AY] 07 399} LEO ISPA SPUCSIS [E SA}NUIU p] saaIap gO YON “OF

‘aouayt 199F 1Z'13 ISEA spuooos pO soINUIW pp soauBep 98 YON "67.
‘anual 492} 1Z'LE ISBq Spulogas EE SAMUI [z saeITap GZ YINOS *gZ
‘souayf 399 (7°97 ISB spuooss gc soynulUl ZZ sosIBap /¢yNog *4Z
“a0UdtA 1199} GS TE IEW SPUOTIS OF SaINUIWT 90 SoauTOP HE WON 97
“soUual) 189) 8S‘SOT ‘Isey spuooes pO sonuTWN 19 saaIB9P GL GON “SZ
‘s0US) “J229I 7°06 “ISB_ Spuooss gy SolNUIWU ZZ SoaIdaP ZZ YON “HZ
‘QOUdYJ 399} 9N'9Z “ISB Spuoses /p sa|NUIW YE Seo1d9p GL INNOG = *¢Z
‘quay 399 TTL ISB Spuooss ¢z saynurw EQ seauFOp OP NOG "ZZ
“s0ual} “329} 00°96 ‘sey spulooas Eg soynUIW /Z SooLTOP HR YINCS "17
‘s0udy) ‘Jaay PI'SZ ‘ISBq Spuodes 90 SomMUTW Zp S9IZEP YB UUON ‘OZ
‘ooust} 1995 Cy‘Op ISeY Spuosos 7M saynurw CZ saasap co MUON *6]

“souauy S199} $B'GI | IT spuonss GE SoINUTUI gC SsaKBEp gg YON 8]

“SOUSH "1993 GS’ [ p ISEY SpUOdas OF SaInUIWI pE S9AaITAP OG YON “LZ

‘aouatp 389} 0Z'19 ‘ISeq Spuosas 7O somnui Z{ SeaB9P Zp YUON 9]

‘sousy} ‘l9ay LE191 “seg spuooss EE somnuTW pz SaazZaP GE YON “S]

‘eouay) 199] 66°07 ‘Seq SPUODES pE SaINUTW Gp SQBIP LT YON “pL

“sotleT 199) 65°9] ‘ISsAy SPUOSES gp SaINUNM CQ soouZap BT YON "ET

“Souda 382] | ERG ‘ISAA\ Spuosas Q¢ SatnuIW py saauJeP EE YON "ZI

“sOUaUR 193] OC*LOT ISeq Spuodes GP SoINUIUT gQ S9e1T9P HO YON “11

“soUaYR 183] OO'RS Wey Spuosas [1g SoynUIM {{ SAQIZaP EQ YON ‘0

“20UaT} “1993 68°69 ‘ISB Spuares CZ SaNIW Op Seatep /ZYVON —*6

‘oouatp ‘1904 67°19 ‘ISBY Spuooas p] SonurUI OE soatdap ZS YON —*8

“aUalp 1499} LO'pL| ‘ISY Spuooss $7 sommutM pT s2auT9P Sp ON

‘aQUou} 499} 0Z'7Z ‘ISHY Spuodes Q] sommUTW 10 saaidap GF YUON 9

‘QOUdl} 129} Op LE Ie spuoses gz saynulu Ep Seaidap 1.¢ TUON ‘§

‘aoust 499} CL pp Iseq Spuooes Zp SATU gg SaeITAP GS YON =“

‘ouay} 399} 67'OST ISP Spuodas pO SoINUIMI gE S2dITAP BY YON —*E

“SOUSYR 199} OO pL ‘ISBY SPUOdOS QZ SayNUTUT Z] SeaISIP GY YON ‘7

‘eouay] 1109J 17'9p ‘ISBq Spuoogs E{ saynmiw GZ sser3Op 61 YON “|

‘Sasinoo (Qf) Ary) Buimoljoy oy) sut[ Arepunog jediormu pres Suopy

‘aquey) ‘durmuns

pue (em-jo-y3l WpIm aiqeliea) peoy AaljeA Jo ourjapis A|Jeysomyyou sip WOY sUI]SpIs
Piles Supe sasnoo snoweEA o~p 199} §Z"SBY IURISIP Yoog UserID Jo ouT}iayUs0 oI Bureq aul] pres
‘YsistlOg Jo AYN] oy] pue voTUA Jo AunoD ay) ussxyeq aur] Surprarp ayy yA (Aem Jo-14812
Pls "Y OS) onusay pjalyureyg Jo IUI[aprs Aprajseoy}OU aI Jo LOHANsIOTUI Jo aI Je SuruuiTog
‘SMO]]OJ SB Poguiosap A[re;NoGIed s10us Zujaq puke ‘Kester Man] “AUNOD Jos1owWOg “Bunyore AA

JO y8noi0g ‘TO'SL AOI “1 107] se poreussap pus uMouy ‘ulasoy paquosep pug] jo joored

AdSYaf MAN SALNMOO LASYAWOS
ONNHOLYA dO HONOUOE
10°SL MOOTA *T LOT
NOLLdTMOSSd TWOET
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*psooad JO S\UaWasEe ]]}8 01 oofqng
‘UISIOY PIgLIOsap SB PUL] JO SdsoB 06") SUTUIEJUOD

“Burumdaq Jo aouyd pue yurod ay oj 3995 ZO"CH] “ISAM spulodes ¢¢ saMuTUA
90 seoudap GY OU ‘anusAY ppoyulE[d se UMOUY AyeUISUO KeMJO-WYB OplIM JOO]-9S
BuNstxo oy) Jo ourapis A[sayseoyoU pres Buoe puke aulpopis A[Joyomuypiou ples ZurAEc’]

‘gouauy
quiod © 0} Jaf C6'[{ “SEM Spuodss /Z saMUIUT /¢ soorTOp GF INOS ‘owes ay BUoTy

‘souay) ‘AousduB} Jo Juiod B 07 109}
68'¥3 JO IyJus] oe ue pur spuoseas gp SoNUT GE SaduTOp 9g JO 9JFua [eyUId B 499) OL'OEL
Jo stupes B Busey JYyIE Sy) 0] aAIND punodwoo ples pUE OUTSpIs ALAIsoMqIOU pres Suopy

‘souayy ‘(Aem-jo-1ySII
TPP 91QeLeA) peoy AayTeA JO sUljapis Ajlaysamiguou BU] oMIeAIND punodusos Jo wrod
BO} 399} H1'SRl JO YSugl owe Ue PUB spuodaE go sayNUIW > soaITEP CC] Jo a]Zue yenoss
B 93 0O'89 JO sNipey # FurAey 1yB11 ayy 0} samo punoduros B Sucp puv owes oy SuoTy

‘SoudY) SaInjRAIND punodwos
Jo jutod @ 0} 3993 €7°19[ JO yRSus] ou UB PUR SpUddeS [¢ saIRUIUI ZT] SadIfep pE JO a[TuB
feqjueo e ‘Joy GO'DLZ JO SMIpes eB Bulavy IY sy 01 oA & Duols pue owes an FuoTy

‘souoyy ‘sINjwAIMS Jo juIOd & 3e
JUSUNUOW B 0} 399} [9°01 ISB2 Spuodas ¢] soINUID og saaidap Ey IpJOU ‘owes ay) Juolpy

‘souay ‘AousduB) 30 JUIOd @ Je JUSUINUOU BO} 399J FE"pL JO SOUBISIP puoys
& Iso SPUOOIS CT SOINUTU EF SoOIZOP GY YOU Bulivaq poy & puB 399} QS'p, JO yTUaT
D1E UB 'SPUOIES p) SOIMUIU QF SaasZap 7] JO 9]due jeUSD e 499} YO'IEE JO SNIPE B BuLATY
YP] 94] OF OAIMO & BuO|e pux UOHSAJp ApoysPay}iou B Ul aUITOpIs A[zsBO|INOS pres Buoy

‘gouay) Ssulmun2
pue ‘srasuigug jedioruny) pure Suryjnsuog ‘eosse; aw sedue Aq pasedaid ‘9661 ‘¢ 10q0190
0} paslAay “6R6] ‘ST Hequisidas parep “IN ‘AJUNOD esIOWOg “untae, Jo yBnolog ‘y 9 10L
SOT - $0°OL YOO[A PUe [101 - ZO'SL YOON “1 OT - 10°SL YOOl pur ‘Aasuoe Man ‘AJuNOD uorwy
‘sys aH Aajayieg Jo drysumoy, °7 7 | SOT - COP YOK ‘ZF 1 SICT- ZOLy NOG “S ® Z IO}
- LOT’ 30] ‘Ayadosg Jo dey, popnue dew ureyao w uo UMOYs se SNUAAY plaJULe[g se UMOUy
Aljeursizo Aem-j0-qYUBII SpIM J00}-G¢ Buysixa ue yo aurjaprs Ajsousou ay) pue ‘(AeM-f0-1y3t1
WPM a[quiwa) snueay pjayulel” JO IUI[apIs APo}svaqnos ayy Jo wOHoasiaqUL oI) Je Fupuuissg

ASUg! MAN ‘A.LNNOO LESWAWOS
SNNHOLVA JO HONOUOE
‘20'SL MOOTE 1 LOT AO NOLLALNOSAC TvD31

‘piodar Jo suoneasosay pue ABar-Jjo-s]ysIr ‘syueutases Funsrxs [fe 01 9[qng

“SOLO SI91D Aunoy 1ass98u0g
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‘Wle1ay
Paquosep SB Sse] 10 a10LU PUP] JO SAID¥ pG'ET / SSa] 10 a1oUr Jaaz arenbs gg0'L99 SulUIEUOD

“sujuuITaq
JO eojd so iutod oy) 0} 199% CITT 98a Spuooss Zp sau pE saaldap Of YON

‘souayy ‘3994 00'S IS9A\ Spuoses ¢] saInUTW ¢z sasRap 6] YINog
‘sousty] “1293 00'SZ ‘1828, Spuooas jp SoynuIW HE SoouBop OL YUON

‘aouay) iXouoduel
“UOL JO jUTOd & 0} 129} ZH'S6T ‘ISAAA Spllooas Z] soyNUIW ¢] SaauZap 92 INOS jo aouRiip
pue Zuuwsq pioyo & pur jaoy 65°Z1¢ JO YySua] ose ue ‘spuooas [Q SRINUIL OF SaarBap
99 Jo a[8uw yess. & aay Qy'OLz JO StUpes & SuIARY 1Y31I 943 0} aAun9 JUSHuT-LoOU a Fuopy

“souatp ‘oanyeaina so julod B 0} 99} 19°00 B89\ SPUOdAS E] saynUTUT SQ Sacufap Cp EMOS

‘souorp ‘Aousdup} Jo yurod v 07 199 / {99 ¢ JO YITUa| oF ux pure spuosas ps soynat
ZO SauBap 19 Jo a[Fue esjua9 & Joa} OO'OEE JO snipe e SuLAeY 9] OI 0} SAINO B Suoly

‘Sowa Suna
9SISA9I Jo Ju]Od 0} J9AJ QO'Op ‘ISOM Spuodas |p saINUIW OF Soaldap pf YINOg Jo souMsIp
Pur Sulreaq psoyo @ pue isay pZ'6p JO YASS] we UB ‘spucdas Q¢ SaIMUttt pp} Saqrap
TZ Jo a]dur panuso & ‘ts2y QO'Op JO STIPE B SurARYy IYI ays 07 stuNd yuaTiEL-uoL n Ruopy

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*Sasinoo (7) uaaas SulMoTfO] ot) ‘Urfapis pres Iuopy

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*plooa Jo syuawasEe [[e 0) 19a(qng

*yJO'J ples ulyyIM PaUrejuod 978 $0198 Spy'p)
Pure Z 207] pres UTYJIM paurEjUOS ore SIDR PES"] YOM Jo Saude 6/6" | JO Boue BIO} & BulureyuO>

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“uuUIB9q jo send pur
lod ay] 01 349} 16°16 JO SOUMSIP PAdyS w ‘IsRA-SpuOdAs yo solNUTUT FE SeaFop Zz unos
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lenues ® ‘yoa7 OO'S9E JO SMIpel # Furawy WYSe ays OF AAuNo e duoye pur sues aya Buoy

“gousy} ‘arnjyesuno
JO yulod & 0} Way [py'9Z ISBB SpuCdas g¢ samnUIW gp ssouZsP 6{ YINOS ‘aes ay} Suory

‘aouom ‘KouaSuwi Jo wed v 07 393 EF" 1] ¢] Jo soumsIp
PlOYo & “ISRO Splodes TE sau ¢] SeaTap Ty yinos Duiaq psoyo eB pum ya} L9°[S]
Jo Wyduaj cue we ‘spuDsas gp sointul 99 seazRep Cy jo a[fue penuas Hn taoy OU'SLS 40 Snipa
2 JUIABY 4a] ay} O} DAIND B SudTe pure ‘uONDoIp Apaised Ue UT ouTapis <pouTNes pies TuOTy

‘sous ‘anusay ppayuleyg Jo autjopis Ajroyynos pres ut oAsNO e UO yUTOd B 04 3897
bY'P6 ‘Isee spuosas GE SajnUTUL Q] SSazZep gg YOU ‘sur; AeM-Jo-1YSLE AjJaIsee PIES Butavor]

‘aouomn ‘jurod B 0} 1897 47°10) ‘Isa
Spudses 10 soInUIW /¢ sooldap OQ You ‘oul] Aem-jo-sy8u Ajsaysne pres Fuoye Fuinunyuo0s

‘g0uay)
‘YOOIG Usair ay} Jo sunpisyas pres wu qulod & 0) J90y Z/"¢LZ ‘IsBa spuodaS 1.9 SONUIUE {¢
soaldap 00 You ‘AeM-Jo-AyB]I seD PUB oLNDaI_ SILAIag Olgng e Jo sUT] Apajsea ue duly

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‘oust ‘syysiayy Aapaysag jo diysunoy omy pur Sungoye ay Jo
Ysno10g oy ussMjaq aut] SuIplarp ay) Bulag suIps9ILES pres "Yoorg WARICy SI JO surpass
DY} UL JUIOd B 04 199J OZ] ISAM SPUODAS /-p SAINUILY GE SeaMTEp ES INNES ‘aus aty duopy

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Aq pasedasd “9661 “¢ 19q0109 0] pastael “6861 ‘ST sequiardeg poyep ‘,'('N “Gunoz jesioul0g
‘“Bunyoye A JO yBNoIOg “pF 10°L 80] - 80'OL YOO PUe 1 30] - ZO'SL NOTE “1 OT- 10°SL
yoorg pur ‘Aesiar May ‘uno vow ‘syy8tapy Aapaysag Jo diysumoy, ‘ZF | SOT — COlp POT
‘TB LSIOT- ZOLy NOTE ‘S 3 Z SOT -- LOL NOOlg ‘Auadorg Jo dey, papyiwe dew urme0 & uo
UMOYS SB 10h JOO[T “¢ IO] PUR Z 10°] plas 0} UOWWUOS BUT] 10] w Aq payoosJOJU! SI SUITES OT) OF9Y AA
‘(Aem-Jo-1yis Wpias a]qeLrea) onusay plaljureyg Jo outjoprs Apoyynos ayy ut wrod z ye BuluuIBeg

AdSUal MEN ‘ALNNOD LASUTAOS
ONNHOLVM JO HONOYO
80°0L NOONE ¢ LOT
anv
AgSWaf MAN ‘ALNMO9 NOINN
SLHOIH ASTI Aedd AO dIHSNMOL
‘LOE NOOTE Z LOT AO
NOLLdOSdd TWOIT
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yons uaym (CyDomy ul A[qesajord) QD e uO SBuLmeIp Jo Jos o/uOISA;9 GUC pu
SUIMBIP Jo Jas payBasum auo (9) ‘syauied uoManqsuco Jog panss! are sdulBIp Yons UsyAA
(ayoomy ut Ajqesayoud) Gp B UO EBUIMBIpP Jo Jas DIUOMIa|S QUO puk SIUIMBIP Jo Jos
pafeasun uo ‘sdurmesp Jo sjas poywos pue pousis sory (q) ‘panss! Ji ‘ssuLmasp ssaitoud
MSL Joypue BOS Jo (TYOony wi A[gessyord) QD e& uo ssulmeIp Jo yes JUoNoeI9
ouo (8) WIAA proypue] eprAoid ‘(souBmoTTY OA, WEVA] oy) ULAIM pPepnyoul aq urO
qsoo yorym yng) esuadxe uMo sy 4B ‘[JeYs JUBUE], ‘Plo[pUey] oO} VOWBULOJUT yons “Ful
1 YSMLMZ 0} sJOJIeUCD sNOLTBA ayy JONAsUT (1) pue ‘Jools syUsucdWOO snolleA
8U} PUB YOA\ JUBUS], dT} JO 3S09 JBNIoR PUB oJFUNIJSS O1p YIOg YAM PIO[pUR] “BuyUA UT
“ysiaing (1) TTeYs JmeUS], ‘pPLo;puE’] Jo ysanbos aly yy “YOM, JWeUaT, plws JOJ aseo7] oy) Us
poplaoad se gso[ULey pio[puey ploy pue savs 0) soal8e juauay, “(asea'] sy) JO SUNoy 21)
Um souerjdwoo UT OM Tene], SI) JOMLYSUOO 0} UOITESIGO sf WO WeUA], 2Ac7][oI JOU
If84s proTpue’y Aq auzes aq) 0} qUasUOd Jo Jo Jexosdde Aue paw) s0js194) AITIQIsUOdsar ou
oaky [[2Gs proipur’y ‘(sucteorpoedg pue suEl_ ayy vOTETWT, JnOMIM BuIpnpour ‘oyaroq)
Sunefod suotBorpioeds 10 sBuIMBIP JO) YOM JUBUET Yons AUB 0} Joalqo Oo} prc[pURT
Aq aanyrey Aue Surpusysipion “Zurppmg sty ut sovds pases] s jue) Yons Jo JuawWAO[US
yonb puke asn s,juvua, Joyo Aue WIM Jo swayshs Buipying WM s7ap10}U1 JWoAS OU
UY [Jes YOM, WRU] oY, ‘pro[pueT Aq pamnbes Ajqeuosead sayni VoKoN.gsuo9 pue soynd
uisap Sutpring [12 pu ‘(Z-D Nga sip UE yo} 398 esoY) “UOITEITUNT NOW “BUIpN]UL)
osteo] sly Ul qUOy Jos SUD} Jayjo [ye ‘suoNBinser pus smal d[quomdde soo ][e
pur sopoo Surpying argeorjdde [ye yim souepi00c8 ul psys[duos aq [IM YOM YONS sase
[we Us Ing ‘suoKeIIOAds pue sBuLMMp poroidde osoyy YM souBpsOa0N UI payaydU0D
2q [IM SoA, lUBUET [PY ‘stuued uoNoNAsUOd posinbal [fe pue jUssUOS S,ps0|pUe]
PaAlsoal SARY [TEYS UN OAK IWRUS] aT soUSMWIOO Jou [TeYS Weta], pus “(pyayya
Ajqeuoseamun 9q jOU [IM jJUssUCo IY) JussUOS pUe MAIAZI [HIOUIT JO} (SyULIOd
uononysuce Jo; uoKwordds Joy uorsstuiqns 0} sold) pro[puey] o1 payiugns oq [eYs
Bu1oFeroy oup jo Adoo w ‘sFumesp ,J]Ng-se,, Joy }daoxg ‘suoisepndes pue sme a]qeordde
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pun sue}g ay “Furefaroy oy jo Aum Aq possrdurosus you jusiKo om] Oo} “uoToLsLETS
jo sosodind 20] put) ojaay) suoisiAal Aum put yoM, JUBUD], atl toy stoneaytoods
puy (sdummp ,1yIng-se,, Surpryouy) sdunsp worsnysu0s FuLAoUTATa pur jemjonyoT
paymap “poysiuy ‘Dupo | (UT) SHOAL wud, jo 1809 jw0) ain Jo areuINsD uP (11)

IWC] Yi JO} saynpayos punt qpioads pau au pun sinod ‘sSuywesp
gametes PUR Uaisap jEmMpsonYUe sOLat 1® (2) cpamdoud 3q oF asneo jyeys eeu,

[panto A]jpuonusyuy]

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SMOT[OJ SB saaIze Aypergnuy JUeUS], Pus PIO|PUR’] \Paulejuoo Jayeurssay
sqUBUAAGS Sst] JO UOHeISpIscos wm pue (ojsray} Ajdde yuoursozZe sup Jo suorsaoid sy) yey)
3U9]Xx9 aly 0} 2auazayor Aq paynsodsogur Aqoray st yorya) aseo'] ay} OJUL JayUe 0} JUBUSL, SORpU! O],
“(,Saslwoig pasittiog,, atp) wiezyi povornusus coeds sy} Jo aseay ve Buynoexs AysnoouRyNUNS ase

queue], pus (,piojpURr],, “asw>"] OY JO /O'D1 UOROES Oy elqns) AuedoIOD [JsuUCD ayy,

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Swi avds
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‘quired Jo syzoo OM) - soureay pus si00c] (Ww
‘qured Jo syeoo OAM - SITRAA @
munaeG =}
‘uondo s,jueusy 1B 9q Aeur doRds Jo souRleq Ul
yoda “woisks jong s00] J-J9pUyY UOsPaqoy s,FuIpying ay} o1 snp ‘ay Suumbas
JOU SBOIB UT Siopeay YOUdT) sy} 1oA0 a[mpou ,g] X Sl Ue 2q [eYs BuyjodseD
TSULOOFY ?P

"wo3shs Joyseul Supping
ag) YM pahay oq [eys syasyoo] ‘jenba 10 oBe(yog aq |[eys aueMprey [Ty

 

TOIBMplEy JOOG “9
“por YA
SOUBPIODOB Ul aq [[JM S1OOp JO JoqUINU sy], ‘SIOOP soUR.NUA ssB{3 J0/puB
J9eU0A apels UNBIs ‘YsNIZ poom ‘d109 plfos 9q 0} (s)Joop Anus ajing ay
“9peid UTEIS YOtg ‘YsnIy ‘8109 pros 9g 0} SIOOP JOLT UBUD], WO
“SOUNBI} [FOU MOTJOY Bd Q[ Ul JIS 9q 0) azB SJOOP [[¥
S100 "q
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umsdA3 your Z/] pue uolyernsur duruapeap-punos yA ‘o°O SayDUT OL
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‘JyBisy Burpie9 ‘apts yowa uo peo [Pek uINsdAB you! Z/| yA. “9°O SoyoUT
bz © spmys jwyour you g/¢ ¢ 9q [eqs suotned yong - suonsed Jora1U] @

SUOMI ed 8

19889"] 9Y} JO [QE UOTII9g 0} JWeNSInd psojpueT] Aq papracud
9q Heys (HOM SjUeUaL jeu! 947 0} yoodsal YM) pUe YIOA, WRU] 40 spuepuEs
WINALL PLo[pue'] FUPMOT[OJ By] 468d} 18 JOJ oplaoid [feys UTIsap JOLIE syURUST OY],

‘propue’] oy] Jo pwaosdde
usyum Jotid ayy 0} joofgns puy asuadxe sjueusy ye AjUO pay[eysul aq [1M AjIsusp
quednas0 yay Ajjeuouge Jo juauidinbs sjueusy, 0} anp poxmbs: Zujuompuos
48 JO JsnayXs jejUaM[ddns Jo jelsads Auy ‘g'q'g sasudop O] Jo amyeroduay
apisino Te “EC a seamep ZT, Jo saummedinay imum soopuy !qq'g seasZep
b6 JO sunjeaduny oprsmno ue ow “géiq'a saqufep ¢y JO aunywedwoy souruns
Joopuy :Aouednaoe soyjo prod’ toy pordnsso srare pardnoan |jr ut suonpucs
HUIMOOY Oy UrvUTMM oy Aoudes yarns sapjaoud uRisop Supping sy,

 

BUTWONIpueD ITY puE suqe(jus, Toyeay

“2PO2 YIM SoUEpIOOOR UI S¥oue yURUa | T[e UI poplAosd a8 speay JopyuLds

TSOP UGS: ?

‘sputfq asoy} sAOWAS JOU [}EYs JUeUS |
‘SMOPUIM JOLI9}X9 []B UO SPUITG SUIT IY] payyeysuT yA porddns sit Zuypying ayy,

 

TSHUHOAOD MOpUul AR ae)

‘sBo18 JULI Je UI paplAo.d s) yaay asunbs ¢7'9 49d suo Je slesord YIM
srqndwoo/euoydajaa pue feoLMoaye 10) surmisXg ONG JOO[yF~Japur, UOspeqoy

TUTySeq LOOT

‘ojaJ3y payefel BuruoNIpuos ne
aqeredas pur juotudinbs sayndwies o} pay] Jou yng Zurpryjouy jusurdinbs
SjLBUS], JOY UONQIISIp raMod pue Bui ywlosds [je 10y jeaoudde
Aressooau |[8 Buluseygo pue woryonsisuco Joy ajqisuodsax aq [I Jueusy (1)

“SOUIYORUT SsauIsng 10} Joo arenbs sad sem p pue YI]
Joy JOO} asenbs Jad sem ¢*Z Jo Ajoedvo e& 10J poutisap st TuIpjing oy. Q)

 

TOseE AL /Peo | OLNda/q e

AO M, LUD], JO 1809 sy) Jo uOIpOd B aq |TegS syuoUTsAcsduuI pres
u1 queue, Aq pasinbad sagueya Aue Jo ysoo ay], ‘IoeNuO. UoTONsUOS Zurpjing aseq ou
jo ued se sluswasosduit SulMoT[o; at YA paoTpue’y Aq parsaljap aq [[eys Supling ayy

‘aS8o'] JY} JO [Q'E UOIIag UL psquosep sz asuedxa 5, plo[pueT]
je piojpue] Aq mo poBo aq [[eYs Joaray, uoNONyYsUOCO pu UdISep oy)
‘aseeT JO 1Q'€ UOTIOSg UI payetdwajuoo yO”, JUeUaL [eIU! ay) 01 Joodser YM
Jey purjssopun sotped ayy “py uoNoag sty uy peulmjuoo SurpAue Furpueysy ON, (2)

‘YJOAA JUBUSL JO 1S09 Oy) SuTUTUEI9p UT pepnyoUT 3q [JeBYs suOToOadsuI puB
syiuuad yons [JB JO Jsoo OY], “JOA, RUST [fe YM UOTauUOD UL ‘AoU¥dnNIZ0
4oj pasmnbsi suoysadsul je ioy edueue pur syuued |e ureigo [IM jueUay, (q)

“wiaysAs AZLMoas pue WS9zSAS WIB[e UT ‘WO\SAS JUSIOSRUCUE
Suping ay) 0} suoNSoUUCD jeUIy ayy JO} sIojoRNUOOgNS soUEUSQUIBU
Sulpying ou} ssn ysnw pue pso|puE] YM swajsks SuIpping Aue oj suoKjosUUCD
Jeuly [[@ SBUTpIO0D JsnUT JOJOBWINOD Pleg  ‘“JoIORNUOD |BIousT YoOIUN sse]O
SII} B SOSN JUBUaT, ay) 1EY PSptAosd “ysOA WRUa] sy WoyJad 04 WYAIA ay) oAeY
[leys JueUsy ‘JooJoy suorstsoid Joyjo ayy pue Mo}3q (q) YdeISeaedgns 0} yoalqng (e)

“‘Quoy, junusy,
[eyUt ay) 0} yoadsai qm ydesdesed Sutpsooad ATa}RIpouUT oY M1 psoUeloJo! sAuMeIpD
24} WIM plo[puey sptaoid oj pasinber oq yOU [[RYS JUeUD] pow) YOA, WeUaT Yons
gO uoreiederd ay) UISA0T |[BYS aSEd] AY] Jo [O"E UOTIOSS Jo suOTsIAOId oy] pu asses] OT
J9 [Q'€ UOHD9g Ul paqudsap se pio[puey] Aq yno paiuEo aq [[BYs Joo19y) UOTIONIJ}sUCd pur
UBIsap DY} ‘aseoT SY) JO 1Q'E UONIEG UI paye|dwajucs YOM JURUdT [VIJIUL SIN 0} Joodsoz
(QI Jeg) puRisispun solyed oy ‘¢ UOKOag si uF psUTeoa SulyAuB FurpueysypMION

“sduIMBIp I] INQ-se ove STuUIMBIP Yons UaYyM (CTYQo}NY UI
Ayqesajoid) 2 8 Uo sFulmesp JO Jos STUOI;O9]9 DUO pue 49s pauls suo (p) pue ‘Uorppe
40 uolsiAdy Aus (1) pus uoRoNysuos (11) “piq (1) Jo youa JOJ panss! oae sSurlMep

 
 

ra rz-9
Uo Jo SINOF] SSOUTSNY apisynd awsn wany OMNES IO YA} toy Arounsajo Souinbaa yueuey, J]
‘Jueual Jo sanbor prraads undn Ajuo junuas, 40) popooo 10 pareay aq [PLN Supping ayy ‘sAeprpopy
Pur spusyeom uQ ‘allusn Rany WOMWOD put VAM Saumudf, 407 ASIII “WAY oy) Jo Ed
se pue dx s,psojpurry qe ‘apiacid |eys puojpur-] sino} Hang] Funing] 9
~asuedxa
90s SquBUAL Je SABpIOH Supping wo saojAes yas sptacad qfeys pro[pue] ysonbos sjueus,
Ty ‘skepyjop Zuipting uo soorses Joqjo pur fevoyuel ysiamg you [pays pso[pur]
“sAepljOH SuIpjing Jo 3st] oy Ajipout 07 7yS1J ayy seAtasas piojpuey]
Aeq sewyssiya
SULAISsyUBY | Joye Ae
Aeq Suiaidsyueqy,
keg 10qe7
Aqng Jo qunoy
Ae jelouayyy
Aeq syuapisaig
Xeq 5 s894 MON]
isAeprjoyy Surpying polepisues
9q [TeYs sep Aurmopjos oY] *sAeplpoRY pue spusyaom jdaoxa sXep [[@ uo Wd 9 0} NY 8 9q [TeYs “‘quRUdsT, 0} YSIWNy swt} 02 oumN] LOI] ABW ploypUueT ey)
“eliayeyea ayy Sulpnyaxa “(peryezo os sageuloray) wSMOH ssoutsng,, Supping sf $ $a]N2 UOHOMsUOS pue suoyeoYyfoads usIsop wea) JaIpO |TV @)

“AMppINg Jy) Jo s01L2ayKe aI
Woda O1GISTA Hq 01 SB Os SBUYIAD AY THOT] sway! Susy qoU ypeys pue aotmmadde Apapio pur jrou
B Ut Sasquiasg PASTUG] Ii UI SIs MOpUEM dooy [[eYR IUTUD], “poulnbay se ‘sostworg pasyusocy
aif Wy SPUHLG Mopul op Bunomo] Aq warsXs Ruruonspuod se sButpjing arp jo uonessdo juoIoLyD
SU Ut PLO[PUE] WIM oiBssdeos |pKYs TueUAL “Wat eAouses jou |feys jueUD] pun poxfddns
SHY PAO|PUR'] $8 SpIyg MOpUIM Yons Ajuo asn |feYs MUAY, ‘s9RNIT} AUR UO 10 FuIpENG op jo
Oputas AUT Ut 10 UD S#uL2A09 JOIN JO sapuys “SBuTEAe FEISUT 10U

‘sastundg
Paso] ay 40 FIuipjing ay woy so 01 wosied Auw jo wonsala 10 UOISN[ONO ‘uOLSstUpT ayy
Woy Furst sso] 10 soTewEp soy JURA Aim.o} ayquyy ag Ae OW Mt TES pyoypuiry “ystjquyro Apu
POPU] se saunpoooad sumoyzjo yons yn pds HPys ITA], pur (pouyop wiaisy sv) cinopy
Ssouisng aprsino Turp(ing ai 0} ssoooe rorysox so. yt] Aw projpuIr] “sims, Sy 1 Supping, ayy
JO Sragaqiy pur uoywindas ojuRys “Ages ays or jmioipatard oq pynom “uaupal <p.
Souasaid asoym wound duy o1 go “palnuapy <pandoud jou upsaad sue on a
Osnysu Arte projpur’] “sounpaauud Qans yyy 4jduios rere Murpping, ayn jo Ayaqes ao
Ayungas aq) 40) saunpanoad anmudiadda ylope ‘oun oy aut weg) ‘Amu poop] {

    

“A[WO asn Aono JOY oun SIIXO QUE] “sastWorg pasiwag ay Woy ssarZa Jo
0} Ssou3u_UetA Jeyjo agodind Aum 40) asm sronyT yuuod yo asn OU [feYs IWeUeT, pue Zuipjing ay) Jo

‘psojpue’y Aq paztsoyine
Ssajun payuned aq [jeys sioojy y8nosmp Zuwog 2109 ON (P)

SSIDIE MO][T O1 ParaAoo saypid
40009 Yuan pum posn aq ISN san adie “aaoge PooWaIajad SUONIAUID a1
JO} PEN J] ISN SUITAY FARIS PUM S1}OQ OYJ, JOOY Youa uo sisKA mM) WAYSAs
OY} OF 40 Ophoy YouaN oti Ob opeUl oq [jeys suONSAUTOD pany 20 SSuLMSEE ON
"wuaisAs [eoL9a]9 100] J-4apuy] uouaqoy w sey Tapping ayy (3)

‘COA, HEU, [UTUT at 20]
Unip JoyI0) eva] 07 pay[IG PUN JOpUoA waIsKs wee BuLpjing wwaLMd sip Aq
PANS puT pawwoptad aq |[RYS UOIEDY OA UONOUNY ANAepAsM ju "found
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AYXTRIA

INGENIOUS INSIGHTS

 
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ABOUT AXTRIA

 

Axtria is a big data analytics, business consult-
ing and technology company that helps clients
make better decisions, with measurable
results.

Our cloud-based software platforms support
sales, marketing and risk management opera-
tions. Built on a legacy of serving clients around
the globe for more than 5 years, the company’s
700+ professionals deliver consulting and
analytics services every day to more than 60
clients, from a network of 7 delivery centers.

Axtria works with clients across industries
including Life Sciences, Healthcare, Banking &
Financial Services, Retail, CPG and High Tech,
with a high-touch on-site and offshore presence,
leveraged by a global delivery platform.

Axtria has been ranked on the Inc.500|5000 list
for the past two years. It is ranked #15 among
New Jersey’s 50 fastest growing companies, and
is also a winner of Red Herring Top 100 North
America award in the Cloud category,

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EVERYTHING ‘AS A SERVICE’

 

‘my Axtria has the domain expertise and consulting

~ experience to support our clients with strategic

* thinking while embedding decision support
s capabilities in their organizations.

_ BUSINESS PROCESS 2" integrated services platform enables

“everything as a service” by managing data,

; AS A SERVICE process, and analytics with cloud-based, enter-

prise grade platforms.
EGRATED |
AATFORM

Our services span the spectrum of business
planning, operations and process management,
data technology enablement, and advanced
analytics. Our analytical tools provide embed-
ded analytics enabling clients to harness the
true power of their data, thus providing busi-

   

4 ness with relevant recommendations at the
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? Vee Data management is our core solution which
o” . Scalable & flexible enables Axtria to provide many of our
so” e Reduces cast cloud-based solutions like sales operations man-

agement, marketing management, customer
operations and risk management.

A SERVICE Our nimble, flexible and |SO-certified processes

and tools allow data and analytics teams to run
at the “speed of business”. Axtria’s center of
analytical excellence drives data scientists,
analysts and consultants to create big data solu-
tions and foster a data-driven decision culture.

 

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HOW ARE WE DIFFERENT?

Vertical industry focus: Each vertical is well represented by leaders who have several years of experience in
their specific industry. Our industry experts have deep knowledge of data, processes and systems that are
unique to each industry.

Domain expertise and thought leadership: Functional domain experts have deep functional knowledge of
business operations like sales, marketing, customer and risk management.

Global delivery model: The global delivery teams have an optimal mix of onshore/offshore experts that
work in unison to provide great customer experience and considerable value at scale.

Pedigree of our people: We are very proud of the quality and training of our associates. Our core manage-
ment team consists of over 75 industry and domain experts. We have been able to attract excellent manag-
ers and executives from the industry. We recruit heavily from top-tier colleges in US and India. Axtria Insti-
tute is our in-house training program that provides the best training and career development in the analytics
industry.

Proprietary analytical applications: We invest heavily on R&D and have been driving innovation in the data
analytics industry. Today, our cloud-based analytical applications are being used by over 10,000 users deliv-
ering ingenious insights to business decision makers.

This combination of software-driven data analytics services and deep domain expertise is truly unique in the
industry. In comparison with other providers that simply deliver people, our services are fueled by next
generation analytical applications including Axtria SaleslIQ™, Axtria MarketinglQ™, and Risk and Data Man-
agement software, all of which get embedded into customer’s existing platforms.

We deliver insights at the point of decision.

ae owww.axtria.com
Ld

@ info@axtria.com
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